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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 5
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 · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · ·FOR THE DISTRICT OF COLORADO
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 · · · · · · · CIVIL ACTION NUMBER: 1:22-CV-01129-NYW-SKC
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 · · · · · · · · · · · ·ERIC COOMER, PH.D.,
 · · · · · · · · · · · · · · ·Plaintiff
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 · · · · · · · · · · · · · · · · V.
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 · · · · · · · ·MICHAEL J. LINDELL, FRANKSPEECH LLC,
 · · · · · · · · · · · ·AND MY PILLOW, INC.,
 · · · · · · · · · · · · · · Defendants
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 · · ·DEPONENT:· JOSEPH OLTMANN
 · · ·DATE:· · · DECEMBER 16, 2022
 · · ·REPORTER:· DARIANA CABRERA ALVAREZ
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      ·1· · · · · · · · · · · · ·STIPULATION                        ·1· · · · · · COURT REPORTER:· Thank you.
      ·2                                                            ·2· · · · · · · · · DIRECT EXAMINATION
      ·3· ·The VIDEO deposition of JOSEPH OLTMANN was taken at      ·3· ·BY MR. KLOEWR:
      ·4· ·UNITED STATES COURTHOUSE, 901 NINETEENTH STREET, ROOM    ·4· · · · Q· · All right.· Let's get started.· Mr. Oltmann,
      ·5· ·A502, DENVER, COLORADO 80294 on FRIDAY the 16TH day of   ·5· ·we have a lot to discuss regarding this particular case,
      ·6· ·DECEMBER 2022 at approximately 9:00 a.m.; said           ·6· ·but I would like to address just a few housekeeping
      ·7· ·deposition was taken pursuant to the FEDERAL Rules of    ·7· ·matters before we get started, to confirm a few
      ·8· ·Civil Procedure.                                         ·8· ·questions we have.· We're going to need to send you
      ·9                                                            ·9· ·another subpoena as a witness in this case, we'll going
      10· ·It is agreed that DARIANA CABRERA ALVAREZ, being a       10· ·to go to trial next year.· And I believe you've
      11· ·Notary Public and Court Reporter for the State of        11· ·represented to the Court and to us that you are a
      12· ·COLORADO, may swear the witness and that the reading and 12· ·resident of Texas now; is that correct?
      13· ·signing of the completed transcript by the witness is    13· · · · A· · I am.
      14· ·not waived.                                              14· · · · Q· · Okay.· And how long have you been a Texas
      15                                                            15· ·resident?
      16                                                            16· · · · A· · Officially, February this year, but August of
      17                                                            17· ·2021 is when I --
      18                                                            18· · · · Q· · August of 2021. And you -- you own residential
      19                                                            19· ·property in Texas?
      20                                                            20· · · · A· · I don't.
      21                                                            21· · · · Q· · You don't, but you live there full-time?
      22                                                            22· · · · A· · I do.
      23                                                            23· · · · Q· · That's -- and are you renting?
      24                                                            24· · · · A· · What difference does it make?
      25                                                            25· · · · Q· · I'm just trying to --

                                                            Page 7                                                         Page 9
      ·1· · · · · · · PROCEEDINGS                                    ·1· · · · A· · It's none of your business.· I'm going to tell
      ·2                                                             ·2· ·you right now, anything that you're going to do that
      ·3· · · · VIDEOGRAPHER:· We're here, the date is               ·3· ·causes security issues for me and my family, because
      ·4· ·12-16-2022 for the deposition of Joseph Oltmann.          ·4· ·you've already done it, I'm not going to answer.
      ·5· ·Case is 1:22-CV-01129-WJM.· We're -- the location is      ·5· · · · Q· · Okay.· We'll get to that in a bit.
      ·6· ·901 Nineteenth Street, Denver, Colorado.· Let's see       ·6· ·Mr. Oltmann.· I just need to confirm your residence
      ·7· ·here.· Okay, so -- and -- my name is Nicholas,            ·7· ·because we are --
      ·8· ·T-E-T-I III.· 9534 Castle Ridge Circle, Highlands         ·8· · · · A· · I just confirmed my residence.· I'm a resident
      ·9· ·Ranch, 80129.· If everybody can introduce themselves      ·9· ·of Texas.
      10· ·and then we can proceed.                                  10· · · · Q· · Okay.· What county do you live in?
      11· · · · MR. KLOEWR:· All right.· Good morning, this is       11· · · · A· · Bexar County.
      12· ·Brad Kloewr here on behalf of the Plaintiff,              12· · · · Q· · Bexar County, around San Antonio.· And are you
      13· ·Dr. Eric Coomer.· I'm joined by Charlie Cain.             13· ·paying property taxes in Texas?
      14· · · · MR. MALONE:· This is Ryan Malone on behalf of        14· · · · A· · I'm not going to answer any questions related
      15· ·Defendants, MyPillow, Frank Speech, Michael Lindell.      15· ·to my living.· I'm not going to do it.
      16· · · · MS. DEFRANCO:· Ingrid DeFranco on behalf of          16· · · · Q· · Mr. Oltmann, has your counsel provided you a
      17· ·Joseph Oltmann, who appears to my right.                  17· ·copy -- I know we provide you a copy directly of the
      18· · · · MR. KLOEWR:· You want to swear in the witness?       18· ·protective order has been in this case. Did you have a
      19· · · · VIDEOGRAPHER:· We are going to swear in the          19· ·chance to --
      20· ·witness.                                                  20· · · · A· · That's done really well to this point.
      21· · · · COURT REPORTER:· Raise your right hand.· Do you      21· · · · Q· · Mr. Oltmann, I'm going to ask you to -- let me
      22· ·solemnly swear or affirm the testimony you're about       22· ·just -- let's establish some ground rules before we get
      23· ·to give will be the truth, the whole truth, and           23· ·started here.
      24· ·nothing but the truth?                                    24· · · · · · MS. DEFRANCO:· Excuse me, Mr. Kloewr, I -- I
      25· · · · THE WITNESS:· I do.                                  25· · · ·don't have access to the filings in this case, so I




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      ·1· · · ·have not seen a protective order.                      ·1· · · · Q· · October.· Okay, so your counsel did not inform
      ·2· · · · · · MR. KLOEWR:· Okay.· I believe we e-mailed that    ·2· ·you that we had reached out to her to try to serve a
      ·3· · · ·to you directly a couple days ago.· We can confirm     ·3· ·subpoena?
      ·4· · · ·that.· I'll represent to you; Mr. Malone is here as    ·4· · · · A· · Maybe, but I mean, I -- I wasn't really paying
      ·5· · · ·well.· Can you confirm that a protective order has     ·5· ·attention to any of it, I mean, so it's -- no.
      ·6· · · ·been issued in this case.                              ·6· · · · Q· · You'd been informed that there was a subpoena
      ·7· · · · · · MS. DEFRANCO:· Do have a copy?                    ·7· ·that we had issued to the Federal Court, and you were
      ·8· ·BY MR. KLOEWR:                                             ·8· ·paying attention to that?
      ·9· · · · Q· · I can e-mail it to you again.· Perhaps we        ·9· · · · A· · I think what Andrea said is that you were
      10· ·should establish some ground rules here before we get      10· ·trying to serve -- serve her or something.· Serve her or
      11· ·started.· I know you've been deposed before Mr. Oltmann,   11· ·something.
      12· ·but I'll just remind you that you need to ask -- answer    12· · · · Q· · Okay.
      13· ·the questions that are asked.· If I ask you a question,    13· · · · A· · I mean, Andrea's been under the weather to --
      14· ·that's a question that I need an answer to, not any        14· ·for the last four, five, six months.
      15· ·other question, not a question you would like to answer.   15· · · · Q· · Okay.· But she did inform you of that?
      16· ·I'd ask you also too, to please speak slowly, not talk     16· · · · A· · I'm sure, eventually, she did.
      17· ·over me. That's a courtesy to Dariana here, who needs to   17· · · · Q· · Okay.· We'll get back to that in a bit.· Just
      18· ·get down all of our answers as clearly as possible.        18· ·want to be sure we're on the same page here.
      19· ·Mr. Oltmann, are you on any medications this morning       19· · · · · · VIDEOGRAPHER:· Can we go off the record for a
      20· ·that may affect your ability to provide testimony?         20· · · ·second?· I want to adjust the microphone.
      21· · · · A· · I've never been on medication.                   21· · · · · · MR. KLOEWR:· Sure.
      22· · · · Q· · Okay.· And have you discussed your testimony     22· · · · · · · (OFF THE RECORD)
      23· ·with Mr. Lindell?                                          23· · · · · · VIDEOGRAPHER:· Okay, back on the record at
      24· · · · A· · No.                                              24· · · ·9:22 a.m. for the deposition of Joseph Oltmann case,
      25· · · · Q· · Did you discuss the subpoena you received with   25· · · ·1:22-CV-01129-WJM.

                                                          Page 11                                                         Page 13
      ·1· ·him?                                                       ·1· ·BY MR. KLOEWR:
      ·2· · · · A· · No.                                              ·2· · · · Q· · Okay, Mr. 1:22-CV-01129-WJM, before we -- when
      ·3· · · · Q· · Did you discuss that subpoena with               ·3· ·we went off the record, we were confirming that your
      ·4· ·Mr. Lindell's counsel?                                     ·4· ·counsel, Mr. DeFranco, had received a copy of the
      ·5· · · · A· · No.                                              ·5· ·protective order that's been issued in this case.· We
      ·6· · · · Q· · Did you inform Mr. Lindell --                    ·6· ·were asking you to confirm your Texas residency, and
      ·7· · · · · · VIDEOGRAPHER:· Sorry to interrupt you.· I'm       ·7· ·I'll state now, on the record, as I just said to
      ·8· · · ·going to adjust the sensitivity on your microphone -   ·8· ·Mr. DeFranco, that we are willing to stipulate on the
      ·9· · · ·-                                                      ·9· ·front end that we will redact any information regarding
      10· · · · · · THE WITNESS:· All right.                          10· ·your current residence, where you reside in the state of
      11· · · · · · VIDEOGRAPHER:· -- a little.· Okay.· All right.    11· ·Texas, but we will need that information to subpoena you
      12· · · ·Thank you.                                             12· ·for this trial, which is why I'm asking for it.· So can
      13· ·BY MR. KLOEWR:                                             13· ·you please state your address for the record?
      14· · · · Q· · Did you inform Mr. Lindell when you received     14· · · · · · MS. DEFRANCO:· Just to clarify this, will be
      15· ·the subpoena in this case?                                 15· · · ·attorney eyes only?
      16· · · · A· · I did not.                                       16· · · · · · MR. CAIN:· That's correct.
      17· · · · Q· · Okay.· And -- and how did you become aware of    17· · · · · · MS. DEFRANCO:· Okay.· Thank you.
      18· ·the subpoena that was issued?                              18· · · · A· · Okay, do you want the address?
      19· · · · A· · From Tina Peters?                                19· ·BY MR. KLOEWR:
      20· · · · Q· · Tina Peters informed you that we were trying     20· · · · Q· · Yes.
      21· ·to serve you with the subpoena?                            21· · · · A· · And no one else sees this except for you guys?
      22· · · · A· · Tina Peters said that she was served, and she    22· · · · Q· · That's correct.
      23· ·saw my name on it.                                         23· · · · A· ·
      24· · · · Q· · Okay.· So that would've been in September?
      25· · · · A· · October.                                         25· · · · Q· · Okay.· And that has been your address since
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      JOSEPH OLTMANN, 12/16/2022
                                                          Page 14                                                         Page 16
      ·1· ·August of 2021, I believe you said?                        ·1· ·that happened in 2022, not in 2021.· All of that, in
      ·2· · · · A· · No, I've been in Texas since August of 2021.     ·2· ·order to legally be able to file taxes as a Texas
      ·3· · · · Q· · Okay.· And that's when you -- when you moved     ·3· ·resident.
      ·4· ·there as a permanent resident?                             ·4· · · · Q· · Okay, so you had --
      ·5· · · · A· · No, I moved there as a permanent residence,      ·5· · · · A· · But, being in Texas in August, which I did
      ·6· ·probably, February of this year.                           ·6· ·tell you, we're -- being in Texas started in August of
      ·7· · · · Q· · Okay.· Well let's do this, I want to just        ·7· ·2021.
      ·8· ·confirm the accuracy of a few documents that have been     ·8· · · · Q· · Okay.· And if I understood you correctly
      ·9· ·filed.· I'm going to mark this first exhibit as Exhibit    ·9· ·before, you said by February of this -- you can keep
      10· ·36.· Thank you, Dariana.· You can have a copy there.       10· ·that.
      11· ·Take a minute to familiarize yourself with that            11· · · · · · MS. DEFRANCO:· Is this an exhibit number?
      12· ·document.· Mr. Oltmann.· I don't expect you to recall      12· · · · · · MR. KLOEWR:· 36.
      13· ·every pleading that's been filed on your behalf, but if    13· · · · · · MS. DEFRANCO:· Got it.
      14· ·you take a look at the date on that, do you recognize      14· ·BY MR. KLOEWR:
      15· ·what I've just handed you?                                 15· · · · Q· · If I understood you correctly, you -- you said
      16· · · · · · · (EXHIBIT 36 MARKED FOR IDENTIFICATION)          16· ·that you had completed all those steps for establishing
      17· · · · A· · Uh-huh.                                          17· ·residency by February of 2022?
      18· · · · Q· · Okay, so this, I'll represent for the record,    18· · · · A· · No, I still haven't completed all those --
      19· ·is a pleading that was filed in Coomer B.,                 19· ·those, but by February I had a business inside of Texas.
      20· ·Donald J.· Trump for President in the Denver District      20· · · · Q· · Okay.
      21· ·Court, titled, Defendant Joseph Oltmann's Motion for       21· · · · A· · I was doing business inside of Texas,
      22· ·Relief from the July 7, 2021, order requiring Joseph       22· ·therefore I can -- I can establish that I can pay taxes
      23· ·Oltmann to appear at the courthouse for his deposition     23· ·in Texas.
      24· ·on August 11, 2021.· We don't need to get much into the    24· · · · Q· · Okay.· So I guess I'm not clear.· So you're
      25· ·substance of this, but if I can direct your attention to   25· ·not a resident in Texas yet, then?

                                                          Page 15                                                         Page 17
      ·1· ·page 2, the last sentence before the conclusion there.     ·1· · · · A· · I can't vote in Texas yet, but I'm a resident
      ·2· ·That states, "Mr. Oltmann is not a resident of the state   ·2· ·of Texas.· You can't just say you're a Texas resident by
      ·3· ·of Colorado and will have to travel to appear."· Do you    ·3· ·picking up and having a lease in Texas.· That's not how
      ·4· ·see that?                                                  ·4· ·it works.
      ·5· · · · A· · Yeah.                                            ·5· · · · Q· · Okay.· Let's take a look at what I'll label as
      ·6· · · · Q· · And this is dated 6th of August 2021?            ·6· ·Exhibit 37.· Let me snag this from you here.· Sorry, Mr.
      ·7· · · · A· · Yep.                                             ·7· ·Oltmann, I'll give you the marked copy.· These are going
      ·8· · · · Q· · So at that time, you had established residency   ·8· ·to be the official ones for the court reporter, if you
      ·9· ·in Texas?                                                  ·9· ·want to pass that to your counsel.· This is -- do you
      10· · · · A· · You don't established residency to do a bunch    10· ·recognize this document?
      11· ·of things.· So being able to have your business inside     11· · · · · · · (EXHIBIT 37 MARKED FOR IDENTIFICATION)
      12· ·of Texas, there's a bunch of things you have to do.· So    12· · · · A· · No, I don't.
      13· ·was I in Texas in August, yes.· Did I establish            13· · · · Q· · Okay.· Well this is what's been labeled as
      14· ·residency in Texas?· No.· By their standards or by -- by   14· ·Document 55, filed into this proceeding, Coomer B.,
      15· ·the standards that they have, and -- and, legally, I       15· ·Michael Lindell.· Cover page says Joseph Oltmann's
      16· ·can't even vote in Texas yet, until they finish the        16· ·Objection to Plaintiff's Motion for Substituted Service
      17· ·process of making my driver's license, which is a          17· ·on Colorado Counsel.
      18· ·process that takes three to six months.                    18· · · · A· · This wasn't provided to us, and the
      19· · · · Q· · Okay.· So what are the steps, as you             19· ·information sent over, was it?
      20· ·understand them, to establish residency in Texas?          20· · · · Q· · Well, this is signed by your counsel, Andrea
      21· · · · A· · You have to have -- you have to do business      21· ·Hall.
      22· ·down in Texas.· You have to full-time do business down     22· · · · A· · Okay.
      23· ·in Texas, which I do.· You have to have a -- well, I       23· · · · Q· · And if I recall your -- what you stated to
      24· ·mean, in order to vote, you have to have a driver's        24· ·Ms. -- Judge Wang on Tuesday, you had approved this
      25· ·license.· You have to have a place of resident.· And all   25· ·filing; is that correct?




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      JOSEPH OLTMANN, 12/16/2022
                                                          Page 18                                                         Page 20
      ·1· · · · A· · Yeah, I've never read this.                      ·1· · · · A· · No.· You just said that I -- I said -- paid
      ·2· · · · Q· · Okay, well I'll direct your attention to         ·2· ·property tax in Texas.· Do I -- did I say that?· Did I -
      ·3· ·Paragraph 6, which is on page 2 of that filing.· State's   ·3· ·- did I actually say that I paid property taxes in Texas
      ·4· ·Filing, "In August 2021, Mr. Oltmann moved his residence   ·4· ·or just another lie from the Coomer attorney?
      ·5· ·from Colorado and ceased to be a resident of this state.   ·5· · · · Q· · Mr. Oltmann, please.· Dariana's trying to take
      ·6· ·While he conducts business in the state of Colorado,       ·6· ·down everything you say.
      ·7· ·Mr. Oltmann does not reside here."                         ·7· · · · A· · Right.
      ·8· · · · A· · Correct.                                         ·8· · · · Q· · And I need you to speak slowly and ask the
      ·9· · · · Q· · And she's referring to the same move that you    ·9· ·question I asked.· I'm giving you an opportunity to
      10· ·made, that you just described, is that right?              10· ·clarify.· If I got it wrong, then please tell me.
      11· · · · A· · Correct.                                         11· · · · A· · No, I don't pay property taxes in Texas.
      12· · · · Q· · Okay.                                            12· · · · Q· · You don't pay property taxes in Texas?
      13· · · · A· · So what -- what did I say that was different     13· · · · A· · No.
      14· ·than that?                                                 14· · · · Q· · So when you say, "I pay taxes in Texas," what
      15· · · · Q· · I'm just confirming that these -- these          15· ·are you referring to?
      16· ·statements are all referring to the same series of         16· · · · A· · I have to file taxes in Texas.
      17· ·events.· We'll mark this as Exhibit 38.· This is an        17· · · · Q· · Okay.· So you filed your federal income taxes
      18· ·e-mail you sent to us on November 21st.· Do you            18· ·in Texas?
      19· ·recognize this document, Mr. Oltmann?                      19· · · · A· · As a Texas resident.
      20· · · · · · · (EXHIBIT 38 MARKED FOR IDENTIFICATION)          20· · · · Q· · Okay.· That's all I needed to know.
      21· · · · A· · Yes.· I think it started with, "Cain, you are    21· · · · A· · Is that it?
      22· ·a liar.· It's who you are.· Own it."· Right?· So it        22· · · · Q· · For that exhibit, yes, it is.
      23· ·dates back to the 11th?                                    23· · · · A· · All right.
      24· · · · Q· · Yeah.· The document I'm referring to begins      24· · · · Q· · We'll mark this as Exhibit 39.· Do you have
      25· ·with, "Ingrid sent an e-mail -- "                          25· ·any vehicles in Texas, Mr. Oltmann?

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      ·1· · · · A· · Oh, the document actually begins if you go       ·1· · · · · · · (EXHIBIT 39 MARKED FOR IDENTIFICATION)
      ·2· ·back in time from the 4th, Charlie Cain, et al, and goes   ·2· · · · A· · Yes.
      ·3· ·all the way up.· But it starts with -- I mean, if you      ·3· · · · Q· · And those are registered in Texas?
      ·4· ·want I can read it.                                        ·4· · · · A· · Yes.
      ·5· · · · Q· · I'm familiar with the document, Mr. Oltmann,     ·5· · · · Q· · Trying to understand -- what I'm wondering,
      ·6· ·I'm referring to the first page that I just handed you,    ·6· ·Mr. Oltmann, is why you've been voting in a state where
      ·7· ·specifically in the first Paragraph --                     ·7· ·you're not a resident.· You voted in person here in
      ·8· · · · A· · But it doesn't start on that, it starts on       ·8· ·Colorado; is that correct?
      ·9· ·11-4, correct?                                             ·9· · · · A· · You know what?· Do me a favor.· If you're
      10· · · · Q· · That is correct, Mr. Oltmann.                    10· ·trying to do something where you want to backdoor
      11· · · · A· · Okay, so that's --                               11· ·everything in order to -- to go after my life, go -- go
      12· · · · Q· · But the first page of this document is what      12· ·pound sand, run up a river.· Okay.· I voted in Texas
      13· ·I'm referring to.                                          13· ·after talking to the Secretary of State of Colorado.
      14· · · · A· · Okay.                                            14· · · · Q· · Mr. Oltmann.· Mr. Oltmann.
      15· · · · Q· · And it says, "I do business and I'm paid out     15· · · · A· · No, I'm not going to do this.· I'm not going
      16· ·of San Antonio, Texas.· I paid taxes in Texas."· Now, I    16· ·to do this where you try to tear apart my life.
      17· ·just asked you if you paid property taxes in Texas and     17· · · · Q· · We're not trying to --
      18· ·you said, no.                                              18· · · · A· · Yes, I am.· You're not going to tear apart my
      19· · · · A· · That's not what I said.· I said, "What           19· ·life and say that I did something wrong.· I called the
      20· ·difference does it make what I do?"· I'm not going to      20· ·Colorado Secretary of State.· I said, "I cannot vote in
      21· ·divulge my -- I didn't say that.· But you want to -- can   21· ·Texas.· I am still have a driver's license in Colorado.
      22· ·you read that back, whether or not I said that I paid      22· ·I still have a residence in Colorado, although I don't
      23· ·property taxes in Texas?                                   23· ·live there, can I vote there?"· And their comment to me
      24· · · · Q· · We can clarify right now, Mr. Oltmann, do you    24· ·was, "Yes, you can."
      25· ·pay property taxes in Texas?                               25· · · · Q· · Okay, I just want to ask you --




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      ·1· · · · A· · So this stuff that you're trying to do to --     ·1· · · · Q· · Okay.· All right.· Let's talk about
      ·2· ·this has nothing to do with Mike Lindell.· Nothing.· And   ·2· ·Mr. Lindell.· How did you first meet?
      ·3· ·just like the -- the deposition you did against Max, it    ·3· · · · A· · I don't recall.
      ·4· ·had nothing to do with Mike Lindell.· You didn't even      ·4· · · · Q· · Do you recall when you met Mr. Lindell?
      ·5· ·ask him a question about Mike Lindell.                     ·5· · · · A· · I -- I met him several times.· He appeared on
      ·6· · · · Q· · Mr. Oltmann, you weren't present for that        ·6· ·my podcast; I think before I met him in person.
      ·7· ·deposition.· I'll represent to you that we did ask         ·7· · · · Q· · Okay.· Do you recall the circumstances of when
      ·8· ·Mr. --                                                     ·8· ·you first met him?
      ·9· · · · A· · I was not present during that deposition.        ·9· · · · A· · I don't.
      10· · · · Q· · I know.· I we're not going to -- we're not       10· · · · Q· · He's a pretty famous guy.· You don't recall
      11· ·going to have a shouting match and go back and forth,      11· ·meeting the My Pillow guy, Mike Lindell?
      12· ·okay?                                                      12· · · · A· · I've -- I've met a lot of really famous
      13· · · · A· · You lie.· That's the problem.· You lie.          13· ·people.
      14· · · · Q· · Mr. Oltmann, please.                             14· · · · Q· · Okay.· Well, let's take a look at what I will
      15· · · · A· · This doesn't have to do with Mike Lindell's      15· ·mark as Exhibit 40. This has been produced by
      16· ·case.                                                      16· ·Mr. Lindell.· I know you haven't seen it, or I -- I
      17· · · · Q· · Here's what's going to happen.· You're here to   17· ·suspect you haven't because you're not a party to this
      18· ·sit for a deposition.                                      18· ·communication.· But take a look.· This is what's been
      19· · · · A· · And I'm here answer questions --                 19·
      20· · · · Q· · Despite that --· · · ·--                         20·
      21· · · · A· · And I'm here to answer questions and also tell   21·
      22· ·you what I think about the things that you're putting in   22·
      23· ·front of me.                                               23·
      24· · · · Q· · That's not what we're here to do, Mr. Oltmann.   24·
      25· · · · A· · I can -- I absolutely have a right to do that.   25·

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      ·1· · · · Q· · You're here to answer questions.· If you're      ·1·
      ·2· ·going to be argumentative and you're going to refuse to    ·2·
      ·3· ·answer those questions, I'm going to take the transcript   ·3·
      ·4· ·to Judge Wang and we're going to sit and do this all       ·4·
      ·5· ·over again.· And I'm going to request our costs and our    ·5·
      ·6· ·fees for doing that.                                       ·6·
      ·7· · · · A· · Yeah, of course you would.                       ·7·
      ·8· · · · Q· · So if you want to sit down and this again --     ·8·
      ·9· · · · A· · It's called Weaponization of Law Fair.· You      ·9·
      10· ·guys are really good at it.                                10·
      11· · · · Q· · Mr. Oltmann, let's stick to the content here.    11·
      12· ·I'm just trying to confirm the facts here.                 12·
      13· · · · A· · Are you?· How about the fact that you showed     13·
      14· ·up on the side of the street by accident when Eric         14·
      15· ·Coomer was getting arrested for running into a building?   15·
      16· · · · Q· · I'll be asking the questions.· We're going to    16·
      17· ·proceed.· That is not what we're discussing here today.    17·
      18· ·You want to talk about Mr. Lindell? Now, you just threw    18·
      19· ·the exhibit back at me, for the record.· Can you confirm   19·
      20· ·that this is your signature?                               20·
      21· · · · A· · It is my signature.                              21·
      22· · · · Q· · Okay.· And you did vote in person at Douglas     22·
      23· ·County Parks and Trails on November 8th here in            23·
      24· ·Colorado; is that correct?                                 24·
      25· · · · A· · I did.                                           25·
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      ·1·                                                             ·1· ·want?"· Someone offered us the promo code.
      ·2·                                                             ·2· · · · Q· · Okay.· I'll see if this will refresh your
      ·3·                                                             ·3· ·memory.· Marking this as Exhibit 42.
      ·4·                                                             ·4·
      ·5·                                                             ·5·
      ·6·                                                             ·6·
      ·7· · · · A· · I -- I don't.                                    ·7·
      ·8· · · · Q· · Okay.· Skip over this one.· All right.· Do you   ·8·
      ·9· ·remember when Mr. Lindell was first on the Conservative    ·9·
      10· ·Daily podcast?                                             10·
      11· · · · A· · I don't recall.                                  11·
      12·                                                             12·
      13·                                                             13·
      14·                                                             14·
      15·                                                             15·
      16·                                                             16·
      17·                                                             17·
      18·                                                             18·
      19·                                                             19·
      20·                                                             20·
      21·                                                             21·
      22·                                                             22·
      23·                                                             23·
      24·                                                             24·
      25·                                                             25·

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      ·1·                                                             ·1·
      ·2·                                                             ·2·
      ·3·                                                             ·3·
      ·4· · · · Q· · Okay.· Can you tell me how you got a promo       ·4·
      ·5· ·code?· I'm trying to understand.· You know, not everyone   ·5·
      ·6· ·Mike Lindell speaks to gets a promo code, obviously.       ·6·
      ·7· ·Why did you guys get one?· Did you negotiate it?           ·7·
      ·8· · · · A· · I did not.                                       ·8·
      ·9· · · · Q· · Did he offer it to you himself?                  ·9·
      10· · · · A· · He did not.                                      10·
      11· · · · Q· · Did --                                           11·
      12· · · · A· · He didn't offer it to me, no.                    12·
      13· · · · Q· · Okay.· And you didn't request one?               13·
      14· · · · A· · I did not.                                       14·
      15· · · · Q· · Okay.· Well, I'm just curious as to how the      15· · · · Q· · Okay.· Do you remember the date when
      16· ·promo code came to exist then.· Did Mr. McGuire request    16· ·Mr. Lindell was first a guest on your podcast?
      17· ·it?                                                        17· · · · A· · I don't.
      18· · · · A· · I -- it's too long ago.· I mean, I -- I don't    18· · · · Q· · Okay.· If I were to represent to you that the
      19· ·know, and I don't actually read a lot of these e-mails     19· ·first interview was on March 11, 2021, would you
      20· ·that come in.                                              20· ·disagree with that?
      21· · · · Q· · Okay.· So is it possible that you requested      21· · · · A· · I would've no knowledge one way or another.
      22· ·different promo codes from him?                            22· · · · Q· · Okay.
      23· · · · A· · Once I knew we were having a promo code, we      23· · · · A· · When did you say that was?
      24· ·would establish a promo code.· Max and I would probably    24· · · · Q· · March 11, 2021.· The e-mails we've been
      25· ·have talked about it and said, "What promo code do we      25· ·looking at are from March 10th and this interview
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     ·1· ·would've happened the following day, on the 11th. Does     ·1· ·response to the subpoena?
     ·2· ·that comport with your memory?                             ·2· · · · A· · I -- I don't think it was relevant to what you
     ·3· · · · A· · I got a lot going on, so I would not say that    ·3· ·said I needed in relation to Eric Coomer.· Did you say
     ·4· ·a whole lot comports as far as me being able to figure     ·4· ·in relation to Eric Coomer or -- it was very specific,
     ·5· ·out if that is accurate.                                   ·5· ·the subpoena.
     ·6· · · · Q· · Okay.· So going back to the promo code, it       ·6· · · · Q· · We'll -- we'll get into the subpoena later. I
     ·7· ·sounds like there was -- we've just seen a bit of          ·7· ·just want to confirm you didn't provide that
     ·8· ·negotiation, or maybe not negotiation, but at least        ·8· ·communication to us.
     ·9· ·requests from you for a specific promo code.· What were    ·9· · · · A· · I did not.
     10· ·the -- what are the terms of your promo code with My       10· · · · Q· · Okay.· So you said 40 percent was too high.
     11· ·Pillow?                                                    11· ·What is your -- your percentage cut of revenue from
     12· · · · A· · I have no idea.                                  12· ·product sold using the CD21?
     13· · · · Q· · Do you derive any income if people purchase      13· · · · A· · I have no idea from.
     14· ·products from My Pillow using CD21?                        14· · · · Q· · Okay.· You don't -- you just thought 40 was
     15· · · · A· · Yeah, but to be honest, I haven't looked at      15· ·too high?
     16· ·any income coming from him in -- since the beginning.      16· · · · A· · I -- I think that 40 is too high.· Yeah, I do.
     17· · · · Q· · So you've never checked to see what your         17· ·I think if -- I mean, I'm -- yeah, that's a lot of money
     18· ·income stream looks like from that?                        18· ·to pay someone just to stand up there and say CD21.
     19· · · · A· · And I've never been paid by Conservative         19· · · · Q· · But you don't know what you're making right
     20· ·Daily.                                                     20· ·now?
     21· · · · Q· · Do you have any idea how much revenue            21· · · · A· · No.
     22· ·Conservative Daily derives from its sales of My Pillow     22· · · · Q· · So it could be 39 for all you know?
     23· ·products?                                                  23· · · · A· · Yeah, I don't know.· I mean, I can check.· You
     24· · · · A· · No.                                              24· ·want me to check? I can check.
     25· · · · Q· · Do you know how much revenue Conservative        25· · · · Q· · It's just -- I'm just confirming that you're

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     ·1· ·Daily derives from any of its advertisers?                 ·1· ·not familiar with the details of your relationship with
     ·2· · · · A· · No.                                              ·2· ·Mr. Lindell.
     ·3· · · · Q· · Well, so you don't -- you don't track any of -   ·3· · · · A· · Mike's my friend.
     ·4· ·- any revenue that --                                      ·4· · · · Q· · I understand that.· I'm just trying to get a
     ·5· · · · A· · I track revenue.                                 ·5· ·better understanding of your business relationship.· And
     ·6· · · · Q· · Okay.· Which revenue do you track?               ·6· ·it sounds like that's how your relationship began; is
     ·7· · · · A· · Collected revenue.· Bottom line.                 ·7· ·that correct?
     ·8· · · · Q· · I agree.· Okay.· So if I understand correctly,   ·8· · · · A· · I mean --
     ·9· ·you've never looked at how much money you've made from     ·9· · · · Q· · So first, you know, within days of meeting
     10· ·My Pillow, and that's a number that doesn't particularly   10· ·him, you had a promo code for your podcast, and you've
     11· ·concern you?                                               11· ·been using that promo code ever since, correct?
     12· · · · A· · No.· I think there's an e-mail somewhere,        12· · · · A· · Yeah.· I think that there's tens of thousands
     13· ·where he tried to offer us 40 percent and I sent him an    13· ·of people that are out there that have promo codes from
     14· ·e-mail back saying, "We don't need that much money,        14· ·Mike Lindell.· I'm pretty sure that's the case.· I mean,
     15· ·please don't pay us 40 percent."                           15· ·he's got a lot of people across the country that support
     16· · · · Q· · Meaning, you would get 40 percent of the         16· ·him in the fight against the election fraud.
     17· ·revenue that comes from sales using your promo code?       17· · · · Q· · So you understand the -- the -- the promo
     18· · · · A· · Right.· And we said, we don't -- we don't        18· ·codes to be related to that fight against election
     19· ·really want that.· Why don't you just give it back to      19· ·fraud?
     20· ·Mike and --                                                20· · · · A· · No.· I think that supporting Mike Lindell when
     21· · · · Q· · Okay.· So --                                     21· ·he is being attacked viciously by this radical ideology
     22· · · · A· · I know that e-mail exists because I -- I did     22· ·that's trying to steal the voice of American people to
     23· ·not write that one either, but I did ask Lynn to write     23· ·keep us in a perpetual state of slavery, is something
     24· ·that one.                                                  24· ·that I want to support.
     25· · · · Q· · Okay.· But you didn't disclose that in           25· · · · Q· · Okay.· So you understand your support from My




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     ·1· ·Pillow to support your beliefs about election fraud, as    ·1· · · ·question.
     ·2· ·well?                                                      ·2· · · · Q· · You can correct me if I'm wrong in -- in that
     ·3· · · · A· · No, my support for My Pillow is to support       ·3· ·characterization.
     ·4· ·Mike Lindell as a person so that he can be blessed         ·4· · · · A· · I don't -- I don't know -- I don't know what -
     ·5· ·financially.· How he handles his -- his finances and       ·5· ·- I don't know how to answer that question.· So by
     ·6· ·resources are up to him.· And I have no knowledge of       ·6· ·supporting My Pillow, it's a -- it's supporting Mike?
     ·7· ·that one way or another.                                   ·7· · · · Q· · Well, let me put it this way.· I -- I have a
     ·8· · · · Q· · Okay.· Let's take a look at clip one.· We're     ·8· ·lot of pillows in my house that I like.· I don't know
     ·9· ·going to be showing you a -- a series of video clips and   ·9· ·the brand names for them.
     10· ·audio clips.· Have you already seen these or no?           10· · · · A· · Are they MyPillows?
     11· · · · A· · This is the first time.                          11· · · · Q· · They're not.
     12· · · · · · MR. MALONE:· I'm not going to answer questions.   12· · · · A· · You should try them, they're really good.
     13· · · · · · MR. KLOEWR:· Okay.                                13· · · · Q· · Well, I -- I -- with this language that you
     14· · · · · · MR. MALONE:· And I also -- I don't know what      14· ·would be a tireless advocate for My Pillow, I'm -- I'm
     15· · · ·we're going to see.                                    15· ·wondering why it is you say you would -- you would do
     16· · · · · · MR. KLOEWR:· We will be -- so, let -- let me do   16· ·that?
     17· · · ·this, and let me clarify.· This may help to answer     17· · · · A· · Because I want to support My Pillow.· I have
     18· · · ·that question.· We have a flash drive with new clips   18· ·My Pillow -- I've had MyPillows for longer before I
     19· · · ·that have not been entered as evidence yet.· I will    19· ·actually met Mike.· I didn't know you could put them
     20· · · ·label that flash drive as Exhibit 43.                  20· ·back in the washer and dryer and wash them and make them
     21· · · · · · · (EXHIBIT 43 MARKED FOR IDENTIFICATION)          21· ·re-fluff themselves either.· That was a new one.· So
     22· · · · · · MR. MALONE:· Okay.                                22· ·when I found that out, it saved me a lot of money.
     23· ·BY MR. KLOEWR:                                             23· · · · Q· · All right.· And we also -- you also said in
     24· · · · Q· · So what we're going to be watching now is        24· ·there, "We'll be moving to the platform ourselves, and
     25· ·going to be Exhibit 43, Clip 1.· Now, as we proceed, I     25· ·we'll make sure to support you 100 percent."· Now, I

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     ·1· ·am going to show some clips, which we have seen before.    ·1· ·understand this was March of 2021.· What platform were
     ·2· ·Some of those may be referred to as Exhibit 3 clips.       ·2· ·you referring to at the time?
     ·3· · · · A· · Okay.                                            ·3· · · · A· · Frank Speech.
     ·4· · · · Q· · Those were shown in the deposition of Tina       ·4· · · · Q· · Okay.· And do you recall when Frank Speech
     ·5· ·Peters.· And at other times, I will refer to Exhibit 18    ·5· ·launched?
     ·6· ·clips.· Those were showed during the Deposition of         ·6· · · · A· · I don't.
     ·7· ·Mr. McGuire.· This will be Exhibit 43, Clip 1. 43.         ·7· · · · Q· · Okay.· Let's take a look at 258.
     ·8· · · · A· · Of that?                                         ·8· · · · A· · Do you my MyPillows?· I'll send you some for
     ·9· · · · Q· · It's going to be on the screen that --           ·9· ·Christmas.
     10· · · · · · MR. CAIN:· No, I don't have access that.          10· · · · Q· · Okay.· I'm going to hand you what's been
     11· · · · · · MR. KLOEWR:· You don't have access yet.           11· ·marked as Exhibit 44. Oh, I'm sorry.· I just -- he's got
     12· · · · · · MR. CAIN:· I'll just -- I'll play it for you,     12· ·three copies of 44.· I apologize. Mr. Oltmann, if you
     13· · · ·Mr. Oltmann, on this iPad.                             13· ·could remove the paper clip and give your counsel one of
     14· ·BY MR. KLOEWR:                                             14· ·those copies there.· And if you could pass that down to
     15· · · · Q· · And before we start, I'll represent that this    15· ·Mr. Malone.· This is what's been previously marked as
     16· ·is the conclusion of your first interview with             16· ·Defendant's 258.· Do you recognize this document,
     17· ·Mr. Lindell on March 11, 2021.                             17· ·Mr. Oltmann?
     18· · · · A· · This is my first interview with him?             18·
     19· · · · Q· · Yes.                                             19·
     20· · · · · · · (VIDEO PLAYED)                                  20·
     21· · · · Q· · Okay.· So we just discussed this a bit, but      21·
     22· ·when you say you'll be a tireless advocate for My          22·
     23· ·Pillow, I believe you said, that's to ensure Mr. Lindell   23·
     24· ·enjoys financial success; is that correct?                 24·
     25· · · · · · MR. MALONE:· Object to foundation on that         25·
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     ·1·                                                             ·1· ·- I was involved in the conversations up front on how to
     ·2·                                                             ·2· ·set up the architecture of the system, and then it was
     ·3·                                                             ·3· ·found that I was -- I don't know.· A lot of people take
     ·4·                                                             ·4· ·advantage of Mike, and I was doing things to try and
     ·5·                                                             ·5· ·save him, financially, money and leveraging
     ·6·                                                             ·6· ·relationships I had all over the country in order to
     ·7·                                                             ·7· ·make sure that he didn't spend too much on the
     ·8·                                                             ·8· ·infrastructure he was trying to create.· And once it was
     ·9·                                                             ·9· ·found out that I wasn't interested in taking advantage
     10· · · · Q· · Okay.· Is there ever a time when someone else    10· ·of Mike, I was not privy to a lot of those conversations
     11· ·would be using your phone to send e-mails?                 11· ·anymore.
     12· · · · A· · No, but there's a time that they would use       12· · · · Q· · Well, let's unpack that a little bit.· Are you
     13· ·their phone and -- if I'm -- there are times that I've     13· ·saying that Mr. Lindell would've preferred that you were
     14· ·said, "Hey, just send it," you know, they're not --        14· ·trying to take advantage of him?· I don't -- I don't
     15· ·she's not there, so she'll send it from her phone.         15· ·understand what you're saying.
     16· · · · Q· · Okay.                                            16· · · · A· · No, that's not what I said at all.
     17· · · · A· · But I think you can tell, because sometimes      17· · · · Q· · Okay.
     18· ·this will show up as well.· · ·.                           18· · · · A· · That -- we came up with a -- a plan for the
     19·                                                             19· ·system that he was building, and there was other people
     20·                                                             20· ·involved in it and we were trying to provide them
     21·                                                             21· ·assistance in that.· And once I started talking about
     22·                                                             22· ·how you could cut out a lot of these expenses and -- and
     23·                                                             23· ·kind of shoreline or -- or streamline the process for
     24·                                                             24· ·implementation of these systems, that it would -- it
     25·                                                             25· ·would reduce cost for them, it did not seem that -- that

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     ·1·                                                             ·1· ·that was their goal.
     ·2·                                                             ·2· · · · Q· · When you say their, are you talking about Mike
     ·3·                                                             ·3· ·Lindell --
     ·4·                                                             ·4· · · · A· · No.
     ·5·                                                             ·5· · · · Q· · -- did you present these --
     ·6·                                                             ·6· · · · A· · I'm talking about other people that were --
     ·7·                                                             ·7· ·that were already brought into the -- the -- the mix to
     ·8·                                                             ·8· ·-- to do work for Mike.
     ·9·                                                             ·9· · · · Q· · And did --
     10·                                                             10· · · · A· · And I didn't feel good about it at that point,
     11·                                                             11· ·I just -- I didn't want to be -- I didn't want to be
     12·                                                             12· ·associated with -- with it.· And they didn't really want
     13·                                                             13· ·me involved because I was fighting back on spending more
     14·                                                             14· ·when you could spend less and get something more stable.
     15·                                                             15· · · · Q· · Okay.· So did Mr. Lindell request a -- a bid
     16·                                                             16· ·from you or a proposal to run the website?
     17·                                                             17· · · · A· · And I -- and I didn't -- I didn't ask to be a
     18·                                                             18· ·part of it, other than just helping him set up
     19· · · · Q· · Okay.· So is it -- is it safe to say that --     19· ·infrastructure because I do know the system architecture
     20· ·that you were involved with the Frank Speech platform      20· ·very well when it comes to VOD and -- and system
     21· ·from the beginning?· Before it launched, you were          21· ·deployment.
     22· ·anticipating publishing Conservative Daily on Frank        22· · · · Q· · So you --
     23· ·Speech?                                                    23· · · · A· · Technology system deployment.
     24· · · · A· · That's kind of a tricky question, because the    24· · · · Q· · Okay.· So you volunteered your expertise in
     25· ·short answer is no and then turned into yes.· So I was -   25· ·this field to help him establish the website?
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     ·1· · · · A· · For free.                                        ·1· · · · A· · Yes, I do actually.· Yeah.
     ·2· · · · Q· · And it sounds like there were some               ·2· · · · Q· · Okay.
     ·3· ·intermediaries that didn't appreciate your input?          ·3· · · · A· · I mostly do it for non-profits and that was a
     ·4· · · · A· · Yeah.                                            ·4· ·large concentration of what I did prior to getting
     ·5· · · · Q· · Is that correct?· Okay.                          ·5· ·involved, or -- or being forced to get involved, in --
     ·6· · · · A· · Yeah.                                            ·6· ·in this whole circus.
     ·7· · · · Q· · And who were those intermediaries?               ·7· · · · Q· · Okay.· So if I understand correctly, against
     ·8· · · · A· · This RJ guy.                                     ·8· ·your recommendation -- or -- or -- or not, I don't know
     ·9· · · · Q· · Okay.· Well, let's --                            ·9· ·if you conveyed this to Mr. Lindell.· But it sounds like
     10· · · · A· · He -- he didn't really appreciate it.            10· ·he chose to go with Johnston Howse, and you thought
     11·                                                             11· ·there would be better options for --
     12·                                                             12· · · · A· · No.
     13·                                                             13· · · · Q· · -- creating the --
     14·                                                             14· · · · A· · The advice that I gave was to Johnston Howse
     15·                                                             15· ·in order to help Mike Lindell.
     16·                                                             16· · · · Q· · Okay.
     17·                                                             17· · · · A· · I did not -- I at no point had a conversation
     18·                                                             18· ·with Mike Lindell about it, I didn't -- nor did I think
     19·                                                             19· ·it was proper.· The people that he hired to do that work
     20·                                                             20· ·was Johnston Howse.· I respected that relationship. I
     21·                                                             21· ·didn't necessarily agree with the direction that they
     22·                                                             22· ·went in, and I didn't understand why they would not heed
     23·                                                             23· ·the advice, given the amount of expertise that we had in
     24·                                                             24· ·this arena, but that wasn't -- it wasn't for me to have
     25·                                                             25· ·a conversation with Mike or to interfere with that

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     ·1·                                                             ·1· ·relationship, and so I didn't.· So there was never a
     ·2·                                                             ·2· ·conversation that I had with Mike about that. I had my
     ·3·                                                             ·3· ·conversation using the chain of -- of command for this,
     ·4·                                                             ·4· ·which is, "This is his representative on that side," and
     ·5·                                                             ·5· ·I stuck -- I stuck to that.
     ·6·                                                             ·6· · · · Q· · Okay.· So is it safe to say you weren't very
     ·7· · · · Q· · Okay.· That's -- you're anticipating my next     ·7· ·close with Mr. Lindell at -- at this time, in April of -
     ·8· ·question.· So you made a proposal to Johnston Howse to     ·8· ·- of 2021, a month after your first interview?
     ·9· ·run the website and they rejected that proposal; did I     ·9· · · · A· · No, I would tell you that I feel an immense
     10· ·understand that correctly?                                 10· ·loyalty to someone that has such an unselfish desire to
     11· · · · A· · I did not.· I did not create a -- I was -- I -   11· ·serve what is right in our country. And, you know, for
     12· ·- the only thing that I did was use our expertise to get   12· ·someone that's willing to give up so much and follow his
     13· ·him access to lower bids.· I leveraged relationships       13· ·faith, I think that that's the type of person that I
     14· ·that I had with companies, like Dell and others, and       14· ·would walk shoulder to shoulder with any day of the
     15· ·said, "Here's what I would do if I were you.· I'm not      15· ·week, twice on Sunday.· And so as a result, I -- I will
     16· ·you.· But if I were you, this is the architecture that I   16· ·do things and help people that I feel are -- are good
     17· ·would -- I would create."                                  17· ·people.· And he is a very, very good man.
     18· · · · Q· · Okay.                                            18· · · · Q· · Okay.· So at the time Frank Speech was
     19· · · · A· · So I did not have any -- I did not have any      19· ·launched then, in late April of '21, do you recall
     20· ·dog in the hunt, I was not making any money, I was not     20· ·Conservative Daily was utilizing the platform?
     21· ·getting paid.· I was giving them advice based upon my      21· · · · A· · I don't recall.
     22· ·many years of experience in dealing in this -- in this     22· · · · Q· · Okay.
     23· ·arena.                                                     23· · · · A· · If that had been a question you had posed
     24· · · · Q· · Okay.· Do you often give professional advice     24· ·before this, I could have given you dates on when our
     25· ·of this nature free of charge?                             25· ·first episode was.
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     ·1· · · · Q· · Tell me about that relationship a little bit.    ·1· · · · Q· · -- streaming?
     ·2· ·Do you derive any revenue from having the Conservative     ·2· · · · A· · It's a remnant deal where you -- that you just
     ·3· ·Daily Podcast hosted on Frank Speech?                      ·3· ·sign up to give them access to it, and then we're on
     ·4· · · · A· · I do not.                                        ·4· ·stuff like Pandora, Apple Podcast, Google Podcast,
     ·5· · · · Q· · Okay.· So there's -- there's no ad revenue       ·5· ·Spotify, Rumble.· I -- I don't -- it's a lot.· It's a
     ·6· ·relationship there?                                        ·6· ·lot of stations.
     ·7· · · · A· · No.                                              ·7· · · · Q· · So in the spectrum of platforms, do you have
     ·8· · · · Q· · And are you able to collect any metrics or       ·8· ·any way to gauge how -- how much of your personal
     ·9· ·observe sort of what -- what sort of viewer engagement     ·9· ·traffic at -- at Conservative Daily is being driven by
     10· ·you get through the Frank Speech website for               10· ·Frank Speech?· It sounds like maybe not, you said you
     11· ·Conservative Daily?                                        11· ·can't get those specific metrics, but --
     12· · · · A· · I was told that -- that we're a popular show,    12· · · · A· · Well, if we weren't on so many other channels
     13· ·but the short and long answer is no.                       13· ·and if I was interested in tracking the code, the CD21
     14· · · · Q· · Okay.· So if you were --                         14· ·code, I could give you a better idea for revenue side.
     15· · · · A· · That's one of my concerns.· Like, everywhere     15· ·But, you know, there's a lot of people out there using
     16· ·else you have a counter on it so you could see, all        16· ·the code.· So even if you do have an influence for them
     17· ·right, this many people actually watched it and -- or      17· ·to use it, it doesn't necessarily mean that they're
     18· ·you have some analytics that are tied to a backend, and    18· ·going to use CD21.· They could use Charlie Kirk's deal
     19· ·that's just not a capability of that system to date.       19· ·or, you know, DC Draino's deal, or News Leak, or any of
     20· · · · Q· · All right.· Well, that was -- that was my next   20· ·the number of people that are out there.· So I mean, I
     21· ·question.· So you couldn't get that information if you     21· ·think that's a way that he measures effectiveness of the
     22· ·wanted to?                                                 22· ·platform because that's the only -- only way you can
     23· · · · A· · I -- I think I could, now.                       23· ·measure whether or not the platform's working.· I'm just
     24· · · · Q· · Okay.                                            24· ·not sure, in my case, it works very well.
     25· · · · A· · But I don't -- I haven't.                        25· · · · Q· · Okay.· Okay, let's see here.· Do you have any

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     ·1· · · · Q· · And you've never requested that information?     ·1· ·other contributions to Frank Speech website, other than
     ·2· · · · A· · So we use links.· When we put out links, so      ·2· ·the Conservative Daily podcast being hosted there?· Do
     ·3· ·I'll tell you how I track our engagement from our side     ·3· ·you ever, you know, write articles or anything of that
     ·4· ·using SimpleMath, and that is how many people clicked on   ·4· ·nature to provide content to Frank Speech?
     ·5· ·the link and went to that place, and that gives me a       ·5· · · · A· · No.· I don't write articles for them, no. I
     ·6· ·better idea who watched it, and then you just got to get   ·6· ·didn't even know that that was a thing on his site.
     ·7· ·average watch time.· We -- we have a method by which we    ·7· · · · Q· · Well, they -- they have some -- they have some
     ·8· ·use to see how many people engage with Conservative        ·8· ·posted.· I'm just curious if -- if the -- if there's
     ·9· ·Daily or my content specifically, and that's just so       ·9· ·anything beyond Conservative Daily that -- that you
     10· ·that we can create an ad structure.· I'm not very good     10· ·directly contribute to that's hosted on the Frank Speech
     11· ·at ad structure and I'm not very good at looking at this   11· ·website?
     12· ·from a revenue standpoint.· So up to this point I          12· · · · A· · No.· That I contribute to hosting on the
     13· ·haven't been very good at it.· But -- so it's not a --     13· ·website?
     14· ·but in the future, that'll allow for us to grow that ad    14· · · · Q· · Yes.· Any content that you create or produce,
     15· ·revenue if we decide to go in a different direction and    15· ·is -- is Frank Speech also promoting or publishing that
     16· ·-- and expand what Conservative Daily does.                16· ·information?
     17· · · · Q· · Okay.· And Conservative Daily is on many         17· · · · A· · I don't -- I don't think so, no.· I mean, I'd
     18· ·different platforms; is that correct?                      18· ·have to check with the guys to see if they do anything,
     19· · · · A· · Yeah.· So a hundred and -- we open syndicated    19· ·but it's -- we have a lot of relationships with a lot of
     20· ·for radio stations, which is 147, I think, radio           20· ·different people, but I don't write articles, I don't
     21· ·stations that can pick it up for free.· And they don't     21· ·write content for them.· I do write papers quite often
     22· ·pay us either, so --                                       22· ·related to some of the information that's given to me in
     23· · · · Q· · Are those a.m. stations, are those satellite     23· ·different states on the system.
     24· ·stations --                                                24· · · · Q· · Okay, we might get into that a bit later, but
     25· · · · A· · No idea.· It's --                                25· ·you've been a guest on Frank Speech a number of times,




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     ·1· ·correct?                                                   ·1· ·wasn't there.· I don't know.
     ·2· · · · A· · I -- I have a show on Frank Speech.              ·2· · · · A· · No.· I mean, I -- I would probably have
     ·3· · · · Q· · You have a show on -- other than Conservative    ·3· ·remembered if there was a launch party.
     ·4· ·Daily, or just --                                          ·4· · · · Q· · Okay, but you don't recall meeting Brannon
     ·5· · · · A· · On Conservative Daily, but it's on Frank         ·5· ·Howse for the first time?
     ·6· ·Speech.                                                    ·6· · · · A· · I think I met him for the first time in -- at
     ·7· · · · Q· · Okay.                                            ·7· ·the symposium, I think.
     ·8· · · · A· · Is that what you're talking about?               ·8· · · · Q· · Okay.· Well, the -- the interview that I just
     ·9· · · · Q· · Well, I'm talking more about, you know, Frank    ·9· ·played you a clip from was from May of 2021, which
     10· ·Speech also hosts live, you know, Lindell TV Program for   10· ·would've proceeded the symposium by about three months.
     11· ·example.                                                   11· · · · A· · It preceded the symposium?
     12· · · · A· · Uh-huh.                                          12· · · · Q· · That's correct, yes.
     13· · · · Q· · And you've been a -- a guest on interviews       13· · · · A· · When was the symposium?
     14· ·conducted by Brannon Howse, for example, is that           14· · · · Q· · It was in August of 2021.
     15· ·correct?                                                   15· · · · A· · Well, so I had never met him before then, I
     16· · · · A· · I think I've done that a couple times.           16· ·don't think.
     17· · · · Q· · Okay.· Do you have an idea about how many        17· · · · Q· · Well, the interview I just played you a clip
     18· ·times you've appeared in that capacity?                    18· ·from was from months prior.· That was very shortly after
     19· · · · A· · A couple times, probably.                        19· ·the Newsmax settlement in this case; do you recall that?
     20· · · · Q· · Okay.· I'm going to play you an audio clip       20· ·Or in -- in the other case.
     21· ·from what we understand to be your first interview on      21· · · · A· · You mean -- what settlement?
     22· ·Frank Speech, and you can correct me if I'm wrong, this    22·
     23· ·is from May 3rd of 2021, it's just a brief clip with       23·
     24· ·Brannon Howse.· I'm going to play this portion where he    24·
     25· ·sort of describes meeting you and how that relationship    25·

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     ·1· ·started.· Going to play Clip 2.                            ·1·
     ·2· · · · · · · (AUDIO PLAYED)                                  ·2·
     ·3· · · · A· · When was this?                                   ·3·
     ·4· · · · · · · (AUDIO PLAYED)                                  ·4·
     ·5· · · · Q· · May 3, 2021.                                     ·5·
     ·6· · · · · · · (AUDIO PLAYED)                                  ·6·
     ·7· · · · · · THE WITNESS:· I can't see it.                     ·7·
     ·8· · · · · · MR. CAIN:· It's just audio.                       ·8·
     ·9· · · · · · THE WITNESS:· Oh, okay.· Sorry.                   ·9·
     10· · · · · · MR. CAIN:· Let's start it over.                   10·
     11· · · · · · THE WITNESS:· Yeah, let's restart that.           11· · · · Q· · -- through the prior case.· I'm just asking
     12· · · · · · · (AUDIO PLAYED)                                  12· ·you if you recall the timeline, which would've been late
     13· ·BY MR. KLOEWR:                                             13· ·April?
     14· · · · Q· · Okay.· So you recall that FrankAthon event --    14· · · · A· · I -- I don't actually, but --
     15· · · · A· · I don't.                                         15· · · · Q· · Okay.· So this meeting -- I'm curious how you
     16· · · · Q· · -- that Mr. Howse is referring to?               16· ·came to be a guest on Frank Speech in this capacity?
     17· · · · A· · I don't.                                         17· · · · A· · I don't recall.
     18· · · · Q· · Do you remember meeting Mr.· · · Howse at that   18· · · · Q· · Did Mr. Howse e-mail you?
     19· ·event?                                                     19· · · · A· · I don't recall.
     20· · · · A· · I don't even remember a FrankAthon at all, so    20· · · · Q· · Well, this was an interview that lasted about
     21· ·I don't --                                                 21· ·an hour.· Do you remember receiving any communications
     22· · · · Q· · It was a promotional event that coincided with   22· ·about what sort of information you would present on that
     23· ·the launch of Frank Speech in late April 2021?             23· ·interview?
     24· · · · A· · Was it an event people attended?                 24· · · · A· · I don't recall.
     25· · · · Q· · Well, that's what I'm asking you.· I -- I        25· · · · Q· · In any of the times you've been on Frank
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     ·1· ·Speech, has anyone from Frank Speech tried to discuss      ·1· ·didn't just wake up one day and say, "I'm going to turn
     ·2· ·the -- the nature of your -- the interview prior to the    ·2· ·my life upside down."
     ·3· ·time of airing?                                            ·3· · · · Q· · Any --
     ·4· · · · A· · No, I don't think so.                            ·4· · · · A· · Just get involved in something --
     ·5· · · · Q· · So in your experience, whenever you've gone on   ·5· · · · Q· · I'll rephrase the question.
     ·6· ·Frank Speech there's no preparation for the interviews?    ·6· · · · A· · -- advertising clicks.· It's just not
     ·7· · · · A· · No, I don't actually prepare for interviews,     ·7· ·something that I'm -- I find myself doing just for fun.
     ·8· ·typically.                                                 ·8· · · · Q· · Okay.· I'm not looking to get into a semantics
     ·9· · · · Q· · Okay, but has anyone from Frank Speech ever      ·9· ·dispute with you.
     10· ·attempted to prepare for an interview before having you    10· · · · A· · It's not semantics, it's the truth.· So the
     11· ·on?                                                        11· ·truth is not actually semantics.· The truth is the
     12· · · · A· · No, I don't think so.                            12· ·truth.· You can't make up a different truth.· It either
     13· · · · Q· · So in those instances when you've appeared       13· ·is a truth or it isn't a truth.
     14· ·there, it's just sort of a -- a general free for all of    14· · · · Q· · Mr. Oltmann, I'll ask the questions here.· The
     15· ·-- of discussion topics?                                   15· ·-- have you ever received a request from anyone at Frank
     16· · · · A· · Honestly, yeah.                                  16· ·Speech, following an interview you conducted there where
     17· · · · Q· · Okay.                                            17· ·they requested any evidence to support statements you
     18· · · · A· · I mean, mostly.· I mean, I think that you'd      18· ·made --
     19· ·probably asked me a bunch of questions.                    19· · · · A· · I don't recall.
     20· · · · Q· · Okay.                                            20· · · · Q· · -- during that?· Okay.· Has anyone at Frank
     21· · · · A· · I'm not a -- I mean, it -- it -- it is a         21· ·Speech ever asked you for information or sources for the
     22· ·interview type of format, so they just ask you questions   22· ·statements you have made?
     23· ·and you kind of just talk.                                 23· · · · A· · I think that they understand that that
     24· · · · Q· · Okay.· And have they ever asked you to provide   24· ·information is -- is the timeline and the information
     25· ·any -- any evidence for any of the things you've stated    25· ·provided is pretty concrete.· It's pretty solid. From

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     ·1· ·on Frank Speech?                                           ·1· ·beginning to end, it's solid.
     ·2· · · · A· · Like what things that I stated on Frank          ·2· · · · Q· · When you say you think they understand that,
     ·3· ·Speech?                                                    ·3· ·what do you mean? Who -- who is they?
     ·4· · · · Q· · Well, for example, in this interview you         ·4· · · · A· · I think that anyone that would ask me for
     ·5· ·discussed your claims about Dr. Coomer at length --        ·5· ·information knows that I'm an open book and that
     ·6· · · · A· · Oh --                                            ·6· ·information has been readily available.· Everything from
     ·7· · · · Q· · -- and I'm wondering if Frank Speech requested   ·7· ·the -- the affidavits from people that were with me on
     ·8· ·any evidence to support those claims prior to having you   ·8· ·the six affidavits from John Tig -- Tiegen, who by the
     ·9· ·on the air?                                                ·9· ·way is an American hero, guy spent all of his time on --
     10· · · · A· · I don't know.· I'm probably -- I -- I probably   10· ·13 hours on top of a roof actually --
     11· ·-- if they did, I probably sent them all the information   11· · · · Q· · I'm -- I'm familiar with Mr. Tiegen.
     12· ·that I had, that you have in the other case.               12· · · · A· · Well, I -- I'm not finished talking.· I -- I'm
     13· · · · Q· · But you don't know that they ever requested      13· ·going to finish the entire -- it'll answer your
     14· ·that information?                                          14· ·question.· John Tiegen, who was supposed to be on that
     15· · · · A· · I don't recall.                                  15· ·call with me to the October 16th article that was
     16· · · · Q· · And you don't recall having sent them that       16· ·written where I had been investigating journalists
     17· ·information on your own?                                   17· ·because they were running bad things about me --
     18· · · · A· · I've sent that information to a lot of people,   18· · · · Q· · Okay.
     19· ·so I could have, but I don't know.                         19· · · · A· · -- related to it, and then if you go further -
     20· · · · Q· · And -- and following your interviews, have you   20· ·-
     21· ·ever gotten any requests for clarification or              21· · · · Q· · But you haven't identified any of the other
     22· ·documentation to support claims that you made on the air   22· ·participants on that call, for example, have you?
     23· ·on Frank Speech?                                           23· · · · A· · What do you mean I haven't identified? I
     24· · · · A· · They weren't claims.· I want to just -- I want   24· ·provided notes --
     25· ·to really clarify that and -- they're not claims. I        25· · · · Q· · Well, we've asked you for the identities of




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     ·1· ·the other individuals on that call and you've never        ·1· ·know that the school board member was on that call.
     ·2· ·provided that information, have you?                       ·2· · · · Q· · Which school board member?
     ·3· · · · A· · You mean the person that got me on that call?    ·3· · · · A· · The -- the one that was accused of raping 31
     ·4· · · · Q· · Among others, but yes, you've also testified     ·4· ·children and that the --
     ·5· ·that there were as many as 19 people on that call.· And    ·5· · · · Q· · You're referring to Mr. Anderson?
     ·6· ·we've requested that information, and you've not           ·6· · · · A· · Oh, you know that story too, huh?
     ·7· ·provided it; is that correct?                              ·7· · · · Q· · I do.· He provided a deposition -- or a -- a
     ·8· · · · A· · That's not true.· I gave you the notes related   ·8· ·declaration in this case.
     ·9· ·to that call specifically.                                 ·9· · · · A· · A declaration in this case that says that it
     10· · · · Q· · Yes, but we asked you for the identities of      10· ·wasn't an Antifa call, it's a BLM call.· That one?
     11· ·the other people on the call and you said you couldn't     11· · · · Q· · That's correct, yes.
     12· ·identify anyone on that call.                              12· · · · A· · Oh, yeah.
     13· · · · A· · That's not what I said.· That's -- we can go     13· · · · Q· · But you -- you -- you provided sworn testimony
     14· ·back to the transcript.· That's not what I said at all.    14· ·from Mr. Tiegen that that was not the call that you're
     15· · · · Q· · Well --                                          15· ·referring to, right?
     16· · · · A· · Where I said these are the people that I         16· · · · A· · It wasn't the call.· We -- it wasn't a BLM
     17· ·thought were on the call.                                  17· ·call.· This was definitely an Antifa call.· And I also
     18· · · · Q· · Okay.· Well --                                   18· ·remember inside the testimony that you guys said that
     19· · · · A· · I did -- I did not say that.· I did not say      19· ·Antifa didn't exist.· You did that in a court of law.
     20· ·that.· That is not -- and if you want to bring up the      20· ·You said that Antifa was just a thought, it wasn't
     21· ·deposition from before that I took for four hours, seven   21· ·actually a organization, and that turned out to be false
     22· ·hours actually, we can definitely walk through that.· If   22· ·as well.
     23· ·you want to bring that into this -- this equation, we      23· · · · Q· · Okay.· We're getting a little sidetracked
     24· ·can do that.· But that's not what I said.· And you're --   24· ·here.· My original question, Mr. Oltmann, was just, no
     25· ·you're recalling something from recollection, not from     25· ·one at Frank Speech has ever requested evidence to

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     ·1· ·something you're putting in front of me.· So if you'd      ·1· ·support statements that you made on their show after any
     ·2· ·like to put it in front of me, I definitely will go back   ·2· ·appearances on that show; is that correct?
     ·3· ·and -- and look at that.                                   ·3· · · · A· · I don't recall.
     ·4· · · · Q· · Okay.· What about the -- you've claimed on       ·4· · · · Q· · Okay.· Now, I just play you the clip from the
     ·5· ·repeated occasions that you have identified 13 Antifa      ·5· ·May 3, 2021, interview.· Just a few days later on May
     ·6· ·journalists?                                               ·6· ·9th, Mr. Lindell spoke about Dr. Coomer on Frank Speech
     ·7· · · · A· · I have.                                          ·7· ·at length.· And we're going to play that clip for you
     ·8· · · · Q· · And who are those 13 journalists?                ·8· ·now, that's what's been labeled as Clip 3.
     ·9· · · · A· · I don't have my notes with me right now.         ·9· · · · · · · (AUDIO PLAYED)
     10· · · · Q· · Can you name one of them?                        10· · · · Q· · Okay.· So this is Mr. Lindell in early May.
     11· · · · A· · Yeah.                                            11· ·Again, shortly after the -- the Newsmax public
     12· · · · Q· · Who?                                             12· ·retraction apology was issued to Dr. Coomer.· And we
     13· · · · A· · Heidi· · · Beedle.                               13· ·just heard Mr. Howse say that you had spoken with
     14· · · · Q· · Okay.· Can you name a second --                  14· ·Mr. Lindell at the Frankathon a couple weeks prior, and
     15· · · · A· · Sean Heidi· · · Beedle.· Yeah, Mackenbach, the   15· ·you had just appeared on Frank Speech a few days before
     16· ·guy that writes for the Colorado -- times reporter.· Do    16· ·that, so were you -- were you talking to Mr. Lindell
     17· ·you know who he is?· You guys sent information to him,     17· ·during this time frame about Dr. Coomer?
     18· ·apparently --                                              18· · · · A· · I don't recall.
     19· · · · Q· · Are you referring to Eric Malba· · ·ch?          19· · · · Q· · Do you know why he would be talking about
     20· · · · A· · Oh, you do?· Yeah, that guy.                     20· ·Dr. Coomer in that context?
     21· · · · Q· · You claimed he was on the Antifa call at one     21· · · · A· · I think everyone was talking about Dr. Coomer.
     22· ·point; is that correct?                                    22· · · · Q· · Well, not everyone.
     23· · · · A· · I don't recall if I said that or not.            23· · · · A· · No?
     24· · · · Q· · Okay.· Was he on the Antifa call?                24· · · · Q· · He says, "The evidence is there."· Do you know
     25· · · · A· · I'll have to go back and look at my notes. I     25· ·what evidence Mr. Lindell's referring to?




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     ·1· · · · A· · Do you want me to walk you through all the       ·1· ·for Eric Coomer. I've even told people to hold onto that
     ·2· ·evidence?                                                  ·2· ·information and we'll get back to it, that people have
     ·3· · · · Q· · Well --                                          ·3· ·brought forward against -- about Eric Coomer.· But
     ·4· · · · A· · I mean, I -- I don't really -- what's your       ·4· ·there's also a bunch of information about Eric Coomer
     ·5· ·question --                                                ·5· ·that's been scrubbed from the internet, taken off of
     ·6· · · · Q· · Let -- let -- let me ask it this way, has        ·6· ·Twitter.· So there's -- there's -- there's a ton of
     ·7· ·Mr. Lindell ever provided you any evidence about           ·7· ·stuff out there about Eric Coomer.· It does not hold him
     ·8· ·Dr. Coomer that you did not have already?                  ·8· ·in a very good light.
     ·9· · · · A· · I don't recall.· I've gotten a lot of            ·9· · · · Q· · All right.· So I'll take that to mean that --
     10· ·information related to Dr. Coomer that people have shown   10· ·that you don't recall any specific information that
     11· ·me that it's not related.                                  11· ·Mr. Lindell has provided you about Dr. Coomer that you
     12· · · · Q· · Okay, but you didn't disclose any                12· ·didn't have before, correct?· Is that correct, you don't
     13· ·communications from Mr. Lindell about Dr. Coomer, so.      13· ·recall any specific information --
     14· · · · A· · I didn't say that.· I said I don't recall.       14· · · · A· · I don't recall.
     15· ·You've been handing over information, so.                  15· · · · Q· · -- that you learned from Mr. Lindell?· Okay.
     16· · · · Q· · Did you conduct a search for those               16· ·Let's take a look at 242, we'll label this -- I've lost
     17· ·communications?                                            17· ·the exhibit stickers page.· Do you have that over there?
     18· · · · A· · I did.                                           18· · · · · · THE WITNESS:· Is there a way to tell who's in
     19· · · · Q· · And you didn't find anything?                    19· · · ·Dropbox?· Is there a way to tell in Dropbox if
     20· · · · A· · Nope.                                            20· · · ·you've shared -- who you've shared it with?
     21· · · · Q· · So is it safe to say that Mr. Lindell has        21· · · · · · MS. DEFRANCO:· No --
     22· ·never provided you any information about Dr. Coomer?       22· · · · · · THE WITNESS:· Or they just copy the link and
     23· · · · · · MS. DEFRANCO:· Object to the form.                23· · · ·send it to them?· I don't think there is.
     24· · · · A· · No.· Because I put stuff on a Dropbox and then   24· · · · · · MS. DEFRANCO:· No, you can tell.· You can tell.
     25· ·I can just share the link on the Dropbox, so it's stuff    25· · · ·It shows who you share it with.

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     ·1· ·that is readily available for the case that is openly      ·1· · · · · · MR. KLOEWR:· Thanks.· I'm not sure where we
     ·2· ·and publicly available.· I'll share that link with         ·2· · · ·left off.· Are we at number 40 --
     ·3· ·people, say, "Here's the link for Dropbox if you want      ·3· · · · · · MR. CAIN:· Six.
     ·4· ·access to it."· I mean, I was just -- Cain said            ·4· · · · · · MR. KLOEWR:· Six, so should I start at 47?
     ·5· ·yesterday that it was all publicly available and           ·5· · · · · · MR. CAIN:· No, this should be 46.
     ·6· ·debunked information.· But, I mean, I guess you could --   ·6· · · · · · MR. KLOEWR:· Forty-six, okay.
     ·7· · · · Q· · I'm just -- I'm just trying to understand if     ·7· · · · · · MS. DEFRANCO:· Not that I know.· Maybe you
     ·8· ·Mr. Lindell has any information about Dr. Coomer that      ·8· · · ·share it.
     ·9· ·you were not aware of before he provided it to you?        ·9· · · · · · THE WITNESS:· Okay.· You want some more water?
     10· · · · · · MS. DEFRANCO:· Object to the form.                10· · · · · · MS. DEFRANCO:· No, not yet.· Thanks.
     11· · · · A· · I don't know.· I don't know if that's the case   11· ·BY MR. KLOEWR:
     12· ·or not.                                                    12·
     13· · · · Q· · Okay.· Do you know if -- do you know if          13·
     14· ·Mr. Lindell is relying on anyone else for his claims       14·
     15· ·about Dr. Coomer?· Other than you.                         15·
     16· · · · A· · There -- there's a lot of information out        16·
     17· ·there.· Now, there's information out there for, I don't    17·
     18· ·know, Marco Polo.· There's information out there for       18·
     19· ·other -- there's other sources that have put information   19·
     20· ·out readily available that are directly related to Eric    20·
     21· ·Coomer, so it would not be shocking that he gathered       21·
     22· ·information from other sources.                            22·
     23· · · · Q· · Okay, but you're not aware of any of those as    23·
     24· ·you sit here today?                                        24·
     25· · · · A· · I'm aware of a lot of sources of information     25·
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     ·1·                                                             ·1· · · · Q· · Okay.· And you said you were on conference
     ·2·                                                             ·2· ·calls.· Were -- how -- how many conference calls do you
     ·3·                                                             ·3· ·recall being on to discuss the content --
     ·4·                                                             ·4· · · · A· · I've probably been on --
     ·5·                                                             ·5· · · · Q· · -- of the symposium?
     ·6·                                                             ·6· · · · A· · -- 400 to 500 calls --
     ·7·                                                             ·7· · · · Q· · Well --
     ·8·                                                             ·8· · · · A· · -- with people over the last two years.
     ·9·                                                             ·9· · · · Q· · I'm just referring specifically to the Cyber
     10·                                                             10· ·Symposium?
     11·                                                             11· · · · A· · Yeah, so I don't remember.· I don't recall.
     12·                                                             12· · · · Q· · Okay.· Who else would've been on those calls
     13· · · · Q· · -- early-summer time frame.· How frequently      13· ·other than Sherrona Bishop?
     14· ·would you say you were in contact with Mr. Lindell at      14· · · · A· · Other people related to -- to election
     15· ·that time?                                                 15· ·integrity.
     16· · · · A· · Not very often.                                  16· · · · Q· · So would Mike Lindell have partaken in those
     17· · · · Q· · Okay.· Did you ever, you know, were you          17· ·calls about the information that would be presented at
     18· ·calling him to chat or was it this sort of, you know,      18· ·the symposium?
     19· ·sporadic messaging from time to time?                      19· · · · A· · No.· They had a group of people that I wasn't
     20· · · · A· · I mean, I would call to chat -- to chat with     20· ·associated with, that I wasn't a part of.
     21· ·him, just to say hello, but not -- not very often.         21· · · · Q· · Okay.
     22· · · · Q· · Okay.                                            22· · · · A· · Core group, and then I would -- you know, I
     23· · · · A· · I don't think I call anybody very often.         23· ·didn't -- I don't really -- I don't ask to be involved
     24· · · · Q· · Okay.· Well, what I'm trying to understand is    24· ·in it.· If somebody asks me to, I will get involved in
     25· ·that we're -- we're getting up closer to the time of the   25· ·it.· But I don't try to get involved in all

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     ·1· ·Cyber Symposium.· Which, as we've discussed before,        ·1· ·conversations, I -- I take a more humble approach to
     ·2· ·occurred in August of 2021.                                ·2· ·service.· So if they want me and they need me, I'll --
     ·3· · · · A· · Okay.                                            ·3· ·I'll help them.· But I'm not necessarily going to just,
     ·4· · · · Q· · So I'm trying to understand your relationship    ·4· ·you know, go out there and be the brightest bulb in the
     ·5· ·with Mr. Lindell throughout that time period, because      ·5· ·room, which is typically not the case.
     ·6· ·you obviously presented at the Cyber Symposium on a        ·6· · · · Q· · So did Mr. Lindell, was he aware that these
     ·7· ·number of occasions.· We'll look at some of that video.    ·7· ·calls that you were on were taking place?
     ·8· ·I'm just trying to understand how you found yourself       ·8· · · · A· · I -- I have no -- I don't have any idea if he
     ·9· ·there.· So did Mr. Lindell invite you to the symposium?    ·9· ·did or didn't it.
     10· · · · A· · I don't recall who invited me.· Somebody         10· · · · Q· · Well, it -- it sounds like you were discussing
     11· ·invited me.· I think it was Sherrona Bishop.               11· ·the information that would be presented at the
     12· · · · Q· · Okay.· Did she send you an invite, did she       12· ·symposium.· And I'm trying to understand, were you
     13· ·call you?                                                  13· ·presenting ideas of what should be presented there?
     14· · · · A· · Uh-uh.                                           14· · · · A· · No.· So in -- when you're dealing with
     15· · · · Q· · Was that the first you heard of the Cyber        15· ·technology and things moving very fast, you find
     16· ·Symposium, when Ms. Bishop invited you to it?              16· ·yourself -- there's a lot of people, you can't tell if
     17· · · · A· · Well, I had been given and been invited to be    17· ·they're good people or bad people, that are -- you know,
     18· ·a part of conference calls.                                18· ·that want to influence the direction of the conversation
     19· · · · Q· · Okay.                                            19· ·or what's happening.· It's opportunity in chaos.· And so
     20· · · · A· · Where they would discuss the information to be   20· ·I would be brought in, and they'd say, "Well, what's the
     21· ·discussed at the symposium.                                21· ·likelihood of this being the reality from a systematic
     22· · · · Q· · Okay.                                            22· ·standpoint, that this is how the system operated?"· And
     23· · · · A· · And I would bring up things that -- that they    23· ·since I'm a -- kind of a bookworm when it comes to
     24· ·were just questions about what they were suggesting or     24· ·reading about Dominion, ES&S, Smartmatic, got access to
     25· ·theorizing on.                                             25· ·those things and I was able to study the -- the process.
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     ·1· ·They would ask me questions on whether or not they         ·1· · · · Q· · I -- I understand.· That's not the question
     ·2· ·thought that this was a feasible explanation.· And         ·2· ·I'm asking.
     ·3· ·anytime they brought a -- a theory forward with data, I    ·3· · · · A· · Well, I'm -- I'm answering the question.· You
     ·4· ·would always say that the likelihood of 1,000 people       ·4· ·want me to answer the question, I'll answer the
     ·5· ·being involved in the fraud are slim to none, that this    ·5· ·question.· I got involved in this directly related to my
     ·6· ·is -- this is directly related to the codebase inside      ·6· ·faith.· That's how I got involved in this from day one.
     ·7· ·these systems, and then I would point out the whys,        ·7· ·I didn't want to be involved in it, I didn't try to be
     ·8· ·related to how that would be effectively the way that      ·8· ·involved in it, and I didn't try to get involved in any
     ·9· ·they were able to cheat in the system.· And so I -- that   ·9· ·of the subsequent conversations.· I came out and talked
     10· ·-- I tried to create some sort of sensibility to maybe     10· ·about what I knew, and as a result of talking about what
     11· ·an overarching desire for people that don't understand     11· ·I knew, I am now living in a house with bulletproof
     12· ·technology, don't understand system architecture, or       12· ·glass and security cameras.
     13· ·don't understand code to try and synthesize or theorize    13· · · · Q· · That's not what I'm -- that is not what I'm
     14· ·on what was really happening with the voting machines in   14· ·asking at all, Mr. Oltmann.
     15· ·2020 and 2022.                                             15· · · · A· · Well, I'm -- I'm not -- I'm just answering the
     16· · · · Q· · So the folks who were trying to put together     16· ·question.
     17· ·the information that would be presented at the symposium   17· · · · Q· · Do you understand that you were partaking in
     18· ·--                                                         18· ·conversations --
     19· · · · A· · Uh-huh.                                          19· · · · A· · You have to let me finish answering the
     20· · · · Q· · -- they were looking to you as a -- as a         20· ·question.· You have to let me finish answering the
     21· ·source to confirm the validity of the information that     21· ·question.· I'm not done answering it, right?· And you
     22· ·was presented?                                             22· ·have to let me answer it.· You want me to answer it, I'm
     23· · · · · · MR. MALONE:· Object to form, foundation.          23· ·going to answer the question.
     24· · · · A· · You know, I don't even think that that's the     24· · · · Q· · Okay.· Please answer the question.· Did you
     25· ·case.· They just invited me to -- to have a seat at the    25· ·understand at the time that you were partaking in

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     ·1· ·table, given how I got involved in it and the system       ·1· ·discussions to prepare the information that would be
     ·2· ·architecture model that I built back in December of 2020   ·2· ·presented at the cyber symposium?· Yes or no?
     ·3· ·after a very short -- a very short study of the systems    ·3· · · · A· · No.
     ·4· ·related to Dominion and all the affidavits and             ·4· · · · Q· · Okay.
     ·5· ·everything else.                                           ·5· · · · A· · No, I would not say that that was the direct -
     ·6· · · · Q· · So is Sherrona Bishop who invited you to be a    ·6· ·- the characterization of those conversations.· Those
     ·7· ·member of these sort of talking groups to go through       ·7· ·conversations were to gather information on whether or
     ·8· ·this information?                                          ·8· ·not these theories that had come up out of nowhere were
     ·9· · · · A· · Sometimes.· I mean, I -- I do know that she's    ·9· ·-- or out of different places.· I don't want to say
     10· ·invited me to several meetings.                            10· ·nowhere, but come out of different places, whether they
     11· · · · Q· · And did you understand that she was inviting     11· ·had validity, whether they had any sort of substance to
     12· ·you on Mr. Lindell's behalf?· Was she working with him     12· ·the reality of what was really happening in the 2020
     13· ·to formulate a presentation for the symposium?             13· ·election.
     14· · · · A· · I can't -- I can't speak for Sherrona Bishop.    14· · · · Q· · Okay.· And one of those theories involved the
     15· ·I have no idea what their relationship is even today.      15· ·PCAPs that Mr. Lindell eventually presented at the
     16· · · · Q· · I'm just asking about your understanding at      16· ·symposium; is that correct?
     17· ·the time.· Like, did you know that -- that Mr. Lindell     17· · · · A· · Yes.
     18· ·was trying to put together a schedule for the symposium    18· · · · Q· · And did you have a chance to review that
     19· ·--                                                         19· ·information prior to the symposium?
     20· · · · A· · So --                                            20· · · · A· · I did not.
     21· · · · Q· · -- and that's why you're having these talks?     21· · · · Q· · Do you know who did?
     22· · · · A· · So look, some people get involved in stuff       22· · · · A· · I do not.· I do not.
     23· ·because they have motives, right?· I'm -- I'm a hundred    23· · · · Q· · Did you have any discussions with anybody
     24· ·percent driven by my faith, which got me involved in       24· ·about this particular theory about PCAPs providing
     25· ·this to begin with.                                        25· ·evidence of that the Chinese had interfered in the




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     ·1· ·election?                                                  ·1· ·that directly, I've just heard that as subscript from
     ·2· · · · A· · So this is a very, very tricky conversation      ·2· ·other people.
     ·3· ·because packet captures is something that in order to      ·3· · · · Q· · Okay.· What other people suggested that
     ·4· ·validate that, you have to have the end-to-end             ·4· ·Mr. Lindell was getting his information from Dennis
     ·5· ·encryption, you have to have the ability to untangle       ·5· ·Montgomery?
     ·6· ·what it was that was transferred.· But the system, if      ·6· · · · A· · I don't think he gets all of his information
     ·7· ·you look at the architecture of -- of Dominion             ·7· ·from Dennis Montgomery.· Let me characterize that. I
     ·8· ·specifically, if you look at that system, you would        ·8· ·think he got some information from Dennis Montgomery.
     ·9· ·never need that in order to operate, you would just need   ·9· · · · Q· · Okay.· So in these discussions leading up to
     10· ·a single set of -- a single code, a -- a root kit, a       10· ·the symposium, you know, there were many people who were
     11· ·single piece of code that would be able to activate        11· ·involved with this symposium, obviously.· We'll talk
     12· ·inside that system, that would cause that system to do     12· ·about the red team a little bit, the folks behind the
     13· ·the things that it did, namely in Arizona.· So the         13· ·scenes.· You were one of the few individuals that
     14· ·problem with focusing in on China coming in and, you       14· ·presented on stage.
     15· ·know, doing these things is that if you look at            15· · · · A· · Uh-huh.
     16· ·probability and just look at simple math, like the         16· · · · Q· · And you did that on several instances.· When
     17· ·probability of things happening based upon a probability   17· ·did you know that you would be making on-stage
     18· ·matrix, it's -- it didn't seem to me that it would         18· ·presentations at the symposium?
     19· ·correlate, unless it was activating a piece of code        19· · · · A· · I never knew.· I didn't know about Tina Peters
     20· ·inside those machines, that that could be possible.        20· ·until I got there. I hadn't had a conversation with Tina
     21· · · · Q· · And did you convey that skepticism about this    21· ·Peters until I got there.· That's not true.· I had a
     22· ·theory to Mr. Lindell prior to the symposium?              22· ·conversation with Tina Peters when I was headed there.
     23· · · · A· · I always -- I always -- I don't volunteer my     23· ·And, you know, the only thing that I said when all this
     24· ·information; I just give my thoughts and I tell people I   24· ·was happening was, "We have to make sure that there's a
     25· ·would check this out.· You know, since --                  25· ·certain business maturity to how information is

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     ·1· · · · Q· · Did you do that with Mr. Lindell?                ·1· ·collected and presented to the American people."· And I
     ·2· · · · A· · I did not.                                       ·2· ·made a suggestion that you -- that we not place
     ·3· · · · Q· · Okay.                                            ·3· ·information out in the general public that is not
     ·4· · · · A· · I did not.                                       ·4· ·vetted, validated, and solidified, like that, you know,
     ·5· · · · Q· · Do you know where the information about the      ·5· ·those things. And then so somebody said, "Well, we have
     ·6· ·PCAPs came from?                                           ·6· ·a -- somebody has to go on stage. All right, you go on
     ·7· · · · A· · I believe it came from -- and if I'm talking     ·7· ·stage."· And I was like, "Okay."
     ·8· ·out of hand, I might be, but I think it came from Dennis   ·8· · · · Q· · Were you surprised that there was no --
     ·9· ·Montgomery and Mary Fanning, I think, one of the two.      ·9· · · · A· · So --
     10· · · · Q· · Do you know Dennis Montgomery?                   10· · · · Q· · -- schedule for this three-day event, that
     11· · · · A· · I do not.                                        11· ·there was no planned presentations?
     12· · · · Q· · Have you ever attempted to reach out to him or   12· · · · A· · Mike is -- has a lot of people around him, and
     13· ·meet him?                                                  13· ·Mike is guided by his faith.· He is a man of immense
     14· · · · A· · I have not.                                      14· ·faith.· His belief in God is unwavering. And the reason
     15· · · · Q· · What about Mary Fanning?· Have you met her?      15· ·why he gets involved with things is not necessarily
     16· · · · A· · I have not.                                      16· ·based on what is -- you know, what is the most popular,
     17· · · · Q· · You've never spoken with her on the phone or     17· ·it's what is right.· He -- he's -- he unrelentlessly
     18· ·anything of that nature?                                   18· ·will pursue truth.· And so as a result, you -- you're --
     19· · · · A· · I have not.                                      19· ·you cannot stop Mike from speaking about that truth.
     20· · · · Q· · Okay.· And you didn't speak with either of       20· · · · Q· · Well, that -- I was asking if you were
     21· ·them prior to the symposium?                               21· ·surprised there was no schedule to the event.· And
     22· · · · A· · I did not.                                       22· ·you're aware that Mr. Lindell had offered a $5 million
     23· · · · Q· · When did you become aware that Mr. Lindell was   23· ·award prior to the event, correct?
     24· ·getting his information from Dennis Montgomery?            24· · · · A· · I did hear about that when I got there.
     25· · · · A· · I -- actually, Mr. Lindell's never told me       25· · · · Q· · Okay.· What did you understand that reward to




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     ·1· ·be offered for?                                            ·1· ·symposium promising verifiable evidence of election
     ·2· · · · A· · If they could, I think, approve or disprove      ·2· ·fraud.
     ·3· ·the PCAPs.                                                 ·3· · · · A· · Yeah.
     ·4                                                              ·4· · · · Q· · And it sounds like he didn't have any idea
     ·5· · · · Q· · Okay.· What do you mean disprove the PCAPs?      ·5· ·what he was going to present at that event even until --
     ·6· · · · A· · I don't -- again, I didn't even -- I didn't      ·6· · · · A· · Well I'm sure --
     ·7· ·even look at the -- even to this day, I have not looked    ·7· · · · Q· · -- moments before that event.· Is that -- am I
     ·8· ·at that.· I heard about it.· I -- I thought it was, you    ·8· ·correct in that?
     ·9· ·know, that I walked in and talked to all the coders that   ·9· · · · A· · I know -- I know that -- yeah, so I know that
     10· ·were in the room, the -- the guys that really smart,       10· ·he had access to information that I don't have access
     11· ·white hats, having conversations with them about the --    11· ·to, to this day.· I know that he'd seen stuff that I
     12· ·you know, what they were seeing when they were, you        12· ·don't have access to, so -- so I don't want to
     13· ·know, kind of trying to break down the -- what small       13· ·question --
     14· ·parts of the PCAPs they were provided.                     14· · · · Q· · Could you have the access if you wanted it?
     15· · · · Q· · Okay.· There's -- there's a lot to unpack in     15· · · · A· · I've never asked for it.· It's not my
     16· ·all this.                                                  16· ·expertise, so it'd be -- it'd like be -- be asking to --
     17· · · · A· · Okay.                                            17· ·to read something in Chinese, right, or Bidenese.· You
     18· · · · Q· · Now, the -- the promotional material for the     18· ·just can't --
     19· ·symposium preceded the symposium by a couple months, and   19· · · · Q· · What --
     20· ·this $5 million award was --                               20· · · · A· · You can't understand what you can't.· I stay
     21· · · · A· · Uh-huh.                                          21· ·in my lane.· Like, these are the things that I
     22· · · · Q· · -- was widely broadcast.· Do you recall that?    22· ·understand.· System architecture, I understand. I
     23· · · · A· · Yeah, it was.                                    23· ·understand why you would build the things you would
     24· · · · Q· · Okay.· And did you -- I just want to clarify     24· ·build.· I understand the mathematical way of working
     25· ·if you knew that the centerpiece of the symposium prior    25· ·around the probabilities of failure or success. I

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     ·1· ·to that time was going to be this PCAP information,        ·1· ·understand that stuff.· But if you ask me to read PCAPs
     ·2· ·that's what the $5 million award centered on.              ·2· ·and understand formulas or derivatives of where they
     ·3· · · · A· · Yeah, no, no.· I -- and again, I believe that    ·3· ·came from or -- or how it was created, that's -- that's
     ·4· ·there is a crapload of white noise out there, and so       ·4· ·not in my wheelhouse.· That would -- I -- I would be
     ·5· ·there's a lot of people that want to be validated and      ·5· ·able to validate that about as much as you could
     ·6· ·want that time that maybe necessarily weren't looking      ·6· ·validate the -- the computer code in a -- in a new
     ·7· ·out for Mike's best interest.· I'm not saying that         ·7· ·Tesla.
     ·8· ·that's the case with Mary Fanning or with Dennis           ·8· · · · Q· · So you've been working for years to assemble
     ·9· ·Montgomery or anyone else that's in front of him, but      ·9· ·and present evidence to the public of election fraud,
     10· ·some of the information, some of the people, in my         10· ·and you're telling me that Mike Lindell has evidence
     11· ·opinion, were not leading Mike in a place that was in      11· ·that he assured the country was evidence of that and you
     12· ·the best interest of what he was trying to -- they were    12· ·never asked for it?
     13· ·basically leading him away from truth.· Now, he            13· · · · A· · That's not true.· I didn't ask for information
     14· ·eventually came back and figured it out, and I believe     14· ·related to PCAPs. Those are two separate conversations.
     15· ·he did figure it out, but in real time, there's -- it --   15· · · · Q· · Why not?· If -- if it's true that the PCAPs
     16· ·it's like a fire hose of information and people are        16· ·are evidence the election was rigged, isn't that what
     17· ·constantly firing at you, what's true, what's not true.    17· ·you've been seeking for two years?
     18· ·And -- and because there's so many different theories      18· · · · A· · Yeah, so I'm not -- I -- I already have the
     19· ·out there that are not related to, for instance, what      19· ·evidence.· The evidence is overwhelming that the
     20· ·Clay Parikh was putting out and the information he had     20· ·Dominion system was designed to defraud the American
     21· ·coming out of Arizona related to his --                    21· ·people.· It's even more overwhelming if you look at the
     22· · · · Q· · Okay, well, that's -- I -- we're getting a bit   22· ·information that came out of 2022 in -- in Arizona.· If
     23· ·far field here. Basically, what I'm trying to get at is    23· ·you look at the -- Are we stopping here for a second or
     24· ·it -- it surprises me that Mike Lindell would promote a    24· ·are we good?
     25· ·$5 million award for months on end prior to the cyber      25· · · · · · MR. MALONE:· No, just keep going.




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     ·1· · · · · · THE WITNESS:· Okay.                               ·1· · · · Q· · You said you spoke with her on the way out?
     ·2· · · · Q· · Well, if it's true that the evidence that you    ·2· · · · A· · I did.
     ·3· ·have proves the election was rigged, then it seems like    ·3· · · · Q· · That was the first conversation you had?· Was
     ·4· ·that would contradict evidence that Mr. Lindell claims,    ·4· ·it --
     ·5· ·because you're· · · presenting a theory of --              ·5· · · · A· · Yes.
     ·6· · · · A· · Why would it?                                    ·6· · · · Q· · Were you on the flight with her out on Mike
     ·7· · · · Q· · Well, China and Dominion are two separate        ·7· ·Lindell's flight?
     ·8· ·things, correct?                                           ·8· · · · A· · I was not.
     ·9· · · · A· · Do you know who the private equity firms are     ·9· · · · Q· · What do you mean you had a conversation with
     10· ·that own Dominion, ES&S, and Smartmatic?                   10· ·her on your way out, then?
     11· · · · Q· · That's --                                        11· · · · A· · On the phone.· I had a conversation with her
     12· · · · A· · Are you familiar with that?                      12· ·on the phone.· That was the first time somebody gave her
     13· · · · Q· · That's not my question, Mr. Oltmann.· Just       13· ·my phone number and we connected.
     14· ·answer the --                                              14· · · · Q· · Who gave her your phone number?
     15· · · · A· · No, no, no, hold on.· And the same private       15· · · · A· · I don't recall.· I don't recall.
     16· ·equity firms also own interest in Stella -- stellar        16· · · · Q· · And who did you think was calling you when you
     17· ·Printing, Runbeck, and Cathedral Corporation, and that     17· ·received that call?
     18· ·they're all the same players.                              18· · · · A· · Well, I know it happened through Signal, and
     19· · · · Q· · So --                                            19· ·Signal has this deal where they -- it deletes the
     20· · · · A· · You also know that the -- the -- the system      20· ·messages, and so somebody said, "This person's going to
     21· ·going down 48 percent, it actually turns out to be         21· ·call you," and they hit a thing and Tina hit a thing to
     22· ·almost 70 percent when those systems stopped working in    22· ·-- you know, a -- a message request.· And from there,
     23· ·Arizona.· The probability of that happening is next to     23· ·called her --
     24· ·zero unless you actually interfered with the computers     24· · · · Q· · So -- so someone connected you through Signal
     25· ·themselves.                                                25· ·and you don't know who that person was?

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     ·1· · · · Q· · Objection, nonresponsive.                        ·1· · · · A· · I don't recall.
     ·2· · · · A· · That's --                                        ·2· · · · Q· · Okay.· Was it Con· · ·an Hayes?
     ·3· · · · Q· · Are you --                                       ·3· · · · A· · No, because I didn't -- the first time I ever
     ·4· · · · A· · You asked me about my expertise.· That wasn't    ·4· ·met Co· · ·nan Hay s was at the symposium.
     ·5· ·nonresponsive, I was answering on the expertise.· I'm      ·5· · · · Q· · Okay.· Was it Ron Watkins?
     ·6· ·also answering on the --                                   ·6· · · · A· · I, to this day -- actually, that's not true.
     ·7· · · · Q· · No, I asked you if the theories about China      ·7· ·I have met Ron Watkins.· I met him in -- in Arizona.
     ·8· ·conflicted with the theories about Dominion, and you're    ·8· ·No, I don't believe it was Ron Watkins.
     ·9· ·telling me about Runbeck in Arizona.· I'm just, let's --   ·9· · · · Q· · Was it Phil Waldron?
     10· · · · A· · All right, so let's look at the architecture     10· · · · A· · I -- I could not -- I had had lots of
     11· ·standpoint from --                                         11· ·conversations with Phil Waldron, but I don't believe
     12· · · · Q· · That's not what we're here to discuss.           12· ·that Phil Waldron was the person that was making
     13· · · · A· · But it is, because --                            13· ·connections.
     14· · · · Q· · I'm trying to understand something else.         14· · · · Q· · Patrick Byrne?
     15· · · · A· · -- Mike Lindell looked at the overall system     15· · · · A· · Absolutely not.· I don't remember.· I just
     16· ·architecture of fraud across the country.· Now, this is    16· ·know that it wasn't those people.
     17· ·not something that just appeared itself in 2020.· They     17· · · · Q· · Seems a little surprising you wouldn't recall
     18· ·just knew that there was such a high regard for            18· ·who introduced you to Tina Peters.
     19· ·President Trump.· Now, they have been stealing elections   19· · · · A· · Let me explain to you what was happening to me
     20· ·at local bases all the way up to the presidential for      20· ·at that time.· I had people coming to my house with
     21· ·decades.                                                   21· ·guns.· I had somebody send powder to my home in order to
     22· · · · Q· · Mr. Oltmann, we're going to get back on topic    22· ·terrorize my wife and my daughter.· I sat in the -- in
     23· ·here.· You said that you had never met Tina Peters         23· ·the -- the cul-de-sac while hazmat --
     24· ·before coming to the symposium; is that correct?           24· · · · Q· · Okay.
     25· · · · A· · Correct.                                         25· · · · A· · -- went and cleared my home.




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     ·1· · · · Q· · Mr. Oltmann --                                   ·1· · · · A· · You think that somebody out of nowhere came
     ·2· · · · A· · I have personal security 24 hours a day, seven   ·2· ·out and decided to go -- go find me at my house?· He has
     ·3· ·days a week and had to move them into my home.             ·3· ·full access to all this stuff.· He's connected to
     ·4· · · · Q· · We'll -- we'll go down this road because         ·4· ·Antifa, who by the way had been attacking me for months
     ·5· ·you've -- you've tried to change the subject many times,   ·5· ·prior.
     ·6· ·so let's just do it.· Let's get it out there.              ·6· · · · Q· · Mr. Oltmann, I'm asking you for specific
     ·7· · · · A· · You want to know why I can't actually remember   ·7· ·evidence you have that these individuals who you claim
     ·8· ·everything that happened at that time when I've got        ·8· ·came to your house and I'm -- I'll take your word at
     ·9· ·fires that are coming at me from every direction.· I've    ·9· ·that.· I was there last summer when Mr. Papas gave that
     10· ·got to protect my family and I've got to --                10· ·sworn testimony.
     11· · · · Q· · Let's talk about these threats.                  11· · · · A· · You were at my house?
     12· · · · A· · Yeah.                                            12· · · · Q· · No, I was in the courthouse in July of 2021,
     13· · · · Q· · You told Judge Wang on Tuesday that Dr. Coomer   13· ·when Greg Papas took the stand and provided testimony
     14· ·had directed these threats at you; do you recall that?     14· ·people had came to your house.· I take him at his word,
     15· · · · A· · I believe he did.· I didn't come out at          15· ·and I take you at your word that these things occurred.
     16· ·Dominion when I first came out.                            16· ·What I want to understand is how, what specific evidence
     17· · · · Q· · What is the basis for your opinion?              17· ·other than the fact that you talked about Eric Coomer
     18· · · · A· · I came out the information on Eric Coomer.       18· ·publicly, I'm asking for specific evidence that ties
     19· · · · Q· · Yeah.                                            19· ·Eric Coomer to those events.· What evidence do you have
     20· · · · A· · And the next day, I -- I literally start with    20· ·that he is in any way directly personally involved with
     21· ·death threats, the next day.· Two days later, I'm in a     21· ·these events that you have experienced?
     22· ·grocery store --                                           22· · · · A· · Did I come out against Eric Coomer or did I
     23· · · · Q· · What basis do you have --                        23· ·come out against Dominion when I --
     24· · · · A· · -- when a man walks up to me wearing a mask,     24· · · · Q· · Objection, nonresponsive.· What specific
     25· ·walks up to me wearing a mask and threatens me and my      25· ·evidence do you have tying Eric Coomer to the threats

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     ·1· ·family, two days afterwards.· By the - - by the end of     ·1· ·that have been directed against you personally?
     ·2· ·the week, I now have personal security that's having to    ·2· · · · A· · So you're telling me that all of this stuff
     ·3· ·watch over my daughter and my son.· I got a guy with       ·3· ·coming after me a day after I did that was just happened
     ·4· ·binoculars that's over across the street, across my        ·4· ·to be some crazy people?
     ·5· ·office.· I would say that it was like opening up hell on   ·5· · · · Q· · Objection, nonresponsive.· What specific
     ·6· ·me, yet I didn't say anything about Dominion.· I said,     ·6· ·evidence do you have --
     ·7· ·"This is the guy that said he did what he did."· And at    ·7· · · · A· · The evidence is the threats and how they came
     ·8· ·that point, it's either Dominion covering for him or him   ·8· ·at me over not just the days but the weeks and the
     ·9· ·directing people to come after me.· So that is how I       ·9· ·months and almost years that have followed.
     10· ·correlated those threats to Dr. Coomer, which by the       10· · · · Q· · Okay.· So you don't have any direct evidence
     11· ·way, he has a -- he has a habit of doing this.             11· ·tying Eric Coomer's threats to --
     12· · · · Q· · So I'm trying to distinguish between             12· · · · A· · I would not say -- I would not say that. I
     13· ·circumstantial evidence --                                 13· ·would not say that. I would not say that -- no, but
     14· · · · A· · Okay.                                            14· ·direct evidence is kind of a term that you guys like to
     15· · · · Q· · -- and direct evidence, okay?                    15· ·use in order to say that you have circumstantial
     16· · · · A· · Okay.                                            16· ·evidence. People have been convicted of murder on
     17· · · · Q· · So you would agree that you made the claims      17· ·circumstantial evidence, and people came after my
     18· ·about Dr. Coomer publicly, yes?                            18· ·family.
     19· · · · A· · I did.                                           19· · · · Q· · Well, what --
     20· · · · Q· · And it was a big national news story, correct?   20· · · · A· · I lived in a -- I lived in an RV literally
     21· · · · A· · It was.                                          21· ·with a metal box around me and my wife so we could sleep
     22· · · · Q· · And a lot of people were paying attention to     22· ·at night so that nobody shot into the RV while my house
     23· ·those claims, weren't they?                                23· ·was being done.
     24· · · · A· · Yes.                                             24· · · · Q· · But you don't --
     25· · · · Q· · So --                                            25· · · · A· · I had to redo my house to make sure that my




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     ·1· ·wife and my family were safe.· I had to put personal       ·1· · · · A· · That's not what I said either.· That's not
     ·2· ·security detail on my son at the university.               ·2· ·what happened and it's not a good characterization of.
     ·3· · · · Q· · I'm -- I'm aware of all this, Mr. Oltmann.       ·3· ·But you have a computer over there.· You could actually
     ·4· · · · A· · No, you're not.                                  ·4· ·play that video of what I actually said.
     ·5· · · · Q· · Yes, I am.                                       ·5· · · · Q· · I don't have all these specific exhibits ready
     ·6· · · · A· · You're not aware of it.                          ·6· ·to go,
     ·7· · · · Q· · You've said it many times.· I'm aware of these   ·7· · · · · · ·Mr. Oltmann, but answer me this way: do you
     ·8· ·issues.· You discuss them frequently.                      ·8· ·believe that there are any journalists that have
     ·9· · · · A· · Yeah.                                            ·9· ·animosity towards you?
     10· · · · Q· · And you've raised them many times in this        10· · · · A· · Antifa journalists have animosity toward me?
     11· ·case.                                                      11· ·Absolutely.
     12· · · · A· · Yeah.                                            12· · · · Q· · Okay.
     13· · · · Q· · What I'm trying to understand is how and why     13· · · · A· · You provide them information regularly on the
     14· ·you're tying those to Mr. Coomer.· And the reason I'm      14· ·cases provided for the Coomer versus either Lindell or
     15· ·asking that is because you have many enemies, don't you,   15· ·Coomer versus me.
     16· ·Mr. Oltmann?                                               16· · · · Q· · And do you believe that there are individual
     17· · · · A· · No, I don't.                                     17· ·members of Antifa other than Dr. Coomer, as by your
     18· · · · Q· · Well, I believe you just recently said that      18· ·characterization, that also bear animosity towards you?
     19· ·the entire Republican party of the state of Colorado is    19· · · · A· · I think that this little cabal-ish, little
     20· ·against you; is that your belief?                          20· ·group, fraternity that they've developed in Colorado and
     21· · · · A· · That's not true.· I said the establishment       21· ·across the country called Our Revolution and -- and
     22· ·hates me.                                                  22· ·other groups tied to Antifa, I do believe that they have
     23· · · · Q· · Okay.· So they're --                             23· ·animosity towards me because I'm tearing down the
     24· · · · A· · You can -- you can actually rephrase it and      24· ·constructs of their ability to do critical race theory
     25· ·say, "The establishments that hate you," and the -- the    25· ·and grooming of our children and -- and stealing our

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     ·1· ·answer to the question is yes, because it's a part of      ·1· ·elections and our voice.· Yeah, I would say that there's
     ·2· ·the Uni-party that aligns with this radical left           ·2· ·a lot of people that don't want that to happen.· They
     ·3· ·ideology.                                                  ·3· ·would love to usher in this Marxist, communist ideology.
     ·4· · · · Q· · Okay.· How many people are in the                ·4· · · · Q· · Okay.· What -- what about Patrick Byrne?· You
     ·5· ·establishment?                                             ·5· ·would agree that he bears a substantial amount of
     ·6· · · · A· · I don't know.· No idea.                          ·6· ·animosity towards you, correct?
     ·7· · · · Q· · A lot, right?                                    ·7· · · · A· · No, I don't think he does anymore.· I think he
     ·8· · · · A· · I -- I would -- I would venture to say no. I     ·8· ·said a bunch of things because he was mad at me.
     ·9· ·would venture to say that the talking heads are all put    ·9· · · · Q· · Okay.
     10· ·there for a reason.                                        10· · · · A· · I don't believe that he's mad at me anymore.
     11· · · · Q· · Okay.· And you've also said many times that      11· · · · Q· · What about Jovan Pulitzer?· You would agree
     12· ·there are many journalists who are out to get you, and     12· ·that you have a -- a
     13· ·I'm paraphrasing that.                                     13· ·--
     14· · · · A· · Show -- show me -- show me where I said that.    14· · · · A· · Treasure hunter?
     15· · · · Q· · Well, you've said yourself that Antifa           15· · · · Q· · -- contentious relationship with Mr. Pulitzer,
     16· ·journalists are --                                         16· ·right?
     17· · · · A· · Show me where I said that.                       17· · · · A· · Yeah, absolutely.
     18· · · · Q· · You have referred us to the October 15th --      18· · · · Q· · Okay.· What about Lin Wood?· You used to be a
     19· · · · A· · You said many times, I said this --              19· ·member of the FightBack board and he removed you from
     20· · · · Q· · Yeah.                                            20· ·that board, correct?
     21· · · · A· · -- so please show me where I've said that.       21· · · · A· · No, I resigned from that board.
     22· · · · Q· · One instance is on October 15th when you made    22· · · · Q· · Okay.· Do you still -- are you still in
     23· ·a speech at the Bandimere Speedway saying that you were    23· ·contact with Mr. Wood?
     24· ·-- that Antifa journalists were trying to take you down    24· · · · A· · I just sent him a text message yesterday.
     25· ·and you were trying to identify· · · --                    25· · · · Q· · Okay.· What about Doug Logan?· He was




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     ·1· ·interviewed on your show, and he stated that throughout    ·1· · · · A· · No, this is actually an answer to the
     ·2· ·the Maricopa process, he had gotten a lot of threats and   ·2· ·question.
     ·3· ·they mostly came from the right, not the left.· Do you     ·3· · · · Q· · -- that many of the other defendants may bear
     ·4· ·recall that?                                               ·4· ·animosity towards you.· I'm just trying to understand.
     ·5· · · · A· · No, I don't.· You want to show me where it was   ·5· ·There -- we've just gone through a long list of people
     ·6· ·said?· Do you have that interview?                         ·6· ·that you have had a contentious relationship with.· Some
     ·7· · · · Q· · I don't have that clip with me, I'm just         ·7· ·of them you've described as hating you.
     ·8· ·asking you if you recall it.· What about Max McGuire?      ·8· · · · A· · And none of those people actually got on a
     ·9· · · · A· · Well, how do -- wait, if you -- if you're        ·9· ·call and said, "Don't worry about Trump.· He's not going
     10· ·saying that I -- that I recall it, let's play it so that   10· ·to win.· I made fucking sure of it."· None of them
     11· ·I can recall it the same way you do.                       11· ·except for Eric Coomer.
     12· · · · Q· · I can find that clip and provide it for you --   12· · · · Q· · Well, he did not make those statements, but --
     13· · · · A· · Okay.                                            13· · · · A· · Are you saying he didn't make those
     14· · · · Q· · -- at a later time.                              14· ·statements?· Are you also saying he didn't make the
     15· · · · A· · Well, I can't answer the question at a later     15· ·statements that I fabricated all of the posts that were
     16· ·time.· We can answer it here, though, if you want to       16· ·on Facebook and then he subsequently erased those
     17· ·find it really quick.                                      17· ·Facebook posts --
     18· · · · Q· · I will strike the question.· We'll proceed.      18· · · · Q· · Mr. Oltmann --
     19· ·What about Max McGuire, Mr. Oltmann?                       19· · · · A· · -- and then told the world they didn't exist?
     20· · · · A· · Max McGuire's been my friend for a long time.    20· · · · Q· · Mr. Oltmann, Dr. Coomer has provided --
     21· · · · Q· · Is he still your friend?                         21· · · · A· · That one?· Or how about the one that ran
     22· · · · A· · I don't know.· We'll see.                        22· ·into --
     23· · · · Q· · What about Madison Marquette?                    23· · · · Q· · -- sworn testimony regarding this issue.· This
     24· · · · A· · Madison Marquette?· Never been my friend.        24· ·is not --
     25· · · · Q· · Okay.· What about --                             25· · · · A· · And I've provided sworn testimony to the -- to

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     ·1· · · · A· · You mean Madison Marquette, the ex-porn star     ·1· ·the affirmative.
     ·2· ·that literally is raising money for child trafficking,     ·2· · · · Q· · I'm not going to --
     ·3· ·but that money never goes to child trafficking, the one    ·3· · · · A· · That everything that I said was accurate and
     ·4· ·that there's an entire video on that basically shows       ·4· ·true.
     ·5· ·that she's defrauded people all over the country?· That    ·5· · · · Q· · We'll move on, Mr. Oltmann.· I'm just trying
     ·6· ·one?                                                       ·6· ·to establish that you have no direct evidence that
     ·7· · · · Q· · That's the one.· That's who I'm referring to.    ·7· ·Dr. Coomer has been involved in any of the threats
     ·8· ·What about, let's see here.· I mean, there are 24 other    ·8· ·against you, and it seems like you've not considered the
     ·9· ·defendants who have all been sued as a result of           ·9· ·possibility of many other entities that could have been
     10· ·publishing your claims about Eric Coomer.· Many of them    10· ·involved in any of that.· I'm not saying --
     11· ·have faced substantial financial consequences for being    11· · · · A· · They were -- so do you think they were
     12· ·involved in this litigation. Did it ever occur to you      12· ·involved in it on November 7th?· Do you think they were
     13· ·that some of them might bear animosity towards you?        13· ·-- or excuse me, November 10th, and then on November
     14· · · · A· · That they would bear animosity towards me?       14· ·11th, November 12th.· They weren't sued at that time.
     15· · · · Q· · Yeah.                                            15· ·Or how about the fact when they sent powder to my house?
     16· · · · A· · For speaking the truth?                          16· ·How about the fact the FBI never came back to talk to me
     17· · · · Q· · No, for getting them sued.                       17· ·or the fact that the FBI has now been involved and
     18· · · · A· · The truth is the hard roads.· You can sue        18· ·embroiled in more scandals than they have in the
     19· ·anyone for anyone -- anything across the entire country.   19· ·previous 50 years?
     20· ·And when you got a judge that literally marches in an      20· · · · Q· · Mr. Oltmann, you're aware that you and Andrea
     21· ·Antifa rally and holds up a sign that says she'll burn     21· ·Hall appeared on an interview on May 5th of last year
     22· ·down the world, and that person overrules a 20-year        22· ·where you stated that the package that was sent to your
     23· ·Judge, which is what happened in the case --               23· ·house was sent by a window company that was doing work
     24· · · · Q· · Objection, nonresponsive.· I'm just asking if    24· ·on your property.
     25· ·it's occurred to you --                                    25· · · · A· · That's not true.




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     ·1· · · · Q· · You know that's on video, right?                 ·1· · · · Q· · Okay.
     ·2· · · · A· · That's not true.· That's not true.· It came      ·2· · · · · · THE WITNESS:· You got that too, right?
     ·3· ·from a window company that was doing work in my house --   ·3· · · · · · MR. MALONE:· Yeah.
     ·4· ·but it didn't come from the window company.· It came       ·4· · · · A· · I also sent back a file to you guys showing
     ·5· ·from a envelope that had the window company on it that     ·5· ·that you didn't receive those and then resent them minus
     ·6· ·was their old logo from almost a decade ago.               ·6· ·the one document.
     ·7· · · · Q· · Okay.· I'm going to take Mr. Cain up on his      ·7· · · · Q· · Okay.· And -- and that -- that's the extent of
     ·8· ·suggestion that we take a break.· Let's take five          ·8· ·the information that you have on Dr. Coomer in your
     ·9· ·minutes.                                                   ·9· ·possession right now?
     10· · · · · · VIDEOGRAPHER:· Okay.· All right.· Going off the   10· · · · A· · In my possession.
     11· · · ·record at 10:53 a.m.                                   11· · · · Q· · Okay.
     12· · · · · · · (OFF THE RECORD)                                12· · · · A· · There's people that have come forward, but
     13· · · · · · VIDEOGRAPHER:· On record at 11:05 a.m. and this   13· ·those people have not yet signed affidavits, nor have
     14· · · ·is still 12-16-2022.· Our witness still is Joseph      14· ·they written any information to me.
     15· · · ·Oltmann.· Case is still 1:22-CV-0111 -- or             15· · · · Q· · Which people are you referring to?
     16· · · ·01129-WJM.                                             16· · · · A· · Just people that have come forward to say, "I
     17· ·BY MR. KLOEWR:                                             17· ·have information about Eric Coomer," and I was like,
     18· · · · Q· · All right, Mr. Oltmann, before we went off the   18· ·"Okay, let's put a -- put a pin in it.· I don't want to
     19· ·record, we had gotten a little distracted.· I want to      19· ·hear it right now."
     20· ·get back into the discussion of the symposium, but real    20· · · · Q· · Who -- who are those people?
     21· ·quick, if we could go back and just have a couple          21· · · · A· · Just people that other people have brought to
     22· ·clarifying questions about a few things we discussed       22· ·me.· I purposely have kept myself away from those
     23· ·before.· You mentioned at one point that you have a        23· ·particular individuals so that I don't create any sort
     24· ·Dropbox that you provide to people with all the            24· ·of connective tissue.
     25· ·information about Dr. Coomer; is that correct?             25· · · · Q· · You're trying to stay away from people who

                                                         Page 99                                                        Page 101
     ·1· · · · A· · Yeah.                                            ·1· ·have offered you information on Eric Coomer?
     ·2· · · · Q· · And is there a reason why we haven't been        ·2· · · · A· · Yep, I am.
     ·3· ·provided a link to that Dropbox yet?                       ·3· · · · Q· · Which people are you trying to stay away from?
     ·4· · · · A· · You actually have.                               ·4· · · · A· · Friends of his that he's had in the past,
     ·5· · · · Q· · When?                                            ·5· ·people that he's had relationships with, girlfriends --
     ·6· · · · A· · It's discovery information, so it's all been     ·6· · · · Q· · Like -- like --
     ·7· ·provided to you in discovery.                              ·7· · · · A· · -- ex-wives.
     ·8· · · · Q· · Okay, so everything that's in that folder is     ·8· · · · Q· · Who?· Who are these people?
     ·9· ·what you provided to us over the last few days?            ·9· · · · A· · I don't know.· I can't recall their name from
     10· · · · A· · I provided more information because as I start   10· ·-- from memory.
     11· ·collecting more information from other sources, I          11· · · · Q· · Okay.· So you don't remember anybody who's
     12· ·finally decided after I saw your argument with Judge       12· ·come to you with information about Eric Coomer?
     13· ·Wang that maybe I should start creating a depository of    13· · · · A· · Not with their -- not their names, no.
     14· ·information.· So I'm actually in the process right now     14· · · · Q· · Okay.
     15· ·of pulling down information from every known source,       15· · · · A· · But there's a lot of it out there.
     16· ·including every bit of information from every different    16· · · · Q· · You had also mentioned before that you'd be --
     17· ·state.                                                     17· ·you could provide us the information from the CD21 promo
     18· · · · Q· · So the Dropbox you referred to before, have      18· ·code if we requested it.
     19· ·you provided us all the information that's contained in    19· · · · A· · What information do you want?
     20· ·that Dropbox?                                              20· · · · Q· · The revenue that's been derived from the CD21
     21· · · · A· · I have.                                          21· ·promo code.· And I'm also wondering if you could clarify
     22· · · · Q· · Okay.· And that's -- those are the e-mails       22· ·just which entity it -- it is that's collecting that
     23· ·you've sent over the last couple days, including various   23· ·revenue.· Is that going to CD Solutions?
     24· ·reports, things of that nature?                            24· · · · A· · It is.
     25· · · · A· · Yeah.                                            25· · · · Q· · Okay.· And then just the last cleanup




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     ·1· ·question, you had mentioned at the beginning that you      ·1· ·put you in touch.· Why did -- why was someone putting
     ·2· ·called the Secretary of State to confirm your voter        ·2· ·Tina Peters in touch with you?
     ·3· ·status.                                                    ·3· · · · · · MS. DEFRANCO:· Object to the form.
     ·4· · · · A· · Yep.                                             ·4· · · · Q· · Do you know?
     ·5· · · · Q· · Are -- are you referring -- I'm assuming         ·5· · · · A· · Can I answer it?· I don't know.
     ·6· ·you're not referring to Jena Griswold.· Who did you        ·6· · · · Q· · What did you discuss with Ms. Peters?
     ·7· ·speak with at Secretary of State's office?                 ·7· · · · A· · The 2021 municipal election and the fact that
     ·8· · · · A· · How relevant is that to this?· Why is it         ·8· ·there was huge irregularities and that there was an
     ·9· ·relevant?                                                  ·9· ·investigation that she had underway because there was a
     10· · · · Q· · That's a question --                             10· ·whole lot of really just uneasy feelings she was getting
     11· · · · A· · Are you doing the dirty work for somebody else   11· ·from dealing with the Secretary of State's office and
     12· ·that called me? Because by the way, the -- the Nine News   12· ·the fact that they were coming in to cover up those
     13· ·called me too in order to suppress my vote.· I did not     13· ·crimes that were committed by Dominion and the Secretary
     14· ·vote in Texas.· I still own a house here in Colorado.      14· ·of State's office when they were colluding to build in
     15· ·As a result, I voted here because I did not have full      15· ·this trusted bill.· And then she discussed the other
     16· ·status in Texas.· So if what you're asking me is whether   16· ·information related to other pieces and parts as they
     17· ·or not you want to deprive me of the ability to vote or    17· ·did imaging on the system that would lead to uncovering
     18· ·to investigate my ability to vote in one state over        18· ·more of an understanding of how they committed the
     19· ·another --                                                 19· ·fraud, not just in Mesa County but across the country,
     20· · · · Q· · Mr. Oltmann, objection, nonresponsive.           20· ·and that she felt before that as if the elections were
     21· · · · A· · -- that's irrelevant to this case.· This is      21· ·safe and secure, and now she feels as if she's been
     22· ·about Mike Lindell, this is about My Pillow, and this is   22· ·betrayed and she's betraying the people in -- in her
     23· ·about Frank Speech.· That --                               23· ·community as a result of that betrayal.
     24· · · · Q· · No --                                            24· · · · Q· · Okay, so -- and so you had never spoken with
     25· · · · A· · That is not directly related --                  25· ·her beforehand?

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     ·1· · · · Q· · Objection --                                     ·1· · · · A· · I had not.
     ·2· · · · A· · -- to any of those three.                        ·2· · · · Q· · Did you know that she had engaged Conan Haye
     ·3· · · · Q· · -- nonresponsive.· Mr. Oltmann, the judge is     ·3· ·s to help her copy the Mesa County information?
     ·4· ·going to make determinations of what's relevant in this    ·4· · · · A· · I did not.
     ·5· ·case.· I'm just asking, you stated under oath that you     ·5· · · · Q· · Okay.· Did you know that Patrick Byrne was
     ·6· ·spoke to the Secretary of State about your voter status.   ·6· ·involved with that process?
     ·7· ·I'm asking who you spoke with.                             ·7· · · · A· · I did not.
     ·8· · · · A· · I said I called the Secretary of State's         ·8· · · · Q· · You never discussed it with him while you were
     ·9· ·office.                                                    ·9· ·--
     10· · · · Q· · Okay.· And did you -- who did you speak with     10· · · · A· · I did not.
     11· ·there?                                                     11· · · · Q· · -- filming with him in Arizona?
     12· · · · A· · I -- I don't -- I don't recall.                  12· · · · A· · I did not.
     13· · · · Q· · Okay.· When did you call them?                   13· · · · Q· · He didn't mention to you that -- his contact
     14· · · · A· · Two days before the election when I flew in.     14· ·with Mr. Hayes?
     15· · · · Q· · Okay.· And you spoke to a customer service       15· · · · A· · I did not.
     16· ·representative or someone of that nature?                  16· · · · Q· · Okay.· And I believe you said before that you
     17· · · · A· · You actually go -- you get on hold first,        17· ·had not met Mr. Haye· · ·s until the symposium; is that
     18· ·somebody answers the phone, then it goes through.· You     18· ·correct?
     19· ·can ask for different sources and resources and then       19· · · · A· · I had not.
     20· ·they transfer you to those resources.                      20· · · · Q· · Okay.· You didn't have any communications with
     21· · · · Q· · Okay.· All right.· Let's get back into the       21· ·him prior to that time regarding the intracounty data,
     22· ·timeline here.· We left off, I believe, around the time    22· ·for example?
     23· ·when you were arriving at the cyber symposium.· We         23· · · · A· · I may have been on a call with him.· Symposium
     24· ·talked a little bit about your call with Ms. Peters.       24· ·was in 2021.
     25· ·Somebody wanted her to call you.· You don't recall who     25· · · · Q· · It was in August, yes.




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     ·1· · · · A· · Okay.· So I had not met him until 2021.· I had   ·1· ·that you could -- I call them the big cons, the small
     ·2· ·been involved in several conversations in early 2021 or    ·2· ·cons.· It's a diagram.· And the diagram shows how you
     ·3· ·late 2020 if I recall.· No, early 2021 I think.            ·3· ·can actually inject or manipulate the voting system with
     ·4· · · · Q· · Okay.· So you never spoke to him at the time     ·4· ·Dominion.
     ·5· ·when he was involved with the (inaudible)                  ·5· · · · Q· · And this is the flow chart you presented on
     ·6· ·?                                                          ·6· ·January 5th at Freedom Plaza?
     ·7· · · · A· · So I want to clarify, I did not know his name    ·7· · · · A· · Yeah.
     ·8· ·was Con· · ·an Haye s, so --                               ·8· · · · Q· · So you met Mr. DePerno for the first time on
     ·9· · · · Q· · Okay, but you --                                 ·9· ·the 5th.
     10· · · · A· · -- I want to be really clear.· He went by a --   10· · · · A· · Yeah.· So --
     11· ·a deal called CH, so I would -- I was in a Signal group    11· · · · Q· · In Washington DC?
     12· ·with what was called CH and I didn't know that -- know     12· · · · A· · When I got to Washington DC, I was asked to go
     13· ·that was Con· · ·an, nor did anyone ever use his name.     13· ·to a hotel. Before I'd gotten there, I had people that
     14· · · · Q· · Okay.                                            14· ·were old -- the ex-DNI people, DHS people, people that
     15· · · · A· · And the only time that I had heard his name      15· ·were actively in DHS.· I had people that were working
     16· ·was from Matt DePerno, and it wasn't in a shining light.   16· ·inside of intelligence communities that remained unnamed
     17· · · · Q· · And when did this -- when were these             17· ·to this day.· Ex-CIA guys that were -- I don't know if
     18· ·communications on the CH Signal channel happening?         18· ·you're ever ex when you're CIA, but they came and
     19· · · · A· · Late 2020 or early 2021.                         19· ·started grilling me.· They were grilling me on the
     20· · · · Q· · And in addition to Mr. DePerno, who else was     20· ·information on this model, because I sent the model in
     21· ·involved in that Signal thread, CH?                        21· ·late December.· I got involved in that after I was sued.
     22· · · · A· · Jim Penrose.· I want to say Stephanie Lambert,   22· ·And I'm like, all right, well let's dig in and see if
     23· ·but I might be putting different conversations together.   23· ·this is even possible.
     24· · · · Q· · Doug Logan?                                      24· · · · Q· · Are you describing the -- the conversations
     25· · · · A· · I had never talked to Doug Logan until I want    25· ·you had at the State Department?

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     ·1· ·to say mid-2021.                                           ·1· · · · A· · No, that's afterwards.
     ·2· · · · Q· · Okay.· Do you know if he was involved in the     ·2· · · · · · MR.· KLOEWR: This was prior to this?
     ·3· ·Signal communications on the CH channel?                   ·3· · · · · · THE WITNESS: These are people that came and
     ·4· · · · A· · Not that I'm aware of, no.                       ·4· · · ·wanted to validate that -- that I -- I wasn't just
     ·5· · · · Q· · Phil Waldron?                                    ·5· · · ·coming out of the woodwork saying, I know, I
     ·6· · · · A· · I'm pretty sure Phil Waldron was, yes.           ·6· · · ·understand the system architecture.
     ·7· · · · Q· · Mark Cook?                                       ·7· · · · Q· · And you were having these meetings with these
     ·8· · · · A· · I've had conversations with Mark Cook, but I     ·8· ·people, with Matt DePerno at the Trump Hotel?
     ·9· ·would not say that I had conversations with Mark Cook on   ·9· · · · A· · No.· No.· So I had the meetings with them.
     10· ·those.· But it's -- it would not be -- Mark Cook shows     10· ·One person would come in and another person would come
     11· ·up everywhere.· He's literally everywhere.· Every          11· ·in.· Yeah.· They just sat me down and start asking me a
     12· ·conversation, every group that I have a conversation       12· ·bunch of questions.
     13· ·with at some point is talking to Mark Cook.                13· · · · Q· · Who was sending these people to you?
     14· · · · Q· · Ron Watkins?                                     14· · · · A· · No idea.· He was wondering, well, is someone
     15· · · · A· · He disappeared, so I don't -- I don't remember   15· ·else going to come talk to you?
     16· ·when he came into the picture and left the picture.· But   16· · · · Q· · Who told you somebody's -- how did you find
     17· ·--                                                         17· ·yourself in a room where ex-security officials were
     18· · · · Q· · You don't recall if he was part of those         18· ·presenting themselves one by one?
     19· ·conversations in late 2020 on the CH Signal channel?       19· · · · A· · You ever seen Forrest Gump?
     20· · · · A· · No, I don't think he was.· No.                   20· · · · Q· · Yes.
     21· · · · Q· · Okay.· You said Mr. DePerno got you involved     21· · · · A· · All right.· So I mean, look, I -- I didn't ask
     22· ·on that channel. When did you first meet Matt DePerno?     22· ·for it.· They just asked me -- I sent the model to a
     23· · · · A· · On January 5, 2021.                              23· ·bunch of people, including John -- John Easton.
     24· · · · Q· · You met him on the 5th?                          24· · · · Q· · Eastman?
     25· · · · A· · I was being -- I wrote this model for the ways   25· · · · A· · Eastman, sorry.· And a guy named Terry.· And




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     ·1· ·then I was having conversations with them about what the   ·1· ·me first because they said, well, all these posts for
     ·2· ·system would have to look like in order to create the      ·2· ·Coomer were all made up based on a December, I think,
     ·3· ·fraud and to syndicate it.· Then I read all the 5,000      ·3· ·9th op-ed written by Eric Coomer.
     ·4· ·affidavits.                                                ·4· · · · Q· · So you said Congressman Johnson.· Which
     ·5· · · · Q· · So why did you send this information to John     ·5· ·Johnson are you referring to?
     ·6· ·Eastman?                                                   ·6· · · · A· · Ron Johnson.· Ron Johnson.
     ·7· · · · A· · I sent him the model.· He said, here's the       ·7· · · · Q· · The senator from Wisconsin, Ron Johnson?
     ·8· ·model --                                                   ·8· · · · A· · Let me check real quick.
     ·9· · · · Q· · How did you know John Eastman?· I mean, how      ·9· · · · Q· · Sure.
     10· ·did you -- what made you think that Mr. Eastman would      10· · · · A· · Yeah.· So I can't -- I can get that
     11· ·appreciate that communication?                             11· ·information back to you if you want me to.· I can tell
     12· · · · A· · I think -- I don't know who came first, but it   12· ·you who that person is for clarification.
     13· ·was either Phil Waldre· · ·n or it was the ex-CIA guy.     13· · · · Q· · Sure.· Yeah.· You mentioned a congressman from
     14· · · · Q· · Faddis?                                          14· ·Pennsylvania.· Are you referring to Scott Perry?
     15· · · · A· · Faddis.· That was Charles Faddis who flew in.    15· · · · A· · I think so, yeah.
     16· ·It was the weirdest meeting I've ever met with anyone in   16· · · · Q· · Any other Congresspeople you met with?
     17· ·my life.· Sat down, had dinner with me, and then           17· · · · A· · I didn't meet with them.· I met with their
     18· ·disappeared, literally disappeared.                        18· ·teams.
     19· · · · Q· · Was the investigator hired by Sidney Powell to   19· · · · Q· · Their staff.· Okay.
     20· ·investigate your claims?                                   20· · · · A· · So as I started, because the -- it started to
     21· · · · A· · He said he was, but then Sidney Powell said he   21· ·get a little frosty with them because with the people
     22· ·wasn't.· So then I eventually reached out to Sidney        22· ·that we're talking, because they said, well, you
     23· ·Powell and said, you know, what gives?· Who is this guy?   23· ·fabricated all these Facebook posts.· And I think that
     24· ·Does he worked with you?· And I actually didn't directly   24· ·started around the 10th of -- of December.· It got
     25· ·talk to Sidney Powell.· I talked to somebody that worked   25· ·really, really dicey.· It got really dicey for me from a

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     ·1· ·for Sidney Powell.· And that guy said, I'll check with     ·1· ·safety standpoint.· So -- so I had to provide all of
     ·2· ·Sidney.· Checked with Sidney.· He says, well, he doesn't   ·2· ·those posts.· And then I -- somebody asked me to -- to
     ·3· ·work with us, right?· And so then I was a little           ·3· ·provide another affidavit.· I ended up never -- to not
     ·4· ·confused, like, why is this guy flying all the way out     ·4· ·do the affidavit because people just kept then lining up
     ·5· ·here saying he works with her when he doesn't?· And        ·5· ·and calling me and e-mailing me.· And one person led to
     ·6· ·that's when the -- you know, I mean obviously, and --      ·6· ·another person.· And so then they said -- I said,
     ·7· ·and Greg Papas was there the whole time.· And there's      ·7· ·listen, I'm going to put this informed for you.· I'm
     ·8· ·not a time in the -- that 16 months that he wasn't right   ·8· ·going to show you how the election fraud occurred.· Now
     ·9· ·next to me.                                                ·9· ·again, I wasn't ever dealing with Dr. Shiva.· I didn't
     10· · · · Q· · So in those meetings you're having on the 5th,   10· ·deal with the team that was put together.· That was in
     11· ·if I understand correctly, Charles Faddis or Phil          11· ·the other hotel in December.· I did it all based on
     12· ·Waldron referred you to John Eastman?                      12· ·information that was sent to me.· Manuals, RFPs, RFQs,
     13· · · · A· · I think so.                                      13· ·documents, schematics, videos.· I would take all that
     14· · · · Q· · You provided a flow chart to John Eastman.       14· ·information, put it together.· I build out this huge
     15· ·John Eastman, then scheduled meetings with you and         15· ·board.· And then from that board, I was able to tell you
     16· ·former security officials who came to speak with you?      16· ·how the fraud occurred from the machines. The only thing
     17· · · · A· · No.· No, I think it -- I think that one --       17· ·that was I unsure of was you had this information coming
     18· ·Faddis or Eastman came first.· Eastman might have heard    18· ·in saying that there was all these signals that were
     19· ·about it through some of these other people, because I     19· ·coming in from different countries around the world, and
     20· ·was also -- I sent all that information over to            20· ·it's how it influenced.· But if you look through the
     21· ·Congressman Johnson's office.· I had a conversation with   21· ·schematics of Dominion and ESMS specifically, that's
     22· ·his staff.· I had a conversation with staff at the         22· ·impossible. You don't need that because of the up flow
     23· ·Congressman in Pennsylvania's office.· There's four or     23· ·from Dominion and ESMS recital --
     24· ·five different congressional offices that were -- that I   24· · · · Q· · And what you produced, and you shared that
     25· ·was providing information to them because they contacted   25· ·with these people?




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     ·1· · · · A· · Yeah.· And so I tried to simplify it so that     ·1· ·right.· I said, the system's going to go down, it's
     ·2· ·the American people could understand it, and the people    ·2· ·going to come back up.· It's going to start out with the
     ·3· ·that -- that don't understand technology can understand    ·3· ·Democrats losing, and it's going to end up with the
     ·4· ·it.                                                        ·4· ·Democrats winning.· And here's some of the indicators
     ·5· · · · Q· · So you met Mr. DePerno at that time?             ·5· ·that you're going to have.
     ·6· · · · A· · I sat down on the couch after being grilled      ·6· ·BY MR. KLOEWR:
     ·7· ·for -- yeah, for about six hours, seven hours.· I sat      ·7· · · · Q· · When you say with them, you're talking about
     ·8· ·down on the couch and there was a guy sitting down next    ·8· ·John Eastman?· Who else?· Who's there?
     ·9· ·to me and I look over at him and I go, what are you here   ·9· · · · A· · I don't -- I don't remember the somebody else.
     10· ·for?· And then I just reached out my hand --               10· ·And they -- they laughed at me.
     11· · · · Q· · So it was by chance that you sat next to Matt    11· · · · Q· · So was this Mr. Giuliani?
     12· ·DePerno --                                                 12· · · · A· · No, I -- I only sat -- that's a totally
     13· · · · A· · I had --                                         13· ·different conversation that occurred.· And that was on
     14· · · · Q· · -- after meeting with security officials on      14· ·the 7th.· Excuse me.· No, that was on the 6th.· Jan 6th.
     15· ·January 5th, right? You found yourself on a couch next     15· ·That was on January 6th that night.· It was the first
     16· ·to Matt DePerno?                                           16· ·time that I had conversations with Giuliani.· And that
     17· · · · A· · Yes.                                             17· ·by itself is -- I -- I -- that'd be a great topic to go
     18· · · · Q· · Okay.· Did he know who you were?                 18· ·through in deposition.· But -- so then I went to -- I
     19· · · · A· · Nope.                                            19· ·was asked to go out on the stage.· When I went out on
     20· · · · Q· · Did you know who he was?                         20· ·the stage, as soon as I started talking and we put the
     21· · · · A· · Nope.                                            21· ·model up on the screen, all of the media went dark.· So
     22· · · · Q· · You weren't -- you hadn't ever reached out to    22· ·all the media was up there talking and letting people
     23· ·him following the Antrim County report?                    23· ·talk and they were freely disseminating it.· And
     24· · · · A· · No.· No, but I did shake his hand and I did --   24· ·literally the second that I put that up there, and you
     25· ·I was aware of the Antrim report because the Antrim        25· ·can check this from every YouTube video to even direct

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     ·1· ·report gave me a -- a deep dive into the imaging, you      ·1· ·markets, they all went dark.· All of them went down.
     ·2· ·know, from a very high level.· And so then that was able   ·2· · · · Q· · So that's the information that you went with
     ·3· ·to validate some of the things that I got from the         ·3· ·Mr. DePerno to present at the State Department the next
     ·4· ·information from the -- the logs, information I got from   ·4· ·day?
     ·5· ·the -- the systems chromatics that were -- that were       ·5· · · · A· · No, that's actually not even how I ended up at
     ·6· ·readily available.                                         ·6· ·the State Department.· Ended up at the State Department
     ·7· · · · Q· · So how did you find yourself at the Secretary    ·7· ·because at 2:00 in the morning I get a phone call from,
     ·8· ·of State's office with Mr. DePerno the next day?· Did      ·8· ·I think it was either Waldron or, or Eastman or there
     ·9· ·somebody refer you there?                                  ·9· ·were several of them.· There's another guy that -- I
     10· · · · A· · Okay, so that night on the 5th, I went on the    10· ·still can't remember his name that was there.· What was
     11· ·stage.· And before that, I had to -- had a meeting with    11· ·his name?· They called me and said, how'd you know?· You
     12· ·a couple of people.· I think one of them was John          12· ·need to come over here to the -- the hotel.
     13· ·Eastman.· Sorry.· I always say that wrong.                 13· · · · Q· · With Robert Patrick Lewis?
     14· · · · · · VIDEOGRAPHER:· Sorry to interrupt.· Does          14· · · · A· · Robert Patrick Lewis?
     15· · · ·anybody have their cell phone by their -- by their     15· · · · Q· · First Amendment Victorians?
     16· · · ·wireless?                                              16· · · · A· · I did meet him there, but he wasn't involved
     17· · · · · · THE WITNESS:· No.                                 17· ·in any of this.· He was just security, I think.· He
     18· · · · · · VIDEOGRAPHER:· Sometimes it's -- it's -- could    18· ·said, how did you know?
     19· · · ·you kind of see if you could space it out.· I'm        19· · · · Q· · Dennis Waldman (phonetic)?· Is that who called
     20· · · ·hearing some kind of buzz from them.                   20· ·you?
     21· · · · A· · Sarah Wells, the FBI, you're on my phone.        21· · · · A· · No, I only met him once.· I shook his hand and
     22· ·I'll move it over. Okay.· So I sat down with them, and I   22· ·walked away.· And I said, I'm clairvoyant.· I laughed
     23· ·said, let me just tell you what's going to happen          23· ·because I was like, this is stupid.· I mean, I could
     24· ·tonight with the election with Georgia, the Georgia        24· ·have built this election system in my basement.
     25· ·election, the runoff election.· And they said, all         25· · · · Q· · So Mr. Eastman then put you in touch with




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     ·1· ·officials at the State Department and said that you need   ·1· · · · A· · Well, keep in mind that as all this stuff was
     ·2· ·to hear from this guy?                                     ·2· ·-- and I don't understand the government apparatus
     ·3· · · · A· · No.· So then somebody else reached out to        ·3· ·either.· I -- I've never been involved in politics. I
     ·4· ·somebody in the State Department and they said, you're     ·4· ·don't particularly like it.· I think it's trash, right?
     ·5· ·going to the State Department today.· And that was -- I    ·5· ·Both sides of the party.· But if you start looking at
     ·6· ·mean, I just got here.· I don't remember.· I mean, look,   ·6· ·everyone's duties and responsibilities, everyone was
     ·7· ·it -- it was a blur.· I mean, I'm going to -- I'm going    ·7· ·putting their hand in the cookie jar.· I mean, there was
     ·8· ·to place and I'm unfamiliar with.· Everyone is talking     ·8· ·no one that wasn't trying to get a piece of what's
     ·9· ·about power and money, and you have people that are        ·9· ·happening in the country.· It was pandemonium.
     10· ·walking up to me saying, oh, you know, there's some        10· · · · Q· · Okay.· So through these contacts, you and Mr.
     11· ·great opportunities. And they're -- they're trying to --   11· ·DePerno were referred to the State Department and that's
     12· ·it -- it's the craziest environment ever, because I        12· ·where you met with Bob Destro and Mike Pompeo?
     13· ·didn't feel like all of these people really cared about    13· · · · A· · I did not meet with Mike Pompeo.· I met with
     14· ·whether or not we were looking at what was true and not    14· ·counsel for Mike Pompeo.
     15· ·true in the election.· I think some of them did. I         15· · · · Q· · Okay.· And Bob Destro?
     16· ·think John Eastman did.· But there was a lot of people     16· · · · A· · Bob Destro I do believe was involved in some
     17· ·there that were just kind of hanging on and looking for    17· ·of the conversations, yes.· I don't know if he was there
     18· ·opportunities.· And, you know, I wanted nothing to do      18· ·at the time that we were talking to them.· No.
     19· ·with it.· I just -- I wanted to get in, talk about the     19· · · · Q· · And he presented you the flowchart and
     20· ·things that were -- were true.· The stuff that I           20· ·explained to him?
     21· ·uncovered inside the system because I got sued, because    21· · · · A· · And then -- and then somebody said -- I can't
     22· ·I doubled down.· As soon as you come after me, right?      22· ·-- I still can't remember that one guy's name.· And I
     23· ·I'm going to double down.· I'm going to go, okay, well     23· ·never wrote it down.· He's like a ghost. And I keep
     24· ·let's -- let's validate it.                                24· ·asking everybody what his name is.· I even asked Phil
     25· · · · Q· · So why were you sent to the State Department?    25· ·Waldron what his name is.· He's like, well, what's this

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     ·1· ·I -- I've never understood what -- what did the State      ·1· ·guy look like?· Clean shaven? Mid-fifties?· So as we --
     ·2· ·Department -- what interested did they have in this        ·2· ·as we sat there, I think it was, here's the diagram and
     ·3· ·information?                                               ·3· ·here's the -- here's what happened on January 5th.· Now,
     ·4· · · · A· · Because everything that I said was going to      ·4· ·either I'm just a really good guesser or I understand
     ·5· ·happen on the -- on the 5th in the runoff election         ·5· ·that architecture of the system.· I understand that they
     ·6· ·happened.· Because they -- what happened with Dominion     ·6· ·were basically doing QA in real time.· They were -- the
     ·7· ·and ESMS and more -- like, I put on Dominion because of    ·7· ·Dominion system was not cooked to do what it did in
     ·8· ·the bombacaceous nature of Eric Coomer.· Now, whether or   ·8· ·2020.
     ·9· ·not he is the one that did it all, or he just was knew     ·9· · · · · · ·And in 2022, if you look at the math
     10· ·about it.· Those are the two things that -- that I -- I    10· ·derivatives, you'll see, if you look at the math and
     11· ·-- I question.· Like whether or not he is the mastermind   11· ·science, you'll see that the charts show that they were
     12· ·or he is just directly correlated to a system they knew    12· ·able to either use fixed point outcome or PID function,
     13· ·was fundamentally flawed.· I don't know.                   13· ·or it's an algorithm that actually created the output on
     14· · · · Q· · Well, I can understand why, for example, the     14· ·what the -- the election results would be.· Not just at
     15· ·Department of Homeland Security Department of Justice      15· ·one level, but at every level.· So they were over the
     16· ·would want that information.· I don't understand why the   16· ·last couple years to be able to smooth those edges.· And
     17· ·Department of State would.                                 17· ·you can see what happened in Maricopa County,
     18· · · · A· · Why the -- why wouldn't they?                    18· ·specifically with the 300,000 ballots that were -- that
     19· · · · Q· · Well, they're involved in foreign diplomacy,     19· ·had no chain of custody.· The system is not -- it's not
     20· ·matters outside the borders of the United States. I        20· ·fair, it's not free and it's not transparent.· And I
     21· ·don't understand what role they would play in -- in --     21· ·think that when I met with them, I was showing them a
     22· ·in --                                                      22· ·transparent look into what is going on inside the
     23· · · · A· · Well, I think it's directly related to           23· ·system.· So that was --
     24· ·national security. Wouldn't -- isn't it?                   24· · · · Q· · So what was the purpose?· What were they going
     25· · · · Q· · That's what I'm asking you.                      25· ·to do with this information?




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     ·1· · · · A· · I think --                                       ·1· · · · A· · The stuff that I knew related to the Dominion
     ·2· · · · Q· · What do you expect the State Department to do    ·2· ·system and the -- the conversation had quickly shifted
     ·3· ·with that?                                                 ·3· ·from Eric Coomer to system architecture. And -- and
     ·4· · · · A· · I think it's above my pay grade.· I -- I think   ·4· ·because there was other people working on this, too.
     ·5· ·that -- I think that we probably should have hit the       ·5· ·You had Dr. Shiva working on it from a different
     ·6· ·pause button.· I don't think we'd be here today if we      ·6· ·standpoint at this group.· Excuse me.· That was run by
     ·7· ·would've hit the pause button and really looked into the   ·7· ·the -- this data analyst team that was tied into --
     ·8· ·-- what really happened across the country in the          ·8· ·these are analysts for the federal government.· Some of
     ·9· ·elections from a state by state basis.· And the fact       ·9· ·them literally I wasn't even allowed to know their name.
     10· ·that we act like elections have autonomy to their state    10· ·They sat in an office and was able to break down the --
     11· ·and the states are -- are freely able to have their own    11· ·the system handoff, the -- the -- the software handoff,
     12· ·system deployment.· But they -- they really, really        12· ·excuse me, the data handoff from Dominion to Citedal
     13· ·don't because they're all tied to this system called       13· ·and then Citedal· · · · · · · · · · ·to Edison.· And
     14· ·Eric.· And then Eric has the ability to then freely        14· ·then I was able to sit with them.· They go, how did you
     15· ·input --                                                   15· ·know all the stuff that you know if you didn't have
     16· · · · Q· · So these concerns, that's why John Eastman       16· ·intimate access to all the data?· And I was like, well,
     17· ·helped to arrange in a meeting with you at the State       17· ·I just read, and I understand system architecture.· And
     18· ·department, with the State Department officials, to        18· ·so by reading this, they tell you enough and the manual
     19· ·raise these concerns?                                      19· ·that you put it together and then if you go state by
     20· · · · A· · Yeah.· So then they asked me to -- to present    20· ·state, those manuals aren't the same.· They aren't the -
     21· ·it to the president and I said, I think that's probably    21· ·- the system architecture is not the same.
     22· ·not my place.                                              22· · · · Q· · So your discussion with Mr. Giuliani that
     23· · · · Q· · They asked you to, meaning Bob Destro asked      23· ·evening was just about system architecture for Dominion?
     24· ·you to present this information?                           24· · · · A· · Well, I -- I would love to speak to -- I would
     25· · · · A· · I don't know if it· · · was Bob Destro. I        25· ·love to tell you that more people -- so two other people

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     ·1· ·mean, I think that's why on January 6th, I'm -- I was      ·1· ·came in and said, Hey, you need to listen to this guy.
     ·2· ·going down to meet with Mayor Giuliani.· So when I got     ·2· ·And I was like -- and he asked me who I was and I'm
     ·3· ·down there --                                              ·3· ·like, I'm really not anybody.· I'm just a guy that -- I
     ·4· · · · Q· · So you admit that you spoke to him that          ·4· ·was a tech CEO; I understand this stuff.· I found myself
     ·5· ·evening, what was the nature of that conversation?         ·5· ·in the middle of this because I stood up in March of
     ·6· · · · A· · I walked in, I sat down, got asked a bunch of    ·6· ·2020.· So then I told him about the fact that I got
     ·7· ·questions, I answered the questions related to the         ·7· ·involved during COVID and I just wanted to protect
     ·8· ·charts and the things that --                              ·8· ·businesses because my friend committed suicide and --
     ·9· · · · Q· · Were you invited to be there?                    ·9· ·and March of 2020, and that's the fire that was lit in
     10· · · · A· · I was, yeah.· Somebody asked.                    10· ·me.· And I had my head in the sand for most of the time.
     11· · · · Q· · I imagine Mr. Giuliani had a lot to do that      11· ·So then he kept taking phone calls.· People kept walking
     12· ·night.· And so who -- who referred you to Mr. Giuliani?    12· ·in.· Patrick Burn walks in barefoot, sits down, I -- I
     13· ·I guess, how'd you get through the door?                   13· ·scoot over and now I have a seat at the table for what
     14· · · · A· · I don't remember.· One of the talking heads.     14· ·can only be described as --
     15· ·I mean, one of the people.                                 15· · · · Q· · Is that the first time you met Patrick Byrne?
     16· · · · Q· · Okay.                                            16· · · · A· · Yes.
     17· · · · A· · I don't -- I don't remember who it was.          17· · · · Q· · And that's when he requested Mr. Giuliani --
     18· · · · Q· · Did somebody tell you Mr. Giuliani wants to      18· · · · A· · No, it's not the first time I met Patrick
     19· ·speak with you?                                            19· ·Byrne.· That's not true.· No, it's not true.· Pause.· On
     20· · · · A· · Yes.                                             20· ·January 5th I met Patrick by, because somebody asked me
     21· · · · Q· · Go to this room?                                 21· ·to go meet them.· They came in to question me that used
     22· · · · A· · Yes.                                             22· ·to work for DNI.· I didn't know who Patrick Byrne was.
     23· · · · Q· · And that was in the Willard Hotel?               23· ·I googled on my phone and said he was an ex-CEO of
     24· · · · A· · Yes.                                             24· ·Overstock.· I didn't know the correlation between him
     25· · · · Q· · And what did you discuss with him?               25· ·and President Trump.· Matter of fact, I think the




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     ·1· ·article that I saw online was that he wasn't that fond     ·1· ·think she's just as bewildered as I am.· Like the
     ·2· ·of President Trump.· So I was trying to figure out why I   ·2· ·conversation is like going off the rails.· It's just not
     ·3· ·was meeting with Patrick Burn at the Trump Hotel, and      ·3· ·even -- there's no plan.· Like you can -- you can -- you
     ·4· ·then somebody took me from the Trump Hotel in the -- the   ·4· ·can see that it does not appear in all of this -- this
     ·5· ·lobby on the 5th.· I think it's the 4th.· I think it's     ·5· ·is right after this stuff happened at the Capitol, that
     ·6· ·the 4th.· It might have been the 4th.· 4th, 5th, 6th all   ·6· ·nobody had a plan.· Nobody understood what was
     ·7· ·blend together for me.                                     ·7· ·happening.· It was just -- it was absolute chaos.
     ·8· · · · · · ·So let's just say the 4th.· So the 4th, I'm up   ·8· · · · Q· · So you -- it sounds like you don't know why
     ·9· ·in -- it's 4th or 5th.· I need to have -- it's one of      ·9· ·Patrick Byrne was requesting a pardon from Mr. Giuliani?
     10· ·those two days.· I'm up at the hotel, at the Trump         10· · · · A· · Well that's actually why he got pissed off at
     11· ·Hotel, and he said he wants to meet with me.· They take    11· ·me.· And that's -- and went after me, because I went
     12· ·me up to his room, I sit down, I show him the diagram.     12· ·public and said, you know -- months later I was like,
     13· ·I said, listen, this is how the election was -- was        13· ·look, I can't -- I got to ask the question why -- what
     14· ·influenced.· Here's how you would do it.· Here's the --    14· ·would you have to do where you'd need a Presidential
     15· ·here's the question we need to ask.· Is it an outside      15· ·pardon the day of a -- why would that be the first thing
     16· ·internet access that caused them to be able to then        16· ·on your mind?· You think the President's actually
     17· ·correlate to ballots that were fraudulent or made in the   17· ·thinking about that when all this stuff is going on in
     18· ·system?· And because the system actually uses --           18· ·Washington?
     19· · · · Q· · So this is a similar presentation that you've    19· · · · Q· · So did he keep asking for one?· It sounds like
     20· ·been giving the whole weekend, you gave that to Patrick    20· ·Mr. Giuliani was distracted.· Did he just -- did he
     21· ·Burn when you met him as well?                             21· ·stay --
     22· · · · A· · Yeah.· And he says, well, that's a nice          22· · · · A· · Yeah, he asked a couple times.· I wasn't the
     23· ·theory.· And I said, sir, that's not a theory.· That's     23· ·only one there to think to myself, this is crazy, this
     24· ·how it happened.                                           24· ·is nuts.
     25· · · · Q· · And so a couple nights later he walks into       25· · · · Q· · So Giuliani never responded to him?

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     ·1· ·Giuliani's hotel room barefoot, sits down next to you      ·1· · · · A· · He said, I'll see what I can do.· I'll talk to
     ·2· ·and asks Mr. Giuliani to arrange a pardon for him; is      ·2· ·him.· I think that's what he said.· Again, I that part's
     ·3· ·that correct?                                              ·3· ·a fog.· The part about asking for a pardon is 100
     ·4· · · · A· · Yes.· That was the craziest thing ever.          ·4· ·percent, absolutely, that is exactly what happened.
     ·5· · · · Q· · What did he say he needed a pardon for?          ·5· · · · Q· · And he had a film crew with him at the time,
     ·6· · · · A· · That's the 5 billion -- I mean, that's the       ·6· ·is that right?
     ·7· ·part where -- that's not just the only time that you get   ·7· · · · A· · No.
     ·8· ·in this circle where there's just, pardon my language,     ·8· · · · Q· · Videotaping this?· I thought you had said that
     ·9· ·there's just shit happening all around you and you're      ·9· ·he had somebody behind him that was videotaping the
     10· ·just wondering why -- like what -- why is that person      10· ·whole thing?
     11· ·here?· What are they doing?                                11· · · · A· · No, there -- I only found out about the video
     12· · · · Q· · Yeah.· How did Mr. Giuliani respond?             12· ·thing -- the video thing because somebody else took a
     13· · · · A· · He said no, I didn't have a talk with him. I     13· ·picture of it or something and they said they had a
     14· ·-- I didn't have any conversation with him.                14· ·video.· I found out about that later.
     15· · · · Q· · Well, I mean how did he respond to Mr. Burn      15· · · · Q· · Okay.· So you didn't see somebody that was
     16· ·when he said, I need you to organize it or arrange a       16· ·videotaping this exchange where Mr. Burn --
     17· ·pardon for me?· Did he say, okay, I'll see what I can      17· · · · A· · A heavyset guy sitting on the couch that was
     18· ·do?· Or did he say get out of my --                        18· ·on his phone like this.· Turns out later he was taking
     19· · · · A· · I haven't had a conversation with him.· And      19· ·pictures or videos.· And I still to this day have not
     20· ·then Mayor Giuliani was distracted by a text message       20· ·seen that video.· But I've -- I've asked publicly for
     21· ·that came in from one of his ex-law partners who said      21· ·that video because I'd like to -- because that's the
     22· ·something to the effect of, you're a disgrace.· And they   22· ·first thing that came out. Somebody came out and said,
     23· ·started talking about that in front of Patrick.· And       23· ·nah, Patrick didn't ask for a pardon.· I'm like,
     24· ·then the person behind me -- and then I'm sitting at a     24· ·bullshit, and then I even texted some of the other
     25· ·table with Christina Bobbs on the other side, and I        25· ·people that were there and said, Hey guys, listen.· Did




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     ·1· ·-- was I the only one in the room that heard that? I       ·1· · · · A· · Yeah, I don't think I was considered a concern
     ·2· ·mean, how do you -- how do you walk away from that?        ·2· ·or security threat.
     ·3· · · · Q· · So was Mr. Lindell present for any of these      ·3· · · · Q· · I'm just wondering.
     ·4· ·meetings --                                                ·4· · · · A· · I was Perfectly okay leaving.· Like I got
     ·5· · · · A· · No.                                              ·5· ·there.· I was perfectly okay leaving, but I was not
     ·6· · · · Q· · Did you ever have any interactions with          ·6· ·going to walk into a place that I knew nothing about
     ·7· ·Mr. Lindell in Washington while you were there?            ·7· ·with a bunch of people that could be CIA.· I just was --
     ·8· · · · A· · No.                                              ·8· ·I -- I do not respect nor do I trust the government
     ·9· · · · Q· · And we discussed before, you didn't meet him     ·9· ·apparatus.
     10· ·until February, is that right?                             10· · · · Q· · Yeah, that's fine.· I -- I understand all
     11· · · · A· · March.                                           11· ·that.· I'm just asking who -- who, you know, went over
     12· · · · Q· · Early March of 2021?                             12· ·management's head to say, Joe Oltmann is a good guy, let
     13· · · · A· · I -- I don't -- yeah, whatever this is.          13· ·him through.· Was it -- did Lindell say, I don't care,
     14· · · · Q· · Yeah.· So were you aware that Mr. Lindell was    14· ·he can bring a gun?
     15· ·in Washington at the time?· Did you hear about any         15· · · · A· · No, he was not -- he was not a part of any of
     16· ·conversations with them?· Any -- let's -- we -- we've      16· ·that conversation.
     17· ·gotten sidetracked here.· Let's get back into this once    17· · · · Q· · But presumably somebody from his team said,
     18· ·again, into the symposium.· So you arrived at the          18· ·this is not a security risk that we're concerned about?
     19· ·symposium, you spoke with Tina Peters on the phone that    19· · · · A· · Yes.
     20· ·night?                                                     20· · · · Q· · Was that Kurt Olson?
     21· · · · A· · Yeah, that day.                                  21· · · · A· · No.
     22· · · · Q· · Okay.· And did you fly in on Lindell's plane     22· · · · Q· · No?
     23· ·to get there?                                              23· · · · A· · The first time I met Kurt Olson was behind the
     24· · · · A· · No.                                              24· ·stage.· We started talking.· He asked me a bunch of
     25· · · · Q· · Did you fly commercial?                          25· ·questions.· I told him that I would not put Tina Peters

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     ·1· · · · A· · I did.                                           ·1· ·on the stage, so I became really unpopular to another
     ·2· · · · Q· · Okay.· And --                                    ·2· ·team that Mike has.
     ·3· · · · A· · Can you tell me what question you asked me to    ·3· · · · Q· · They wanted to put her on stage, and you
     ·4· ·go get information on though?                              ·4· ·thought that was --
     ·5· · · · Q· · Yeah, I had requests -- well, previously I had   ·5· · · · A· · I think that's the dumbest thing ever. I
     ·6· ·-- you got it, Ingrid?· Thank you.· Okay.· So Tina         ·6· ·think that they should have -- I mean, I -- I'll just
     ·7· ·Peters arrived that first night.· Did you speak with her   ·7· ·tell you, I mean, I don't think that was a good move,
     ·8· ·in person once she got off the plane and was there?        ·8· ·right?· Because the -- the people in the audience are
     ·9· · · · A· · No.· No, no.· I -- and -- and I was given a      ·9· ·going to clap and then she's going to get, you know,
     10· ·badge.· I was told that -- so they had metal detectors     10· ·more emboldened in what -- where she is.· And then she's
     11· ·that when he came in, and said nobody with a weapon come   11· ·going to get anxiety and then that's going to lead to
     12· ·in.· I -- I guess I'm not calling in because I'm not       12· ·her being more fresh.· It is human nature to do what she
     13· ·going anywhere without a gun.· And so I went to walk       13· ·-- what -- what happened when she got on the stage.
     14· ·outside.· Somebody came up and said, oh, that's Joe.· He   14· · · · Q· · So was Kurt Olsen kind of calling the shots
     15· ·can get through no problem.· He can have a gun on him.     15· ·for the symposium then?· Who was on stage and when?· Is
     16· ·So they walked me around the metal detectors, and I was    16· ·that his role?
     17· ·inside with a -- with a weapon.                            17· · · · A· · No, no, he's -- he's -- he's a really good
     18· · · · Q· · Okay.· So Mr. Lindell was expecting you, it      18· ·lawyer.· He's a really, really good lawyer.· And he --
     19· ·sounds like?· You said he had invited you?                 19· ·he even made the comment that maybe we should, you know,
     20· · · · A· · I don't think he directly invited me.· I think   20· ·hit the pause button.· But there was just other people
     21· ·I was invited -- I think it was Sharon Bishop that         21· ·that were in that -- that were running it.· And then
     22· ·invited me.                                                22· ·when she got up there, she actually started doing really
     23· · · · Q· · So I'm just wondering who made an exception to   23· ·well.· I just said, I'm not sure that I would've done it
     24· ·get you around that, the metal detector?· It seems like    24· ·without a little more.
     25· ·they would've been concerned about security.               25· · · · Q· · So Mr. Mr. Olsen said maybe we should hit the




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     ·1· ·pause button?· He said that to you?                        ·1· ·the -- the data center for Dominion offshore.
     ·2· · · · A· · No, he didn't say it to me, but I was allowed    ·2· · · · Q· · So you were asking -- I'm sorry, I'm not sure
     ·3· ·to go anywhere I wanted.· So you could -- he was having    ·3· ·where -- I forgot my own question here.· I was asking
     ·4· ·conversations with people about -- all right, let's --     ·4· ·about stage management, who was putting people on there,
     ·5· ·let's -- I mean, lawyers have a tendency to say, when      ·5· ·and you said Phil Waldre· · ·n had a lot to do with
     ·6· ·chaos, let's calm it down so you can see all the chips     ·6· ·that.
     ·7· ·on the board.· And I think that's what he was doing.· He   ·7· · · · A· · No, but I said that this is why I got put on
     ·8· ·was just trying to -- which is what probably led to        ·8· ·stage.· So I got put on stage because I said, Hey, you
     ·9· ·there being a pause on the stage and people not going up   ·9· ·guys might want this information because they were --
     10· ·at certain times, is because he was just trying to --      10· ·they were not going through the PCAP information because
     11· ·you know, to maybe be a -- a -- a voice of reason and      11· ·-- and I wasn't involved in any of these conversations,
     12· ·everything that was happening.                             12· ·so these conversations were absent me.· They were
     13· · · · Q· · So he suggested that maybe pausing the           13· ·talking about the viability of putting up the PCAP
     14· ·symposium would be a good idea?                            14· ·information based on information that they had related
     15· · · · A· · I think not pausing the symposium.· Pausing      15· ·to anything that might have been inserted.· I don't -- I
     16· ·the idea of putting Tina Peters up on the stage.           16· ·don't really -- national security.· I didn't really want
     17· · · · Q· · Okay.· And was Mr. Lindell present for that      17· ·anything to do with that conversation, because again,
     18· ·conversation; do you recall?                               18· ·it's not my expertise.
     19· · · · A· · No.· I didn't see him during that                19· · · · Q· · So this is the presentation you gave about; I
     20· ·conversation.                                              20· ·believe the title was Dominion: Serbian Technology with
     21· · · · Q· · Okay.· So who was sort of doing stage            21· ·Chinese Characteristics?· This is -- they wanted you to
     22· ·management then?· Deciding who was on and who was off?     22· ·go on stage to present that information?
     23· · · · A· · You know, Phil -- Phil Waldron was a big part    23· · · · A· · Yeah.
     24· ·of that deal. Mark Cook was a big part of the              24· · · · Q· · Okay.· And did you create that slideshow that
     25· ·conversations that happened.· I think it was by            25· ·you presented?

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     ·1· ·committee.· And you're asking me this question and I'm     ·1· · · · A· · No.· No.
     ·2· ·telling you based on my perception, maybe not how it       ·2· · · · Q· · Who did?
     ·3· ·actually happened, because there are things that -- that   ·3· · · · A· · Well, a -- a team of people.
     ·4· ·I understood about the connection between Dominion and     ·4· · · · Q· · Okay.· Who are those people?
     ·5· ·when I was on the stage at symposium that I talked about   ·5· · · · A· · So -- so they're my black box.· They're my
     ·6· ·related to this company called -- man, what's it called?   ·6· ·researchers that do a bunch of work for me and I do a
     ·7· ·There's so much in my head.· It's - - they built the --    ·7· ·bunch of work for them.
     ·8· ·the data center for Dominion over in Serbia.· And then     ·8· · · · Q· · Okay.· And who are they?
     ·9· ·how that was connected to the Chinese company and how I    ·9· · · · A· · Ex-government guys.· They're my sources for
     10· ·was able to go -- I flew to Chicago, and I went to go      10· ·what I do on the press side.
     11· ·visit the place at this -- roaming Networks.               11· · · · Q· · Ex-government guys, meaning, I mean, like
     12· · · · · · ·Roaming Networks said that they had an office    12· ·Charles Faddis? Is he --
     13· ·just outside of Chicago.· So I flew to Chicago and         13· · · · A· · No.
     14· ·rented a car and was able to check the fact that Roaming   14· · · · Q· · -- somebody you're referring to here?· Phil
     15· ·Networks doesn't actually exist and there -- it was a      15· ·Waldron?
     16· ·front company, and that even though they said that they    16· · · · A· · Nope.
     17· ·were operating out of that office, much like what          17· · · · Q· · Who are you referring to?· I don't understand.
     18· ·Dominion does now, where they create these small pop-up    18· ·These black boxes.· These are people that work for you?
     19· ·offices everywhere, Roaming Networks was never a US        19· · · · A· · They don't work for me.· We -- we all
     20· ·based company. And they had no -- they had no activity     20· ·volunteer our time and we all put together the
     21· ·at all at that location.· And when I asked a few people    21· ·information and we all make sure that information -- we
     22· ·that came out of there, Hey, is this the office for        22· ·-- we -- that's why I told you that there's these
     23· ·Roaming Networks?· Both of those people said that they     23· ·documents that are built that -- that allow us to gather
     24· ·had no knowledge of what Roaming Networks was, yet that    24· ·information.· We had sources over in -- in the Balkans.
     25· ·was the address for them.· That's the company that built   25· · · · Q· · Was Josh Merritt a member of that group?




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     ·1· · · · A· · Josh Merritt is -- is a part of the -- he --     ·1· · · · A· · Yeah.· So I was one of the people that said,
     ·2· ·he's a guy that, in my opinion, is just working for the    ·2· ·"If you're not sure, don't get up there and say you're
     ·3· ·government apparatus.                                      ·3· ·sure."· So I would say that --
     ·4· · · · Q· · All right.· So was he a member of that group     ·4· · · · Q· · Did you say that to Mike Lindell?
     ·5· ·that put together slideshow --                             ·5· · · · A· · I did.
     ·6· · · · A· · No.                                              ·6· · · · Q· · And how did he respond?
     ·7· · · · Q· · -- information for?· Okay.· And so what did      ·7· · · · A· · That I didn't get access to the information,
     ·8· ·you do to verify the information in that slideshow         ·8· ·and so then I got in the back room and started asking
     ·9· ·before presenting it on stage?· Had you seen the           ·9· ·Connan about it.
     10· ·slideshow before you went on stage to present it?          10· · · · Q· · And what did Connan say about it?
     11· · · · A· · Yes.                                             11· · · · A· · "Yeah, no, no.· It's real.· I have it."· I go,
     12· · · · Q· · Okay.· When had you seen that before?            12· ·"Show it to me." It's not like I could have done
     13· · · · A· · We had been discussing that for several weeks.   13· ·anything with it.· I just wanted to see it, right?
     14· · · · Q· · Okay.· And had Mike Lindell seen that before     14· · · · Q· · And did he show you?
     15· ·you went on stage to present it?                           15· · · · A· · No.
     16· · · · · · MR. MALONE:· Object to foundation.                16· · · · Q· · Why not?
     17· · · · A· · No, I didn't ask Mike permission for anything.   17· · · · A· · I don't know.· He said, "Well, you know, I
     18· ·I just said this is some information you probably need     18· ·don't -- it's -- there -- there's -- " and I think this
     19· ·to be aware of.                                            19· ·is the same time that all the other information was
     20· · · · Q· · So it sounds like Mr. Lindell wasn't aware of    20· ·coming forward that there might be something in the
     21· ·what information would be presented at the symposium?      21· ·PCAPs, that if they divulged it could be -- it could
     22· · · · · · MR. MALONE:· Same objection.                      22· ·create a -- a national incident.· And I think that was
     23· · · · A· · I -- I think he did.· He had a -- but I was      23· ·said on stage.· So I don't -- but then I just gave up
     24· ·not on the schedule to be presenting, so I just was        24· ·that conversation and gave up the fight of whether to or
     25· ·presenting because it was information related that was     25· ·to not, and then I went into the room with all the

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     ·1· ·relevant to Dominion and the fraud perpetrated on the      ·1· ·coders and just started having conversation with them
     ·2· ·people in                                                  ·2· ·about what they were seeing.· I was trying to protect
     ·3· ·2020.                                                      ·3· ·Mike.· So the whole -- the whole thing that I cared
     ·4· · · · Q· · Is there a reason why the schedule -- you said   ·4· ·about was making sure someone wasn't trying to walk Mike
     ·5· ·you weren't on the schedule.· Was there a schedule that    ·5· ·off a cliff in order to create chaos so that they could
     ·6· ·-- that was not in effect or what happened there?          ·6· ·discredit all the good information that had come across
     ·7· · · · A· · Well, I don't think it was a schedule that was   ·7· ·that showed the fraud in 2020.· It was directly related
     ·8· ·not in effect.· I think that it was a -- it was a thing    ·8· ·to Dominion Voting Systems, ES&S and Smart Medic.· And I
     ·9· ·in motion that kept changing.· And the reason why it       ·9· ·felt we had enough information --
     10· ·kept changing is because the -- more information kept      10· · · · Q· · And were you concerned that Con· · ·an Hay
     11· ·coming in.· I mean, keep in mind, in 2021 we were pretty   11· ·s might be walking Mike Lindell off a cliff, as you --
     12· ·new.· We were pretty immature as it relates to             12· ·as you stated it?
     13· ·understanding the system architecture collectively,        13· · · · A· · I don't -- I don't think -- I don't know if
     14· ·other than what we've been able to collect from the        14· ·Conan Hays was the one calling the shots.· And I don't -
     15· ·outside.· But as you got more information on the inside,   15· ·-
     16· ·including the audit, that information led to a better      16· · · · Q· · Who was calling the shots?
     17· ·understanding of things that should not have been          17· · · · A· · Oh, man.
     18· ·present, like the SQL Database in Mesa that would --       18· · · · Q· · Was it Kurt Olsen?
     19· ·that had election files and election data that was not     19· · · · A· · And Kurt is the attorney --
     20· ·certified.                                                 20· · · · Q· · Yeah.
     21· · · · Q· · So some of the things that we've heard that      21· · · · A· · -- that works for Mike.· I think Kurt is a
     22· ·were sort of going on backstage with the schedule          22· ·very honorable man. So again --
     23· ·changing was concerns about the accuracy of the PCAP       23· · · · Q· · So was he calling the shots as far as putting
     24· ·data.· Did you hear any concerns about that while you      24· ·the PCAPs on stage?
     25· ·were there?                                                25· · · · A· · I don't think so.· And again, this is where --




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     ·1· ·this is where my - - there's certain things that you cut   ·1· ·says bad things about people that are telling the truth.
     ·2· ·off, you do your best you can to gather as much            ·2· ·Now, whether or not he's telling 100 percent of the
     ·3· ·information as possible.· Mike had not permissioned me     ·3· ·truth, whether or not his system did or has done what he
     ·4· ·to give him advice.· Mike had not permissioned me to --    ·4· ·said, I have never had access to it.· I've never looked
     ·5· ·to be involved or to try to protect his interest.· So      ·5· ·at the systems schematics.· I've never had a chance to
     ·6· ·what I was doing was just trying to make sure that what    ·6· ·look at - - under the hood and Documentum, anything like
     ·7· ·information was provided, that they weren't walking him    ·7· ·that.· So if you -- if I was given access to that and I
     ·8· ·off a cliff.                                               ·8· ·had the ability to validate it, I could sit here and
     ·9· · · · Q· · So was there somebody above both Kurt Olson      ·9· ·tell you 100 percent yes, he's good, or no, he is bad.
     10· ·and Mike Lindell that was calling the shots?               10· ·You know, I know that he has his -- his foibles, he has
     11· · · · A· · I don't think so, no.                            11· ·his -- his things that -- that they say are -- are
     12· · · · Q· · So it sounds like nobody was really calling      12· ·problematic.· But I think, you know, he had a gambling
     13· ·the shots, or maybe many people were?                      13· ·addiction.· People face other addictions.· And so I
     14· · · · A· · Well, I think Mike -- Mike's in charge.          14· ·don't -- I don't know.
     15· · · · Q· · Yeah.                                            15· · · · Q· · Did Mr. Lindell ever ask you to verify
     16· · · · A· · I mean, it's -- it's -- it's -- mike is the --   16· ·Mr. Montgomery's information?
     17· ·is the -- is the leader of being able to present this      17· · · · A· · No.
     18· ·information.· But I think there's a lot of people -- you   18· · · · Q· · Have you ever offered?
     19· ·know, I learned as a CEO, there's a lot of people that     19· · · · A· · Recently.
     20· ·give you advice.· Some people give you advice for the      20· · · · Q· · And how did he respond?
     21· ·right reasons, and some people give you advice because     21· · · · A· · Yeah.· Yeah.· I mean, he -- so --
     22· ·they truly want to walk you to your death.                 22· · · · Q· · Have you begun that process?
     23· · · · Q· · Yeah.                                            23· · · · A· · I have not.
     24· · · · A· · And so I think that Mike is taking it -- he is   24· · · · Q· · Do you know when you will?
     25· ·such a pure person and who he is that he just, he -- he    25· · · · A· · Hopefully soon.

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     ·1· ·takes people for who they are until they show who they     ·1· · · · Q· · Okay.
     ·2· ·aren't.· And so I think that this is just a case of a      ·2· · · · A· · I would really like to put the bed once and
     ·3· ·lot of people wanting to help Mike, but I think that       ·3· ·for all whether or not this is a -- a viable thing that
     ·4· ·some people, like Josh Merritt, may not have had the       ·4· ·happened with Dominion, ES&S and Smartmatic.
     ·5· ·best of intentions.· I don't think Josh Merritt had good   ·5· · · · Q· · So did you hear concerns that there were
     ·6· ·intentions.                                                ·6· ·people in the crowd who were demanding $5 million award?
     ·7· · · · Q· · Was Dennis Montgomery present for the            ·7· · · · A· · I did not ever hear that, no.
     ·8· ·symposium?                                                 ·8· · · · Q· · No.· Are you aware that Mr. Lindell had been
     ·9· · · · A· · No.                                              ·9· ·sued for that to --
     10· · · · Q· · Where was he?                                    10· · · · A· · No.
     11· · · · A· · In the hospital.                                 11· · · · Q· · -- collect that 5 million award?
     12· · · · Q· · What -- was he -- was he supposed to be at the   12· · · · A· · I have not.
     13· ·symposium?                                                 13· · · · Q· · No.· Did you hear any conversations with Mr.
     14· · · · A· · I was told he was, yeah.· But I was -- again,    14· ·Olson discussing that reward and whether it could be
     15· ·I wasn't privy to those conversations.                     15· ·given?
     16· · · · Q· · Okay.· Why was he in the hospital?· Do you       16· · · · A· · No.
     17· ·know?                                                      17· · · · Q· · Okay.· And you mentioned a couple times --
     18· · · · A· · Was he in the hospital?· Was he not in the       18· · · · A· · You said there's a lawsuit pending?
     19· ·hospital?· I mean, I don't know.· I don't -- I don't --    19· · · · Q· · It's my understanding, yes.
     20· ·I -- I think he told everyone he was in the hospital.      20· · · · A· · Who -- who's the plaintiff?
     21· · · · Q· · Do you consider Dennis Montgomery to be a        21· · · · Q· · I am not sure I could say with certainty off
     22· ·reliable source of information?                            22· ·the top of my head. I believe the plaintiff's name may
     23· · · · A· · Well, there's two ways to look at Dennis         23· ·be Alderson, but I'm not certain.
     24· ·Montgomery as a reliable source.· One, the government is   24· · · · A· · Alderson?
     25· ·saying a lot of bad things about him, and the government   25· · · · Q· · So you mentioned a couple conversations you




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     ·1· ·overheard or partook in with Kurt Olson.· I'm just         ·1· ·have direct contact with Mike Lindell other than to
     ·2· ·trying to understand his role a little better. I know he   ·2· ·shake his hand.· Matter of fact, the first picture I
     ·3· ·is the attorney, but it sounds like he was doing a bit     ·3· ·ever took with Mike Lindell was a couple weeks ago,
     ·4· ·of stage management, trying to decide who was going to     ·4· ·right?· Or actually, that's not true.· About a month and
     ·5· ·go on and when.                                            ·5· ·a half ago.· So I -- I'm -- I'm not a, you know, take a
     ·6· · · · A· · Yeah.· I don't think he was the one stage        ·6· ·picture with people.· I'm not a, you know, ooh, look at
     ·7· ·managing.· I think he was the one just trying to make      ·7· ·me.· I'm a -- I'm actually off that I'm still involved
     ·8· ·sure that from a -- from a legal standpoint, that they     ·8· ·in this.· Honestly, I'm just pissed.· I'm pissed that we
     ·9· ·were -- they were covered.                                 ·9· ·can't seem to get a freaking election right after 22
     10· · · · Q· · Okay.                                            10· ·years of talking about the same damn problems.· That's
     11· · · · A· · I -- I don't actually understand the full        11· ·what I'm pissed off at.
     12· ·elements behind all of that because I was late to the      12· · · · Q· · So I bring up Merritt because he described a
     13· ·party.                                                     13· ·number of conversations he had had with Mr. Lindell
     14· · · · Q· · Okay.· But it sounds like you overheard some     14· ·telling him that the information was not accurate.· And
     15· ·conversations with him at least about whether Tina         15· ·we've seen some -- some communications between members
     16· ·Peters should go on stage?                                 16· ·of the Red Team that were all concerned about the
     17· · · · A· · Well, and he's a very smart lawyer, so he --     17· ·legitimacy of PCAPs, too. Some -- some writings from Ron
     18· ·what he said is, "Let's -- let's have a conversation       18· ·Watkins, from Phil Waldron discussing the accuracy of
     19· ·about it and let's not just rush and do that.· Let's --    19· ·those -- that information prior to the symposium.· And
     20· ·maybe not now, right?"· And so I think people heed his     20· ·those exhibits have been, -- have been entered in this
     21· ·advice because he's -- he's a good lawyer.                 21· ·case.
     22· · · · Q· · So who decided to rush then?· Because Tina       22· · · · A· · Yeah, but Josh Merritt also -- Josh Merritt is
     23· ·Peters obviously found her way on stage.                   23· ·also the guy that got on a podcast and said that he
     24· · · · A· · I -- I wasn't a part of that conversation.       24· ·grabbed a hose off of his car and did a tracheotomy on
     25· · · · Q· · Okay.                                            25· ·the side of the road for a guy that was in a car

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     ·1· · · · A· · So I wasn't -- and -- and nor was I asked to -   ·1· ·accident.· I mean, which is not only improbable but
     ·2· ·- my -- nobody asked my opinion.· And until somebody       ·2· ·impossible.· So and the fact that he was involved in the
     ·3· ·asked my opinion, I -- I'm not going to just volunteer     ·3· ·Bundy Ranch deal back in 2014, that he was one of the
     ·4· ·it.                                                        ·4· ·few people not to be indicted in that area as well. I
     ·5· · · · Q· · And Mr. Hay· · ·s was sort of behind the         ·5· ·mean, so there's this big cloud over Josh Merritt, over
     ·6· ·scenes the whole time. Was he there throughout the whole   ·6· ·the -- the fact that whether or not he got that -- that
     ·7· ·symposium; do you recall?                                  ·7· ·-- that hard drive from -- from Mike Lindell, whether or
     ·8· · · · A· · He was there for part of it.· He was there the   ·8· ·not.· I mean, he -- he was a weird guy throughout the
     ·9· ·part when I asked the simple question, "Show it to me."    ·9· ·entire thing.· He was -- he was pretty shady the entire
     10· · · · Q· · Yeah.· And he -- and he refused to do that?      10· ·time.· Every conversation I had with him was a moving
     11· · · · A· · He said that, "You know, I -- I can show you     11· ·target.· The guy was literally, you couldn't pin him
     12· ·some parts.· Let me show you this."· And I'm like,         12· ·down.· He was like squishy.
     13· ·"Well, that's not enough data to -- that's not a lot of    13· · · · Q· · So were you present for the conversations that
     14· ·data.· That -- that data does not tell me anything,        14· ·he had with Mike Lindell or that he described?
     15· ·right?"                                                    15· · · · A· · I was not, so I can't say those conversations
     16· · · · Q· · So we talked a bit about Mr. Merritt.· He had    16· ·didn't happen.· I'm just telling you that the
     17· ·described in his deposition being given a black hard       17· ·conversations where I would ask him simple questions
     18· ·drive by Mr. Lindell that had been given to him he         18· ·about the PCAPs or I would ask conversations about,
     19· ·understood by Mr. Hay· · ·s with some information on it.   19· ·"Hey, didn't you guys have a conversation before this
     20· ·Did you ever see that hard drive?                          20· ·ever happened?· And didn't you -- didn't you show up --
     21· · · · A· · If it's the hard drive that was in the room,     21· ·before the symposium started, did you guys sit in a room
     22· ·yeah, I saw it.· But I don't know that it came from that   22· ·and say, 'Hey, we have it, or we don't have it.· We're
     23· ·-- that line.                                              23· ·about to go live with a -- a deal where you win $5
     24· · · · Q· · Okay.                                            24· ·million.· If it's not right, you probably want to know
     25· · · · A· · Nor do I even think -- I mean, look, I didn't    25· ·that that's right.' Did you have that conversation?"· He




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     ·1· ·wouldn't answer the question.· So why would you not        ·1· ·you agree --
     ·2· ·answer that question? I'm asking a simple question. I      ·2· · · · A· · I think I --
     ·3· ·just want to know whether or not I'm getting egg on my     ·3· · · · Q· · -- to a protective order or anything of that
     ·4· ·face in a place where it is or is not real.· And he        ·4· ·nature?
     ·5· ·would not answer the question and you would say, "Oh,      ·5· · · · A· · I was never given a protective order.· Never
     ·6· ·yeah.· I've seen it.· I've seen it.· I've seen it."· So    ·6· ·told him it was under a protective order.· I never said
     ·7· ·he's telling you that he didn't believe that they were     ·7· ·anything about it being under a protective order.· It
     ·8· ·there, but he was telling me that he had seen it, and      ·8· ·was sent to me publicly and freely.· I didn't -- they
     ·9· ·everything is good.                                        ·9· ·said, "Check this out.· It came in an e-mail with those
     10· · · · Q· · Okay.· Let's take a look.· Got an excerpt from   10· ·lawyers -- from lawyers."
     11· ·his deposition testimony.                                  11· · · · Q· · And when did you get that?
     12· · · · A· · Okay.                                            12· · · · A· · In January of 2021.
     13· · · · Q· · I want to -- this is -- we'll mark this as       13· · · · Q· · Is that when you met Mr. DePerno in
     14· ·Exhibit, what are we up to here?· 4 -- 47?· Okay.· This    14· ·Washington?· Did he give it to you then?
     15· ·is just one page from that deposition.· He didn't recall   15· · · · A· · He did not give it to me.
     16· ·many interactions with you, but he did describe this       16· · · · Q· · No?· Okay.
     17· ·one.· So at the top here he says, "And then after we       17· · · · A· · He connected me with a law firm that -- that -
     18· ·left the room, that night was when, what's his name? I     18· ·- that sent that file over to me.
     19· ·can't remember his name right now.· Joe -- Joe Oltmann.    19· · · · Q· · After the fact?· After you returned to
     20· ·That was when he handed me a box with a white hard drive   20· ·Colorado from Washington, or did you get it at the time
     21· ·in it and I asked, 'What's this box?' And he said, 'It's   21· ·when you were there?
     22· ·the Antrim forensic analysis.' And I said, 'Well, what     22· · · · A· · I don't recall.· One of the two.· But this
     23· ·am I supposed to do with it?' And he said, 'Well, I know   23· ·particular hard drive was -- you know, people asked me
     24· ·you've been asking for it.' Because I had previously       24· ·for the information.· It's the copy that I had of that
     25· ·been asked -- I had previously been asked for the          25· ·information.· They -- he had asked for it.· So Josh

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     ·1· ·legitimate one, but it was under lock by the judge in      ·1· ·Merritt had asked for this, so had someone else.· And I
     ·2· ·Antrim.· It was never supposed to be public."· Do you      ·2· ·was like, "Look, you want to see what's real or not
     ·3· ·recall this interaction?                                   ·3· ·real.· Validate this."
     ·4· · · · · · · (EXHIBIT 47 MARKED FOR IDENTIFICATION)          ·4· · · · Q· · Okay.· So -- so who told him -- who told you
     ·5· · · · A· · No.                                              ·5· ·to give it to him? Who said, "Josh Merritt is looking
     ·6· · · · Q· · You don't recall giving him a copy of the hard   ·6· ·for this"?
     ·7· ·drive with Antrim information on it?                       ·7· · · · A· · Josh Merritt is the one that asked me for it.
     ·8· · · · A· · I gave him a hard drive.                         ·8· · · · Q· · He asked you directly?
     ·9· · · · Q· · Okay.                                            ·9· · · · A· · He asked me in a -- in a group for it.
     10· · · · A· · But I never talked about it being locked by      10· · · · Q· · Oh.
     11· ·the judge.· I never talked about any of that stuff. I      11· · · · A· · A chat for it.· And -- and so did Phil
     12· ·talked about the fact that this is the drive that was      12· ·Waldron.· And I guess they were getting access to, or --
     13· ·given to me, and I gave it the drive to him.               13· ·and -- and by the way, this is before I even knew
     14· · · · Q· · So what does that mean, with Antrim              14· ·anything about the Mesa stuff.· So I have no access to
     15· ·information?· What -- what information was on this hard    15· ·the Mesa stuff.· Never seen the Mesa stuff.· Never
     16· ·drive?                                                     16· ·looked at the Mesa stuff.· Never -- I was asked three
     17· · · · A· · That was the imaging information that was        17· ·questions about the Mesa stuff a month and a half
     18· ·available on the -- that was sent to me by the lawyers     18· ·earlier by -- on a chat.· Like, "Hey, do you know
     19· ·in -- in Michigan.                                         19· ·there's this forensic thing happening in Colorado? I
     20· · · · Q· · The lawyers in Michigan being Matt DePerno?      20· ·heard it's happening."· I said, "I have no idea." I knew
     21· · · · A· · The law firm that represents -- represented or   21· ·there was stuff happening in -- in Wyoming.· Knew there
     22· ·represented with Matt.· I think -- I think that was        22· ·was stuff happening in Nebraska.· Knew that stuff was
     23· ·connected to Jim Penrose.                                  23· ·happening in Texas, Nevada, Arizona.· There's states all
     24· · · · Q· · Okay.· And did you -- did you sign any           24· ·over the country where there are county clerks and
     25· ·documents to receive that -- that information?· Like did   25· ·recorders that were cooperating with this group, but I




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     ·1· ·didn't know anything about the one in the Mesa until I     ·1· ·shouldn't be so public.· It was my opinion that Tina
     ·2· ·got that call from Tina Peters the day that I was flying   ·2· ·shouldn't have been so public.· That this should have
     ·3· ·to the -- the symposium.                                   ·3· ·been a - that this was the nail in the coffin, that I
     ·4· · · · Q· · Okay.· And just to wrap this exhibit up, the     ·4· ·felt based on the information they had preliminary had
     ·5· ·next paragraph there he says is, "The firefighters turn    ·5· ·told me, that if they had that information, it aligned
     ·6· ·off the smoke detector.· I look up on my computer."· Do    ·6· ·with all the stuff that I knew about the system, that
     ·7· ·you recall a fire alarm going off that night?· Were you    ·7· ·this is the thing that nobody's going to be able to walk
     ·8· ·staying at the hotel where the symposium was held? I       ·8· ·away from.· And it turns out that they hired Dominion
     ·9· ·guess is the --                                            ·9· ·for Rob Rubinstein to tell them there's nothing to see
     10· · · · A· · No.                                              10· ·here and it's time drift, which is absolute bullshit.
     11· · · · Q· · -- first question to ask.· You --                11· ·Anyone who knows anything about technology knows that's
     12· · · · A· · No.                                              12· ·bullshit, but that's how they explained it away.· And
     13· · · · Q· · You didn't stay at that hotel?                   13· ·they never talked about the -- the components of the
     14· · · · A· · No.                                              14· ·system that were -- that were -- legitimately shouldn't
     15· · · · Q· · Okay.                                            15· ·have been there.· Like --
     16· · · · A· · No, I did not.· I didn't -- yeah, I didn't. I    16· · · · Q· · So you didn't discuss, for example, the
     17· ·did not stay in the hotel that they stayed in.             17· ·information you were going to put on stage in the panel
     18· · · · Q· · Okay.                                            18· ·discussion?· We already talked about the - - the Serbian
     19· · · · A· · I stayed in a hotel that kept me away from all   19· ·technology presentation.· Sounds like you didn't provide
     20· ·the -- look, after the stuff happened in January, I        20· ·Mr. Lindell a copy of that before you went on stage?
     21· ·really didn't want to be in the room with a bunch of       21· · · · A· · I gave it to Phil Waldron.
     22· ·people that I didn't know.· And I didn't want to be in a   22· · · · Q· · Did you give a copy to Kurt Olsen?
     23· ·hotel room with people who -- that I had no idea who       23· · · · A· · I did not.
     24· ·they were either.· So I stayed at a separate hotel         24· · · · Q· · Do you know if anybody did?· I know you said
     25· ·across town.· And it's not that I didn't trust Mike,       25· ·you didn't make that slideshow yourself.· Do you know if

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     ·1· ·because I trust Mike implicitly.· It's that I didn't       ·1· ·Mr. Olson had seen a copy beforehand?
     ·2· ·trust them.· I didn't trust what was happening.· I --      ·2· · · · A· · No.· And the first time I ever saw the -- and
     ·3· ·because I didn't trust it.                                 ·3· ·heard that CoNan did the -- the image was by -- I didn't
     ·4· · · · Q· · Okay.· And was Mike Lindell staying at that      ·4· ·even know that he was involved in the image, by the way.
     ·5· ·hotel, do you know?                                        ·5· ·Nobody told me any of that stuff either, up to this
     ·6· · · · A· · I have no idea.                                  ·6· ·point.· They didn't tell me anything until, is it Ron
     ·7· · · · Q· · Or was he staying where you -- he wasn't         ·7· ·Watkins started talking about it and Conan's initials or
     ·8· ·staying where you were though?                             ·8· ·something appeared on the image as they're showing it on
     ·9· · · · A· · No, no.· I think I was the one staying where I   ·9· ·-- on the screen, which I was adamantly opposed to doing
     10· ·was.· I was the only one.· I -- I -- I'm not kidding. I    10· ·any of that because now you're -- you're not allowing
     11· ·was 10 miles away.                                         11· ·yourself the -- the ability to cook the cake.· Like you
     12· · · · Q· · So what sorts of interactions were you having    12· ·can't cook the cake if you -- if you're letting
     13· ·with --                                                    13· ·everybody else see what's -- what -- while it's cooking.
     14· · · · A· · Do you want that --                              14· ·There's no ability for you to --
     15· · · · Q· · -- Lindell?· This is -- will be for her.         15· · · · Q· · Were you in contact with Ron Watkins at the
     16· ·She's says that she wants it.· I mean, did you get         16· ·time?· Could you -- like, could you text him and say,
     17· ·dinner with Mr. Lindell during this time?                  17· ·"Ron, what are you doing," for example?
     18· · · · A· · No.                                              18· · · · A· · I didn't.· So it doesn't mean --
     19· · · · Q· · Were you having any sort of like casual          19· · · · Q· · But could you have?· I mean, did you have his
     20· ·conversations or was it all business throughout this       20· ·number?· Had you met him before?
     21· ·time frame?                                                21· · · · A· · On a -- I was on a -- a chat deal on Telegram.
     22· · · · A· · No.· I -- I never went to dinner with him. I     22· · · · Q· · Okay.
     23· ·never had any conversations with him other than just a     23· · · · A· · But I didn't -- I mean there was no -- I'm not
     24· ·couple of, "Hey, this is what I think.· I think that,      24· ·a willing participant.· I'm not a guy that got involved
     25· ·you know, Tina should not be -- " so I did say that Tina   25· ·in this because I wanted to wake up one day and say, "I




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     ·1· ·think it'd be a great idea to fuck my life up."            ·1· ·your claims about Dr. Coomer, right?
     ·2· · · · Q· · Well, I mean, in this instance you were a        ·2· · · · A· · Actually, I was told to come there to talk
     ·3· ·willing participant. You flew there, you went on stage,    ·3· ·about the system architecture and the things I'd learned
     ·4· ·you gave --                                                ·4· ·about Dominion previously.· Coomer just kept coming up
     ·5· · · · A· · Yeah, because somebody called me a liar and      ·5· ·and they said, "Hey.· Well, let's talk about the
     ·6· ·I'm not a liar.                                            ·6· ·connection to Dominion with this Eric Coomer guy.· And
     ·7· · · · Q· · Well, let's take a look at another one of --     ·7· ·this is what was said and -- and these -- these are the
     ·8· ·since we've already addressed the Serbian one, let's       ·8· ·-- the steps that I took.· This is what Eric Coomer
     ·9· ·take a look at what's been labeled as -- previously        ·9· ·said.· Here's what information I was able to collect
     10· ·labeled as Exhibit 3, Clip 8.· This is a bit of a long     10· ·after the fact.· Here I am at the -- up hunting.· Here's
     11· ·clip, but I want to -- I have a few questions for you      11· ·the information that validated what he was saying.
     12· ·about it afterwards.· So this is a panel discussion that   12· ·Here's what I said happen and here's what we saw happen
     13· ·you partook in with David Clements, Mr. Merritt, who       13· ·in the election.· And here's where we find out that they
     14· ·we've discussed, Pat Colbeck and Phil Waldron.             14· ·own 50 percent of the voting systems across the United
     15· · · · A· · Yes.· I hadn't gotten a haircut in a long time   15· ·States, and that happened in all of them."· It was --
     16· ·in that picture. I gained 20 pounds in that picture,       16· · · · Q· · And it's your belief as you sit here today,
     17· ·too.· They spelled my name wrong.                          17· ·that -- that Dr. Coomer played some role in rigging the
     18· · · · Q· · Geez.                                            18· ·election; is that correct?
     19· · · · A· · Yeah.                                            19· · · · A· · Yes.· You don't brag about fixing the election
     20· · · · · · MR. MALONE:· You looked a little rough.           20· ·and then tell me that you're not involved in fixing the
     21· · · · · · THE WITNESS:· I was rough.· It was a rough time   21· ·election.· Now whether or not he has knowledge about the
     22· · · ·for me.                                                22· ·people inside of his company doing it and he just said,
     23· · · · · · · (AUDIO PLAYED)                                  23· ·"Hey, don't worry about it," and he took credit for it.
     24· · · · A· · Pat Colbeck.· Is that Pat Colbeck?               24· ·Eric loves a little Eric.· And I've done an immense
     25· ·BY MR. KLOEWR:                                             25· ·amount of research on Eric, all the way back. You know,

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     ·1· · · · Q· · Yeah, from Michigan.                             ·1· ·if I had to do it all over again, the anger that I feel
     ·2· · · · A· · Is that the end of it naturally or did it just   ·2· ·from someone coming after my family, I'm -- I'm not sure
     ·3· ·stop?                                                      ·3· ·that -- I'm -- I -- I think that I probably would've
     ·4· · · · Q· · That's -- that's the end of it.                  ·4· ·just shown up at his front door and said, "What gives?"
     ·5· · · · A· · So Pat -- Pat Colbeck was one of the other       ·5· ·I probably would've done it differently.
     ·6· ·people that was behind the stage.                          ·6· · · · Q· · Well, we'll get into that a little bit when we
     ·7· · · · Q· · And was he doing sort of stage direction,        ·7· ·get -- later this afternoon.· I want to try to keep
     ·8· ·putting folks on?                                          ·8· ·proceeding through the symposium here, but what -- I ask
     ·9· · · · A· · He was having conversations with Phil Waldron    ·9· ·you that question because that's the -- that's the
     10· ·and them about direction.                                  10· ·information you were providing to the crowd here at this
     11· · · · Q· · Okay.· How did this discussion come to be?       11· ·time.· This is what you understand to be evidence of --
     12· ·Was that planned beforehand?· How much advance notice      12· ·of Dr. Coomer partaking in some way in rigging the
     13· ·did you have that you were going to be on stage for this   13· ·election.· That's what you were presenting to the crowd
     14· ·discussion?                                                14· ·here; is that fair?
     15· · · · A· · 15 minutes.                                      15· · · · A· · The answer, yeah.· He did take a part.· And --
     16· · · · Q· · Okay.· So I mean, it sounds like there was       16· ·and I mean, he owns the adjudication process.· And if
     17· ·just no plan for what was going to go on?                  17· ·you actually look at all the data related to what
     18· · · · A· · I think they had a plan.· I just think that      18· ·happened in Antrim County, what happened in Maricopa
     19· ·the -- the PCAPs and not having Dennis Montgomery there    19· ·County, what happened in Maricopa County the second
     20· ·and not having a full picture interfered with that. I      20· ·time, look at the information that came out of Colorado,
     21· ·don't -- I don't -- and again, that's -- that's --         21· ·you can come up with no alternative than that the system
     22· ·that's me guessing.                                        22· ·of adjudication would have to play a part in that, of
     23· · · · Q· · Okay.· And did you -- I mean, you've sort of     23· ·which he owns that adjudication process.· He is the --
     24· ·alluded to this yourself.· It sounds like you were         24· ·the patent holder in it.· So he owns the adjudication
     25· ·there, and you're involved in all of this because of       25· ·process, he helped the -- to develop and design the




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     ·1· ·system by his own admission, he said it.· And then all     ·1· ·"Let's get David up there to do this slide show?"
     ·2· ·of a sudden now he's -- he's got hands off and never       ·2· · · · A· · Right.
     ·3· ·wrote an ounce of code.· That's not what he wrote.         ·3· · · · Q· · Okay.· Do you know where Mr. Clements is
     ·4· · · · Q· · So when Mr. Clements says he's been accused of   ·4· ·getting his information about Eric Coomer?
     ·5· ·something pretty salacious, what he was referring to is    ·5· · · · A· · I didn't see the whole interview, so I don't
     ·6· ·the accusation that he partook in rigging the election?    ·6· ·know what other things he presented.· I -- I don't have
     ·7· · · · A· · Yes.                                             ·7· ·enough information to say.
     ·8· · · · Q· · And that's -- that's what you understood that    ·8· · · · Q· · Has Mr. Clements ever given you information
     ·9· ·you and Mr. Clements in this instance we're -- we're       ·9· ·about Dr. Coomer that you didn't have before?
     10· ·presenting to the audience was evidence of election        10· · · · A· · I don't know.· I don't -- I don't know. I
     11· ·rigging?                                                   11· ·mean, he gets information from a lot of different
     12· · · · A· · I don't think there was election rigging. I      12· ·places.
     13· ·know there's election rigging.· I know that the            13· · · · Q· · Okay.
     14· ·elections in 2020 and 2022 were stolen up and down the     14· · · · A· · And I mean, I got information from other
     15· ·ballot.· And it's been -- been done for decades.· It       15· ·people about Eric Coomer dating all the way back to
     16· ·started, you know, pretty blatantly in 2018.· The fact     16· ·2008, 2007.
     17· ·nobody brought up in 2018 is -- is a -- a little bit of    17· · · · Q· · But as you sit here today, you don't recall
     18· ·-- beyond me.· But I think there's so much chaos that      18· ·any specific information provided to you by Mr. Clements
     19· ·was created that the chaos favors the op not the -- the    19· ·that was something new that you didn't know about Eric
     20· ·people.· And that's a perfect indication of what           20· ·Coomer before?
     21· ·happened in 20 -- 2018.                                    21· · · · A· · I don't know.· I don't know if I did or not.
     22· · · · Q· · Let's take a look at one more clip here. I       22· ·I mean, at that point there's a lot of information
     23· ·think this is going to be the last one from the            23· ·coming at me from different sources.
     24· ·symposium itself.· This is going to be Clip 4 from         24· · · · Q· · And you had known Mr. Clements for a while
     25· ·whatever it is, Exhibit 42 or whatever we're on today.     25· ·prior to this time, correct?

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     ·1· ·The new -- new exhibits, new clips.· And this is a --      ·1· · · · A· · No.· I mean, I think I did for six months
     ·2· ·this is a presentation that was put on just by             ·2· ·prior to that, five months prior to that.· But not a
     ·3· ·Mr. Clements.· And I believe it -- it followed             ·3· ·whole lot of interaction, no.
     ·4· ·immediately after your presentation on Serbian             ·4· · · · Q· · How did you --
     ·5· ·technology.· So we'll just show a clip here and then       ·5· · · · A· · I would say we're pretty close now.
     ·6· ·I'll have some questions for you about it.                 ·6· · · · Q· · How did you guys first meet?
     ·7· · · · · · · (AUDIO PLAYED)                                  ·7· · · · A· · On one of his podcasts, I believe.
     ·8· · · · Q· · Okay.· The man that pulled the trigger.· I --    ·8· · · · Q· · Is that The Professor's Record?
     ·9· ·did you help Mr. Clemens prepare this presentation?        ·9· · · · A· · Yeah.
     10· · · · A· · No.                                              10· · · · Q· · Did you reach out to him saying, "Hey, put me
     11· · · · Q· · Had you seen it before?                          11· ·on your podcast. I've got information"?· Did he reach
     12· · · · A· · No.                                              12· ·out to you and say --
     13· · · · Q· · It's a -- it's a lengthy slideshow.· Looks       13· · · · A· · Yeah.· I've never -- I've never reached out to
     14· ·like he prepared it and showed it before.· I believe he    14· ·anyone to be on anybody's podcast.
     15· ·refers to it as the boat trafficking parable. I            15· · · · Q· · So it was him reaching out to you, presumably?
     16· ·understand if you don't know the answer to this, but do    16· · · · A· · Yes.
     17· ·you know if that was provided to Mr. Lindell prior to      17· · · · Q· · To invite you on?· And you met through Dennis
     18· ·the symposium?· A copy of this slideshow?                  18· ·Hough; is that correct?
     19· · · · A· · No idea.                                         19· · · · A· · Dennis Hough?· Yes.· I think so, yes.
     20· · · · Q· · Okay.· So similar to the Serbian technology      20· · · · Q· · Yes.· And you had worked with Mr. Hough
     21· ·one, it was just out there, and somebody asked to          21· ·previously with respect to the Hunter Biden laptop, is
     22· ·present it?· Do you know the circumstances of how and      22· ·that right?
     23· ·why Mr. Clemens found himself on stage to present this?    23· · · · A· · Yes.· I met with JP as a result of Dennis.
     24· · · · A· · No.· I wasn't involved in that.                  24· · · · Q· · JP being John Penrose?
     25· · · · Q· · Okay.· So you weren't there when they said,      25· · · · A· · John -- John Paul.




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     ·1· · · · Q· · Oh, John Paul is the -- the computer store       ·1· · · · A· · Who?
     ·2· ·owner that was in receipt of the laptop?                   ·2· · · · Q· · JP?
     ·3· · · · A· · Yes.                                             ·3· · · · A· · No.· He was living there.· He was in hiding in
     ·4· · · · Q· · And so Mr. Haugh put you in touch with him and   ·4· ·Colorado.
     ·5· ·then he subsequently put you in touch with David           ·5· · · · Q· · Because I believe you described to Peter
     ·6· ·Clements?                                                  ·6· ·Boyles in mid-November of 2020 that someone had flown
     ·7· · · · A· · Yes.                                             ·7· ·out to meet you to discuss the -- the Hunter Biden
     ·8· · · · Q· · Okay.· How do you know Dennis Hough?             ·8· ·laptop.· Do you recall that?
     ·9· · · · A· · Dennis is the computer guy.· He is a Air Force   ·9· · · · A· · No.
     10· ·guy, I think.· And I think I met him through Phil --       10· · · · Q· · No?· Okay.
     11· ·Phil Waldron or Sherrona Bishop.· No, Sean -- Sean         11· · · · A· · That might have happened, but this was -- no.
     12· ·Smith.· Through Sean Smith.                                12· · · · Q· · Okay.· Back to Mr. Clements.· You -- you guys
     13· · · · Q· · So you -- well I can get to -- to one of my      13· ·are still -- you just said, I believe, that you guys are
     14· ·coming-up questions about Sean Smith.· We're sort of       14· ·pretty close now?
     15· ·going through all the members of the Red Team here.        15· · · · A· · Who?· I'm sorry.
     16· · · · A· · Is that what they call them is the Red Team?     16· · · · Q· · You and David Clements?
     17· · · · Q· · Well, that's how we've understood them to be     17· · · · A· · We are.
     18· ·referred to.· With respect to the symposium, there are     18· · · · Q· · And how frequently would you say you're in --
     19· ·these -- that's how Mr. Merritt described it.· I believe   19· ·you're in contact with Mr. Clements?
     20· ·Mr. Lindell may have as well, but I may be incorrect on    20· · · · A· · Once a week, maybe twice a week at times.
     21· ·that. I'm just referring to the individuals who were       21· · · · Q· · And mostly calls, e-mails, text messages?
     22· ·sort of behind the scenes attempting to verify the         22· · · · A· · Go hang out with him.· You know, I -- he --
     23· ·information prior to that time.· So --                     23· ·he's a -- I've hung out with him at different places.
     24· · · · A· · Yeah.                                            24· · · · Q· · Okay.· And it sounds like you probably, I -- I
     25· · · · Q· · -- we've got Sean Smith, Mark Cook, Ron          25· ·know because I've seen the interview you did on The

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     ·1· ·Watkins, Phil Waldron, Mr. Merritt, Lisa Draza as I        ·1· ·Professor's Record, you provided him information about
     ·2· ·understand it.· So it sounds like you had met Sean Smith   ·2· ·Eric Coomer, right?
     ·3· ·early in 2021 as well and he put you in touch with Mr.     ·3· · · · A· · I did.
     ·4· ·Haugh?                                                     ·4· · · · Q· · And presumably that's -- that's what he's
     ·5· · · · A· · I think I met Sean Smith, yeah, in early 2021.   ·5· ·incorporating into his presentation here is some of the
     ·6· · · · Q· · Now before that, and correct me if I'm wrong,    ·6· ·things that you told him?
     ·7· ·you -- weren't you involved in some investigations of      ·7· · · · A· · Yeah, but you'd have to -- you'd have to show
     ·8· ·the Hunter Biden laptop before the election or shortly     ·8· ·me the entire interview.· So if you show me the entire
     ·9· ·afterwards?· I thought you had said that in an interview   ·9· ·deal, I could tell you what party he got it from me and
     10· ·with Peter Boyles?                                         10· ·what party he got on his own.
     11· · · · A· · Sure.· I only -- I only got involved in the      11· · · · Q· · Okay.· It's a -- it's a 45-minute
     12· ·Hunter Biden laptop deal because they gave me              12· ·presentation.· We don't have time for that today.· I'm
     13· ·information related to whether or not it was authentic     13· ·just trying to sort of understand the nature of your
     14· ·or not.                                                    14· ·relationship with Mr. Clements.
     15· · · · Q· · They gave you being Dennis Hough?                15· · · · A· · He's a good man.
     16· · · · A· · I don't think it was Dennis Hough that gave me   16· · · · Q· · Let me see here.· So that -- that brings us
     17· ·access to that originally.· I know that Dennis Haugh       17· ·pretty close to the end of the symposium.· Do you recall
     18· ·introduced me to JP.                                       18· ·how you got home from the symposium?
     19· · · · Q· · Okay.                                            19· · · · A· · I flew home on a plane with -- on Mike's
     20· · · · A· · Because he knew family members of JP and JP      20· ·plane.
     21· ·was staying in Colorado.                                   21· · · · Q· · On Mike's plane.· And who else was on that
     22· · · · Q· · Okay.                                            22· ·plane home?
     23· · · · A· · And he called me and said, "Will you meet with   23· · · · A· · Sherrona Bishop.· I -- what's the guy's name
     24· ·JP?"· And I was like, "Sure, I'll meet with him."· So --   24· ·that -- what's the computer expert?· He was on the
     25· · · · Q· · Did he fly out to meet you?                      25· ·plane.· There was five other people on the plane.




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     ·1· · · · Q· · Was that the first time you'd ridden on          ·1· ·-- tell me what part you played.· Which is the opposite
     ·2· ·Mr. Lindell's plane?                                       ·2· ·of what he said he played, so I don't -- I don't know.
     ·3· · · · A· · Yes.                                             ·3· ·I don't know what to believe at this point.
     ·4· · · · Q· · And what was the mood like on the plane?· Was    ·4· · · · Q· · And was Tina Peters on that flight back?
     ·5· ·it people celebrating, or do you recall?                   ·5· · · · A· · I don't believe so, no.
     ·6· · · · A· · So after enduring a couple days of just not --   ·6· · · · Q· · Why not, if everybody's going back to
     ·7· ·trying to figure out what was happening, I listened to     ·7· ·Colorado, do you know?
     ·8· ·the guy who ended up turning on Tina Peters.· He -- this   ·8· · · · A· · I think that there was a fear for her safety.
     ·9· ·is the most fascinating part about all of this, is that    ·9· ·So she went into -- and again, I'm -- I'm -- again,
     10· ·he -- he's the one that said, you know, "We're going to    10· ·you're asking what I think.· I -- I don't know. I
     11· ·win this," and that - - he started describing all the      11· ·should probably answer I don't know, because I don't
     12· ·things that he did in order to assist in getting the       12· ·know.
     13· ·image, even though later he said that he was an            13· · · · Q· · Okay.· I'm going to show you what we'll mark
     14· ·unwilling participant and -- I forget what that guy's      14· ·as Exhibit 48 here. Got just a couple more and then
     15· ·name is.· Robert --                                        15· ·we'll break for lunch.· I know everybody's getting
     16· · · · Q· · Gerald Wood.                                     16· ·hungry, I'm just going to wrap up this section real
     17· · · · A· · Gerald Wood.· I'm referring to Gerald Wood.      17· ·quick.
     18· ·The complete opposite of what he wrote is what he said     18· · · · · · · (EXHIBIT 48 MARKED FOR IDENTIFICATION)
     19· ·on the -- on the plane.· And then you know, I guess they   19· · · · A· · So Counsel has a flight at 6:00, too.· I have
     20· ·had raided his house while he was in -- at the             20· ·a flight at 5:45, so I'd forgo lunch to make sure we
     21· ·symposium.                                                 21· ·can --
     22· · · · Q· · And I believe you described flying home from     22· · · · · · MR. CAIN:· There's more than just you, in
     23· ·that, that you stopped in Denver, they dropped you off     23· · · ·particular the court reporter.· We have to break for
     24· ·before continuing on to Grand Junction?                    24· · · ·lunch, but I have the sandwiches brought in for
     25· · · · A· · I think the opposite happened, I think. I        25· · · ·folks that need something.· We'll take a short

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     ·1· ·think they dropped him off in Grand Junction then          ·1· · · ·break.
     ·2· ·dropped me off in Centennial.                              ·2· · · · · · THE WITNESS:· You going to take a bite of mine
     ·3· · · · Q· · So was it all Colorado folks then, sounds        ·3· · · ·first?
     ·4· ·like?· I mean there's, you mentioned Sherrona Bishop --    ·4· · · · · · MR. CAIN:· No.· I'll let you pick which one.
     ·5· · · · A· · Yeah.                                            ·5· · · · · · THE WITNESS:· Have you ever heard the -- the
     ·6· · · · Q· · -- Gerald Wood.· You said there were several -   ·6· · · ·jellybean story? Put 100 jelly beans in, one's a bad
     ·7· ·- a few others, though.                                    ·7· · · ·one.· You still got to just stick your hand in and
     ·8· · · · A· · Yeah, I don't remember who they were.            ·8· · · ·bite -- eat a jelly bean.
     ·9· · · · Q· · Polly Casen, was she on the flight?              ·9· ·BY MR. KLOEWR:
     10· · · · A· · Polly Casen?· Polly Casen?                       10·
     11· · · · Q· · Ash App, maybe?                                  11·
     12· · · · A· · I don't think Ash was.                           12·
     13· · · · Q· · Sean Smith?                                      13·
     14· · · · A· · I wish I could remember.· I can ask those        14·
     15· ·people, but I don't --                                     15·
     16· · · · Q· · Okay.                                            16·
     17· · · · A· · I don't remember.· I do know that I fell         17·
     18· ·asleep as soon as they took off, so I don't think of       18·
     19· ·anyone else on the plane, I crashed out.                   19·
     20· · · · Q· · But you did have conversations with Gerald       20·
     21· ·Wood at least, sounds like?                                21·
     22· · · · A· · Oh yeah.· I wanted to know what was going on     22·
     23· ·with -- like how did it happen.· Want to know -- you       23·
     24· ·know, you're a part of it, you're a part of this team      24·
     25· ·that -- that, you know, did this investigation, tell me    25·
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     15·                                      15·
     16·                                      16·
     17·                                      17·
     18·                                      18·
     19·                                      19·
     20·                                      20· · · · Q· · Okay.· So that kind of anticipates the
     21·                                      21· ·question I was going to ask in a bit, but we can discuss
     22·                                      22· ·it now.· Do you communicate with Mr. Lindell on Signal?
     23·                                      23· · · · A· · I just call him.
     24·                                      24· · · · Q· · I mean, we can see many text messages
     25·                                      25· ·obviously that Mr. Lindell has disclosed between you

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     ·1·                                      ·1· ·two.· I'm -- I'm wondering if you also utilize Signal
     ·2·                                      ·2· ·for your communications?
     ·3·                                      ·3· · · · A· · I'm not saying that I haven't before, but it's
     ·4·                                      ·4· ·not normal, no. It's not normal.
     ·5·                                      ·5· · · · Q· · What are the circumstances when you would use
     ·6·                                      ·6· ·Signal instead of texting or calling him?
     ·7·                                      ·7· · · · A· · If I did, it would have to be because of
     ·8·                                      ·8· ·something, you know, that was super security to be
     ·9·                                      ·9· ·spoken about.· But -- but I mean, I'm -- I'm not sure I
     10·                                      10· ·had those conversations with Mike specifically.
     11·                                      11·
     12·                                      12·
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     ·1·                                                             ·1· · · · Q· · So Phil Waldron never offered you compensation
     ·2·                                                             ·2· ·for being there?
     ·3·                                                             ·3· · · · A· · Nope.
     ·4·                                                             ·4· · · · Q· · Never heard a phone conversation or a Signal
     ·5·                                                             ·5· ·message from Mr. Waldre· · ·n.
     ·6· · · · Q· · And -- and you're -- when you saying doing it    ·6· · · · A· · If he offered me money, I said, "I don't want
     ·7· ·and what makes him a bad guy is that he spoke to the       ·7· ·your money."· And people have offered me money and I was
     ·8· ·press and said the P-cap information did not add up; is    ·8· ·like, "I don't want your money.· I'm sorry, I don't want
     ·9· ·that correct?                                              ·9· ·your money.· I'm going to -- I'm going to do this for
     10· · · · A· · No.· I mean, violating trust is one thing,       10· ·the right reasons and I'm going to do it because it's
     11· ·doing it with and being involved in the problem itself     11· ·the truth, not because somebody gives me money and then
     12· ·or creating the problem is another.· So Josh Merritt was   12· ·I can be tainted by that money."
     13· ·actively there trying to sabotage and interfere with       13· · · · Q· · So who's offered you money that you turned
     14· ·things that I could see from the outside while he's        14· ·down?
     15· ·sitting there saying that -- that there's nothing to       15· · · · A· · So Jovan Pulitzer offered me a thing saying
     16· ·these P-caps.· He was the one that said to me that there   16· ·that he had some magic system that could do all sorts of
     17· ·was validation that happened prior to the symposium, but   17· ·crazy stuff and he needed a CEO to run it.· I was
     18· ·then was like, "Well, you know -- " and I said, "Well,     18· ·offered to be a part of what was happening at the
     19· ·did you get a chance to see it?"· And he would -- he       19· ·Arizona audit the first time in 2020.· I forget who the
     20· ·just was squishy; he wouldn't answer the question.· So     20· ·person was behind that, but they were working closely
     21· ·he's over here talking to the press, yet he's the one      21· ·with Phil Waldron, or not, excuse me, Phil Waldron.· But
     22· ·that's in the middle that's supposed to be an expert       22· ·Patrick Byrne.· I was offered by people at Tap to get --
     23· ·validating the thing before the symposium ever started.    23· · · · Q· · Just to clarify, these are separate instances
     24· ·So it feel -- it feels like self-sabotage.· It feels       24· ·the CEO position offered you by --
     25· ·like, again, Mike is being run off a cliff by just some    25· · · · A· · Yeah, these are people --

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     ·1· ·really bad people.                                         ·1· · · · Q· · -- Jovan Pulitzer, it's not related to the
     ·2· · · · Q· · Mr. Merritt had -- we'll get into -- I guess     ·2· ·Maricopa audit offer?
     ·3· ·we can address this now.· Mr. Merritt provided testimony   ·3· · · · A· · Yeah.
     ·4· ·that he was offered $30,000 to come to the symposium to    ·4· · · · Q· · So it was Patrick Byrne.
     ·5· ·validate this information.· And then when he saw it he -   ·5· · · · A· · Literally it was a phone call that said, "You
     ·6· ·- he had serious concerns about its validity and           ·6· ·know, you're really smart and you could run this.· I got
     ·7· ·possible criminal implications being in possession of      ·7· ·this great opportunity, come run this company.· We'll
     ·8· ·that information.· So -- well let me ask you this, were    ·8· ·pay you a bunch of money to do it."· I'm like, "This is
     ·9· ·you offered any money to -- to be at the symposium?        ·9· ·silly.· I don't -- I don't -- "
     10· · · · A· · Nobody has ever offered me money for -- I        10· · · · Q· · So Patrick Byrne offered you a paid position
     11· ·don't want anybody's money.· Nobody's offered me money     11· ·working on the Maricopa audit?
     12· ·at all, not under any circumstances anybody offered me     12· · · · A· · No.· Someone that was working with Patrick
     13· ·money to -- I -- I've been offered jobs by people that     13· ·Byrne.
     14· ·say, "Hey look, I -- maybe we get you this high paying     14· · · · Q· · Doug Logan?
     15· ·job," right?· And I'm like, "I don't want a job, I'm       15· · · · A· · Doug Logan.· And I said, "I don't -- " it was
     16· ·good."· So I -- but I've -- and -- and Mike's never        16· ·a circus.· I mean there was already like 50 cooks in the
     17· ·offered me anything.· I've never asked for anything.       17· ·kitchen.· It was never going to get anywhere with that
     18· ·Nobody has ever given me a dollar, not $1 to be in the     18· ·many people.· And there were people that are doing their
     19· ·middle of this.· Not one.· Not -- not people that you      19· ·- - there for the right reason, people that weren't.· So
     20· ·don't know, do know, no cash, no nothing.· Nothing.        20· ·I flew out there, had a conversation with four or five
     21· · · · Q· · Well you're aware that other people there at     21· ·people and I was like, "I'm out."· Because they -- they
     22· ·the symposium were paid for their time and for being       22· ·had lost credibility when they started leaking stuff.
     23· ·there, right?                                              23· ·Again, if you -- if you want to know how the cake's
     24· · · · A· · I'm sure.· I'm sure that there were people       24· ·built, you build the cake, right? You don't build the
     25· ·there that were paid for their time.                       25· ·cake while you're telling people that there's poison in
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     ·1· ·the cake and everything else.· You just -- and the more    ·1· · · · · · VIDEOGRAPHER:· Can we just pause for a second?
     ·2· ·you do that, the less public trust on both sides get       ·2· · · ·Can we move this -- I think your cell phone is
     ·3· ·developed, and now we're talking about, it's just -- it    ·3· · · ·interfering --· · · · · · · · · · .
     ·4· ·turns into a hot mess.                                     ·4· · · · · · THE WITNESS:· Oh, it is.· I'm sorry.
     ·5· · · · Q· · So how much were you offered to take a role in   ·5· · · · · · VIDEOGRAPHER:· -- nearby.· Okay.
     ·6· ·Maricopa audit?                                            ·6· · · · · · THE WITNESS:· Is that better?
     ·7· · · · A· · I don't know.· I don't remember.· 150, 200       ·7· · · · · · VIDEOGRAPHER:· Yeah.· Thank you.
     ·8· ·grand, something like that.                                ·8· · · · · · THE WITNESS:· All right.
     ·9· · · · Q· · For a limited amount of time or just for         ·9· · · · · · VIDEOGRAPHER:· Okay, done.
     10· ·purposes of the audit?                                     10· · · · · · MR. KLOEWR:· All right, let's move on here.
     11· · · · A· · To come in and be a consultant.· I don't even    11· · · · · · THE WITNESS:· Hey Charlie, you lied to me, it's
     12· ·know -- there wasn't ever any money that was discussed     12· · · ·got my name on it.· Couldn't eat it.
     13· ·per se, just, "Hey, we have this X dollars available,      13· ·BY MR. KLOEWR:
     14· ·it's going to cost us six, seven, eight million dollars    14· · · · Q· · I'll take a bite in the break for you if
     15· ·to do this deal.· We can cut out a little piece for you    15· ·you're hungry over there.· I can help you out there.
     16· ·to come -- come and consult and talk about what you        16·
     17· ·think you can see."· And I was like, "Yeah, I'm -- I'm     17·
     18· ·not interested in your money, but what I am interested     18·
     19· ·in is helping you.· So if I can help, I'm interested in    19·
     20· ·doing that."                                               20·
     21· · · · Q· · So you said you flew to Arizona, had a           21·
     22· ·conversation with four or five people about that --        22·
     23· · · · A· · Yeah.                                            23·
     24· · · · Q· · -- central offer?· And did that include Doug     24·
     25· ·Logan in that group of people?                             25·

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     ·1· · · · A· · No, it didn't.· I didn't meet Doug Logan until   ·1·
     ·2· ·-- where did I meet him?· I met him in Arizona.· Oh, the   ·2·
     ·3· ·Deep Rig deal is the first time I met him.                 ·3·
     ·4· · · · Q· · At the premiere of the film or in the process    ·4·
     ·5· ·of filming?                                                ·5·
     ·6· · · · A· · In the process.· He wasn't at the premier.       ·6·
     ·7· · · · Q· · And you don't recall any of the other            ·7·
     ·8· ·individuals who were there?                                ·8·
     ·9· · · · A· · There was a guy that I met with that was --      ·9·
     10· ·that was working on the audit, I did meet him.· He ended   10·
     11· ·up dying a couple months later.· I guess he was one of     11·
     12· ·the auditors.· Remember that guy's name?                   12·
     13· · · · Q· · Not off the top of my head.                      13·
     14· · · · A· · You know what I'm talking about?                 14·
     15· · · · Q· · Is this the guy who died after the Reawaken      15·
     16· ·America event?                                             16·
     17· · · · A· · No, this is the guy had COVID, he was in the     17·
     18· ·audit.                                                     18·
     19· · · · Q· · Is this who Ron Watkins claimed had been         19·
     20· ·murdered?                                                  20·
     21· · · · A· · Yeah, that guy.· You know what I'm talking       21·
     22· ·about?                                                     22·
     23· · · · Q· · Yeah.· Was he murdered in your opinion?          23·
     24· · · · A· · I don't know.· I mean, again, it -- it is -- I   24·
     25· ·don't know.                                                25·
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     ·1· · · · A· · This is where I was -- you know, again, I -- I   ·1· ·records.· Here's what it comes out to, here's how we put
     ·2· ·care about Mike, I care about Mike greatly.· I mean --     ·2· ·it in the system, how it came out."· Or I get sent sub-
     ·3· ·and I would do anything for Mike.· And I think that --     ·3· ·stacks, I'll read the sub-stack and then I'll try to
     ·4· ·that that loyalty is because he has -- he has shown his    ·4· ·reach out to that person to see if I can get some
     ·5· ·loyalty to the American people.· He has shown his          ·5· ·information related to whether or not -- where did they
     ·6· ·loyalty to people that would probably step over his dead   ·6· ·get it?· How do I validate the authenticity of the data?
     ·7· ·body if -- if given the opportunity.· And so I didn't      ·7· ·You know, do you have a chain of custody on that data?
     ·8· ·feel like Mike had enough people around him that were      ·8· ·Did you get it from the Secretary of State?· So I'll ask
     ·9· ·willing to -- to do things because they just wanted to     ·9· ·those questions, understanding what the -- the -- the --
     10· ·protect the integrity of what was happening.· And so       10· ·the chain of custody is.· And then -- so I was on one of
     11· ·this was me stepping in saying, "I'm going to help you,    11· ·those things.· We were doing a presentation and talking
     12· ·Mike."· And, you know -- and by the way, it took -- it     12· ·about the data.· I think Jeff O'Donnell was involved in
     13· ·took a while for me because I -- I wasn't -- I was         13· ·it.
     14· ·telling him that I didn't like everybody on his team, I    14· · · · Q· · So you haven't personally analyzed the data
     15· ·was questioning maybe some of the people that were on      15· ·that was taken from the Mesa County hard drives?
     16· ·his team, that he hadn't come to the same conclusion.      16· · · · A· · No.· No.
     17· ·And -- but I didn't want to do so in such a way that I     17·
     18· ·was not allowing him to go through that process.· And he   18·
     19· ·didn't -- he didn't know me.· So I had -- I had work to    19·
     20· ·do to make sure that I did the things that I said I        20·
     21· ·would do and -- and, you know, let him experience what     21·
     22· ·he was going to experience and not feel like I was         22·
     23· ·telling Mike Lindell what to do.· So this was me just      23·
     24· ·taking a humble approach of, "Here's -- here's what I --   24·
     25· ·I'll -- I'm willing to do."· And yeah -- and when he       25·

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     ·1· ·didn't answer me, didn't answer me, I finally said, "All   ·1·
     ·2· ·right, let's have a phone call."                           ·2·
     ·3· · · · Q· · So did you start getting involved in -- you      ·3·
     ·4· ·know, you said you need to just conduct the                ·4·
     ·5· ·investigation of the Mesa County stuff.· Did you start     ·5·
     ·6· ·playing an active role in investigating that               ·6·
     ·7· ·information?                                               ·7·
     ·8· · · · A· · Uh-uh.                                           ·8·
     ·9· · · · Q· · Did you ever see the scans of the hard drives    ·9·
     10· ·that were taken by Connan Hays?                            10·
     11· · · · A· · I did not.                                       11·
     12· · · · Q· · Have you seen those as you sit here today?       12· · · · Q· · So do you have your communications on Signal
     13· · · · A· · Have I seen the scans?                           13· ·set to delete?
     14· · · · Q· · Yeah.                                            14· · · · A· · Not for him I don't.
     15· · · · A· · The -- the images?                               15· · · · Q· · Okay.· But you just said you don't have any
     16· · · · Q· · Yeah.                                            16· ·record of any communications with him through that app?
     17· · · · A· · Yeah.· But not in my possession, just as other   17· · · · A· · Yeah, well it shows up when you set it to
     18· ·people were doing the work.                                18· ·delete, it'll -- it'll show up on your phone as set to
     19· · · · Q· · Where did you see those and when?                19· ·delete.
     20· · · · A· · I was on a presentation on a call, and they      20· · · · Q· · Okay.
     21· ·were walking through some of the schematics.· I forget     21· · · · A· · It'll show you that separately.· So I set most
     22· ·who was on the call, but I think it was -- and again, I    22· ·of my stuff up to delete.
     23· ·-- I don't know if this is the person that was on it,      23· · · · Q· · Okay.· Well talk about that in a little bit, I
     24· ·but I get invited to these all the time by the way,        24· ·just want to be sure.· So you said you contact -- you
     25· ·where someone says, "Hey, I have these cast vote           25· ·communicated with him sometimes on Signal, but you just
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     ·1· ·showed me your app and you have no communications there.   ·1· ·you ever engaged in any of those with Mr. Lindell?
     ·2· · · · A· · Yeah, because you can make a phone call          ·2· ·We've seen some -- some invitations that include both
     ·3· ·through Signal.                                            ·3·
     ·4· · · · Q· · Okay.· And so there's no records there.· You     ·4·
     ·5· ·don't have --                                              ·5·          .· How frequently would you say you -- you do
     ·6· · · · A· · If you just make a phone call through Signal     ·6· ·events with Mr. Lindell?
     ·7· ·it doesn't go through the same channels as if it's a --    ·7· · · · A· · Infrequently.· So I get invited to stuff all
     ·8· ·it's a Wi-Fi call, so it's like doing it on -- it -- it    ·8· ·the time and they put me on these things, and I wouldn't
     ·9· ·doesn't have the same carrier characteristics of calls     ·9· ·say I go to all of them because it's not really
     10· ·that, you know, somebody can be listening in on or have    10· ·something I enjoy.· I'll do it because I think we have
     11· ·access to it.                                              11· ·to talk about what the state of the nation is, but it's
     12· · · · Q· · So if you're ever texting with Mike Lindell      12· ·-- I -- I don't -- I mean, I've been at events where
     13· ·it's through this standard texting app that we're          13· ·he's spoken, I've spoken, but, you know, I don't think
     14· ·looking at right here?                                     14· ·it's a normal thing.
     15· · · · A· · Most often.· I don't have it on this one, so.    15· · · · Q· · How many events do you -- do you think you've
     16· · · · Q· · Okay.· So this takes us sort of away from the    16· ·done with him if you had to guess?
     17· ·symposium time frame.· I want to talk a little bit about   17· · · · A· · I don't know.· I've done the Reawaken Tour and
     18· ·your relationship with Mr. Lindell now.· It seems like     18· ·he's done different days than I've spoken, so I guess
     19· ·since the symposium your relationship with Mr. Lindell     19· ·you could call it the same event.
     20· ·has grown fairly significantly.· Would you agree with      20· · · · Q· · Do you recall what the last event is you did
     21· ·that?                                                      21· ·with Mr. Lindell?
     22· · · · A· · Yes.                                             22· · · · A· · No.· I think it was in Grand Junction, I
     23· · · · Q· · And how frequently would you say you're in       23· ·think.· Maybe I'm conflating dates.
     24· ·contact with Mr. Lindell now?                              24· · · · Q· · And your -- your business involvements with
     25· · · · A· · I don't know, three times a week.                25· ·Mr. Lindell, your professional involvements are -- have

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     ·1· · · · Q· · And are those mostly calls, text messages, e-    ·1· ·grown substantially in the last year too, correct?
     ·2· ·mails?· How are you communicating there?                   ·2· · · · A· · Meaning?
     ·3· · · · A· · Calls, or I'll fly up and see him.               ·3· · · · Q· · Meaning your -- your business related
     ·4· · · · Q· · And he's a fairly frequent guest on              ·4· ·ventures.· So for example, Mr. Lindell is hosting some
     ·5· ·Conservative Daily?                                        ·5· ·different information through -- through PIN Business
     ·6· · · · A· · I wouldn't say he is frequent, no.· He's been    ·6· ·Network; is that correct?
     ·7· ·on it several times over the last two years, but no. I     ·7· · · · A· · No.
     ·8· ·have a lot of guests.                                      ·8· · · · Q· · Do you know what COS America is?
     ·9· · · · Q· · When you have Mr. Lindell on the show, do you    ·9· · · · A· · Yes.
     10· ·prepare topics beforehand or is it sort of a               10· · · · Q· · What is COS America?
     11· ·freewheeling conversation as we discussed before?          11· · · · A· · It's an organization that works across the
     12· · · · A· · Mike is a free spirit, so I let Mike speak.      12· ·country in order to uncover voter fraud in different
     13· ·Mike speaks about what's happening and he -- you know,     13· ·states.· So it's a way that they can all communicate
     14· ·he's pretty articulate and he -- he just kind of talks,    14· ·information collectively and together.
     15· ·we let him speak, let him kind of tell everyone what       15· · · · Q· · And have you helped him set up his website for
     16· ·he's thinking.                                             16· ·that organization?
     17· · · · Q· · So you don't send over, you know, a list of      17· · · · A· · No.· No.· I -- no, the answer to that question
     18· ·topics for example, "Here's what we're going to discuss    18· ·is no.· I -- I haven't.
     19· ·in the interview," it's just, "Come on the show and        19· · · · Q· · Has anybody at PIN Business Network helped
     20· ·we'll discuss whatever comes up?"                          20· ·them with that?
     21· · · · A· · Yeah.· And if he finds something he wants to     21· · · · A· · No.
     22· ·discuss, he -- he may say, "Hey, I want to talk about      22· · · · Q· · Let's take a look here.· Well, your
     23· ·this."· But again, it's not -- he's not -- I wouldn't      23· ·relationship with My Pillow has grown a bit as well,
     24· ·say he is on the show as a regular contributor.            24· ·right?· Are you working more proactively to distribute
     25· · · · Q· · What about public speaking engagements, have     25· ·My Pillow products today than you were a year ago, for
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     ·1· ·example?                                                   ·1· · · · Q· · No revenue sharing?
     ·2· · · · A· · What do you mean am I --                         ·2· · · · A· · No.· It's like, you're like, "Why are you
     ·3· · · · Q· · Let's take a look.· We can look at clip six,     ·3· ·doing this then?"
     ·4· ·that might give a little context to what I'm getting at    ·4· · · · Q· · That -- that is my question.· I'm -- I'm --
     ·5· ·here.                                                      ·5· ·I'm skeptical of the claims that this is --
     ·6· · · · A· · Okay.· You said don't volunteer information.     ·6· · · · A· · Do you read the Bible?
     ·7· ·See, that is so much a better picture of me, I got a       ·7· · · · Q· · -- out of the goodness of your heart, but --
     ·8· ·haircut --                                                 ·8· · · · A· · Do you read the Bible?
     ·9· · · · · · · (AUDIO PLAYED)                                  ·9· · · · Q· · I do not.
     10· · · · Q· · Right, so --                                     10· · · · A· · Okay, sorry.
     11· · · · A· · He has to enjoy my -- my humor, though.· It is   11·
     12· ·kind of funny.                                             12·
     13· · · · Q· · So are you selling MyPillows to DCF Guns,        13·
     14· ·then?                                                      14·
     15· · · · A· · Not yet.· We -- we -- we're going to get a       15·
     16· ·distribution contract for it, but not yet.· We're          16·
     17· ·working on it.                                             17·
     18· · · · Q· · What do you mean when you say actively trying    18·
     19· ·to get MyPillows in 23,000 stores across the country?      19·
     20· · · · A· · So there's companies that have the ability to    20·
     21· ·plug into and sell products.· And what I've told Mike is   21·
     22· ·that, you need to be able to track all of them, but they   22·
     23· ·need to be able to sell it on their website.· So let's     23·
     24· ·say a company wants to sell an e-commerce sell MyPillow,   24·
     25· ·we just have to connect it into -- via API, into his       25·

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     ·1· ·system.· And then every time they buy a MyPillow, even     ·1·
     ·2· ·if they buy it from -- from Sally's, you know, Truck       ·2·
     ·3· ·Shop, that -- that pillow automatically goes to            ·3·
     ·4· ·distribution at the MyPillow factory.· It's shipped out,   ·4·
     ·5· ·and then that person -- that money that's collected        ·5·
     ·6· ·there, a certain portion of that shoots to MyPillow to     ·6·
     ·7· ·pay for it, and then the money that they keep as their     ·7·
     ·8· ·margin stays with them.· They never have to keep the --    ·8·
     ·9· ·they never have to stock the pillow.· And the pillow is    ·9·
     10· ·shipped directly from MyPillow, but the transaction        10·
     11· ·happened on that website.                                  11·
     12· · · · Q· · And is that sort of service what you do          12·
     13· ·through PIN Business Network for --                        13·
     14· · · · A· · No.                                              14·
     15· · · · Q· · -- other clients?                                15·
     16· · · · A· · No.                                              16·
     17· · · · Q· · So this is just a -- a -- are you doing this     17·
     18· ·as a favor to Mr. Lindell?                                 18·
     19· · · · A· · This part?· Yes.                                 19·
     20· · · · Q· · You're not receiving any compensation for --     20·
     21· · · · A· · For this?                                        21·
     22· · · · Q· · -- working to distribute MyPillow across the     22·
     23· ·country?                                                   23·
     24· · · · A· · I'm not receiving one dollar in compensation     24·
     25· ·for distributing MyPillow across the United States.        25·
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     ·1·                                                             ·1· · · · Q· · So you're -- so PiDoxa keeps -- is -- if I go
     ·2·                                                             ·2· ·to Frank Speech.com right now, the reason it's going to
     ·3·                                                             ·3· ·pull up a live stream and the website is because of what
     ·4·                                                             ·4· ·PiDoxa is doing; is that correct?
     ·5·                                                             ·5· · · · A· · Yeah, we -- we manage the -- the
     ·6·                                                             ·6· ·infrastructure behind it that makes that possible.
     ·7·                                                             ·7· · · · Q· · And how many people does it take to do a job
     ·8·                                                             ·8· ·like that?
     ·9·                                                             ·9· · · · A· · 7 to 10 people depending on the day.
     10·                                                             10· · · · Q· · And those are all PiDoxa employees that are --
     11·                                                             11· · · · A· · PiDoxa Tech Solutions --
     12·                                                             12· · · · Q· · -- are doing the work?
     13·                                                             13· · · · A· · -- yeah.
     14·                                                             14· · · · Q· · And is that a -- a full-time job?· Like -- I -
     15·                                                             15· ·- I presume it would be, but I don't know, you know, if
     16· · · · Q· · Okay.· Let's take a look at clip seven.          16· ·the website goes down, they're going to call you and
     17· · · · · · · (AUDIO PLAYED)                                  17· ·you're going to be able to resolve that problem in real
     18· · · · A· · I don't get to listen to Jovan?· That's not      18· ·time?
     19· ·fair.                                                      19· · · · A· · Yeah, so I don't resolve the problem.
     20· · · · Q· · Well, I think you're playing him at triple       20· · · · Q· · Okay.
     21· ·speed in that episode, so --                               21· · · · A· · I -- I went through the Documentum and created
     22· · · · A· · Oh, was I really?                                22· ·all the suggestions for how we were going to do the
     23· · · · Q· · -- I don't think anybody's -- needs to listen    23· ·rollover.· And the -- there's two things that we were
     24· ·to that, but that's correct, that's the episode where      24· ·after, one is a higher degree of stabilization, and two
     25· ·you're discussing Mr. Pulitzer.                            25· ·was to make sure that we maximized the effectiveness of

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     ·1· · · · A· · Okay.                                            ·1· ·the site and what it's able to do against making it also
     ·2· · · · Q· · So tell me, you said "We took over," who's we?   ·2· ·cost effective.
     ·3· · · · A· · Our company, PiDoxa.                             ·3· · · · Q· · And I presume -- it sounds like this is a big
     ·4· · · · Q· · PiDoxa, okay.· So PiDoxa is running the Frank    ·4· ·job that's full- time, as you've just described?
     ·5· ·Speech website now or -- or --                             ·5· · · · A· · Uh-huh.
     ·6· · · · A· · PiDoxa Tech Solutions.                           ·6· · · · Q· · I presume Frank Speech is paying for that
     ·7· · · · Q· · Okay.· And what is PiDoxa's role at Frank        ·7· ·service?
     ·8· ·Speech?· What services do you provide there?               ·8· · · · A· · They -- they are.
     ·9· · · · A· · The backbone behind Frank Speech.                ·9· · · · Q· · Okay.· And have you sort of supplanted
     10· · · · Q· · What does that mean?· Explain it to me like      10· ·Johnston Howse, LLC, or are you working alongside them
     11· ·I'm a dumb lawyer who doesn't understand that.             11· ·in that role?· We discussed them before as being the --
     12· · · · A· · Are you a dumb lawyer?                           12· ·the original entity that sort of set up the website, and
     13· · · · Q· · In this context, I will accept that              13· ·it sounds like you may be doing some of the work that
     14· ·designation, yes.· So what does it mean to provide the     14· ·they're -- they were doing.· Is that correct or --
     15· ·backbone for a --                                          15· · · · A· · Correct.
     16· · · · A· · In other words, make sure we do the -- the       16· · · · Q· · Okay.· And are they still involved in that
     17· ·system management, the stack management, server            17· ·process, or have you taken over?
     18· ·management for him.· Make sure we have proper pipelines.   18· · · · A· · We've taken over 99 percent of it so far.
     19· ·Make sure we have proper VOD and -- and data               19· · · · Q· · Okay.
     20· ·infrastructure so that the system is able to operate in    20· · · · A· · So it's a handoffs, there's -- there's still a
     21· ·a -- -- with multicom complexity, in other words, you      21· ·knowledge transfer that has to happen when you hand over
     22· ·can have multiple streams going on at the same time that   22· ·systems.· So that knowledge transfer includes making
     23· ·are live that people can enter or exit.· So the entire     23· ·sure you have the right credentials, that you have right
     24· ·infrastructure of what runs, the backbone behind the       24· ·system authorizations and ownership.· So that's the
     25· ·website, all the equipment, will we run that.              25· ·process that that team goes through in order to make
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     ·1· ·sure that that is able to be accomplished.                 ·1· ·have an office in Texas, and PiDoxa is based out of
     ·2· · · · Q· · So have these business relationships cause any   ·2· ·Colorado.
     ·3· ·personal friction with you and the Frank Speech team?      ·3· · · · Q· · Okay.· So you work remotely for that entity
     ·4· · · · A· · No, they're -- the -- the whole team is our      ·4· ·from Texas?
     ·5· ·team.                                                      ·5· · · · A· · Well, I mostly work remotely for the entity of
     ·6· · · · Q· · So Mr. Howse for example, is he working for      ·6· ·CD Solutions, because most of my time and effort goes
     ·7· ·PiDoxa now or --                                           ·7· ·into making sure that we have proper structure.· I'm
     ·8· · · · A· · No, he's his own -- that's Lindell TV, that      ·8· ·trying to figure out how to be profitable and be a
     ·9· ·has nothing to do with the Frank Speech platform.          ·9· ·talking head.
     10· · · · Q· · Okay.· I'm just trying to understand, if -- it   10· · · · Q· · Okay.· I think that wraps up most of my
     11· ·seems like, you know, if -- if you've taken this           11· ·questions about Mr. Lindell and your relationship with
     12· ·contract from him, that it -- it seems likely that there   12· ·his entities.· I want to shift gears here to discuss the
     13· ·could be some -- some tension there.· But it sounds like   13· ·subpoena we issued you and the responses you've provided
     14· ·you're saying there's not?                                 14· ·to that for a little while.
     15· · · · A· · No, because I'm not getting paid and --          15· · · · A· · Okay.
     16· · · · Q· · PiDoxa is getting paid, right?                   16· · · · Q· · This is Exhibit 52.· Okay.· Do you recognize
     17· · · · A· · Yeah.                                            17· ·this document, Mr. Oltmann?
     18· · · · Q· · And they're getting paid what Johnston           18· · · · · · · (EXHIBIT 52 MARKED FOR IDENTIFICATION)
     19· ·Howse --                                                   19· · · · A· · Sorry, hold on a second.· What is this?
     20· · · · A· · Or even --                                       20· · · · Q· · Well, this is the subpoena that was issued to
     21· · · · Q· · -- used to be getting paid?                      21· ·you.· I'm asking you if you recognize it.
     22· · · · A· · Oh, no.· No, no, no.· Oh, no.· The -- the cost   22· · · · A· · I do.
     23· ·factor for what we were able to do and produce for Mike    23· · · · Q· · Okay.· I'm going to refer you back -- well,
     24· ·and what he was paying previously, without divulging       24· ·let's see --
     25· ·dollars, is almost 70 percent less.                        25· · · · A· · I did not receive all these pieces, though.

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     ·1· · · · Q· · Okay.· But your company, PiDoxa, is getting      ·1· · · · Q· · So we discussed that a little bit before.· It
     ·2· ·paid?                                                      ·2· ·sounds like Ms. Hall did inform you that we were
     ·3· · · · A· · They're getting paid --                          ·3· ·attempting to serve a subpoena on you; is that correct?
     ·4· · · · Q· · Yeah.                                            ·4· · · · A· · Yes.
     ·5· · · · A· · -- what's called a cost plus contract in order   ·5· · · · Q· · And if I recall correctly, you don't -- you
     ·6· ·to get the work done.                                      ·6· ·don't remember when you had those communications with
     ·7· · · · Q· · So it's 70 percent less is what Johnson Howse    ·7· ·her?
     ·8· ·was charging previously, and they're not getting that      ·8· · · · A· · I don't.
     ·9· ·income now?                                                ·9·
     10· · · · A· · Correct.                                         10·
     11· · · · Q· · Okay.                                            11·
     12· · · · A· · And their system was -- was -- was poorly        12·
     13· ·engineered, and a lot of that had to do with the fact      13·
     14· ·that they had never done these types of things before,     14·
     15· ·and they didn't have the proper things in place that       15·
     16· ·would allow -- it -- it went down a lot and it had         16·
     17· ·buffering issue -- it had a lot of issues, and so we       17·
     18· ·were able to eliminate those issues in less than three     18·
     19· ·weeks, and then put some -- some stop caps in place that   19·
     20· ·allowed for those systems not to have any -- to have       20·
     21· ·failovers.                                                 21·
     22· · · · Q· · And PiDoxa's your company that you based out     22·
     23· ·of Texas as you described before, did I understand that    23·
     24· ·correctly?                                                 24·
     25· · · · A· · Have I based that out of -- no, it has -- so I   25·
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     ·1·                                                             ·1· · · ·-- I believe your statement about what the Court
     ·2·                                                             ·2· · · ·order permitted is not accurate.· I don't believe
     ·3·                                                             ·3· · · ·the Court ordered gave you permission to violate the
     ·4·                                                             ·4· · · ·rules of service in Colorado, so I just don't want
     ·5·                                                             ·5· · · ·that to be out there.
     ·6·                                                             ·6· · · · · · VIDEOGRAPHER:· Could you move your phone to the
     ·7·                                                             ·7· · · ·other side, please?· Thanks.
     ·8·                                                             ·8· ·BY MR. KLOEWR:
     ·9·                                                             ·9· · · · Q· · Well, we'll -- we'll note the clarification.
     10·                                                             10· ·In the e-mail to Ms. Hall, we did specifically quote the
     11·                                                             11· ·language from the order, which expressly allowed service
     12·                                                             12· ·by e-mail or service by certified mail in these
     13·                                                             13· ·circumstances, which we did.· We also served Ms. Hall
     14·                                                             14· ·personally with that subpoena thereafter, when she
     15· · · · Q· · Did you speak with anybody on Mr. Lindell's      15· ·refused to accept service pursuant to the Court's
     16· ·legal team about the subpoena issued in this case?         16· ·expressed language.
     17· · · · A· · I did not.· I think -- I think Andrea did, but   17· · · · A· · She's never -- she never got it served to her;
     18· ·I mean, I -- I don't -- I didn't.                          18· ·she only got it via e-mail.
     19· · · · Q· · Did you discuss the documents that you would     19· · · · Q· · She did get it via e-mail though, correct?
     20· ·produce in response to the subpoena with anybody on        20· · · · A· · I have no idea.· I know that I got it.
     21· ·Mr. Lindell's team?                                        21· · · · Q· · All right.· Let's take a look at the second to
     22· · · · A· · All right, can you answer that -- ask that       22· ·last page of that document.· It's a long document
     23· ·question again please?                                     23· ·because it provides a lot of instructions for you.
     24· · · · Q· · Yeah.· Did you discuss the information or the    24· ·There's a supplement that was amended to change the
     25· ·documents you had produced in response to the subpoena     25· ·date.· So there's a lot of information there that we

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     ·1· ·with Mr. Lindell's team?                                   ·1· ·don't necessarily need to take a look at, but I'm
     ·2· · · · A· · No.· I didn't even know what was in the          ·2· ·interested primarily in the documents requested, which
     ·3· ·subpoena, I just knew that there was a request for a       ·3· ·is on page 16 of 17 of that document.· And we'll start
     ·4· ·subpoena.                                                  ·4· ·at the top.· And you provided some responses to these
     ·5· · · · Q· · So when we provided Ms. Hall with a copy of      ·5· ·requests yourself acting in, what appears to be a pro se
     ·6· ·the subpoena, afterwards she didn't give you that?         ·6· ·capacity as you represented to the Court and as you
     ·7· · · · A· · When? When you said that she was substitute to   ·7· ·represented to us, so I'll hand these out.· I understand
     ·8· ·counsel or when --                                         ·8· ·this was before your current counsel, Ms. DeFranco, was
     ·9· · · · Q· · Well, we filed that motion, we got an order      ·9· ·retained for purposes of this deposition.· So we can
     10· ·from the Court, I believe on September 28th, that          10· ·kind of compare these side by side here as we proceed.
     11· ·allowed us to serve her by e-mail or by certified mail.    11· ·I want to look at what --
     12· ·We sent her that e-mail and that certified mail.· And      12· · · · · · VIDEOGRAPHER:· Hold on.· Does anyone have their
     13· ·that's what I'm asking you --                              13· · · ·cell phone next to the wire on their lapel?
     14· · · · A· · Yeah, but I'm not -- I'm not --                  14· · · · · · MR. KLOEWR:· It could be me.
     15· · · · Q· · -- did she provide you with that document at     15· · · · · · VIDEOGRAPHER:· Okay.
     16· ·that time                                                  16· · · · · · MR. KLOEWR:· Better?
     17· ·?                                                          17· · · · · · VIDEOGRAPHER:· Would you have your cell phone
     18· · · · A· · I'm not her, so I don't know what you did or     18· · · ·near the wire?
     19· ·didn't give to her. She did give it to me, she passed on   19· · · · · · MR. MALONE:· No.· It's --
     20· ·the subpoena to me when she was ordered by the Court to    20· · · · · · VIDEOGRAPHER:· Okay.· All right just must be
     21· ·pass on the subpoena to me.                                21· · · ·some interference then.· Okay.
     22· · · · Q· · Okay, that would've been late September?         22· ·BY MR. KLOEWR:
     23· · · · A· · I -- I don't recall the time.                    23· · · · Q· · Okay.· Now, on Tuesday we had a conference
     24· · · · Q· · Okay.                                            24· ·call with the Court, and you told Judge Wang that you
     25· · · · · · MR. MALONE:· And I just want to clarify that I    25· ·had produced everything that exists in response to these
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     ·1· ·documents.· Do you recall saying that?                     ·1· ·him.· I'm sure you have those communications, as well.
     ·2· · · · A· · Yep, that I have.                                ·2· ·Those are personal communications, and those are
     ·3· · · · Q· · Okay.                                            ·3· ·personal things that -- that friends speak about.· So I
     ·4· · · · A· · I did send over more information as it related   ·4· ·don't keep those communications.· I have those
     ·5· ·to the -- the one part about -- related to election        ·5· ·conversations with him as if I'm sitting in front of
     ·6· ·fraud.                                                     ·6· ·them, and then I get rid of them.
     ·7· · · · Q· · So let's look at the first request here. We      ·7· · · · Q· · So do you have your cell phone set to delete
     ·8· ·requested all written communications with Lindell, Frank   ·8· ·every text message you send automatically?· Or do you go
     ·9· ·Speech, or MyPillow between January 1, 2020, and the       ·9· ·through and proactively do that yourself?
     10· ·present, including but not limited to all communications   10· · · · A· · What do you mean proactively do it myself?
     11· ·discussing Dr. Coomer or Dominion Voting Systems. In       11· · · · Q· · Well, is your phone deleting your messages for
     12· ·your written response to us, you stated, "There are        12· ·you or are you deleting your messages yourself?
     13· ·none," do you recall doing that?                           13· · · · A· · I delete my message.
     14· · · · A· · Yep.                                             14· · · · Q· · Okay, how frequently do you do that?
     15· · · · Q· · And was that an accurate statement when you      15· · · · A· · If I have a conversation with someone and I'm
     16· ·made it?                                                   16· ·talking about something personal to them, I delete it.
     17· · · · A· · Yes.                                             17· ·I delete that on my personal side, having conversations
     18· · · · Q· · Well, Ms. Oltmann, we've just spent the last     18· ·with people related to conversation I'm having about,
     19· ·several hours going through many written communications,   19· ·they're having a bad day, I delete it.
     20· ·e-mails, text messages, between you, Mr. Lindell, Frank    20· · · · Q· · Well, we've looked at some of your business
     21· ·Speech, and MyPillow between January 2020, and the         21· ·communications as well that are included in here.· Is it
     22· ·present.                                                   22· ·also your practice to delete business communications?
     23· · · · A· · Yes.                                             23· · · · A· · What do you mean -- like what?· What are you
     24· · · · Q· · How do you explain how Mr. Lindell is able to    24· ·talking about?
     25· ·produce all these documents and you're not?                25· ·

                                                        Page 219                                                        Page 221
     ·1· · · · A· · Because he keeps communication, and I don't.     ·1·
     ·2· · · · Q· · You don't keep any communications?· You delete   ·2·
     ·3· ·all of your text messages?                                 ·3·
     ·4· · · · A· · I delete every bit of my text messages as it     ·4·
     ·5· ·relates to any of this.· And -- and if I don't -- if --    ·5· · · · A· · -- when -- when I went through e-mails,
     ·6· ·if it -- if I don't see it as important, if I -- I don't   ·6· ·because Mike does everything over text message, when I
     ·7· ·see it as -- as personal, I delete it.· If I'm having a    ·7· ·went through e-mails, I just put in there MyPillow,
     ·8· ·conversation with anyone, I delete it.· I have the         ·8· ·Frank Speech, or Lindell, and there was nothing that
     ·9· ·conversation, then I delete it.                            ·9· ·came up that was even discussing anything other than
     10· · · · Q· · You're aware that, in the lawsuit filed          10· ·MyPillow.· I had 500, "Here, do you want to buy a
     11· ·against you, you have an ongoing duty to preserve          11· ·MyPillow" in there.· I mean I could have produced I
     12· ·evidence in that case, correct?                            12· ·guess a MyPillow ad, but that was the extent of it.
     13· · · · A· · None of that is evidence that has anything to    13· · · · Q· · So you don't -- if -- if you're communicating
     14· ·do with any of these cases or Coomer?                      14· ·with Mr. Lindell's on strictly business topics, you
     15· · · · Q· · Well, we've seen many communications with you    15· ·delete those as well, even if it happens in a text
     16· ·and Mr. Lindell discussing Eric Coomer, haven't we?        16· ·message?
     17· · · · A· · None of -- no.· You had someone that says I'm    17· · · · A· · I don't do business through text messaging. I
     18· ·going to talk to Coomer's lawyer in the Coomer v.          18· ·don't -- that's not how I do business.
     19· ·Lindell lawsuit.· That is not related to -- to Coomer,     19· · · · Q· · Okay.
     20· ·that is related to this suit itself.· I -- I don't keep    20· · · · A· · I do business by having contracts written,
     21· ·communications -- and -- and by the way, this is before    21· ·developing plans, make sure you stick to the project
     22· ·I even saw the subpoena for this specifically, and so I    22· ·plan.· That has nothing to do with text messages. I
     23· ·didn't -- I don't keep those communications.· I could      23· ·don't do business through text messages.
     24· ·talk -- I -- I've talked to Mike about, you know, how      24·
     25· ·he's doing personally, I've talked about praying for       25·
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     17· ·                                    17·
     18· ·                                    18·
     19· ·                                    19·
     20· ·                                    20·
     21· ·                                    21· · · · Q· · And I believe I heard you say in a podcast one
     22· ·                                    22· ·time that you were -- you recorded all your calls with
     23· ·                                    23· ·Patrick Burn, for example, is that true?
     24· ·                                    24· · · · A· · Not all my calls, but I record some of the
     25· ·                                    25· ·calls.· Have recorded.
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     ·1· · · · Q· · And you -- and you still have copies of those?   ·1· ·irrational.· So I would record his calls.
     ·2· · · · A· · No.                                              ·2· · · · Q· · Jovan Pulitzer may fall into that category as
     ·3· · · · Q· · You've deleted all the calls that you have       ·3· ·well?
     ·4· ·with Patrick Burn?                                         ·4· · · · A· · Oh, absolutely.
     ·5· · · · A· · I'm pretty sure, yeah.· I mean, there was        ·5· · · · Q· · So you don't back up your phone in any way?
     ·6· ·nothing substantive about those calls.                     ·6· ·You don't --
     ·7· · · · Q· · Have you recorded calls with any of the other    ·7· · · · A· · I do not.
     ·8· ·defendants in the various lawsuits filed by Dr. Coomer?    ·8· · · · Q· · You're not worried about losing text messages
     ·9· · · · A· · Such as who?                                     ·9· ·that may be valuable to you by inadvertently deleting
     10· · · · Q· · Sidney Powell, for example?                      10· ·it?
     11· · · · A· · Never had a call with her.                       11· · · · A· · What -- what text messages are valuable?
     12· · · · Q· · Rudy Giuliani?                                   12· · · · Q· · I don't know.· There's all kinds of reasons
     13· · · · A· · Never had a call with him.                       13· ·why people may want to preserve their text messages.
     14· · · · Q· · Anybody working for the Trump campaign?          14· · · · A· · Why -- why would I want to preserve text
     15· · · · A· · Never had a conversation with anybody there.     15· ·messages?
     16· · · · Q· · Michelle Malkin?                                 16· · · · Q· · Well, that's a good question.· Let's take a
     17· · · · A· · Never -- never -- well, that's not true. I       17· ·look at Exhibit 10. Now, this is a bit of a long
     18· ·did record a call the first time I had a conversation      18· ·segment, but I'm primarily interested in the last few
     19· ·with her, and then I deleted it.                           19· ·sentences of this clip.· Now, this is right after Mr.
     20· · · · Q· · Eric Metaxas?                                    20· ·Lindell's devices were seized by the FBI.· This is a
     21· · · · A· · Never.                                           21· ·Conservative Daily episode from September 14th of this
     22· · · · Q· · We've already said you don't record calls of     22· ·year.· Let's listen to Clip 10.
     23· ·Mr. Lindell.· Have you record any of your calls related    23· · · · · · · (AUDIO PLAYED)
     24· ·to Frank Speech and the work you're doing with them        24· · · · Q· · Okay, so you just -- I just asked you if you
     25· ·through the dockets?                                       25· ·kept your text messages for any reason.· You said, "Why

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     ·1· · · · A· · No.· No.                                         ·1· ·would I do that?"· Here we have a recording of you
     ·2· · · · Q· · Clay Clark?                                      ·2· ·stating that you back up your phone in the event that
     ·3· · · · A· · No.                                              ·3· ·you have your devices seized by the FBI so that you can
     ·4· · · · Q· · What about Randy Corporon?                       ·4· ·ensure the information that's on there is accurate.
     ·5· · · · A· · No, he was an attorney for me.· I would not      ·5· · · · A· · Yeah.· So here's what you do, and you can go
     ·6· ·record those calls. I -- he's a good dude.                 ·6· ·in here and check real quick, so you understand.· There
     ·7· · · · Q· · What about any other hosts at Salem Media?       ·7· ·is -- your phone cannot be backed up cause there's no
     ·8· ·Peter Boyles?                                              ·8· ·backup.· The only backup that I have is your phone
     ·9· · · · A· · No.                                              ·9· ·numbers and the contacts.· That's it, and I set it up
     10· · · · Q· · George Brauchler?                                10· ·that way because I don't -- I don't trust government
     11· · · · A· · George Brauchler?· I did keep a couple text      11· ·apparatus at all.· I don't trust anything about what
     12· ·messages from George Brauchler.                            12· ·they do.· I see what they did to Roger Stone.· I see
     13· · · · Q· · No recorded calls?                               13· ·what they've done to everyone else through January 6th,
     14· · · · A· · No.                                              14· ·the lies that they've told.· I've seen all the crimes
     15· · · · Q· · Deb Flora?                                       15· ·that they've committed against American people and the
     16· · · · A· · Never had a conversation with her.               16· ·fact that they've used the weight of the government in
     17· · · · Q· · Let's see.· How about, like, Steve Lucescu?      17· ·order to enslave and -- and treat people poorly.· So no,
     18· ·Any of the folks involved with The Deep Rig --             18· ·I don't trust the government.· I don't trust the
     19· · · · A· · No.                                              19· ·apparatus of government.· I think it's here to -- to
     20· · · · Q· · -- for example?                                  20· ·hurt us and to take -- to treat us like slaves, take 54
     21· · · · A· · Again, my limit to recording a phone call is     21· ·percent of our money and send it overseas and give it to
     22· ·someone that's going to be an adverse character, like      22· ·other people.· I have zero interest in doing what they
     23· ·Lin Wood.· I recorded calls with Lin Wood, because Lin     23· ·just did to Jeremy, which is plant grenades on him and
     24· ·would say one thing in public, and he'd do something       24· ·say that the guy actually has grenades in his house with
     25· ·completely different, and he became very, very             25· ·no DNA, no fingerprints, and nothing that would have any




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     ·1· ·sort of connective tissue to Jeremy Brown.· Yet they       ·1· · · · Q· · So your communications with the Gateway
     ·2· ·convict him of having access to these -- these grenades.   ·2· ·Pundit, for example, you've maintained those, the
     ·3· ·So no.                                                     ·3· ·co-defendant in the first case, your ongoing
     ·4· · · · Q· · So what you stated here on your podcast was      ·4· ·communications with him.
     ·5· ·not true?                                                  ·5· · · · A· · What ongoing communications?
     ·6· · · · A· · No, it's absolutely true, because if anything    ·6· · · · Q· · Well, they've published a number of articles
     ·7· ·was on my phone other than the information that I back     ·7· ·about Dr. Coomer, including many after that lawsuit was
     ·8· ·up, which is only going to be your -- my contacts, then    ·8· ·filed.
     ·9· ·they would have no ability to put anything else on my      ·9· · · · A· · And you're saying they got all the information
     10· ·phone.· So I back it up in such a way that I have -- I     10· ·from me?
     11· ·know exactly what information would be contained on my     11· · · · Q· · Well, I don't know.· I'm just -- I'm just
     12· ·phone.· That's the only information on it.                 12· ·asking.· You -- are you telling me that you have not
     13· · · · Q· · And when you go through this process of          13· ·communicated --
     14· ·deleting your text messages and removing everything from   14· · · · A· · No, Jim and -- Jim and Joe Hall do not have
     15· ·your phone, I take it you're taking care to ensure that    15· ·conversations with me.
     16· ·you're not deleting any evidence that's relevant to the    16· · · · Q· · Okay.
     17· ·lawsuit against you that's still pending in the Court of   17· · · · A· · And in my conversation with them, I gave him -
     18· ·appeals?                                                   18· ·- I gave Joe a hug when he was at the -- the Truth
     19· · · · A· · I don't have any information.· I've turned       19· ·Summit.· It -- I was like, "I probably shouldn't talk to
     20· ·everything over to you.· I've turned everything over to    20· ·you.· Just wanted to say thank you for the work that
     21· ·you.                                                       21· ·you're doing," and I walked away.
     22· · · · Q· · Well, I understand that, but we discussed        22· · · · Q· · Okay.· All right.· So you haven't had any
     23· ·before that you have an ongoing duty to preserve           23· ·communications with any other defendants in that case?
     24· ·evidence in that case.                                     24· · · · A· · Since when?
     25· · · · A· · What evidence?· I've given you the evidence,     25· · · · Q· · Since the -- since the case was filed.

                                                        Page 231                                                        Page 233
     ·1· ·and the more evidence that comes out -- the only           ·1· · · · A· · No, I saw Eric Metaxas at an event in
     ·2· ·evidence that's come out is actually damning for your --   ·2· ·Nebraska.
     ·3· ·for your client, not for me.· So I don't have any          ·3· · · · Q· · He was recently on your podcast as well,
     ·4· ·information related to anything that has happened, and I   ·4· ·wasn't he?
     ·5· ·don't have conversations about things with people, and     ·5· · · · A· · Eric Metaxas, talking about his book.
     ·6· ·every time I get on there, it is recorded on -- on         ·6· · · · Q· · Yeah.
     ·7· ·Rumble.· I've never deleted a Rumble video.· I've never    ·7· · · · A· · That was the -- that was the limit that we
     ·8· ·gone back on anything that I've said.· I've never done     ·8· ·would talk about, and I did say beforehand, "We're not
     ·9· ·anything.· I've made sure that we maintain a record        ·9· ·talking about anything other than your book. This is
     10· ·there, and anything else, I make sure I have access to     10· ·your book, book, book."· I told everyone there, "I'm not
     11· ·the depositories, and the depositories change.· I call     11· ·having a conversation with him about anything other than
     12· ·people and say, "Hey, do you still have that information   12· ·the book," and that's what we did.
     13· ·on Ed Solomon?· Do you still have this information on      13· · · · Q· · So the e-mails inviting him on your show, for
     14· ·this?"· I make sure they have their information, but       14· ·example, did you delete those?
     15· ·I've got to keep my life very simple, and my               15· · · · A· · No, they actually e-mailed in asking if he
     16· ·conversations with my wife are none of your business or    16· ·could be on the show, and it was a PR firm that I think
     17· ·none of anybody else's business.· My conversation with     17· ·did it, and I didn't handle it.· None of that
     18· ·my friends are none of your business, and they're none     18· ·information came to me.· It came to someone on the CD
     19· ·of anybody else's business, and the fact that you guys     19· ·team, and their e- mails are preserved, and their
     20· ·have leaked stuff to the press to try and make me held     20· ·e-mails are -- I mean, they're -- they're doing work for
     21· ·out to -- to -- in a harsh light, I'm going to do things   21· ·the company, and, you know, theirs is -- it's a
     22· ·ethically.· I'm not going to delete anything that would    22· ·function. "Are you going to be on or are you not going
     23· ·-- would ever be subjected to or you could grab from       23· ·to be on?· Send us the files that you want to actually
     24· ·somebody else, and I would never say anything that I       24· ·discuss on the podcast," and that's the end of the
     25· ·would not 100 percent say, "Yes.· I said that."            25· ·story.




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     ·1· · · · Q· · So if the Court of Appeals rules in Dr.          ·1· ·with Dominion, Mr. Oltmann.· Let's see.· Let's proceed.
     ·2· ·Coomer's favor and we go back to the district court and    ·2· ·So with respect to those other proceedings, are you
     ·3· ·we engage general discovery in that case, we're not        ·3· ·deleting all your communications with all those
     ·4· ·going to find -- none of the other defendants are going    ·4· ·defendants as well?
     ·5· ·to have any communications with you.· Is that what         ·5· · · · A· · I don't have any communications with those
     ·6· ·you're telling me?                                         ·6· ·defendants.
     ·7· · · · A· · I think it'd be limited.                         ·7· · · · Q· · That's -- that's not in response to my
     ·8· · · · Q· · Okay.· I -- what I -- what I'm asking is --      ·8· ·question.· If you have communications with them, are you
     ·9· · · · A· · So ask me who.· I mean, I don't have any         ·9· ·deleting those as well?
     10· ·communications with Gateway.· I don't have any             10· · · · A· · No.· Anything that has to do with the lawsuit,
     11· ·communications with the Trump deal.· I don't have any      11· ·I would not delete.· No.· No, anything that would be
     12· ·conversations with Giuliani.· I don't have any             12· ·even remotely.
     13· ·information with Metaxas. I don't have any with Metaxas.   13· · · · Q· · Let's move on to Question Number 2.· "All
     14· ·I don't have any information with anyone, any              14· ·written communications with David Clements between
     15· ·communication.· So yes, to the best of my knowledge, you   15· ·January 1, 2020, and the present, including but not
     16· ·would have high. That's my -- you might get a high out     16· ·limited to all written communications regarding --
     17· ·of this deal.                                              17· ·discussing Dr. Coomer or Dominion Voting Systems."· Is
     18· · · · Q· · And you understand that you are a witness in     18· ·it your testimony here today that you delete all
     19· ·at least four other lawsuits involving all these           19· ·communications with Mr. Clemens as well?
     20· ·different individuals, including Mr. Lindell?              20· · · · A· · Yes.
     21· · · · A· · No, I'm not.                                     21· · · · Q· · So there is not a single e-mail, text message,
     22· · · · Q· · You're here today as a witness in this case.     22· ·or any -- any other form of communication that exists
     23· · · · A· · You said four other cases.· What four other      23· ·with Mr. Clemens?
     24· ·cases?                                                     24· · · · A· · Yeah, I think I actually messed up on this,
     25· · · · Q· · The lawsuit against Mike Lindell, MyPillow,      25· ·because I missed the word including.· I thought it was

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     ·1· ·and Frank Speech is one of them.· The case against Randy   ·1· ·related to Eric Coomer, because I have a couple of
     ·2· ·Corporon and Salem Media of Colorado is another.           ·2· ·e-mails from him that are not -- that are not related to
     ·3· · · · A· · I was never notified that I was a witness in     ·3· ·Eric Coomer or Dominion.
     ·4· ·that.                                                      ·4· · · · Q· · Okay.· Well, in that case, we'll be looking
     ·5· · · · Q· · Well, you are.                                   ·5· ·for supplemental disclosure, including those
     ·6· · · · A· · All right.                                       ·6· ·communications, because we are seeking all
     ·7· · · · Q· · I would suspect your former counsel,             ·7· ·communications from Mr. Clemens.
     ·8· ·Mr. Corporon, would've advised you of that.                ·8· · · · A· · All right.· So I -- I do have some
     ·9· · · · A· · I think he's waiting for my lawyers to say       ·9· ·communications with David Clements.· I missed the "But
     10· ·that we can have a communication of some sort.             10· ·not limited to all written communication discussing
     11· · · · Q· · You're also witnessing the case against          11· ·Dr. Coomer or Dominion Voting Systems."
     12· ·Patrick Byrne, the America Project, and Steve Lucescu?     12· · · · Q· · All right.· Let's take a look at Number 3.
     13· · · · A· · Oh, you mean that this is all over -- over       13· · · · A· · Yeah.
     14· ·Eric Coomer?                                               14· · · · Q· · "All documents and communications authored,
     15· · · · Q· · That's correct.· He has five pending lawsuits.   15· ·sent, and received by you concerning any compensation
     16· · · · A· · So it's -- okay.· So you're talking about your   16· ·for your employment, time, expertise, labor, or training
     17· ·lawsuits that you just ran around and frivolously sued     17· ·of others related to the Cyber Symposium."· We discussed
     18· ·everybody.                                                 18· ·this a bit before.· As I -- it's my understanding you
     19· · · · Q· · They weren't filed frivolously, but those are    19· ·were not offered any compensation for your time at the
     20· ·the lawsuits that I'm referring to, and the fifth          20· ·symposium?
     21· ·lawsuit being Mr. Clark (phonetic).                        21· · · · A· · I was not.· I mean, someone probably offered
     22· · · · A· · Who -- who pays your bills?                      22· ·something at some point, but I did not, because I've
     23· · · · Q· · Mr. Oltmann, I'm curious.· I'll ask the          23· ·been offered several times in different areas, but I
     24· ·question here.· We've discussed our -- our Dominion        24· ·declined.
     25· ·agreement previously.· We did not have a relationship      25· · · · Q· · What does that mean?· Who -- who would've




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     ·1· ·offered you?                                               ·1· ·foregoing, deponent will conduct a reasonable search of
     ·2· · · · A· · I don't know.· I just declined.· I just don't    ·2· ·his records or kept in a normal course of business for
     ·3· ·-- I don't take money from people.                         ·3· ·responsive documents."· Have you conducted that search?
     ·4· · · · Q· · So Phil Waldron told you that he would -- that   ·4· · · · A· · No.
     ·5· ·you would be paid $30,000 to speak at the Cyber            ·5· · · · Q· · And you have no communications whatsoever with
     ·6· ·Symposium?                                                 ·6· ·any of these individuals?
     ·7· · · · A· · He never said that.· No.· No, nobody ever said   ·7· · · · A· · I don't.· I think I -- I think I missed this,
     ·8· ·that to me.· I mean, people -- and -- and how you relate   ·8· ·though.· I did not run the -- I ran it.· So Lisa is not
     ·9· ·it to the Cyber Symposium, I don't think at that time      ·9· ·listed under Draza.· So some of these people have e-mail
     10· ·anybody -- I think at that time, everyone already knew     10· ·addresses that they could have sent me something, but
     11· ·that I was not interested in taking money from someone.    11· ·during that time I looked for Cyber Symposium -- so just
     12· · · · Q· · And you appeared at the symposium and skipped    12· ·to be clear, they would send me something.· They would
     13· ·your deposition in your case?                              13· ·send it from ProtonMail, so their name doesn't show up
     14· · · · A· · I skipped my deposition because you wanted me    14· ·during that time.· So I would have no way of looking up
     15· ·to have it in the courthouse, because you wanted me to     15· ·some of these people, like Draza has a ProtonMail e-
     16· ·disclose something so you could weaponize the Court        16· ·mail, and Mark has a ProtonMail e-mail.· So they don't -
     17· ·system in order to have me thrown in jail for not          17· ·- they don't operate with an e-mail that goes back to
     18· ·disclosing what any normal person with any sort of         18· ·them.· So in looking through, I didn't have any
     19· ·ethics would not disclose.                                 19· ·information related to that.
     20· · · · Q· · You were sanctioned roughly $32,000 for that     20· · · · Q· · So it sounds like you are e-mailing folks with
     21· ·in conjunction with other discovery violations.· Is that   21· ·some frequency, and we've seen a lot of e-mails that you
     22· ·right?                                                     22· ·send in this case and other cases. Are you also deleting
     23· · · · A· · Work discovery --                                23· ·all of your e-mails?
     24· · · · · · MS. DEFRANCO:· Objection.· Relevance.             24· · · · A· · No, and I don't e-mail people with -- with --
     25· · · · Q· · I'm -- I'm just trying to understand, you        25· ·I like to talk to people on the phone.

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     ·1· ·know, the -- the finances here.· I -- I appreciate your    ·1· · · · Q· · Well, it sounds like you've compiled a lot of
     ·2· ·statements regarding the kindness with which you're        ·2· ·documents and done a lot of research.· It's -- you're
     ·3· ·doing all these things for Mr. Lindell, but to accept no   ·3· ·telling me you do none of that with the benefit of e-
     ·4· ·compensation to appear onstage at an event that's          ·4· ·mail?
     ·5· ·promising $5 million if the information can be falsified   ·5· · · · A· · I don't do the benefit of e-mail, because I
     ·6· ·and to on the flip side be sanctioned more than $30,000    ·6· ·want to make sure that whatever information I'm getting,
     ·7· ·for that event strikes me as unlikely.· So I'm just        ·7· ·I can be able to validate, and I don't -- I don't -- so
     ·8· ·trying to understand to confirm that that's actually       ·8· ·no, I don't.· I don't do a lot of communication related
     ·9· ·what occurred.                                             ·9· ·to this via e-mail.
     10· · · · · · MS. DEFRANCO:· And that's asked and answered.     10· · · · Q· · Let's talk a little bit about a few of these
     11· · · · A· · Wait a minute.· You -- you think that -- you     11· ·characters. Mr. Waldron.· When did you first meet Phil
     12· ·don't read the Bible, either, so there's that.· That's     12· ·Waldron?
     13· ·kind of shocking to me.                                    13· · · · A· · In Washington, DC, I think.
     14· · · · Q· · That is neither here nor there, Mr. Oltmann.     14· · · · Q· · When you were out there on January 5th?
     15· ·Let's proceed to Number 4.· All documents and              15· · · · A· · Yes.
     16· ·communications between you and any other members of the    16· · · · Q· · You never spoke to Mr. Waldron before that
     17· ·so-called red team at the Cyber Symposium, including but   17· ·time?
     18· ·not limited to all documents and communications between    18· · · · A· · I did talk to him before that time.· I talked
     19· ·you and Phil Waldron, Doug Logan, Conan Hays, Ron          19· ·to him in December as well, but I didn't meet him until
     20· ·Watkins, AKA CodeMonkey, Mark Cook, Sean Smith, Josh       20· ·January of 2021.
     21· ·Merritt, and/or Lisa Draza.· Now, this one, you provided   21· · · · Q· · I don't know if you heard Mr. Giuliani's
     22· ·a slightly different answer.· In this case, you            22· ·deposition testimony, but he stated that all the
     23· ·objected.· You objected on First Amendment grounds, but    23· ·information he had about Dr. Coomer came to him through
     24· ·you concluded your objection by saying, "Notwithstanding   24· ·Phil Waldron.· Do you recall that?
     25· ·these objections, without waiving and subject to the       25· · · · A· · Can you say that again, please?




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     ·1· · · · Q· · Mr. Giuliani has told us that his information    ·1· · · · A· · Well, I don't believe that he was in the same
     ·2· ·about Dr. Coomer came from Phil Waldron.                   ·2· ·room with -- with Giuliani, but he might have been.
     ·3· · · · A· · That's what he said?                             ·3· · · · Q· · And that was the first time you'd met
     ·4· · · · Q· · Yes.                                             ·4· ·Mr. Ramsland in person?
     ·5· · · · A· · Okay.                                            ·5· · · · A· · I believe so.
     ·6· · · · Q· · You don't -- you didn't hear that testimony at   ·6· · · · Q· · Had you ever spoken to him before?
     ·7· ·the time, or you haven't reviewed that?                    ·7· · · · A· · Just asked me to send information to him.
     ·8· · · · A· · No.                                              ·8· · · · Q· · When did he do that?
     ·9· · · · Q· · Do you --                                        ·9· · · · A· · In May or June of 2021.
     10· · · · A· · I -- I can't tell you if that's accurate or      10· · · · Q· · Of 2021?
     11· ·not, because I don't have it in front of me.               11· · · · A· · Uh-huh.
     12· · · · Q· · Did you discuss -- were you aware that           12· · · · Q· · So you weren't in contact with Mr. Ramsland
     13· ·Mr. Waldron was getting your information to Mr. Giuliani   13· ·any time prior to your claims about Dr. Coomer?
     14· ·at the time?                                               14· · · · A· · Prior to my claim about -- no.· I wasn't in
     15· · · · A· · I was not.                                       15· ·contact with anyone. I was in contact with no one.· On -
     16· · · · Q· · And in The Deep Rig, Mr. Waldron says that       16· ·- on November 6th, I was hunting elk.
     17· ·your claims about Eric Coomer are why the Allied           17· · · · Q· · When you say anyone, I know we haven't
     18· ·Security Operations Group first began looking into         18· ·discussed this person yet, but were you in contact with
     19· ·Dominion.· Do you recall that portion of the film?         19· ·L.· Todd Wood prior to your claims about Dr. Coomer?
     20· · · · A· · I don't.                                         20· · · · A· · No.
     21· · · · Q· · Would that comport with your understanding of    21· · · · Q· · Let's talk about next down on the list.· Doug
     22· ·--                                                         22· ·Logan?
     23· · · · A· · I don't think that that's what he said in the    23· · · · A· · No.
     24· ·-- in the movie.                                           24· · · · Q· · When did you first meet Doug?· And forgive me
     25· · · · Q· · I don't have a clip here, but --                 25· ·if I asked that before.

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     ·1· · · · A· · I don't think that -- I mean, you're -- you're   ·1· · · · A· · At the -- I met him at the -- I believe the
     ·2· ·asking me to say that -- something that I don't believe    ·2· ·first time I met him was at the taping of The -- the
     ·3· ·that's in the movie.· I don't believe he said that.        ·3· ·Deep Rig.
     ·4· · · · Q· · Okay.· Is it your understanding that your        ·4· · · · Q· · That's right.· You did say that.· Yeah.· So
     ·5· ·claims about Dr. Coomer are what gave rise to claims       ·5· ·you never met him at Tamale, for example?
     ·6· ·about Dominion Voting Systems?· I believe you've said      ·6· · · · A· · Never, nor was I invited to Tamale.
     ·7· ·that before, and you can correct me if I'm wrong, taken    ·7· · · · Q· · When was the first time you went to Tamale?
     ·8· ·responsibility for being the genesis of the claims         ·8· · · · A· · When I got a phone call at 11:00 at night and
     ·9· ·against the voting systems?                                ·9· ·I talked to Lin Wood for three and a half hours on the
     10· · · · A· · I don't think anyone was looking at the          10· ·phone about Jesus.
     11· ·machines.· I think they were looking at a bunch of bad     11· · · · Q· · Okay.· And that would've been sometime in --
     12· ·actors walking around and doing things until we started    12· · · · A· · Before he fell off the wagon and everybody
     13· ·talking about Eric Coomer.· Yes.· I think that was the     13· ·became the demon.
     14· ·genesis behind people looking into, "Well wait a minute.   14· · · · Q· · Okay.
     15· ·Let's look at the machines."                               15· · · · A· · So I don't know when that time was, but it
     16· · · · Q· · Now, one of Phil Waldon's Associates is a guy    16· ·happened.
     17· ·by the name of Russ Ramsland.· Do you know Mr. Ramsland?   17· · · · Q· · So you weren't part of any of the meetings
     18· · · · A· · I've talked to him several times.                18· ·taking place at Tamale in November 2020 with Patrick
     19· · · · Q· · When did you first meet Russ Ramsland?           19· ·Byrne, General Flynn?
     20· · · · A· · I'm not sure I did, but I think that he was in   20· · · · A· · No.· No seat at the table, no wanting a seat
     21· ·the room in DC.                                            21· ·at the table?· Not involved in that at any -- any way,
     22· · · · Q· · In the hotel room, in the Trump --               22· ·shape or form.
     23· · · · A· · Yeah.                                            23· · · · Q· · When's the last time you spoke with Doug
     24· · · · Q· · -- hotel room with Mr. Giuliani and              24· ·Logan?
     25· ·Mr. Eastman?                                               25· · · · A· · I had him on the -- when did the -- when did




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     ·1· ·the -- when did it end?· When did the audit end?· Is       ·1· · · · A· · I don't recall.
     ·2· ·that September of 2021?                                    ·2· · · · Q· · And you said he was part of that signal group.
     ·3· · · · Q· · The audit would've ended in -- I believe in      ·3· ·Is that the CH group you mentioned before that you were
     ·4· ·August, but I -- I'm not certain on that.                  ·4· ·part of?
     ·5· · · · A· · So I did an interview with him, and then I       ·5· · · · A· · No, they were part of the Telegram group.
     ·6· ·talked to him on the phone three weeks after that, and I   ·6· · · · Q· · Part of the Telegram group.· Okay.· When did
     ·7· ·probably had a conversation with him once since then.      ·7· ·you get involved with that?
     ·8· · · · Q· · And you didn't have any communications with      ·8· · · · A· · Sometime in 2021.
     ·9· ·him during the Cyber Symposium?                            ·9· · · · Q· · And you never shared any information about
     10· · · · A· · I'm not even sure he was there.· Was he there?   10· ·Dr. Coomer with Mr. Watkins?
     11· · · · Q· · My understanding he was -- is that he was a      11· · · · A· · I'm sure I shared with him the same thing I
     12· ·member of the red team, that he was working with           12· ·shared with everybody else.
     13· ·Watkins, Merritt, Waldron, Hay· · ·es, some of these       13· · · · Q· · Well, I'm just asking about direct
     14· ·other folks to try to verify the B caps, but --            14· ·communications.· Did you speak with him personally about
     15· · · · A· · Yeah, I don't think so.                          15· ·this stuff, send him an e-mail, for example?
     16· · · · Q· · What about Ron Watkins?· When did you first      16· · · · A· · I don't think so.
     17· ·meet Mr. Watkins.                                          17· · · · Q· · Have you ever looked into Mr. Watkins'
     18· · · · A· · At the symposium.· Was he at the symposium? I    18· ·background?
     19· ·think he was at the --                                     19· · · · A· · Oh, yes.
     20· · · · Q· · He appeared remotely.· I don't know where he     20· · · · Q· · Are you familiar with his work on the website
     21· ·was physically at the time, but he appeared onscreen.      21· ·8chan?
     22· · · · A· · I think that's the first when I started          22· · · · A· · Yes.
     23· ·talking to him, and it didn't last long.· Then he ran      23· · · · Q· · Have you ever been to 8chan?
     24· ·for office, I think.· Did he run for office in 2021 or     24· · · · A· · I have not.
     25· ·2020?· 2021?                                               25· · · · Q· · You never went there before it was taken down?

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     ·1· · · · Q· · 2022 is when he would've been running for the    ·1· · · · A· · I never went to 8chan.
     ·2· ·primary in the Arizona House.                              ·2· · · · Q· · What about 8kun, 8-K-U-N?
     ·3· · · · A· · Yeah.· Then he just disappeared.                 ·3· · · · A· · I was never involved in any of it, no QAnon,
     ·4· · · · Q· · Did you ever reach out to him under his          ·4· ·no Q, not -- any of that.· I didn't even know that crap
     ·5· ·pseudonym CodeMonkey?                                      ·5· ·even existed.
     ·6· · · · A· · Yes.                                             ·6· · · · Q· · Okay.· Well, that -- that wasn't my question.
     ·7· · · · Q· · And how soon were you reaching out to him?       ·7· ·It's my next question, but were you familiar with the
     ·8· · · · A· · I mean, I think I -- I was connected to him      ·8· ·type of content that was posted on 8kun, for example?
     ·9· ·through, again, this Telegram group, and they said,        ·9· · · · A· · It's not content that I would want going
     10· ·"Hey, you've got to talk to this guy, Watkins."            10· ·through my mind.
     11· · · · Q· · Because he also appeared on the OEN special,     11· · · · Q· · And you knew that Mr. Watkins was the
     12· ·Dominionizing the Vote.· Did you speak to him in that      12· ·administrator of that website?
     13· ·context?· He had one segment, and you had the next.        13· · · · A· · I found out later.
     14· · · · A· · Do you have that video?                          14· · · · Q· · When did you find out about 8kun and his work
     15· · · · Q· · I do.· I don't have it with me immediately.      15· ·there?
     16· ·But you may recall from the first proceeding, we showed    16· · · · A· · When I just started looking into who Ron is
     17· ·a number of those clips in the anti- SLAPP hearing,        17· ·and started having conversations with him on, "Hey, who
     18· ·which involved Mr. Watkins wearing a cowboy hat, making    18· ·is this?" on the -- I was in the channel, like, "Hey,
     19· ·claims about the Dominion user manual.· Does that sound    19· ·what is this?"
     20· ·familiar?                                                  20· · · · Q· · And Mr. Watkins was a guest on Conservative
     21· · · · A· · Well, the Dominion user manual does kind of      21· ·Daily, wasn't he?
     22· ·tell you how to steal an election.                         22· · · · A· · Yeah.
     23· · · · Q· · Well, that's not my question.· I'm asking if     23·
     24· ·you spoke with Mr. Watkins at the time in the context of   24·
     25· ·that OEN piece?                                            25·
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     ·1· ·                                                           ·1· ·that posts what are known as Q Drops or did on the
     ·2· · · · Q· · And you helped with the fundraising for          ·2· ·website 8kun, right?
     ·3· ·Mr. Watkins' congressional campaign, correct?              ·3· · · · A· · No, I didn't.· I knew about Q Drops, but, I
     ·4· · · · A· · I did.                                           ·4· ·mean, that's like in the -- in the Matrix stuff, talking
     ·5· · · · Q· · What was your role in -- in that?                ·5· ·to me, too, because I -- I said it's just a bunch of
     ·6· · · · A· · I just let him talk about it on the -- on the    ·6· ·nonsense, and they didn't like the fact that I said it
     ·7· ·radio and helped him get set up to where he could get      ·7· ·was nonsense.
     ·8· ·credit card processing --                                  ·8· · · · Q· · Okay.· Well, you -- I mean, so you're familiar
     ·9· · · · Q· · But you --                                       ·9· ·with the fact of an individual who's posted Q Drops and
     10· · · · A· · -- I connected him with somebody else.           10· ·has been identified by his followers as this entity
     11· · · · Q· · Okay.· Well, that --                             11· ·known as QAnon, correct?
     12· · · · A· · And then I -- then I- --                         12· · · · A· · I don't -- so I think that you're
     13· · · · Q· · When you say you got him connected, I -- my      13· ·mischaracterizing it, because I will tell you the Q and
     14· ·understanding was that through perhaps Bedoxer (sic)       14· ·QAnon doesn't -- doesn't exist.· So as I started digging
     15· ·or some other of your entities, you were managing the      15· ·into this, because I used the same vernacular, saying
     16· ·donations that were made to Ron Watkins' congressional     16· ·QAnon, just like I talk about adjudication, adjudication
     17· ·campaign?· Do I have that wrong?                           17· ·process one, adjudication process two, and I was told,
     18· · · · A· · No, I -- I connected him to Cornerstone.         18· ·"See, you doesn't know anything about it," because the
     19· · · · Q· · Cornerstone.                                     19· ·first adjudication is actually a signature match, which
     20· · · · A· · -- which does credit card processing, because    20· ·is -- in essence is adjudication.· But that's not the
     21· ·I didn't have the proper infrastructure in place to --     21· ·term that they use.· Well, same thing could be said for
     22· ·to be able to make sure that we do proper reporting on     22· ·QAnon.· There's an Anon, which is a part of the Q, and
     23· ·the -- on the --                                           23· ·then there's Q.· So those are two different things.· So
     24· · · · Q· · So before having Mr. Watkins on your show to     24· ·QAnon was actually developed by the media to kind of,
     25· ·promote his congressional campaign, you didn't do any      25· ·you know, conflate those things together.· But they're

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     ·1· ·background research on him?                                ·1· ·not the same thing.· There is -- it's not a QAnon.
     ·2· · · · A· · Sadly, no.                                       ·2· · · · Q· · Okay.· So in any case, you became aware of
     ·3· · · · Q· · If you had known that he was the administrator   ·3· ·Mr. Watkins' potential involvement with this world
     ·4· ·of 8kun, would you have promoted his congressional         ·4· ·sometime after you promoted his congressional candidacy;
     ·5· ·candidacy?                                                 ·5· ·is that correct?
     ·6· · · · · · MS. DEFRANCO:· Object to the form.                ·6· · · · A· · It -- it wasn't the QAnon part that bothered
     ·7· · · · A· · Probably not.                                    ·7· ·me.· It was the -- the other stuff that related to
     ·8· · · · Q· · Now, you said before you didn't know anything    ·8· ·things that I don't want to be anywhere near, which is
     ·9· ·about QAnon, any of that stuff.· It sounds like you do     ·9· ·pornography and things like that that -- that do not --
     10· ·now.· Are you aware that Mr. Watkins has been identified   10· ·you know, I don't want to fill my head with it.
     11· ·as the most likely individual as being behind the QAnon    11· · · · Q· · All right.· And last one on Watkins.· You said
     12· ·conspiracy theory?                                         12· ·he disappeared. Do you have any idea where he is today?
     13· · · · A· · No.                                              13· · · · A· · No, but I -- I just mean disappeared, mean you
     14· · · · Q· · You're not aware of those reports?               14· ·don't hear anything from him.· There's no -- there's no
     15· · · · A· · I'm not.                                         15· ·footprint.
     16·                                                             16· · · · Q· · When was the last time you were in contact
     17·                                                             17· ·with him?
     18·                                                             18· · · · A· · A year ago.· Again, I'm -- this is a guess.
     19·                                                             19· ·It's probably a year ago.· I'm not even on the same chat
     20·                                                             20· ·with him.
     21·                                                             21· · · · Q· · Okay.· Moving down through the red team, Mark
     22·                                                             22· ·Cook.· You stated before that he's just everywhere.
     23·                                                             23· ·Does seem to be the case.· Who is Mark Cook?
     24·                                                             24· · · · A· · I don't know.· I mean, he's a good guy.· Super
     25· · · · Q· · Well, you're aware that there is an individual   25· ·nice guy.
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     ·1· · · · Q· · Do you know anything about his background?       ·1· ·the source code is all pretty similar between all those
     ·2· ·What does he -- what does he do?· How is he involved in    ·2· ·machines.
     ·3· ·this group?                                                ·3· · · · Q· · What about Sean Smith?
     ·4· · · · A· · You know, I spoke at a conference -- not a       ·4· · · · A· · He's a really good man.
     ·5· ·conference, but an event with Mark.· Mark preceded me,     ·5· · · · Q· · When did you meet Mr. Smith?
     ·6· ·speaking about election integrity and what -- what steps   ·6· · · · A· · In -- I believe the first time I actually got
     ·7· ·we need to take in order to, you know, solidify free,      ·7· ·in front of him was in 2021.· I can't put a date on it,
     ·8· ·fair, and transparent elections, and, you know, he was -   ·8· ·though.
     ·9· ·- he was very articulate, understood what he was saying.   ·9· · · · Q· · And what does he do?· What's his background?
     10· ·He -- he talked about the same things that we need to      10· · · · A· · His background is cybersecurity and
     11· ·continue to talk about, which is paper ballots, day of     11· ·technology.· He's a lieutenant colonel, or I think he's
     12· ·voting, getting rid of mail-in ballots, completely going   12· ·a full bird colonel, a full bird colonel or lieutenant
     13· ·to an ID, all normal things that you'd want., Even --      13· ·colonel, you know, served our country for over 20 years.
     14· ·even the -- the -- the prospect of creating a national     14· · · · Q· · Did you speak with him at the Cyber Symposium?
     15· ·holiday for voting days to make sure that everyone has     15· · · · A· · Yes.
     16· ·an opportunity to vote who wants to vote, so --            16· · · · Q· · What did you discuss with Mr. Smith at the
     17· · · · Q· · Did you -- did you speak with Mr. Cook at the    17· ·Cyber --· · ·?
     18· ·symposium?                                                 18· · · · A· · I -- I don't remember.
     19· · · · A· · I did.                                           19· · · · Q· · We had heard -- well, I'll get through the
     20· · · · Q· · And do you recall the nature of those            20· ·last one here.· What about Lisa Draza?
     21· ·conversations?                                             21· · · · A· · She's also another amazing person.
     22· · · · A· · He worked on a Dominion voting machine, that     22· · · · Q· · When did you first meet her?
     23· ·they were able to -- to let hackers hack the voting        23· · · · A· · In 2021.
     24· ·machine, and that -- I think that the -- the shortest      24· · · · Q· · And I should have asked this for -- for both
     25· ·amount of time someone was able to hack a Dominion         25· ·Mr. Cook and Mr. Smith, but do you have any ongoing

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     ·1· ·voting machine was, like, four minutes.                    ·1· ·relationship with these folks?· Do you work with them
     ·2· · · · Q· · When did he -- when was he involved with that?   ·2· ·today in any capacity?
     ·3· · · · A· · They set it up at the symposium.· That was --    ·3· · · · A· · I just -- Draza, and there's a thing that Jeff
     ·4· · · · Q· · They had a Dominion voting machine at the        ·4· ·O'Donnell built that's called the Draza.· It's -- it's
     ·5· ·symposium?                                                 ·5· ·based on the ability to in real time take the Edison
     ·6· · · · A· · I think it was a Dominion machine.· I'm pretty   ·6· ·data and turn it into charting for election data, and I
     ·7· ·sure it was.                                               ·7· ·believe it's called Draza Report.· It's on
     ·8· · · · Q· · And you said they let him do that.· Who's        ·8· ·magaraccoon.com/drazareport, and so I encourage her.
     ·9· ·they?                                                      ·9· ·You know, she's another person that got involved in this
     10· · · · A· · They -- they were trying to show people how      10· ·because of -- she lost her brother-in-law in Afghanistan
     11· ·easy it was to manipulate the voting machine, change       11· ·or Iraq, one of the two.
     12· ·what the voting machine does.· So they set up this         12· · · · Q· · Okay.· And did you speak with her at the
     13· ·station, and he was involved in that.                      13· ·symposium?
     14· · · · Q· · Do you know who at the symposium had acquired    14· · · · A· · I did.
     15· ·voting machines for this demonstration?                    15· · · · Q· · And what -- what did you talk to Ms. Draza
     16· · · · A· · No idea.· I mean, I'm not -- I just remember     16· ·about?
     17· ·that's the conversation that I had with him there.         17· · · · A· · Just hello, goodbye.· Again, I can't recall
     18· · · · Q· · Did you partake in any of these --· · · in       18· ·what we talked about.
     19· ·this demonstration of showing voting machines, hacking     19· · · · Q· · And was she or Mr. Smith or Mr. Cook, were
     20· ·them?                                                      20· ·they involved in helping you prepare any of the
     21· · · · A· · No.                                              21· ·presentations that you put on?
     22· · · · Q· · You don't know if there were other examples      22· · · · A· · No.
     23· ·from ES&S, for example, or - or Hart Inter                 23· · · · Q· · Did any of them share concerns with you about
     24· ·Civic, any other companies?                                24· ·the accuracy of the information that was presented at
     25· · · · A· · No, but the backbone of the technology, the --   25· ·the symposium?




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     ·1· · · · A· · Which part of the accuracy?· What -- what --     ·1· ·d'etat against the American people.· I think Dominion
     ·2· ·what is in question on the accuracy of the symposium?      ·2· ·was right in the middle of it.· And -- and by the way,
     ·3· · · · Q· · Well, Mr. Mayer provided testimony that he was   ·3· ·there's - there's a lot of connective tissue between
     ·4· ·in a room with one or more of these individuals on         ·4· ·Eric Coomer and what happened in Mongolia in 2004. I
     ·5· ·multiple occasions when they spoke with Mr. Lindell and    ·5· ·mean, I could go down the line.· I mean, so, there is a
     ·6· ·informed him that the P-Caps were not what they            ·6· ·lot of evidence to show that Dominion Voting Systems is
     ·7· ·purported to be, and --                                    ·7· ·-- is the nexus of the fraud in 2020 --
     ·8· · · · A· · I wasn't in those meetings, so I can't talk to   ·8· · · · Q· · Okay.
     ·9· ·what they would or would not have been said -- would've    ·9· · · · A· · -- 2021 and 2022.
     10· ·happened in those meetings.                                10· · · · Q· · I -- I understand.· I've heard this all
     11· · · · Q· · Well, I think we established that.· I'm just     11· ·before, Mr. Oltmann.· My question was just if you recall
     12· ·wondering if in your conversations with Mr. Cook or        12· ·any conversations with these people· · · --
     13· ·Mr. Smith or Ms. Draza, they informed you that there       13· · · · A· · Well, you also said you're a dumb lawyer and
     14· ·were concerns about this information?                      14· ·the dumb -- I mean, that really is the case is that you
     15· · · · A· · I think everyone raised -- that is, I think      15· ·guys don't understand technology, because if you did,
     16· ·there's a lot of people that raised the specter of         16· ·you certainly would see this differently.
     17· ·whether or not it was legitimate information, because      17· · · · Q· · All right, Mr. Oltmann, let's proceed to
     18· ·the fact that he never showed up.· Dennis Montgomery       18· ·number six.
     19· ·wasn't at the symposium, so there was no ability to see    19· · · · A· · All right.
     20· ·that -- that what he was talking about was real.           20· · · · Q· · Looking at number five, actually, before we
     21· · · · Q· · Well, that's my impression.· It sounds like      21· ·move on, I don't -- think we may have skipped over this
     22· ·there was a lot of discussion and concern about the        22· ·one.· And this is very related to what we just
     23· ·information that was presented.· I'm just wondering if     23· ·discussed.· I just want to confirm as we proceed,
     24· ·you recall conversations about, you know, discussing,      24· ·because your answer here is not responsive to the
     25· ·sharing those concerns?· Were you worried that the         25· ·question.· We asked for all communications concerning

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     ·1· ·information that was presented was not accurate?           ·1· ·the accuracy, reliability, verifiability, or
     ·2· · · · A· · You know, I think that if you are going to run   ·2· ·truthfulness of the information presented at the cyber
     ·3· ·an op, I've seen this before, if you want to run an op,    ·3· ·symposium.· And you responded, said, "I was there to
     ·4· ·you run an op in such a way that you create as much        ·4· ·consult on what they had.· I was there to inspect their
     ·5· ·white noise so that the truth gets so convoluted that      ·5· ·work, not the other way around."· So I -- I understand
     ·6· ·you can't see the true pathway of what's wrong in the      ·6· ·your prior testimony, meaning you don't have any
     ·7· ·system.· And so there's a lot of people that were          ·7· ·communications speaking to those concerns; is that
     ·8· ·throwing grenades in about what's happening in Italy,      ·8· ·correct?
     ·9· ·and then in Germany we have servers that are being taken   ·9· · · · A· · I'm sorry, I don't understand that question.
     10· ·over and, you know, you have ballot trucks -- here's       10· ·What was the question?
     11· ·stuff I do know -- you had a -- you had a -- you had a     11· · · · Q· · Well, we've seen a lot of messages between
     12· ·shredder truck full of ballots that Chad Wolf, the head    12· ·members of the Red Team saying that this is not
     13· ·of DHS, went down and inspect, and it sure as hell, it     13· ·accurate, this is incorrect.· We can't proceed with
     14· ·was a ballot truck, or excuse me, a shredder truck full    14· ·this.
     15· ·of ballots.· Down in Georgia, I know for a fact that we    15· · · · A· · Where is that?· I haven't seen this.
     16· ·had pictures that -- that they were ballots from the       16· · · · Q· · Well, they're admitted into evidence.· They
     17· ·ballot company that were supposed to be put through the    17· ·were one of the exhibits during the merit deposition.
     18· ·Dominion system, and nobody got access to the ballots,     18· ·They include messages from Ron Watkins, Phil Walter --
     19· ·and they shredded those ballots.· So there are things      19· · · · A· · I haven't seen -- I haven't seen any of those.
     20· ·that we know are true, and then there are things that      20· · · · Q· · Well, they're in the case file.· It's not
     21· ·other people would bring in that are working with that     21· ·really relevant here. I'm just asking if you have any of
     22· ·resistance, working with the outside in order to create    22· ·those communications yourself with any of these -- these
     23· ·as much chaos as possible so that you cannot see the       23· ·folks saying that this is -- this information's
     24· ·truth. And I think that's the case here.· I think it's a   24· ·problematic.
     25· ·government op.· I think that they did this in a coup       25· · · · A· · I -- I don't have enough information.· I think




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     ·1· ·I've said this before.· I don't have enough information    ·1· ·correct?
     ·2· ·on it.· I've never been given access to it.· I haven't     ·2· · · · A· · He told me Eric didn't do it.· That's not what
     ·3· ·seen the system that it -- these P-Caps are running        ·3· ·he said.· That's actually not what he said.· What he
     ·4· ·through to even verify if it is risen true.· I think       ·4· ·said is, "I have a hard time believing that he would --
     ·5· ·that Mike Lindell says it -- it does exist, and it is      ·5· ·he would be able to act alone.· I have a hard time
     ·6· ·true, and I think that he has other people that he's had   ·6· ·believing that -- that he would do this."· And I said,
     ·7· ·validated.· But I to this point have not been given        ·7· ·"Round the corners for me."
     ·8· ·access to that, so I can't really -- I can't give you an   ·8· · · · Q· · So again, back to my question, what -- what
     ·9· ·answer.· I can't -- I can't speculate.                     ·9· ·specifically, what did Eric Coomer do?
     10· · · · Q· · Okay.· Now, we move on to number six, and I      10· · · · A· · Eric Coomer himself said not to worry about
     11· ·want to spend some time on this one because it involves    11· ·the election, that he made sure it got taken care of.
     12· ·a category of evidence which to this day we still have     12· · · · Q· · I'm -- I'm aware of that.· I'm asking --
     13· ·not seen from you in various requests.· We requested all   13· · · · A· · All right, so --
     14· ·documents or communications relating to specific acts      14· · · · Q· · -- what he did to rig the election.· Please --
     15· ·that Dr. Coomer specifically undertook which resulted in   15· ·yeah.
     16· ·provable manipulation, alteration, or misreporting of      16· · · · A· · So let's start there, and then let's move
     17· ·the 2020 election results.· Now, I've heard all the        17· ·forward on that.· So he did that.· I didn't think twice
     18· ·claims you've raised today, I've watched a lot of          18· ·about him.· I thought he was just a Jedi that thought he
     19· ·Conservative Daily, I've seen the documents you            19· ·could just adversely affect the election.· Didn't know
     20· ·produced.                                                  20· ·anything about Dominion.· Nothing.· I knew nothing about
     21· · · · A· · Have I converted you yet?· You stay for the      21· ·Dominion.· I'm not even looking for Eric Coomer.· You
     22· ·prayer, or you leave before the prayer?                    22· ·fast forward, I literally talk about the fact of
     23· · · · Q· · I stay for the whole episode, Mr. Oltmann.       23· ·infiltrating Antifa.· That's long before knowing about
     24· · · · A· · That's awesome.                                  24· ·Eric Coomer.· I know about Eric Coomer, but I don't know
     25· · · · Q· · And I have never to this day seen you describe   25· ·about Eric Coomer.

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     ·1· ·a specific act that Dr. Coomer specifically took himself   ·1· · · · Q· · I -- I've heard all this.· What did he do to
     ·2· ·that altered election results.· I understand you have a    ·2· ·rig the election --
     ·3· ·broad overarching theory about the machines, but I         ·3· · · · A· · Hold on.
     ·4· ·haven't seen any evidence --                               ·4· · · · Q· · -- Mr. Oltmann?
     ·5· · · · A· · Not a theory.                                    ·5· · · · A· · You go forward to November 3rd; we all saw
     ·6· · · · Q· · Regarding -- well, tied -- tied --               ·6· ·what happened on November 3rd.· Despite the fact that
     ·7· · · · A· · It's supported by evidence.                      ·7· ·you want to whitewash the fact that that's not
     ·8· · · · Q· · Well, what specific evidence ties Dr. Coomer     ·8· ·important, we saw the deviations that happened on
     ·9· ·to any act in all this beyond what you claimed to have     ·9· ·November 3rd --
     10· ·overheard on a phone call?                                 10· · · · Q· · Mr. Oltmann.· What did Eric Coomer --
     11· · · · A· · What was -- what -- what was his job?· I know    11· · · · A· · Okay, you're not letting me finish.
     12· ·you're trying to -- to pinpoint the fact that, look, he    12· · · · Q· · You're not answering the question.
     13· ·-- if he would've just stayed off that call, he would've   13· · · · A· · I get to finish.· I am answering the question.
     14· ·done himself a huge service, because then I wouldn't be    14· ·Eric Coomer, director of strategy and security for
     15· ·here.· And then you guys would've been looking for         15· ·Dominion Voting Systems, who holds the adjudication
     16· ·everything else.                                           16· ·process patent that is implemented into the system,
     17· · · · Q· · Well, he --                                      17· ·makes the comment that, "Don't worry about Trump. I
     18· · · · A· · If -- if he wasn't -- well, his own friend,      18· ·made sure of it.· He's not going to win."· Right?· He
     19· ·Matt, whatever his name is, it's the head of the --        19· ·said that, not me.· I didn't say it.
     20· ·Matt --                                                    20· · · · Q· · What did Eric Coomer do to rig the election?
     21· · · · Q· · Crane.                                           21· · · · A· · What --
     22· · · · A· · Crane.· Oh, you knew who he was.· Met with me    22· · · · Q· · Please, Mr. Oltmann, answer that question.
     23· ·for breakfast.· His exact comment is, "Eric loves a        23· · · · A· · I think that comes down to getting access to
     24· ·little Eric."· The guy is literally an egomaniac.          24· ·the source code, doesn't it?· He also said he didn't
     25· · · · Q· · And he told you Eric didn't do this as well,     25· ·write the source code, yet he never wrote announce of




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     ·1· ·the -- of the code, but he did.                            ·1· · · · A· · He also lied and said that the Facebook posts
     ·2· · · · Q· · So you have no --                                ·2· ·don't exist, that he didn't have them.
     ·3· · · · A· · Then --                                          ·3· · · · Q· · You're obviously evading this question.
     ·4· · · · Q· · You have no idea.· You have no theory about      ·4· · · · A· · No, I'm not evading it.
     ·5· ·what Eric Coomer specifically did, do you?                 ·5· · · · Q· · You have no evidence that Eric Coomer did
     ·6· · · · A· · What do you mean I have no --                    ·6· ·anything, do you?· He didn't -- what did he do?· How did
     ·7· · · · Q· · What did he do?                                  ·7· ·he rate the election?· What did he do, Mr.--
     ·8· · · · A· · I'm not in a court, first of all.                ·8· · · · A· · What are you talking about?
     ·9· · · · Q· · Well --                                          ·9· · · · Q· · I'm talking --
     10· · · · A· · I'm sitting here in a deposition.                10· · · · A· · The entire Dominion system is under scrutiny
     11· · · · Q· · You're telling me he was on a call and --        11· ·right now --
     12· · · · A· · Why get on a call?                               12· · · · Q· · How?
     13· · · · Q· · That he wrote some code -- well, he wasn't on    13· · · · A· · -- and it points directly to the machines.
     14· ·the call, Mr. Oltmann.                                     14· ·Are -- are you kidding me?· 300,000 ballots.· 300,000.
     15· · · · A· · Oh my gosh.                                      15· ·Did you not read what happened with Kari Lake and the --
     16· · · · Q· · We'll get to that.                               16· ·and the suit in -- in Arizona?· You can't run away from
     17· · · · A· · You don't believe that either.· You don't        17· ·it.· No matter how many you guys give to the Daily Beast
     18· ·believe it.                                                18· ·and everyone else, you can't run away from the fact that
     19· · · · Q· · Mr. Oltmann.                                     19· ·you stole an election.· You stole --
     20· · · · A· · You don't believe it.                            20· · · · Q· · Mr. Oltmann --
     21· · · · Q· · I very much believe that.                        21· · · · A· · And it's not even the election that was stolen
     22· · · · A· · No, you don't.                                   22· ·by Dominion and by Eric Coomer and by his entire system
     23· · · · Q· · That is --                                       23· ·in this entourage --
     24· · · · A· · Do you believe that he ran into a building?      24· · · · Q· · I've asked you the same question many times.
     25· · · · Q· · -- that is --                                    25· · · · A· · It's not even that that got stolen.

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     ·1· · · · A· · Do you believe that he ran into his --           ·1· · · · Q· · I haven't heard anything here --
     ·2· · · · Q· · -- entirely irrelevant.                          ·2· · · · A· · It's the voice of the American people that got
     ·3· · · · A· · -- do you believe he ran into his restaurant     ·3· ·stolen.· They didn't ask for this.
     ·4· ·and started drinking?                                      ·4· · · · Q· · Okay.· Thank you, Mr. Oltmann.
     ·5· · · · Q· · I'm not going to argue with you, Mr. Oltmann.    ·5· · · · A· · All right.
     ·6· · · · A· · No, I mean, it's -- it's important.              ·6· · · · · · MR. KLOEWR:· I understand.· I've gotten your
     ·7· · · · Q· · Nope.                                            ·7· · · ·answer.· I think we should take a quick break.
     ·8· · · · A· · I mean, he stood up there --                     ·8· · · · · · VIDEOGRAPHER:· Okay.· The time is --
     ·9· · · · Q· · It's important --                                ·9· · · · · · THE WITNESS:· All right.
     10· · · · A· · -- on the side of the road and lied four         10· · · · · · VIDEOGRAPHER:· 14:41 Mountain Time.· Going off
     11· ·times, and it didn't bother him.· There was not one bit    11· · · ·the record.
     12· ·of it that bothered him.· It didn't bother him.            12· · · · · · · (OFF THE RECORD)
     13· · · · Q· · Mr. Oltmann --                                   13· · · · · · VIDEOGRAPHER:· The time is 14:55 Mountain Time.
     14· · · · A· · And if you look at --                            14· · · ·Back on the record for the case of Joseph Oltmann.
     15· · · · Q· · -- I've asked you several times --               15· · · ·Date is still 12-16-2022.· Case remains the same.
     16· · · · A· · -- that's not even the only thing.· He said he   16· · · ·1:22-CV-01129-WJM.
     17· ·didn't have a Twitter account, but he does have a          17· ·BY MR. KLOEWR:
     18· ·Twitter account.· And then you guys went and scrubbed it   18· · · · Q· · All right.· Mr. Oltmann, when we left off, we
     19· ·for Twitter.· But here's the problem scrubbing it for      19· ·were talking about number six.· I think we've addressed
     20· ·Twitter.· Even when you did it in the Wayback Machine,     20· ·that request.· I want to confirm that we've addressed
     21· ·we have the ability to provide that evidence as well.      21· ·your objection thoroughly here, and I think we've
     22· ·He lies.· "I never even went in and -- and logged into     22· ·discussed it before, but you tell me if I'm wrong.· You
     23· ·it."· But he didn't do that.· He also lied and said that   23· ·say, "I do not keep that information.· It is held in a
     24· ·he --                                                      24· ·depository that when I need information or to review
     25· · · · Q· · Objection, non-responsive.· Mr. Oltmann --       25· ·information, I get access to it."· What are you




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     ·1· ·referring to when you say that?· What is the depository?   ·1· · · · A· · What is --
     ·2· · · · A· · All the information related to the election      ·2· · · · · · MR. DEFRANCO:· I object to --
     ·3· ·fraud evidence of Dominion Voting Systems.                 ·3· · · · A· · You know, the idea that you can say that Eric
     ·4· · · · Q· · So what -- is that the Dropbox that you          ·4· ·Coomer is not responsible for it when he is responsible
     ·5· ·described before?                                          ·5· ·for it and that's what he does, and you say that all of
     ·6· · · · A· · No.                                              ·6· ·this evidence doesn't --
     ·7· · · · Q· · Okay.                                            ·7· · · · Q· · That's not my· --
     ·8· · · · A· · No, it's just where you -- I sent a couple of    ·8· · · · A· · -- he doesn't have a gun in his hands.
     ·9· ·links and then Kane responded that that's publicly         ·9· · · · Q· · I'm just trying to --
     10· ·debunked information, which is not true, but --            10· · · · A· · It's leftist bullshit.
     11· · · · Q· · So those documents that you sent us are -- are   11· · · · Q· · Mr. Oltmann --
     12· ·all of the documents that are in this depository that      12· · · · A· · It doesn't --
     13· ·you've described here?                                     13· · · · Q· · I'm just --
     14· · · · A· · Just one of them.                                14· · · · A· · -- it doesn't negate the fact that we have
     15· · · · Q· · Okay, is there a reason why you haven't          15· ·massive amounts of evidence that the system was designed
     16· ·produced the rest?                                         16· ·to defraud the American voter.
     17· · · · A· · Well, because there's thousands and thousands.   17· · · · Q· · So there may or may not be dozens of
     18· ·There's -- there's probably two terabytes of               18· ·depositories that you have access to --
     19· ·information.                                               19· · · · A· · Yes, sir.
     20· · · · Q· · Okay.· Does any of it deal with Dr. Coomer       20· · · · Q· · -- and you may or may not have provided the
     21· ·specifically?                                              21· ·information relevant to Dr. Coomer, which may or may not
     22· · · · A· · I'm sure some of it does, yeah.· It has to do    22· ·be in those dozens of depositories?· Did I understand
     23· ·with the -- the work that he's done, the things that       23· ·that correctly?
     24· ·he's said.· There's some videos in there.                  24· · · · A· · That's not what I said at all.
     25· · · · Q· · And have you -- have you disclosed all of        25· · · · Q· · Well, there's information out there that you

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     ·1· ·that?                                                      ·1· ·haven't disclosed; is that correct?· That is in --
     ·2· · · · A· · I've disclosed everything, yes.                  ·2· · · · A· · That's not true.· This says the information
     ·3· · · · Q· · Okay.                                            ·3· ·that I sent or received related to me specifically.
     ·4· · · · A· · I mean, there's more information out there. I    ·4· ·Then in the conversation with -- with -- with Judge
     ·5· ·just didn't go digging for it because it wasn't in my --   ·5· ·Wang, he said if you have access to it, any information
     ·6· ·it wasn't in my -- I'm actually right now working on a     ·6· ·you have access to, and then it came back that, fine,
     ·7· ·depository that I have that information myself.· That      ·7· ·I'll give you access to all that information.· I'll
     ·8· ·way, when something like this comes up again, I can just   ·8· ·start gathering all that information.· I'm doing you a
     ·9· ·drop all two terabytes of information on you.              ·9· ·favor.· You say it's publicly available, but obviously
     10· · · · Q· · Okay.· Who else has access to this depository    10· ·it's not publicly available because some of that
     11· ·that you're describing?                                    11· ·information, I've never seen any bit of the evidence
     12· · · · A· · Well, it depends on which one you're talking     12· ·that -- or information that you've disclosed or talked
     13· ·about.                                                     13· ·about.
     14· · · · Q· · How many depositories are there?                 14· · · · Q· · Okay.· Let's move on.· Number seven.· I think
     15· · · · A· · Probably a couple dozen.                         15· ·we've discussed this as well already.· Just want to
     16· · · · Q· · You have a couple dozen depositories that all    16· ·confirm.· You don't seem to recall specifically the
     17· ·include different information pertaining to --             17· ·circumstances of your invitation to the cyber symposium?
     18· · · · A· · Yeah, so like Mark Cook --                       18· ·Maybe that Ms. Bishop invited you?· Is that -- am I
     19· · · · Q· · -- specific acts of Dr. Coomer?                  19· ·recalling that correctly?
     20· · · · A· · So Mark Cook has information that he collects    20· · · · A· · She might have, yes.
     21· ·on data on Dominion Voting Systems and the fraud that      21· · · · Q· · And you don't have a written invitation that
     22· ·was perpetrated in certain areas in different states       22· ·sort of lays out, you know, where you're going to stay
     23· ·across the country.                                        23· ·at a hotel, here's your flight number, Mr. Oltmann,
     24· · · · Q· · So Mark Cook has evidence describing specific    24· ·anything of that nature?
     25· ·acts that Dr. Coomer took?                                 25· · · · A· · No.




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     ·1· · · · Q· · Did you pay for all that stuff yourself?         ·1· ·Let's take a look at that.· You've seen this document
     ·2· · · · A· · I did.                                           ·2· ·before, correct, Mr. Oltmann?
     ·3· · · · Q· · And we've already established that you did not   ·3· · · · · · · (EXHIBIT 54 MARKED FOR IDENTIFICATION)
     ·4· ·provide a copy of the presentation that you presented to   ·4· · · · A· · I have.
     ·5· ·Mr. Oltmann beforehand?                                    ·5· · · · Q· · What are we looking at here?
     ·6· · · · A· · Okay, where is that?                             ·6· · · · A· · Screenshot of Eric Coomer, Denver, Colorado on
     ·7· · · · Q· · Any communications relating to the material      ·7· ·09-26-2020.
     ·8· ·you intended to present at the cyber symposium?            ·8· · · · Q· · Okay.· And we -- we can see that in two
     ·9· · · · A· · I didn't intend to present anything.             ·9· ·locations on this document.· One is written at the top
     10· · · · Q· · Okay.                                            10· ·as if it had been just typed out above the screenshot.
     11· · · · A· · I presented -- I mean, that wasn't what I was    11· ·And then we also have a smaller version that appears to
     12· ·there for.                                                 12· ·be part of the screenshot itself, and it says screenshot
     13· · · · Q· · All right.· Let's take a look at number eight.   13· ·2020-09 --
     14· · · · A· · Know why they only do seven hours now.           14· · · · A· · Yeah.
     15· ·Deposition time.                                           15· · · · Q· · -- dash 26 at 2:03:31 p.m.?
     16· · · · · · MS. DEFRANCO:· Do we have a copy of the entire    16· · · · A· · Yeah.
     17· · · ·thing?                                                 17· · · · Q· · So this document, as you disclosed it to us,
     18· · · · Q· · Well, that's a good question.· Mr. Oltmann, do   18· ·appears to be a screenshot of the screenshot, because
     19· ·you have a copy of the presentation that you put on?       19· ·this was a PDF that we received from you.
     20· ·The Serbian technology with Chinese characteristics?       20· · · · A· · No, that's not the case at all.· This -- this
     21· · · · A· · I'm sure I can find it.                          21· ·particular piece was taken out of a document that was
     22· · · · Q· · Okay.                                            22· ·put in there, but there was a screenshot was also
     23· · · · A· · I don't have -- I did not have one that I        23· ·provided.· This -- this file was also provided.
     24· ·could find related to it in an e-mail or anything else.    24· · · · Q· · We have never received the native file of this
     25· ·But I can -- I can call the -- the guys that helped put    25· ·screenshot, Mr. Oltmann.· We requested it many times.

                                                        Page 275                                                        Page 277
     ·1· ·it together and see if they can get it for me.             ·1· · · · A· · How is that possible?
     ·2· · · · Q· · All right.· And that was the only presentation   ·2· · · · · · MS. DEFRANCO:· I don't know what he means by
     ·3· ·that was -- that you partook in that was prepared in       ·3· · · ·native file.
     ·4· ·advance; is that correct?                                  ·4· · · · A· · Because when they said the stuff about when
     ·5· · · · A· · Yes.                                             ·5· ·the Wayback Machine that's on this, we wrote an entire
     ·6· · · · Q· · You didn't have any notes or topic ideas or      ·6· ·explanation of this that was sent to Andrea and sent
     ·7· ·anything for the panel discussions that you partook in     ·7· ·back over to you.
     ·8· ·where you described your claims against Dr. Coomer?        ·8· · · · Q· · Yes, but you'd never provided the native --
     ·9· ·That was all improv?                                       ·9· ·the image, the -- the screenshot itself, a copy of that.
     10· · · · A· · I don't -- improv would -- would --              10· ·We only have this PDF --
     11· · · · Q· · It wasn't scripted is what I mean.· You didn't   11· · · · A· · How is that possible?
     12· ·have a schedule of or talking points when you sat down     12· · · · Q· · -- which appears to be a screenshot of the
     13· ·at that table, say, we need to talk about this and then    13· ·screenshot.
     14· ·we need to talk about that then we need to talk about      14· · · · · · MS. DEFRANCO:· I don't think it is.
     15· ·this? Nothing of that nature?                              15· · · · · · THE WITNESS:· That's not possible.
     16· · · · A· · No.                                              16· · · · · · MS. DEFRANCO:· I -- I -- I -- I don't think
     17· · · · Q· · Let's take a look at number eight.· I do want    17· · · ·that's accurate.
     18· ·to talk about this one for a little while because we've    18· · · · A· · I know for a fact we provided it.
     19· ·-- we're still -- I've never gotten an answer on this      19· ·BY MR. KLOEWR:
     20· ·either.· All documents or communications sent or           20· · · · Q· · Well, we've not received it.· The actual
     21· ·received by you relating to the screenshot of the Google   21· ·image, the photo screenshot.· We do not have that.
     22· ·Search results you can -- you created on November 11,      22· ·We've never gotten it.· We filed a motion seeking to --
     23· ·2020, purporting the show Google Search results from       23· ·an order compelling preservation of this document.· You
     24· ·September 26th.· I'm going to refer you to what's been     24· ·didn't respond to that.· Now Ms. Hall did send us an
     25· ·previously marked as Exhibit 21.· It's in your binder.     25· ·e-mail on December 29th of last year responding to




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     ·1· ·questions about it.· She did not attach anything to that   ·1· ·information related to Eric Coomer has been scrub from
     ·2· ·document.                                                  ·2· ·the internet completely.
     ·3· · · · A· · Well that doesn't make any sense, because I      ·3· · · · Q· · So when you take a screenshot, it
     ·4· ·personally went through, and I even had a conversation     ·4· ·automatically creates a time --
     ·5· ·with Randy Corporon about this when he was the one that    ·5· · · · A· · Right.
     ·6· ·said, "Hey, show me what you were looking at," and that    ·6· · · · Q· · -- and date stamp at the top.· This screenshot
     ·7· ·was on November 10, 2020, or November 11, 2020.· So we     ·7· ·was not taken on September 26th, because it includes a
     ·8· ·sat and walked through this entire process and figured     ·8· ·Google Doodle from November 11th.
     ·9· ·out, based on one computer and the other computer, how     ·9· · · · A· · Okay.
     10· ·this information was collected.· So that -- and his        10· · · · Q· · It could not have been taken that day.· So who
     11· ·recollection is the same as my recollection, and I         11· ·changed the date at the top?· Who changed it?
     12· ·didn't remember anything about this.· I didn't even know   12· · · · A· · When we create the file, we created it based
     13· ·I had it in my possession until afterwards. But I had      13· ·on this file being produced using the Wayback Machine on
     14· ·denoted it as 09-26-2020 because that's what I did.· And   14· ·09-26-2020.
     15· ·if you see where it says view all, it scrolled down        15· · · · Q· · Okay, well --
     16· ·because above it had information related to the -- the     16· · · · A· · Based on those two computers we had side by
     17· ·screen share.· And then there was another one related to   17· ·side.
     18· ·this that was on November 10th or November 11th, I can't   18· · · · Q· · Well you're providing some conflicting
     19· ·remember.· But both of those were provided.                19· ·representations right now. You've said Wayback Machine
     20· · · · Q· · But you --                                       20· ·and you've said you'd go inside and Google, so what's
     21· · · · A· · And the explanation of this was provided to      21· ·your --
     22· ·Andrea, who then sent it on to you.                        22· · · · A· · Well, okay, so inside of Google they have the
     23· · · · Q· · Yes, and that explanation conflicted with        23· ·ability to change the date range, if you were to go into
     24· ·prior representations you've made.· I'm trying to          24· ·your computer right now, the date range by which you can
     25· ·understand this.· Who changed -- who changed the -- the    25· ·look for and search the internet.· If you were to do

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     ·1· ·title of this document to screenshot 2020-09-26?· Who      ·1· ·that right now.· Now you can't do it on Eric Coomer
     ·2· ·did that?                                                  ·2· ·right now because he's scrubbed everything from the
     ·3· · · · A· · What -- what do you mean?· The screenshot at     ·3· ·internet.· But if you were to do it on a different
     ·4· ·the very top?                                              ·4· ·topic, you would see that above this view all, there is
     ·5· · · · Q· · Yes, where it says 20331?                        ·5· ·these three boxes and a box to the right, okay?· Of the
     ·6· · · · A· · That was in the document.                        ·6· ·information that would show up. This is a scroll up of
     ·7· · · · Q· · No, Mr. Oltmann, it wasn't, because the Google   ·7· ·the information that showed up for Eric Coomer on that
     ·8· ·Doodle in this image is from November 11th.· So this       ·8· ·date.· Make sense?· So if you were to go -- you've never
     ·9· ·photo was not taken on September 26th.                     ·9· ·used -- if you go into Google, and you ask for to change
     10· · · · A· · No.                                              10· ·the date under tools --
     11· · · · Q· · It wasn't.                                       11· · · · Q· · Yep.
     12· · · · A· · But -- but I knew that the dates on -- when I    12· · · · A· · -- you can change the date.· So when we change
     13· ·actually did the research on it was the 26th because we    13· ·the date, that's the information that would've showed up
     14· ·had the other computer.                                    14· ·on the 20th that I got my information, excuse me, the
     15· · · · Q· · So you changed the date of the screenshot to     15· ·26th that I got my information on in doing research on
     16· ·reflect a prior date?                                      16· ·Eric Coomer.
     17· · · · A· · No, to reflect the date that I actually took     17· · · · Q· · So if what you're saying is true, then today,
     18· ·the information from.· Because inside of Google, if you    18· ·I should be able to use those same tools and input this
     19· ·go to try and reproduce this, which is slightly changed    19· ·data and get these same results.
     20· ·now, but if you use the old Chrome, and you put in the     20· · · · A· · Okay, try it.
     21· ·information related to the dates, this is the              21· · · · Q· · Correct?· That -- I've -- I've asked you to
     22· ·information that showed up on that date.· Now if you go    22· ·produce that.· Send me a URL to do that.· Show me these
     23· ·back and put this information on today, none of this       23· ·results again through Google.
     24· ·information going back to 2020 would be there, because     24· · · · A· · You can't.
     25· ·it's all been scrubbed from the internet.· Every bit of    25· · · · Q· · Exactly.




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     ·1· · · · A· · You know why you can't?                          ·1· ·Holderman mean anything to you?
     ·2· · · · Q· · Because you can't recreate the search results    ·2· · · · A· · You mean the guy that said that the mini
     ·3· ·that existed on a prior date, and your counsel has told    ·3· ·machines are -- are what, compromised?
     ·4· ·us this photo was taken on --                              ·4· · · · Q· · The professor from Michigan?
     ·5· · · · A· · That's not a -- that's a lie.                    ·5· · · · A· · Yeah.
     ·6· · · · Q· · -- November 12th.                                ·6· · · · Q· · Do you know who I'm referring to?
     ·7· · · · A· · That's a lie.                                    ·7· · · · A· · Oh yeah.
     ·8· · · · Q· · I can show you the e-mail from Ms. Hall,         ·8· · · · Q· · I believe you produced some documents from
     ·9· ·Mr. Oltmann.                                               ·9· ·Dr. Holderman to us, correct?
     10· · · · A· · No, you can produce that information --          10· · · · A· · Okay.· I did.
     11· · · · Q· · So· · · · · · · · --                             11· · · · Q· · And you're aware that Dr. Holderman was the
     12· · · · A· · -- but when you scrub the information from the   12· ·opposing expert against Dr. Coomer in the
     13· ·internet, you can then not produce that information.· So   13· ·Curling v.· Raffensperger --
     14· ·if we were talking about the same information that         14· · · · A· · Yes.
     15· ·existed on the 26th of September in 2020.· If you were     15· · · · Q· · -- case in Georgia?
     16· ·talking about that same information, that information      16· · · · A· · Yes.
     17· ·would've populated had it not been scrubbed from the       17· · · · Q· · Okay.· And you may recall that Mr. Holderman
     18· ·internet.· None of these files exist.· If you go to        18· ·is briefly featured in the OAN clip that we discussed
     19· ·Secretary of State and Dominion on September 9, 2016,      19· ·briefly before the Dominionizing the Vote that you were
     20· ·that does not exist.· It doesn't exist.                    20· ·in last -- in November of 2020.
     21· · · · Q· · Well, if that's true today, it would've been     21· · · · A· · Is that the Newsmax one?· Or OAN?
     22· ·true on November 11th when you took this photo to          22· · · · Q· · OAN.
     23· ·recreate it, wouldn't it have been?                        23· · · · A· · Okay.
     24· · · · A· · What do you mean?                                24· · · · Q· · So it sounds like you're familiar with
     25· · · · Q· · This photo was taken on November 11th.           25· ·Dr. Holderman by reputation.· Is it your opinion that

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     ·1· · · · A· · All right, but the other photo -- it -- it       ·1· ·he's a reliable source?
     ·2· ·might have been.                                           ·2· · · · A· · Today?· No.· I think that he changed his tune
     ·3· · · · Q· · And -- and you said at the time --               ·3· ·and said that there's nothing wrong with the Dominion
     ·4· · · · A· · On the 10th, not the 11th.                       ·4· ·machines and that they can be -- they can be fixed.
     ·5· · · · Q· · -- that he had already scrubbed the internet     ·5· · · · Q· · Are you familiar with his credentials in
     ·6· ·from all of his -- all of his information.· So if that's   ·6· ·general?
     ·7· ·true, this information shouldn't have been there.          ·7· · · · A· · I am.
     ·8· · · · A· · That's not true.· The nine --                    ·8· · · · Q· · And you believe that the -- what he produced
     ·9· · · · Q· · It it's true today it would've been true then.   ·9· ·as far as the Curling v.· Raffensperger case, for
     10· · · · A· · It was true then.· And you said that he          10· ·example, is reliable, I presume, since you've provided
     11· ·scrubbed -- scrubbed it on the 10th of -- of November?     11· ·it to us as an exhibit?
     12· ·Is that what you're -- you're telling me?                  12· · · · A· · I provided it as an exhibit today?
     13· · · · Q· · I'm telling you; you made representations at     13· · · · Q· · It's one of the things that you put in the
     14· ·this time --                                               14· ·drop or that you e-mailed us over the last 72 hours.· It
     15· · · · A· · You just lied.· You just actually said that he   15· ·says something about your report
     16· ·scrubbed the internet on the 10th of November.             16· ·--
     17· · · · Q· · No.                                              17· · · · A· · I think that was just the information that we
     18· · · · A· · He hadn't even heard about --                    18· ·actually pulled in to validate some of the stuff against
     19· · · · Q· · Mr. Oltmann, I did not say the word scrubbed     19· ·Coomer, yeah.
     20· ·and I didn't say he scrubbed the internet.                 20· · · · Q· · -- okay.· So do you believe those reports that
     21· · · · A· · You said had he scrubbed the internet, this      21· ·he produced in that context are reliable?
     22· ·would not have shown up on -- on the 10th of November or   22· · · · A· · I didn't review that report specifically.· You
     23· ·11th of November, correct?                                 23· ·want to show it to me?
     24· · · · Q· · Let's -- let's do this, Mr. Oltmann.· Are --     24· · · · Q· · Well, I'm going to show you another document
     25· ·are you familiar with -- does the name J.· Alex            25· ·here.· Mark this as Exhibit 55.· Are you aware that




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     ·1· ·Dr. Holderman has produced a number of expert reports,     ·1· · · · Q· · Mr. Oltmann, we just had a hearing with Salem
     ·2· ·including in your case, the Denver District Court?· Do     ·2· ·two weeks ago where you discussed this screenshot with
     ·3· ·you remember that?                                         ·3· ·Mr. Corporon on November 14th on the radio as evidence
     ·4· · · · · · · (EXHIBIT 55 MARKED FOR IDENTIFICATION)          ·4· ·that you had taken this image in September.· So -- and
     ·5· · · · A· · No, I don't remember this.                       ·5· ·we have -- and you also presented it on Conservative
     ·6· · · · Q· · Well, the one I've just handed you is an         ·6· ·Daily as evidence --
     ·7· ·excerpt from the report he produced in our lawsuit in      ·7· · · · A· · No, listen --
     ·8· ·this court against Clay Clarke and the Reawaken America    ·8· · · · Q· · -- to prove your claims.
     ·9· ·tour --                                                    ·9· · · · A· · He is the one that told me --
     10· · · · A· · Okay.                                            10· · · · Q· · You did not forget about this.
     11· · · · Q· · -- which is more updated to reflect this         11· · · · A· · He is the one that told me to show me the
     12· ·Google screenshot issue. But he also produced a lengthy    12· ·information that you would've gone back to in September.
     13· ·report in your case where he went through your claims      13· ·So I went back and showed him exactly what I did. I
     14· ·against Dr. Coomer and explained how and why the           14· ·walked in and said -- I looked at -- he told me on
     15· ·allegations were not feasible.· I have to remove this      15· ·November 12th, "Show me what you would've seen when you
     16· ·excerpt from the Clay Clark report, because at that        16· ·went through this."· That's when I went back and put the
     17· ·time, he had the benefit of being able to review this      17· ·information in on November 11th, put the information --
     18· ·information. Now if you look at paragraph 25,              18· ·or 10th, I think it was the 10th, not the 11th, on the -
     19· ·Dr. Halderman states, "Oltmann has never provided          19· ·- it would've been the 11th, it was Veterans Day.· I put
     20· ·credible evidence that such a call took place, let alone   20· ·that information in.· You can actually change the date,
     21· ·that Dr. Coomer participated or made such statements,      21· ·change the search -- search criteria.· It'll still show
     22· ·and some of the little tangible evidence he has offered    22· ·up in the church criteria, but it takes it from that
     23· ·is provably false.· He produced a screenshot excerpt       23· ·date.· Tig actually was the one that said he was gone
     24· ·shown below that he purported in sworn testimony showed    24· ·from I think the 21st to the 23rd or 24th, and that --
     25· ·he had performed a Google search on September 26th."       25· ·that this would've been the information a few days later

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     ·1· ·You see that?                                              ·1· ·that I actually collected.· It is the information that
     ·2· · · · A· · Yep.                                             ·2· ·Tig had, the information that I had with Randy, and the
     ·3· · · · Q· · We can turn the page here.· Dr. Halderman        ·3· ·information I had for the search to bring me to the
     ·4· ·continues, "Although the screenshot includes a file        ·4· ·conclusion that was the same Eric Coomer.
     ·5· ·name," and that was the 2020-09-26 --                      ·5· · · · Q· · Well, that's a lot you just said there.· Tig
     ·6· · · · A· · Yeah, but we've already been through this.       ·6· ·presented us with an affidavit stating that the call
     ·7· · · · Q· · Yes.                                             ·7· ·happened the weekend prior, between September 17th and
     ·8· · · · A· · We've already been through this.· We went        ·8· ·September 21st here· · · · · · · · ·--
     ·9· ·through this in December of 2021.· I know you wanted to    ·9· · · · A· · Okay, then that'll be it.· Okay.
     10· ·make a whole year go by before you discussed it again,     10· · · · Q· · -- so you didn't input in information from Tig
     11· ·but you didn't even discuss the information that was       11· ·because this says September 26th.
     12· ·provided to you when I went back and said, all right,      12· · · · A· · Because I didn't do it on the day that I had
     13· ·the file, after talking to Randy, who was there that day   13· ·the call.· I took the information based on me searching
     14· ·and said, "Okay Randy, what happened?"· And he's like,     14· ·for it, and I took a date range, and so the -- the date
     15· ·"Hey, I told you to do this research."· And then I went    15· ·range that was on this was the end date of the date
     16· ·back and looked at the files and remember doing the        16· ·range that I had run on that Wayback Machine -- no,
     17· ·side-by-side comparison.                                   17· ·excuse me, the Google -- ability to go back and look at
     18· · · · Q· · So why doesn't this image include a reference    18· ·-- you -- you guys aren't even using the system or
     19· ·to the date the photo was taken?                           19· ·understanding the tool.
     20· · · · A· · What do you mean why doesn't it have an image?   20· · · · Q· · Well --
     21· ·I didn't even find this --                                 21· · · · A· · The fact is, at the time --
     22· · · · Q· · Why did we --                                    22· · · · Q· · We did consult with an expert who produced a
     23· · · · A· · -- this file didn't even come up until -- what   23· ·report for us and said that your conflicting
     24· ·was it, November? October?· I didn't even know I had a -   24· ·representations don't make sense and that what you've
     25· ·- I even had this picture.                                 25· ·claimed you did is not actually technically possible.




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     ·1· · · · A· · That's bullshit.· You could do it right now.     ·1· ·and just, "Hey, let's just keep it simple," and making
     ·2· · · · Q· · Well --                                          ·2· ·it look stupid.· Still -- still factually accurate but
     ·3· · · · A· · You could literally do it right now on your      ·3· ·missing a ton of information.· And so this -- this
     ·4· ·computer.                                                  ·4· ·particular thing that was done on Google was done using
     ·5· · · · Q· · Why don't you do that for us and produce it?     ·5· ·those same tools to be able to go back into September
     ·6· ·I would like the native file of this screenshot.           ·6· ·and say, "Okay, these are the times that it would've
     ·7· · · · A· · Perfect.                                         ·7· ·been.· This is the end date.· Take the screenshot of
     ·8· · · · Q· · And I would like a URL that allows me to         ·8· ·that, and then take it the same day with Eric Coomer and
     ·9· ·recreate these search results from this date as you        ·9· ·show the difference between the two."· If you were not
     10· ·claim you were able to do on November 11th.                10· ·using the tool to go back in time, those would've been
     11· · · · A· · No, what I will do, because you can't, because   11· ·identical.· The search results in one would've been
     12· ·those files don't exist, because you scrubbed all of       12· ·identical to the search results in the other. They would
     13· ·those files from the internet.· You can't have it both     13· ·not have changed at all.· But we know based on the one
     14· ·ways.· You can't walk through the internet and delete      14· ·that shows on September -- or on -- on November 11th
     15· ·every ounce of that file ever existing or those websites   15· ·that that's not the case.· Because they're completely
     16· ·ever existing and then expect to produce the same thing.   16· ·different.· So if you weren't using the tool, if I was
     17· ·Google goes off of information that is still publicly      17· ·not using the tool to go back to September of 2020, it
     18· ·available.· Still.                                         18· ·would've had the same results that on the 11th,
     19· · · · Q· · We'll -- we'll move on here; I just want to --   19· ·regardless of which search you ran.· There's -- there
     20· · · · A· · But I will run this same scenario on Charlie     20· ·would be no difference at all.· And this is the thing,
     21· ·Kane on the 21st of -- I will go back the same eight       21· ·that thing does not address.· It doesn't address it at
     22· ·weeks with Charlie Kane and see if the same search         22· ·all.· And yet a year later you want to make it subject
     23· ·results show up for Charlie Kane as they show up for --    23· ·to, it doesn't exist.· It's not right.· That's not true.
     24· ·that they do eight weeks later.                            24· · · · Q· · So was it Google Advanced Criteria that
     25· · · · Q· · Okay, so just to confirm, when you -- when you   25· ·allowed you to create this image, or was it the Wayback

                                                        Page 291                                                        Page 293
     ·1· ·first found out this claim was circulating, you            ·1· ·Machine?
     ·2· ·originally posted statements that said that you had        ·2· · · · A· · I used the Advanced Criteria and I talked to
     ·3· ·gotten a new computer in November compared to the one      ·3· ·it in the vernacular of the Wayback Machine, because it
     ·4· ·you had in September.· Do you recall those statements?     ·4· ·does the same thing.
     ·5· · · · A· · I had two computers, yes.                        ·5· · · · Q· · Okay.· So you didn't act, it's not a Wayback
     ·6· · · · Q· · Okay.· So your testimony today is that this      ·6· ·Machine image, it's Google Advanced Criteria?
     ·7· ·image is not different because you changed your            ·7· · · · A· · Yeah.· So you knew that.· So why didn't you
     ·8· ·computer?                                                  ·8· ·bring that up before?
     ·9· · · · A· · What are you talking about?· You're trying to    ·9· · · · Q· · No.· Well, you've said both things.· The
     10· ·conflate and -- and                                        10· ·Wayback Machine is not Google Advanced Criteria.· Those
     11· ·--                                                         11· ·are two separate platforms.· So I'm just trying to
     12· · · · Q· · You said that you moved documents from a         12· ·clarify which was it that allowed you to create this
     13· ·September --                                               13· ·image.· I think we've gotten as much of an answer as
     14· · · · A· · No, you're trying to confuse all the             14· ·we're going to get on this issue. So just to clarify,
     15· ·information related to this event on purpose.              15· ·now, you've explained different means by which you
     16· · · · Q· · I -- I'm trying to figure out what --            16· ·recreated this --
     17· · · · A· · I went back and tried to figure out why the      17· · · · A· · Yes.
     18· ·date on that would have something that would have          18· · · · Q· · -- on November 11th.· But you did recreate
     19· ·something for Veterans Day.· I made the phone calls; I     19· ·this on the 11th, correct?· This is an image that you
     20· ·had counsel help me go through this entire process. I      20· ·took on November 11th, whether by going through the
     21· ·went back and looked at all the notes that I had related   21· ·Google advanced search criteria way back machine, any
     22· ·to Randy Corporon and the fact that Randy was helping me   22· ·other means.· This is an image from November 11,
     23· ·on the 10th of November.· And he said, "Look, I also       23· ·correct?
     24· ·have an affidavit that was torn to pieces."· That's        24· · · · A· · Correct.
     25· ·another piece of this, that they took out a ton of stuff   25· · · · Q· · And you don't have the original screenshot




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     ·1· ·that you took on September 26th?                           ·1· ·if I'm wrong, tell me.· Who sent the text message?
     ·2· · · · A· · I wasn't looking for Eric Coomer.                ·2· · · · A· · I'm not going to tell you.
     ·3· · · · Q· · That's not my question.· No, you don't have      ·3· · · · Q· · And you're aware that voting machines in
     ·4· ·the image that you took on September 26th?                 ·4· ·Georgia didn't go down on Election Day, aren't you,
     ·5· · · · A· · I just had the URL of me doing the search for    ·5· ·Mr. Oltmann?· Dominion Voting Machines didn't go down on
     ·6· ·Eric Coomer on one computer over another.                  ·6· ·Election Day?
     ·7· · · · Q· · Okay.                                            ·7· · · · A· · Oh, they didn't?· They didn't have four day --
     ·8· · · · A· · And so when -- when Randy met with me, he's      ·8· ·four hours that, four precincts that the machines didn't
     ·9· ·like, "I need the information back then."· Now, if I       ·9· ·work?
     10· ·wouldn't have gone back through my notes, I didn't even    10· · · · Q· · You may be referring to a Poll Pad that was
     11· ·provide this initially, as the initial information on      11· ·manufactured by the company called KNOWiNK
     12· ·this case, because I didn't have it.                       12· ·K-N-O-W-i-N-K.· Is that what you're referring to?
     13· · · · Q· · So this image, as you just stated, was created   13· · · · A· · No.
     14· ·on November 11th. Who changed it to say 2020-09-26?· Did   14· · · · Q· · Okay.
     15· ·you change that date?                                      15· · · · A· · You're saying that the election machines in
     16· · · · A· · That's the file name.                            16· ·those four counties did not go down?
     17· · · · Q· · Yes.· Who changed that?                          17· · · · Q· · I'm saying Dominion Voting Machines did not go
     18· · · · A· · I changed the file name.                         18· ·down.
     19· · · · Q· · You changed file name?· Thank you.· All right.   19· · · · A· · Yes, they did.· And there was an update
     20· · · · A· · You still want me to send you the Advanced       20· ·performed on the machines.
     21· ·Search Criteria and do a video of it?· You still want      21· · · · Q· · But you don't have any evidence to support
     22· ·that?                                                      22· ·that having occurred or you haven't produced it.· Have
     23· · · · Q· · Yes, I do.                                       23· ·you?
     24· · · · A· · Okay.· I drank way too much coffee.              24· · · · A· · Are you -- are you kidding me?
     25· · · · Q· · Let's take a look at Exhibit number 9 or         25· · · · Q· · No.

                                                        Page 295                                                        Page 297
     ·1· ·question number 9.· I apologize.· We requested all text    ·1· · · · A· · It's -- it's actually in a, in a Georgia deal
     ·2· ·messages allegedly sent to you at any point between        ·2· ·that happened three months or later.· They had a -- a
     ·3· ·November 3rd and the 9th, wherein you were supposedly      ·3· ·whole hearing on this.
     ·4· ·alerted of an article claiming that Georgia voting         ·4· · · · Q· · Well, we haven't seen it.· We haven't seen it
     ·5· ·machines went down on Election Day, as well as a copy of   ·5· ·produced.· And Dominion did not issue an update on
     ·6· ·the article linked to in those text messages.· In          ·6· ·Election Day.· And I would like to see any evidence
     ·7· ·response to that, you said, "It's been wiped from the      ·7· ·suggesting that Dr. Coomer was involved in something
     ·8· ·internet, much like everything else that is linked to      ·8· ·like that, because we've never seen it.· It's been two
     ·9· ·Eric Coomer, but my attorney from the District Court is    ·9· ·years.· We've been requesting it. It's a central part of
     10· ·searching for it in hard copy form."· Has your attorney    10· ·your story, and I'm just wondering if you have any
     11· ·from District Court, are you referring to Ms. DeFranco     11· ·evidence to support this.
     12· ·when you say that?                                         12· · · · A· · When did you request this before?
     13· · · · A· · Yes.                                             13· · · · Q· · We've requested all evidence of your
     14· · · · Q· · And has she been able to locate an article       14· ·communications.
     15· ·that references Dr. Coomer with respect to election day    15· · · · A· · You -- you've requested this?
     16· ·in Georgia?                                                16· · · · Q· · In the prior case, we asked --
     17· · · · · · MS. DEFRANCO:· Object to the form.                17· · · · A· · You never requested this.
     18· · · · A· · Not yet.                                         18· · · · Q· · We asked for evidence involving your
     19· · · · Q· · Not yet?· And who sent you the text message?     19· ·investigation --
     20· ·Who sent you the message with the article?· Lieutenant.    20· · · · A· · No, you never requested it.
     21· · · · A· · I'm not answering that question.                 21· · · · Q· · Well, we asked for it at this time and you
     22· · · · Q· · Is it because there was no text message,         22· ·don't have it.
     23· ·Mr. Oltmann?                                               23· · · · A· · But you never requested it.· So two years
     24· · · · A· · You know what?· Your client's a liar, not me.    24· ·later you requested, after you got done wiping and
     25· · · · Q· · Here's your chance to tell the truth and to,     25· ·exploit, you know, getting rid of information about Eric




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     ·1· ·Coomer from the internet.· How about the YouTube videos    ·1· ·he continually lies over and over and over again.· How
     ·2· ·or the articles that were written about Eric Coomer        ·2· ·about the story put out there where he talks about his
     ·3· ·testifying to Congress?· Those are all gone, too.          ·3· ·wife being raped or raping his wife and then peeing out
     ·4· · · · Q· · So you're refusing to even identify who sent     ·4· ·her, making her bark like a dog? How about that?
     ·5· ·you this article. So we'll take that as another evasive    ·5· · · · Q· · Mr. Oltmann?
     ·6· ·response from you and --                                   ·6· · · · A· · It's over and over and over again.· You want
     ·7· · · · · · MS. DEFRANCO:· Object to the form.· And I'm       ·7· ·to call someone that tells the truth a liar, but your
     ·8· · · ·going to instruct Mr. Oltmann not to answer that       ·8· ·client is nothing, but a liar and he has done nothing
     ·9· · · ·question on grounds of newsperson's privilege.         ·9· ·but lie his entire life.
     10· · · · · · MR. KLOEWR:· On newsperson's privilege?           10· · · · Q· · We can do this again if you like Mr. Oltmann.
     11· · · · · · MS. DEFRANCO:· He was pursuing a story.           11· ·I'd like to proceed.· Number 10, all notes you took
     12· · · · · · MR. KLOEWR:· He was --                            12· ·during the alleged Antifa call, including, but not
     13· · · · · · MS. DEFRANCO:· Sued him for it.                   13· ·limited to the notes you read from during the November
     14· · · · · · MR. KLOEWR:· He was -- he's stated that he was    14· ·9, 2020, Conservative Daily podcast where you quoted in
     15· · · ·not.· That somebody sent this to him randomly as a     15· ·your notes claiming that Dr. Coomer had stated, "We have
     16· · · ·friend.· This was not a journalistic endeavor.         16· ·prepared for the new future where we put down these
     17· · · · · · MS. DEFRANCO:· That's not what he said.· He did   17· ·fascist F's" is how you said it on the show.· Now,
     18· · · ·not say that.                                          18· ·before we answer this question, I'm going to refer you
     19· · · · · · MR. KLOEWR:· That's --                            19· ·to what's been previously marked as Exhibit 19.· So
     20· · · · · · MS. DEFRANCO:· You put words in his mouth.· We    20· ·let's take a look at that.· You should have reference to
     21· · · ·can have it read back.                                 21· ·those notes as we go through this.
     22· ·BY MR. KLOEWR:                                             22· · · · A· · Okay?
     23· · · · Q· · So you refuse to tell us who sent you an         23· · · · Q· · Are these the notes that you took during what
     24· ·article on November 6th on the newsperson's privilege,     24· ·you have described as the Antifa call?
     25· ·am I understanding that correctly?                         25· · · · A· · Yes.

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     ·1· · · · A· · Yep.                                             ·1· · · · Q· · Do you have any other notes that you took
     ·2· · · · Q· · Okay.                                            ·2· ·during the Antifa call that you have not disclosed?
     ·3· · · · A· · I'm, I -- I don't want the damage done to that   ·3· · · · A· · Isn't there five pages in this?
     ·4· ·person the same way you've done the damage to everybody    ·4· · · · Q· · We received four, Mr. Oltmann.
     ·5· ·else.                                                      ·5· · · · · · COURT REPORTER:· I'm sorry, what did you say?
     ·6· · · · Q· · Well, if -- if what you say is true, they        ·6· · · · · · MR. KLOEWR:· I said we received four.
     ·7· ·should be able to provide us with a text message and       ·7· · · · A· · And they were in this order?
     ·8· ·confirm it and that would confirm your story, Mr.          ·8· · · · Q· · This is how we received them.· Yes.· I believe
     ·9· ·Oltmann, I'm trying to help you out by establishing        ·9· ·they are out of order, but this is how we received them
     10· ·facts that we have not been able to identify in two        10· ·then.
     11· ·years.· But, and then we'll --                             11· · · · A· · That's not all the notes.
     12· · · · A· · You haven't been able to identify the facts in   12· · · · Q· · Do you still have this notebook, Mr. Oltmann?
     13· ·two years?                                                 13· · · · A· · I do.
     14· · · · Q· · Nope.                                            14· · · · Q· · Were you using this notebook to keep notes on
     15· · · · A· · Then -- then why did Eric Coomer file a          15· ·other matters at the time?· Or was this --
     16· ·lawsuit and then delete everything from Facebook, or       16· · · · A· · Yeah, there's other stuff in it as well, but
     17· ·delete everything from Facebook, then file a lawsuit?      17· ·not on those pages.
     18· · · · Q· · Let's move to number 10.                         18· · · · Q· · Do you ever date your notes?
     19· · · · A· · Why did he say he doesn't have a Twitter         19· · · · A· · No, I typically just put titles on them. I
     20· ·account, but he actually had a Twitter account?            20· ·think it says what I'm doing.· That's why this doesn't
     21· · · · Q· · Mr. Oltmann --                                   21· ·make any sense.· So this must be page 1? Antifa call?
     22· · · · A· · Why'd he go through this entire --               22· ·Is that page 1?· Yeah, that's page 1.
     23· · · · Q· · I'm asking the questions here today.             23· · · · Q· · Are you looking at your notes right now,
     24· · · · A· · -- story about running into a building and       24· ·Mr. Oltmann?
     25· ·then running into it? I'm not the one that's lied, but     25· · · · A· · I'm going to the Dropbox to see if this is all




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     ·1· ·the notes you were given.· Can you check your notes, or    ·1· ·-- with Coomer.· So I had these notes and then I had the
     ·2· ·no?· Same thing.· Are you looking at the Dropbox?          ·2· ·notes that I wrote out to talk to Randy about when I was
     ·3· · · · · · MS. DEFRANCO:· I know it what we produced.        ·3· ·going through the information related to gathering the
     ·4· · · · A· · I should have brought my computer.               ·4· ·information about Randy or Eric Coomer.
     ·5· · · · Q· · So if you still have this notebook, presumably   ·5· · · · Q· · Okay.· But what we're looking at now are the
     ·6· ·you would have some notes you took both before and after   ·6· ·ones you took in real time, on the call?
     ·7· ·this event --                                              ·7· · · · A· · Correct.
     ·8· · · · A· · Yeah.                                            ·8· · · · Q· · Okay.· Let's take a look at what has been
     ·9· · · · Q· · -- in that same notebook?· And it's possible     ·9· ·previously marked as Exhibit 18, Clip 3.
     10· ·those notes could serve to place these notes within a      10· · · · · · MS. DEFRANCO:· It's a video.
     11· ·time range, correct?                                       11· · · · · · THE WITNESS:· ·Oh, all right.
     12· · · · A· · Yeah, actually they could.· I think that we      12· · · · · · MR. KLOEWR:· · 18, Clip 3.· Yes.
     13· ·actually talked about that.                                13· · · · · · · (VIDEO PLAYED)
     14· · · · Q· · Is this -- is this the first time it's           14· ·BY MR. KLOEWR:
     15· ·occurring to you, Mr. Oltmann, that these notes could      15· · · · Q· · All right, Mr. Oltmann, can you take a minute
     16· ·serve to establish a date for the Antifa call?             16· ·to review your notes and show me where the phrase, "We
     17· · · · A· · We know what the date was for the Antifa call.   17· ·have prepared for the new future where we put down these
     18· ·We know what date range for the Antifa call.· We already   18· ·fascist F's," is included in your notes?
     19· ·know, because Tig was supposed to be on that call.         19· · · · A· · No, because these were show notes.· These are
     20· · · · Q· · Okay.· Well, Mr. Oltmann, we requested these     20· ·the notes that I wrote out of my recollection on what
     21· ·before.· We requested them again today.· If we need to     21· ·happened in the event.
     22· ·go off the record and take a break for you to find those   22· · · · Q· · So that statement, well now, wait just a
     23· ·and produce them, we can do that.                          23· ·minute.· You said, "Let me read through my notes. I
     24· · · · · · MS. DEFRANCO:· Let's do that.                     24· ·took detailed notes."· So you were not reading from your
     25· · · · · · MR. KLOEWR:· Let's do that.· We'll go off the     25· ·notes from the Antifa call in this episode?

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     ·1· · · ·record.                                                ·1· · · · A· · No, we sat down.· So Max probably had the
     ·2· · · · · · VIDEOGRAPHER:· Okay.· Time is 15:34.              ·2· ·conversation with you where we sat down and talked
     ·3· · · · · · · (OFF THE RECORD)                                ·3· ·about, "All right, tell me what happened on the call?"
     ·4· · · · · · VIDEOGRAPHER:· Okay.· Time is 15:37 p.m.· Back    ·4· ·So Max and I walked through, this is the stuff that
     ·5· · · ·on the record with Joseph Oltmann.                     ·5· ·happened on the call.
     ·6· ·BY MR. KLOEWR:                                             ·6· · · · Q· · You're telling me you had a conversation with
     ·7· · · · Q· · Okay.· Before we went off the record, you were   ·7· ·Max McGuire prior to this episode where you walked
     ·8· ·going to try to find your notes.· Were you able to         ·8· ·through the claims you were going to make?
     ·9· ·confirm whether these four pages that were previously      ·9· · · · A· · No, I talked to him about the things that I
     10· ·disclosed are the entirety of the notes you took?          10· ·was going to talk about on the show.
     11· · · · A· · They are.                                        11·
     12· · · · Q· · They are?· There's no fifth page?                12·
     13· · · · A· · No, there is not a fifth page, but there is      13·
     14· ·notes related to what Randy asked me to write down on      14·
     15· ·what happened in that call.· So that's information that,   15·
     16· ·when he asked me to go through all the information that    16·
     17· ·I had, I had information that I had written down that      17·
     18· ·was between me and Randy.                                  18·
     19· · · · Q· · So you had a separate set of notes that you      19·
     20· ·created for Mr. Corporon describing your recollection of   20·
     21· ·the call?· What do you mean?· I -- I'm not sure I          21·
     22· ·understand you.                                            22·
     23· · · · A· · Yeah.· So Randy asked me what information you    23·
     24· ·collected on that call.· I walked through that             24·
     25· ·information and recalling what happened on the call with   25·
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     ·1·                                                             ·1· ·Mr. Corporon comes in to play on all this, because it
     ·2·                                                             ·2· ·sounds like we're talking about two separate sets of
     ·3·                                                             ·3· ·notes.· We have these ones that you actually took during
     ·4·                                                             ·4· ·the call, and we have a separate set that you prepared
     ·5·                                                             ·5· ·before the episode, apparently in a situation with Mr.
     ·6·                                                             ·6· ·McGuire.
     ·7·                                                             ·7· · · · A· · I wrote down with down the stuff that I needed
     ·8·                                                             ·8· ·to talk about based on that call, and I had notes and I
     ·9·                                                             ·9· ·had notes on what happened on the call that I used for
     10·                                                             10· ·the show.· But those notes were in conjunction with the
     11·                                                             11· ·conversations that I was having with Randy.· I'm pretty
     12·                                                             12· ·sure that those are in the Privilege Log.
     13·                                                             13· · · · Q· · So do you have a copy of those notes, and can
     14·                                                             14· ·we have them?
     15· · · · Q· · So when you're reading -- when you say I took    15· · · · · · MS. DEFRANCO:· No, of course not.· They're
     16· ·detailed notes, I'm reading from my notes, you're not      16· · · ·privileged and you know it.
     17· ·referring to these notes?· Am I understanding that         17· · · · Q· · So when you say you took note, that you
     18· ·correctly?                                                 18· ·prepared these notes for the show, based on your
     19· · · · A· · Correct.                                         19· ·recollection, where does this phrase, "We have prepared
     20· · · · Q· · You were referring to a different set of notes   20· ·for the new future where we put down these fascist F's,"
     21· ·that you prepared before the episode.· Do you still have   21· ·come from?
     22· ·those notes?                                               22· · · · A· · From the recollection of what happened on the
     23· · · · A· · I'm sure I do.· Those are the stuff that I've    23· ·call in September.
     24· ·shared with Randy Corporon.                                24· · · · Q· · You remember that specific phrase being used?
     25· · · · Q· · Would Mr. Corporon be in possession of a         25· · · · A· · Yes.· I mean, again, I paraphrased even the

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     ·1· ·separate set of notes describing the Antifa call?          ·1· ·last part of it. This is all from a recollection of Eric
     ·2· · · · A· · No.· These are the information that I was        ·2· ·from Dominion.
     ·3· ·supposed to write down to make sure that I had accurate    ·3· · · · Q· · Well, which part of the last part did you
     ·4· ·information.· This is on, this is the information that I   ·4· ·paraphrase?· The part where he says Trump's not going to
     ·5· ·wrote up on this show specifically to talk about what      ·5· ·win.· I made effing sure of it.· You paraphrase that?
     ·6· ·happened with the call with Eric Coomer.                   ·6· · · · A· · Well, I had some of those on the notes.· Okay,
     ·7· · · · Q· · Okay.· So let me be sure I understand what       ·7· ·let me, let me explain to you what happens when you're
     ·8· ·you're telling me. You had a conversation with Randy       ·8· ·stepping out in the middle of nowhere
     ·9· ·Corporon sometime before this episode on November 9th      ·9· ·--
     10· ·where he asked you --                                      10· · · · Q· · No, I --
     11· · · · A· · No, I had a conversation with him on the 10th,   11· · · · A· · No, no.
     12· ·but the notes that I used contemporar -- with the -- the   12· · · · Q· · I want you to tell me which part you
     13· ·show that I had there, I wrote down those in the notes     13· ·paraphrased.· That's the question.· What did you
     14· ·that I had with Randy Corporon.                            14· ·paraphrase?
     15· · · · Q· · Okay.· But you were in contact with              15· · · · A· · Well, I said that I paraphrased.· I went back
     16· ·Mr. Corporon before this episode aired, discussing your    16· ·and listened to this.
     17· ·claims about Dr. Coomer, correct?                          17· · · · Q· · Yes.· So which part is paraphrased?· "Trump's
     18· · · · A· · I don't think so, no.                            18· ·not going to win." Is that a paraphrase?
     19· · · · Q· · Okay.· Well, he said on his radio show on        19· · · · A· · I don't know.· I didn't check the notes out.
     20· ·November 14th that you texted him at 11:00 in the night,   20· ·I don't have the notes sitting in front of me.
     21· ·on November 6th, telling him that you had just had a       21· · · · Q· · What about, "I made effing sure of it."· Is
     22· ·realization about Eric Coomer.· Would you dispute that     22· ·that a paraphrase?
     23· ·now?                                                       23· · · · A· · That is not a paraphrase.
     24· · · · A· · No.· Did I say that on the show?                 24· · · · Q· · Well, how would we know?· Because it sounds
     25· · · · Q· · No.· I'm just trying to understand where         25· ·like you're not even sure which part's paraphrased as
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     JOSEPH OLTMANN, 12/16/2022
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     ·1· ·you sit here today?                                        ·1· · · · Q· · Mr. Camp is not the conduit that got you onto
     ·2· · · · A· · That's two years ago.· That's two years ago,     ·2· ·what you have described as being the Antifa call?
     ·3· ·and that's sitting on talking about something that I       ·3· · · · A· · He is not.
     ·4· ·didn't even want to talk about and the amount of           ·4· · · · Q· · Do you know anything about Mr. Camp's
     ·5· ·pressure that was on me to talk about what I had           ·5· ·background?
     ·6· ·discovered, knowing what the outcome was going to be in    ·6· · · · A· · I know he has been doing undercover stuff for
     ·7· ·my life.· That's what that is. That's trying to figure     ·7· ·many years.
     ·8· ·it all out in real time.· This is the information that I   ·8· · · · Q· · What do you mean by undercover stuff?
     ·9· ·have.                                                      ·9· · · · A· · He's been uncovering stuff in Denver and
     10· · · · Q· · Well, this particular phrase, Mr. Oltmann has    10· ·around the country for many years.
     11· ·upended Dr. Coomer's life.· If I understand you            11· · · · Q· · Have you ever looked into his background or
     12· ·correctly today, you're not sure which part of it is       12· ·asked your attorneys to look into his background?
     13· ·paraphrase and which is not.                               13· · · · A· · Such as?
     14· · · · A· · Well, I know that those notes right there that   14· · · · Q· · Criminal background?
     15· ·I was reading from are inside the Privilege Log, that I    15· · · · A· · What criminal background?
     16· ·do know.                                                   16· · · · Q· · Are you aware that Mr. Camp is a convicted
     17· · · · Q· · Inside which Privilege Log?                      17· ·felon?
     18· · · · A· · The conversations that I had with Randy          18· · · · A· · I know that he had a -- a charge and yeah, but
     19· ·Corporon.· But you want talk about upending lives?         19· ·I didn't, I didn't see anything that was concerning when
     20· · · · Q· · No, I don't.· I want to understand which part    20· ·I looked back on his history.· Are you aware that Eric
     21· ·you paraphrased.                                           21· ·Coomer is a drug addict, that he has Satan tattooed on
     22· · · · A· · No, you don't.· You want to talk about, you      22· ·his arm?
     23· ·want to talk about Coomer.· But you don't want to talk     23· · · · Q· · Did you ever conduct a search of Mr. Camp's
     24· ·about the adverse effect it had on my family or stepping   24· ·criminal history in the state of Colorado, for example?
     25· ·out on election fraud and having give up, give up his      25· · · · A· · No.· He -- he was very -- he was very open

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     ·1· ·career, give up his company.· What else did I give up?     ·1· ·about it.
     ·2· ·I took no money from it.· But you want to protect the      ·2· · · · Q· · Would it surprise you if I told you that we've
     ·3· ·demon, a guy that literally has done nothing.              ·3· ·identified more than a dozen restraining orders have
     ·4· · · · Q· · Number 11, we asked for all communications you   ·4· ·been issued against Mr. Camp in various states?
     ·5· ·have with Joseph Camp.                                     ·5· · · · A· · That would surprise me, yes.
     ·6· · · · A· · Yep.                                             ·6· · · · Q· · Would it surprise you that Mr. Camp had a
     ·7· · · · Q· · Or anyone acting on his behalf between January   ·7· ·restraining order issued against him by a 15 year old
     ·8· ·2020 and the present.· Now, in response to that request,   ·8· ·when he was 32 in Jefferson County, in July of 2016?
     ·9· ·you again issued your Reporter's Privilege Objection.      ·9· · · · A· · No, I didn't know that.
     10· ·Let's talk a little bit about Joey Camp.· When did you     10· · · · Q· · Now, in your -- our prior case, we showed you
     11· ·meet Mr. Camp?                                             11· ·a gab post for Mr. Camp where he took responsibility for
     12· · · · A· · I don't remember.                                12· ·having identified Dr. Coomer himself. Have you ever
     13· · · · Q· · Did you meet him in the summer of 2020?          13· ·discussed that claim with him?
     14· · · · A· · I did not.                                       14· · · · A· · I've never seen that.
     15· · · · Q· · Were you aware that he was spending time with    15· · · · Q· · Well, we showed it to you in your prior
     16· ·Tig Tiegen at the time during the BLM protest?             16· ·deposition.· Have you ever discussed Dr. Coomer with
     17· · · · A· · I don't believe that that's accurate.            17· ·Mr. Camp?
     18· · · · Q· · Was Mr. Camp a member of FEC United?             18· · · · A· · No, he never showed that to me.
     19· · · · A· · I don't believe he was.                          19· · · · Q· · We did Mr. Oltmann, it's Exhibit PX 117, I
     20· · · · Q· · Did you ever speak to him before this episode    20· ·believe.· I can get a copy for you, but we certainly
     21· ·about Dr. Coomer, November 9th?                            21· ·showed you that.· It included an image that was a,
     22· · · · A· · No.                                              22· ·appeared to be an affidavit he had drafted for purposes
     23· · · · Q· · You never had any communications with Joey       23· ·in that case. It included a case caption.· You don't
     24· ·Camp any time prior to your claims about Dr. Coomer?       24· ·recall that?· We showed you in your deposition.· You
     25· · · · A· · I don't believe I did.· No.                      25· ·stood up, you said you needed to go to the restroom




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     JOSEPH OLTMANN, 12/16/2022
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     ·1· ·immediately afterwards.· You recall that?                  ·1· ·Eric Coomer footage, correct?
     ·2· · · · A· · No, that's not true.· That's not true.· That's   ·2· · · · A· · I did.
     ·3· ·a lie.· That's not true.· That's a lie.· That's a lie.     ·3· · · · Q· · And he didn't tell you at the time that he had
     ·4· · · · Q· · We can take a break and pull the transcripts     ·4· ·a recording of the Zoom call?
     ·5· ·for that, and I can pull up that gab post for you.· What   ·5· · · · A· · No.
     ·6· ·I want to show you right now is what we've -- we'll mark   ·6· · · · Q· · Do you know how Mr. Camp would have a
     ·7· ·as, if I can find the Exhibit title, 56.· Now, you're      ·7· ·recording of the Zoom call?
     ·8· ·aware that Mr. Camp is the individual who posted the       ·8· · · · A· · No idea.
     ·9· ·videos of Dr. Coomer that you've referenced several        ·9· · · · Q· · You told me he was not your conduit to that
     10· ·times today involving the traffic accident, correct?· He   10· ·call, correct?
     11· ·has a big Joey Camp logo on the videos that you've         11· · · · A· · He was not my conduit for that call.
     12· ·showed on Conservative Daily.· You're aware of that?       12· · · · Q· · Okay.· You said --
     13· · · · · · · (EXHIBIT 56 MARKED FOR IDENTIFICATION)          13· · · · A· · And I had never had a conversation with this
     14· · · · A· · All right.· Say that again?                      14· ·guy prior to coming out with this ever.· I'm just
     15· · · · Q· · You're aware that Mr. Camp is the individual     15· ·surprised that --
     16· ·who has gotten the police body cam footage of Dr.          16· · · · Q· · Mr. Oltmann, real quick, I'm going to show you
     17· ·Coomer, that he has posted to the internet, correct?       17· ·what was previously, and -- and, Ryan, I apologize, we
     18· · · · A· · These are terrible.                              18· ·don't have a hard copy of this. I hadn't anticipated
     19· · · · Q· · Is that a yes or no, Mr. Oltmann, you're aware   19· ·needing to refresh Mr. Oltmann on this.· This is what
     20· ·that Mr. Camp --                                           20· ·was admitted as Exhibit PX 131 during your deposition on
     21· · · · A· · I'm reading this.· This is an Exhibit, right?    21· ·September 8, 2021. This is a -- a gab post from Joey
     22· · · · Q· · Yes.                                             22· ·Camp.· I'll read it for you and then I'll show it to
     23· · · · A· · Okay.· So let me read this real quick.· So is    23· ·you.
     24· ·this Joey Camp?                                            24· · · · A· · Okay.
     25· · · · Q· · Yeah.· Claims to be.· And he describes many      25· · · · Q· · Because I want to get this on the record, and

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     ·1· ·actions that Mr. Camp had taken, and the phone number      ·1· ·I'd like you to focus on listening while I read through
     ·2· ·indicated here is a number that Mr. Camp had used to       ·2· ·this.· Here's Mr. Camp speaking. "When my team preserved
     ·3· ·contact various other individuals across the country at    ·3· ·material from Eric Coomer, we did so because of his
     ·4· ·the same time, including where he provided photos of       ·4· ·connection to Antifa, not because of his connection to
     ·5· ·himself in text messages, other individuals.· I want to    ·5· ·Dominion, which we didn't even know existed before.· The
     ·6· ·direct your attention to the very end of this text         ·6· ·Antifa Manifesto published here by Eric Coomer's address
     ·7· ·message where Mr. Camp states to Dr. Coomer, "You know I   ·7· ·as a would be press release that's acting as a public
     ·8· ·have the Zoom recorded, don't you?"· You see that part?    ·8· ·relations officer for Antifa.· There is no other example
     ·9· · · · A· · Oh, wow.· So does he have the Zoom recorded?     ·9· ·of this manifesto anywhere on the internet."· I believe
     10· · · · Q· · Well, that's my question to you, Mr. Oltmann,    10· ·you've described it as a repost.· You know that's not
     11· ·have you asked him?                                        11· ·accurate.· "While the election is certainly an issue, I
     12· · · · A· · No, I've never seen this before.· I've never     12· ·was/am determined to document and tell the truth about
     13· ·seen this before.                                          13· ·Antifa and their actions.· Eric Coomer is a member of
     14· · · · Q· · No, you wouldn't have --                         14· ·Antifa.· During the phone call with an Eric Coomer on
     15· · · · A· · Where would I've ever --                         15· ·the line with other members of Antifa nationwide, one of
     16· · · · Q· · -- this was a text message that was sent to      16· ·the Antifa members spoke about finding and killing me.
     17· ·Mr. Coomer.                                                17· ·That was the end of last year.· April 2021, Karma 161,
     18· · · · A· · So how would I know that?· I didn't, I've        18· ·and this apparent threat occurred by whatever name his
     19· ·never seen this before in my life.                         19· ·account number was at the time, posted a bounty for my
     20· · · · Q· · Well, he's been a guest on your show.· He has    20· ·life.· The FBI called me to warn me.· Local police in
     21· ·a fundraising page where he prominently features his       21· ·Denver spoke to me about a vacation."· So here we have
     22· ·involvement with Dr. Coomer.                               22· ·Mr. Camp in two instances saying, number one, when my
     23· · · · A· · I've had hundreds of people on my Facebook, on   23· ·team preserved material from Eric Coomer, is he the one
     24· ·my show.                                                   24· ·that gave you the Facebook posts?
     25· · · · Q· · Well, you had him on your show to discuss the    25· · · · A· · No.




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     ·1· · · · Q· · Do you know what he's referring to when he       ·1· ·declaration in that case?
     ·2· ·says, "When my team preserved information?"                ·2· · · · A· · He -- he wouldn't have talked to me.· He
     ·3· · · · A· · Nope.                                            ·3· ·would've not had a conversation with me about it. I
     ·4· · · · Q· · Okay.· And here he's describing the contents     ·4· ·don't know anything about a declaration. Do you know
     ·5· ·of the call.· He says, "During the phone call with Eric    ·5· ·about a declaration?· Is it -- okay.· You can't answer
     ·6· ·Coomer on the line, with other members of Antifa, one of   ·6· ·the question.
     ·7· ·the members spoke about finding and killing me.· You       ·7· · · · Q· · Mr. Kemp is also represented by Andrea Hall,
     ·8· ·haven't discussed that with him?                           ·8· ·correct?· Mr. Oltmann, are you aware of that?
     ·9· · · · A· · I did not.                                       ·9· · · · A· · I'm not.· Where's the declaration?
     10· · · · Q· · Does it surprise you that you've been in         10· · · · Q· · Second page.· Scroll down.
     11· ·contact with Mr. Camp and he's providing you               11· · · · A· · Where is the declaration?
     12· ·information, he's been a guest on your show, and he has    12· · · · Q· · I don't know.· This is -- this is all he
     13· ·been claiming to have been the one to discover Eric        13· ·included on that Gab post and that's what we asked you
     14· ·Coomer and to have preserved information --                14· ·about in your deposition.
     15· · · · A· · Where did he say that in there, that he          15· · · · A· · I've never seen this.
     16· ·discovered Eric Coomer?                                    16· · · · Q· · I haven't seen the declaration.
     17· · · · Q· · When my team preserved material from Eric        17· · · · A· · I've never seen this.· And I've never seen the
     18· ·Coomer, we did so because of his connection to Antifa,     18· ·declaration.· I've never seen a declaration.· I've never
     19· ·not because of his connection to Dominion.· Meaning his    19· ·seen this.
     20· ·investigation would've proceeded yours, because you knew   20· · · · Q· · Okay.
     21· ·he was Dominion from the start, by your allegations,       21· · · · A· · You're saying that you asked me questions
     22· ·correct?                                                   22· ·about this related to the fact that he took credit for
     23· · · · A· · So then, yeah, but that doesn't say that he's    23· ·it.· I don't see that in here.
     24· ·-- he wasn't involved in any of this.                      24· · · · Q· · Okay.· Well, it's entered as an exhibit, as a
     25· · · · Q· · Well --                                          25· ·PX exhibit, meaning we answered it during your

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     ·1· · · · A· · He's not the one that gave me access to the      ·1· ·deposition.
     ·2· ·Facebook post.· He's not the one that gave me -- none of   ·2· · · · A· · And I'd like to know how I responded to that.
     ·3· ·that -- none of that is true.                              ·3· ·Do you have that as well?
     ·4· · · · Q· · Okay.· So when we go to the trial in this        ·4· · · · Q· · You're -- I don't have your entire transcript
     ·5· ·matter, you don't intend to -- to provide any evidence     ·5· ·with me right now. I'm just asking you about -- I
     ·6· ·that's been provided to you by Joey Camp?                  ·6· ·assumed you would recall this because we did discuss it.
     ·7· · · · A· · What?· I don't understand the question.· Why     ·7· ·But we'll put this aside for now.· Can somebody tell me,
     ·8· ·would that be a -- a real question?                        ·8· ·I apologize.· What exhibit are we up to?
     ·9· · · · Q· · I -- I'm trying to understand, Mister --         ·9· · · · · · MR. CAIN:· · Fifty-six.
     10· · · · A· · You've spent the last 45 minutes literally       10· · · · · · MR. KLOEWR:· Fifty-six.
     11· ·attacking me with stuff that isn't -- this isn't me.       11· · · · · · MR. MALONE:· Seven.
     12· · · · Q· · Here's this.                                     12· ·BY MR. KLOEWR:
     13· · · · A· · I didn't do this.                                13·
     14· · · · Q· · Here's the second page of this Gab post, which   14·
     15· ·was admitted as an Exhibit PX131.· You can go back --      15·
     16· · · · A· · Okay.· Let me see it.                            16·
     17· · · · Q· · -- through the case file and it's an image of    17·
     18· ·our case caption in Denver District Court,                 18·
     19· ·Coomer v. Donald J. Trump, et al, with the correct case    19·
     20· ·number there says Declaration of Joseph Camp.· This was    20·
     21· ·included in his Gab post.· We showed you-all this in       21·
     22· ·your declaration.                                          22·
     23· · · · A· · Where is this declaration?                       23·
     24· · · · Q· · Well, that's a good question.· I wonder how he   24·
     25· ·-- I would like to know.· Was he going to provide you a    25·
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     ·7·                                      ·7·
     ·8·                                      ·8·
     ·9·                                      ·9·
     10·                                      10·
     11·                                      11· ·                            .· Going back to my prior
     12·                                      12· ·questions, has Mr. Lindell ever asked you how you got on
     13·                                      13· ·the Antifa call?
     14·                                      14· · · · A· · I'm sure he has.
     15·                                      15· · · · Q· · And what did you tell him?
     16·                                      16· · · · A· · That it -- it was the same thing that did
     17·                                      17· ·happen.· That the Antifa kids showed up at one of our
     18·                                      18· ·meetings.
     19·                                      19· · · · Q· · Well, I'm -- I want --
     20·                                      20· · · · A· · And that had nothing to -- those meetings had
     21·                                      21· ·nothing to do with the election integrity, had nothing
     22·                                      22· ·to do with November 3rd.
     23·                                      23· · · · Q· · I want to be sure I understand this clearly.
     24·                                      24· ·You said, I'm sure he did.· But do you recall
     25·                                      25· ·specifically Mr. Lindell ever asking you how you got on
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     ·1· ·the Antifa call?· And I mean specifically the individual   ·1·
     ·2· ·who provided you that access?                              ·2·
     ·3· · · · A· · No.· I'm sure -- no, I don't.· No.               ·3·
     ·4· · · · Q· · He's never asked you?                            ·4·
     ·5· · · · A· · I don't know if he has or not.· I don't          ·5·
     ·6· ·recall.                                                    ·6·
     ·7· · · · Q· · Did he ever ask you about the other people who   ·7·
     ·8· ·were on that call?                                         ·8·
     ·9· · · · A· · I -- I don't recall.                             ·9·
     10· · · · Q· · Has he ever asked you for the identities of      10·
     11· ·the allegedly 13 Antifa journalists you claim to have      11·
     12· ·identified?                                                12·
     13· · · · A· · I don't think so, no.                            13·
     14· · · · Q· · Has he ever asked you when you got access to     14·
     15· ·Dr. Coomer's Facebook accounts?                            15·
     16· · · · A· · I don't think so.· I think he just is -- he's    16·
     17· ·read the things that we've put out there.                  17·
     18· · · · Q· · Has he ever asked you how you got access to      18·
     19· ·Dr. Coomer's Facebook accounts?                            19·
     20· · · · A· · I don't recall.                                  20·
     21· · · · Q· · Did he ever ask you to clarify for him the       21·
     22· ·nature of the screenshot we discussed before?              22·
     23· · · · A· · No, because I already did in December of 2021.   23·
     24· · · · Q· · But he didn't ask you to explain that because    24·
     25· ·we did describe it in the complaint.· It seems like        25·

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     ·1· ·something that he may ask about, but he never did, ask     ·1·
     ·2· ·you directly to explain that screenshot?                   ·2·
     ·3· · · · A· · Say that again.                                  ·3· · · · Q· · Okay.· Let's play Clip 9.· This is from
     ·4· · · · Q· · Did Mr. Lindell ever ask you to explain the      ·4· ·Conservative Daily podcast.· This was on September 13th
     ·5· ·screenshot?· We discussed it for a while.· I don't need    ·5· ·of this year.· Just over three months ago.· You had Clay
     ·6· ·to get back into it.· I just want to know if Mr. Lindell   ·6· ·Clark on as a guest.· Let's play just a quick clip from
     ·7· ·has asked you to explain the issue to him?                 ·7· ·that.
     ·8· · · · A· · No, but -- but it's not uncommon for Mike not    ·8· · · · A· · I know you're getting sued by Eric Coomer.
     ·9· ·to do that.                                                ·9· ·Your lawyer's probably telling you not to talk about
     10·                                                             10· ·that at all.· I got -- I got served with a subpoena to
     11·                                                             11· ·do a deposition, by the way.· By -- by -- Lindell
     12·                                                             12· ·matter.
     13·                                                             13· · · · Q· · This was on September 13th.· You just told
     14·                                                             14· ·Mr. Clark that you got served at the subpoena to do a
     15·                                                             15· ·deposition in the Lindell matter.· Were you served as a
     16·                                                             16· ·subpoena?
     17·                                                             17· · · · A· · No.· It was -- I think that I was talking
     18·                                                             18· ·about the fact that they -- you were looking to subpoena
     19·                                                             19· ·me.
     20·                                                             20· · · · Q· · Well, you said you were served as a subpoena?
     21·                                                             21· · · · A· · Okay.· Well, I mean, for -- for your all's
     22·                                                             22· ·deal, you were looking to do a subpoena.· I was doing it
     23·                                                             23· ·under the fact that you were looking to do a subpoena.
     24·                                                             24· ·So how is that creating a story that doesn't exist?
     25·                                                             25· · · · Q· · Well, you weren't served with a subpoena, were
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     ·1· ·you?                                                       ·1· · · · Q· · To harass him?
     ·2· · · · A· · What do you mean, I wasn't served with a         ·2· · · · A· · Nope.
     ·3· ·subpoena?                                                  ·3· · · · Q· · Sorry, I lost my page here.· One moment.· Or
     ·4· · · · Q· · Well, we -- we saw this clip and we're           ·4· ·to threaten him.· We already discussed that.· Okay.· And
     ·5· ·confused.· Because our process server was trying to        ·5· ·when we had a call with Judge Wang on Tuesday, do you
     ·6· ·serve you at that time.· And that's what I'm trying to     ·6· ·recall telling Judge Wang that you had never sent anyone
     ·7· ·understand.· Why you would claim that you were served      ·7· ·to Dr. Coomer's house?
     ·8· ·with a subpoena when you weren't?· It sounds like you're   ·8· · · · A· · Yep.
     ·9· ·-- you're referring to the e-mail that was received by     ·9· · · · Q· · Let me just refer to that portion of the
     10· ·Ms. Hall?                                                  10· ·transcript here to be sure I -- I'm recalling your
     11· · · · A· · Probably.· But how is that -- how is that        11· ·statement correctly.· This is on page 31, lines 14 to 17
     12· ·putting myself in someone else's shoes?                    12· ·of the transcript from that hearing.· Page -- lines 15
     13· · · · Q· · Well, it's putting yourself in a story that      13· ·to 17 rather. You told the judge, "I have never sent
     14· ·did not occur.                                             14· ·someone to his home.· That is a lie. I have never done
     15· · · · A· · That's not true.                                 15· ·anything to push anything out on Mr. Coomer."· Was that
     16· · · · Q· · But you weren't served with a subpoena.          16· ·an accurate statement you made to Judge Wang?
     17· · · · A· · You mean, technically.· Because you're going     17· · · · A· · It was.· It was.
     18· ·to use words the same way that you leftist use words to    18· · · · Q· · Let's play Clip 8.· Mr. Oltmann, this is an
     19· ·manipulate situations like what happened in the            19· ·audio clip from an interview you conducted with Peter
     20· ·election, right?· This -- this is a simple deal where      20· ·Boyles on November 17, 2020.· Let's take a quick listen.
     21· ·you talk about the fact that you were trying to subpoena   21· · · · · · · (AUDIO PLAYED)
     22· ·me for this Lindell matter.                                22· · · · Q· · He's a ghost.· I had somebody go to his house
     23· · · · Q· · Do you recall when you told Judge Wang you       23· ·in Salida.· He's a ghost.· So was that an accurate
     24· ·became aware of the subpoena in this case?                 24· ·statement you made to Peter Boyles on November 17th?
     25· · · · A· · No.· I knew there was a subpoena on -- in        25· · · · A· · Yeah.· So it wasn't actually me sending

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     ·1· ·August.· I had not seen the subpoena until later.          ·1· ·someone.· Someone had said they were going to go by that
     ·2· · · · Q· · Let's move on to number 12.· We requested all    ·2· ·lived in Salida.
     ·3· ·documents or communications authored, sent, or received    ·3· · · · Q· · Well, you said I had somebody go by.· You said
     ·4· ·by you relating to any attempts to monitor, surveil,       ·4· ·he's a ghost.· I had somebody go to his house.· What do
     ·5· ·locate, track, follow, investigate, harass, or threaten    ·5· ·you mean somebody in Salida said they were going to go
     ·6· ·Dr. Coomer or any member of his family.· You didn't        ·6· ·by?
     ·7· ·engage with many of those terms you just said, I have      ·7· · · · A· · Somebody in Salida that contacted me said they
     ·8· ·never threatened Mr. Coomer or his family, nor have I      ·8· ·were going to go by.
     ·9· ·ever made an attempt to threaten him, or anyone            ·9· · · · Q· · Who was that?
     10· ·connected to him. Have you ever made an attempt to         10· · · · A· · A guy that did work for him as a contractor
     11· ·monitor with Dr. Coomer?                                   11· ·and he stiffed.
     12· · · · A· · No.                                              12· · · · Q· · Who -- who is this person?
     13· · · · Q· · Have you ever made an attempt to surveil Dr.     13· · · · A· · I don't remember.· It's been two years.
     14· ·Coomer?                                                    14· · · · Q· · Okay.
     15· · · · A· · No.                                              15· · · · A· · Keep in mind, by November 17th, I was in
     16· · · · Q· · Have you ever made an attempt to locate Dr.      16· ·complete lockdown, had personal security, and was under
     17· ·Coomer?                                                    17· ·massive threats of people coming to my house with guns.
     18· · · · A· · No.                                              18· · · · Q· · Let's play Exhibit -- what's been previously
     19· · · · Q· · Have you ever made efforts to track Dr.          19· ·marked as Exhibit 18, Clip 9.
     20· ·Coomer?                                                    20· · · · · · · (AUDIO PLAYED)
     21· · · · A· · No.                                              21· · · · Q· · So I just asked you a couple minutes ago if
     22· · · · Q· · To follow him?                                   22· ·you had made any attempts to monitor, surveil, locate,
     23· · · · A· · No.                                              23· ·track, follow, investigate, harass, or threaten
     24· · · · Q· · To intimidate him?                               24· ·Dr. Coomer.
     25· · · · A· · Nope.                                            25· · · · A· · Right.




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     ·1· · · · Q· · And in every instance you've said no.· Do you    ·1· · · · Q· · Well, Parler didn't exist at the time.· It had
     ·2· ·want to correct those statements that you made under       ·2· ·been taken down following the events at the Capitol.
     ·3· ·oath?                                                      ·3· · · · A· · But Parler came back up.
     ·4· · · · A· · No, because I didn't threaten him.               ·4· · · · Q· · Yes.· And --
     ·5· · · · Q· · Well, you were clearly tracking him, correct?    ·5· · · · A· · So why did this post disappear from the time
     ·6· · · · A· · No, I wasn't.                                    ·6· ·that it went down at the time that it went back up?
     ·7· · · · Q· · You had people telling you where his truck       ·7· · · · Q· · I'm not on Parler, Mr. Oltmann, I don't know
     ·8· ·was?                                                       ·8· ·what they've done as far as document retention.· We
     ·9· · · · A· · Yeah.                                            ·9· ·pulled this at the time and let's read it here.· "I've
     10· · · · Q· · And following him around?                        10· ·been busy doing 15 interviews in the last two days."
     11· · · · A· · But I didn't --                                  11· ·Sounds like what you were up to at the time.· "Was told
     12· · · · Q· · You don't think that's surveilling Dr. Coomer?   12· ·today, after questioning by the MSM has not picked up
     13· · · · A· · I didn't ask anybody to do anything.             13· ·Eric Coomer that I was 'breaking something they are
     14· · · · Q· · You don't think going on a podcast and telling   14· ·running away from.' What the living hell is that
     15· ·him that you've got people following him everywhere is     15· ·supposed to mean?· Antifa in the middle of 28 states by
     16· ·an attempt to harass him or threaten him?                  16· ·proxy of one of the largest shareholders in Dominion
     17· · · · A· · Again, do you want to turn this around?          17· ·voting systems.· So it is up to you.· Blow this shit up.
     18· · · · Q· · No, I want to --                                 18· ·Share his name everywhere.· No rest for this shitbag.
     19· · · · A· · And look at what they did to my family.          19· ·Eric Coomer.· Eric Coomer.· Eric Coomer.· Eric Coomer.
     20· · · · Q· · No, I don't.· That's not what I'm asking at      20· ·This shitbag and the corrupt asshats in Dominion Voting
     21· ·all --                                                     21· ·Systems must not steal our election and our country.
     22· · · · A· · No.· You don't want to.                          22· ·Eric, we are watching you."· When has Eric Coomer ever
     23· · · · Q· · No, because that's not the issue here.· I'm      23· ·posted a photo of your house, Mr. Oltmann?
     24· ·asking --                                                  24· · · · A· · I didn't post this.· You -- you can't even
     25· · · · A· · No, the issue is --                              25· ·tell me the date that this is posted.

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     ·1· · · · Q· · It's not the issue at all.                       ·1· · · · Q· · December 5, 2020.
     ·2· · · · A· · It is the issue.· It's clear the issue.· You     ·2· · · · A· · So then where's that date?· And how come they
     ·3· ·have people threatening my kids.· You have people          ·3· ·don't have this on Parler?
     ·4· ·threatening my wife.                                       ·4· · · · Q· · Not on this document.
     ·5· · · · Q· · So you didn't --                                 ·5· · · · A· · I said the same thing before.
     ·6· · · · A· · And people showing up to my house with guns.     ·6· · · · Q· · I just told you; I don't know how Parler
     ·7· ·Who showed up to his house with a gun, anyone.· And the    ·7· ·works.· I'm asking why - - when has Eric Coomer ever
     ·8· ·fact that they had forensic people and people in DHS and   ·8· ·posted a photo of your house?
     ·9· ·DNI and those people were coming out of the woodwork       ·9· · · · A· · Where is this post where I posted it on
     10· ·saying, we're going to check into this.· Those are         10· ·Parler?
     11· ·people that contacted me, giving me that -- that           11· · · · · · MR. CAIN:· Objection, nonresponsive.
     12· ·information, not me giving it to them.                     12· · · · A· · Where is the post?· You're putting a post in
     13· · · · Q· · Let's flip to what's been previously marked as   13· ·front of me and saying, Joe, you did this.· I went
     14· ·Exhibit 24.· Do you recognize this post, Mr. Oltmann?      14· ·through it.· Did we find anything on that? We couldn't
     15· · · · A· · I don't actually.· And I've actually tried to    15· ·find anything related to me even posting this at all.
     16· ·get this post on Parler.· I've even asked Parler if I      16· · · · Q· · We pulled -- you can see that we pulled this
     17· ·could have this post that you said was put on Parler.      17· ·when it was posted four hours ago.· We were watching
     18· · · · Q· · Do you recognize the image that's included on    18· ·your statements very closely at the time because our
     19· ·a post from @JoeOltmann?· Have you seen that image         19· ·client's life was in danger.· My question to you, and
     20· ·before?                                                    20· ·this is the question I want an answer to not anything
     21· · · · A· · You brought this up in the last -- the           21· ·else.· When has Eric Coomer ever posted a photo of your
     22· ·deposition that I did with you, correct?                   22· ·house on social media?
     23· · · · Q· · Yeah.· So what are we looking at here?           23· · · · A· · No.· He sent people to my house with guns.
     24· · · · A· · So this is the one where you said that I         24· ·That's what he did.
     25· ·posted this on Parler, but it doesn't exist on Parler.     25· · · · Q· · No, we already established you have no




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     ·1· ·evidence to do -- find any involvement with Mr. Coomer.    ·1· ·this, but I posted this.
     ·2· · · · A· · I don't have any evidence.· I -- I have 16       ·2· · · · Q· · This is from the -- there's -- we've already
     ·3· ·months of having to hire personal security and             ·3· ·established that you don't remember various things
     ·4· ·bulletproof glass at my house.                             ·4· ·relevant to this case, Mr. Oltmann, let's read the
     ·5· · · · Q· · Direct evidence.                                 ·5· ·statement.· "Eric Coomer want to chat with you, but you
     ·6· · · · A· · And thermal cameras.· I don't have police        ·6· ·are too scared. How about you put that shotgun down and
     ·7· ·reports that show that people sent powder to my house      ·7· ·come out?· Everyone is watching you, Eric.· Everyone."
     ·8· ·and actually came there with guns.                         ·8· ·You don't recall making this statement?
     ·9· · · · Q· · Objection, non-responsive.· I understand your    ·9· · · · A· · No, I don't.
     10· ·refusal to answer to me that you know that Dr. Coomer      10· · · · Q· · You don't find it odd that this coincided
     11· ·has never posted a photo of your house on social media,    11· ·specifically on the same date in real time with an
     12· ·correct?                                                   12· ·instance where Dr. Coomer was behind his locked door of
     13· · · · A· · I also know that that's not me taking a          13· ·his house yelling at Scott Wheeler to leave his
     14· ·picture of his house, and I don't even think that post     14· ·property?
     15· ·exists.                                                    15· · · · A· · And who's Scott Wheeler?
     16· · · · Q· · Who did take that picture, Mr. Oltmann?          16· · · · Q· · You're telling me you don't know who Scott
     17· · · · A· · No idea.                                         17· ·Wheeler is?
     18· · · · Q· · Was it Scott Wheeler?                            18· · · · A· · Who is Scott Wheeler?
     19· · · · A· · Who's Scott Wheeler?· Who's Scott Wheeler?       19· · · · Q· · Okay.
     20· · · · Q· · Let's take a look at what's been previously      20· · · · A· · Who is Scott Wheeler?
     21· ·marked as Exhibit 25. This is a post from that same day.   21· · · · Q· · I think you know the answer to that,
     22· ·Now, Ms. Oltmann, have you reviewed the declaration of     22· ·Mr. Oltmann, but it's not my job to answer questions
     23· ·Eric Coomer that was filed in response to your             23· ·today.· Let's take --
     24· ·Anti-SLAPP motion to dismiss?· It's about 30 pages.        24· · · · A· · So you're saying that Scott Wheeler is the one
     25· · · · A· · Say that again.                                  25· ·that -- that he put a shotgun out on.· That's -- that's

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     ·1· · · · Q· · Dr. Coomer produced an affidavit that he         ·1· ·what you're saying.
     ·2· ·attaches an exhibit to his response to your Anti-Slapp     ·2· · · · Q· · Let's take a look at what has been previously
     ·3· ·motion to dismiss.· Did you read that document?            ·3· ·marked as Exhibit 18, Clip 10.· And before we do this, I
     ·4· · · · A· · I -- I might have.                               ·4· ·just want to confirm you didn't -- it sounds like the
     ·5· · · · Q· · Okay.· It's a long document where Dr. Coomer     ·5· ·way you've described your -- your monitoring of
     ·6· ·gives his side of the story, describes his background      ·6· ·Dr. Coomer's movements based on the video statements
     ·7· ·with Dominion, things that had happened to him.· At one    ·7· ·we've just watched, is that people were reaching out to
     ·8· ·point in that declaration, he describes an episode where   ·8· ·you of their own accord to tell him things.· Is that
     ·9· ·he went to his house to feed his pets and he wasn't        ·9· ·right?
     10· ·going at home very often at the time.· And when he was     10· · · · A· · I'm sorry, say that again.
     11· ·in there, someone started shouting at him through the      11· · · · · · MR. MALONE:· I'm going to object to the
     12· ·wall and he said, "Please leave.· I have a shotgun.        12· · · ·characterization as monitoring.
     13· ·You're trespassing. I need you to leave the property."     13· · · · Q· · So you stated that some people in Salida had
     14· ·Do you recall that?                                        14· ·just let you know that they were going to Dr. Coomer's
     15· · · · A· · No.                                              15· ·house.· And I'm paraphrasing, is that an accurate
     16· · · · Q· · Okay.· Let's look at -- let's look at what's     16· ·description of?
     17· ·been marked as Exhibit 25.· It's from the same Parler      17· · · · A· · People were reaching out to me, yes.· That he
     18· ·account.· "Eric Coomer" --                                 18· ·has had run-ins with apparently in Salida, which is
     19· · · · A· · So again, where is this and why was this not     19· ·quite a few people, I guess.
     20· ·produced before and why is it not on Parler?               20· · · · Q· · And did you ask anybody to keep track of him
     21· · · · Q· · I've given you-all the information I have,       21· ·for you?
     22· ·Mr. Oltmann, I don't know anything about Parler's          22· · · · A· · No.
     23· ·document retention policies.· We were monitoring your      23· · · · Q· · You didn't ask anyone to follow him?
     24· ·statements very closely at the time and we saved this --   24· · · · A· · No.
     25· · · · A· · But I can't -- I -- I don't remember posting     25· · · · Q· · Okay.· Let's play Clip 10.




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     ·1· · · · A· · And -- and frankly, I -- I have to tell you      ·1· ·election software hardware in Mesa County, including
     ·2· ·the fact that we're not having a conversation about Eric   ·2· ·documents and communications from Tina Peters, Sherrona
     ·3· ·Coomer every day.· He should be a household name.· He      ·3· ·Bishop, Conan Hayes, Patrick Vernon, Gerald Wood, you
     ·4· ·should never be able to leave this house at all without    ·4· ·said you would conduct a search for those documents.
     ·5· ·everybody knowing who he is, where he is.· I have people   ·5· ·Have you done that?
     ·6· ·in Salida that literally are following him around and      ·6· · · · A· · This is number 13?
     ·7· ·saying, all right Joe, here's where he is at next,         ·7· · · · Q· · Yes.
     ·8· ·here's where he is at next.· I found him.· I found him.    ·8· · · · A· · Where it says, "The deponent objects to this
     ·9· ·He's staying in this basement up here.· Oh, oh, he's at    ·9· ·request on the grounds it violates First Amendment of
     10· ·his house now.· You want to know why?· Because people in   10· ·the United States Constitution."
     11· ·his own town, people in his own town think the guy is an   11· · · · Q· · Yes.· The last couple sentences, you said,
     12· ·absolute terrible human being.· I -- all right, listen,    12· ·"Subject to the foregoing, deponent will produce the
     13· ·the stories that I was told about how he terrorized        13· ·non-privileged documents in his custody, possession, or
     14· ·someone that has been a lifetime member of the community   14· ·control.· And that you would conduct a reasonable search
     15· ·in Salida, it's third generation, and how he terrorized    15· ·of your records where kept in the normal course of
     16· ·that person is unbelievable.· And I was like, will you     16· ·business."· Have you conducted that search?
     17· ·go on the record?· He's like, yes.· I was like, great,     17· · · · A· · Yeah, I don't -- there was -- there was no --
     18· ·let's go on the record.· So I may have him on here.· So    18· ·well, that's not true.· Because I don't think I answered
     19· ·you can see what kind of a terrible human being Eric is.   19· ·or that I saw it that way when I was looking at it
     20· ·He's terrible.· This Eric Coomer is terrible.· I think     20· ·before.· Let see this real quick.
     21· ·he's a terrible human being.· Terrible.                    21· · · · Q· · I'll take it.· If you have responsive
     22· · · · Q· · What do you mean when you say you have people    22· ·documents, you'll supplement this disclosure.· Am I
     23· ·in Salida telling you, Hey Joe, he's in this house.· Hey   23· ·correct in assuming that?
     24· ·Joe, he's in this basement?                                24· · · · A· · Yeah.· Yeah, I will.· I have a few more notes
     25· · · · A· · This guy is talking about is the contractor      25· ·from Sherronna Bishop.

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     ·1· ·that he went after.                                        ·1· · · · Q· · Let's take a look at number 14.· We asked for
     ·2· · · · Q· · Okay.· So that was your person that you had      ·2· ·all communications relating to the individual who gave
     ·3· ·watching Eric Coomer?                                      ·3· ·you access to Dr. Coomer's private Facebook account.
     ·4· · · · A· · No, that's the person that kept calling me       ·4· ·You said you would conduct a search and provide those
     ·5· ·saying, this guy has done terrible things to a lot of      ·5· ·documents.· Have you conducted that search?
     ·6· ·people.                                                    ·6· · · · A· · I already -- yeah, I put that -- I did conduct
     ·7· · · · Q· · But you don't remember that person's name?       ·7· ·that and send it to you, Facebook post.· I did put that
     ·8· · · · A· · He doesn't exist.                                ·8· ·back in the deal.· I sent you the Facebook posts and the
     ·9· · · · Q· · I'm asking you?· Who's the contractor?           ·9· ·relevant posts.
     10· · · · A· · He's -- he should know.· Eric knows.             10· · · · Q· · About -- about the individual who provided you
     11· · · · Q· · No, we don't know.· I'm asking you.              11· ·those posts, have you given us information about that?
     12· · · · A· · How does he not know?· I haven't talked to the   12· · · · A· · I'm not going to give the information on him.
     13· ·guy in nearly two years.                                   13· · · · Q· · Okay.· Was it Ryan McBride?
     14· · · · Q· · What's his name, Mr. Oltmann?                    14· · · · A· · No.
     15· · · · A· · I don't -- I have no idea, but I will get it     15· · · · Q· · Okay.· Why won't you provide that information?
     16· ·for you.                                                   16· · · · A· · Look at what I've had to endure.· Why would I
     17· · · · Q· · It's convenient.· A lot of names you don't       17· ·give up information related to --
     18· ·recall.· So I just want to confirm, just going back real   18· · · · · · MR. MALONE:· I'm -- I'm going to instruct
     19· ·quick, when you said to Judge Wang on Tuesday, "I have     19· · · ·Mr. Oltmann not to answer this question on the
     20· ·never sent someone to his home.· That is a lie."· Were     20· · · ·grounds of privilege.
     21· ·you telling the truth to the judge --                      21· · · · · · MR. KLOEWR:· Okay.· And which privilege are you
     22· · · · A· · Yes, I was.                                      22· · · ·speaking to --
     23· · · · Q· · -- at that point.· Okay.· Let's take a look at   23· · · · · · MR. MALONE:· News person.
     24· ·number 13.· We asked you for all documents or              24· ·BY MR. KLOEWR:
     25· ·communications relating to any alleged breach of           25· · · · Q· · News person privilege.· Okay.· Mr. Oltmann,




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     ·1· ·how do you know when the individual who provided you       ·1· · · · A· · I just said I believe it.
     ·2· ·those Facebook posts accessed Dr. Coomer's Facebook        ·2· · · · Q· · Why?
     ·3· ·account?                                                   ·3· · · · A· · Just hopefully there'd be something that
     ·4· · · · A· · How do I know -- say it again?                   ·4· ·wasn't that ugly of a person all the time.
     ·5· · · · Q· · When he accessed the account?                    ·5· · · · Q· · So it's your belief there may be other posts
     ·6· · · · A· · How do I know when?                              ·6· ·that Dr. Coomer had on his Facebook page that you've not
     ·7· · · · Q· · Yeah.                                            ·7· ·disclosed or shared?
     ·8· · · · A· · I'm -- I'm not sure I understand.                ·8· · · · · · MR. MALONE:· Object to the form.
     ·9· · · · Q· · Well, were you on the phone with this person     ·9· · · · A· · Not sure I understand.
     10· ·and were they accessing Dr. Coomer's account in real       10· · · · Q· · Well, I'm trying -- you presented these posts
     11· ·time or were these screenshots that have been taken for    11· ·as though they created a complete picture of Dr. Coomer,
     12· ·example, weeks prior?                                      12· ·and I'm wondering if they do
     13· · · · A· · No, they all happened on the 6th of November.    13· · · · · · MS. DEFRANCO:· Object to the form.
     14· · · · Q· · They all happened on the 6th of November.        14· · · · A· · What do you mean?· The -- the accurate story
     15· ·Okay.· How --                                              15· ·of the --
     16· · · · A· · I believe.                                       16· · · · Q· · Well, how do I know that Dr. Coomer didn't
     17· · · · Q· · How do you know that?                            17· ·also post something on his Facebook account saying that,
     18· · · · A· · How do I know it happened on the 6th of          18· ·I don't know, "The -- the elections are free and fair,
     19· ·November?                                                  19· ·and I would never interfere with an election"?
     20· · · · Q· · Yes.                                             20· · · · A· · Well, I mean, you guys had the opportunity to
     21· · · · A· · Because that's when I had the aha pit in my      21· ·disclose that.· You didn't disclose it.· So I guess
     22· ·stomach over everything that I was looking at.             22· ·those posts don't exist.
     23· · · · Q· · So this is a person who was already known to     23· · · · Q· · Well, that's -- I'm saying at the time you got
     24· ·you, presumably?                                           24· ·access to these posts --
     25· · · · A· · How I got access to the Facebook post was        25· · · · A· · Look, I -- I just -- I just heard -- I just

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     ·1· ·legal.· How I got access to the other posts related to     ·1· ·heard myself --
     ·2· ·his Twitter was legal.                                     ·2· · · · Q· · -- we don't know if there's -- if there's
     ·3· · · · Q· · Objection, nonresponsive.· This was a person     ·3· ·evidence in that Facebook page that was --
     ·4· ·who was known to you prior to that time; is that           ·4· · · · A· · -- on these videos.
     ·5· ·correct?· Yes or no; is that correct?· You knew this       ·5· · · · Q· · Yep.
     ·6· ·person before they provided you the Facebook posts?        ·6· · · · A· · Just now.· Having to deal with what I've had
     ·7· · · · A· · I got access to those posts legally.             ·7· ·to deal with for the last two years.
     ·8· · · · Q· · Objection, nonresponsive.· I will take your      ·8· · · · Q· · No, Mr. Oltmann.· Nonresponsive.· We heard --
     ·9· ·evasiveness to mean that yes, this individual was known    ·9· ·I just heard you directing harassment at Dr. Coomer.
     10· ·to you.· Is that an accurate statement, Mr. Oltmann?       10· · · · A· · Where?· Where?
     11· · · · A· · I got those posts legally and I got them when    11·
     12· ·I was developing a story for what happened in the          12·
     13· ·election in 2020.                                          13·
     14· · · · Q· · Okay.· And how do you know that the posts that   14·
     15· ·were provided to you -- well, do you know, are those the   15·
     16· ·entirety of the posts on Dr. Coomer's Facebook page?       16·
     17· · · · A· · You mean are they the posts -- is there other    17·
     18· ·posts that he did not scrub when he was getting rid of     18·
     19· ·evidence before he filed a lawsuit?                        19·
     20· · · · Q· · That's not my question at all.· The person who   20·
     21· ·provided you these posts, did they provide you every       21·
     22· ·single post on Dr. Coomer's Facebook page as it existed    22·
     23· ·at the time, yes or no?                                    23·
     24· · · · A· · I believe that there were other posts.           24·
     25· · · · Q· · Okay.· How do you know that?                     25·
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     ·1·                                                             ·1·
     ·2·                                                             ·2·
     ·3·                                                             ·3·
     ·4·                                                             ·4·
     ·5·                                                             ·5·
     ·6·                                                             ·6·
     ·7·                                                             ·7·
     ·8·                                                             ·8·
     ·9·                                                             ·9·
     10·                                                             10·
     11·                                                             11·
     12·                                                             12·
     13·                                                             13· · · · Q· · Let's look at request number 15.· Here we ask
     14·                                                             14· ·for all documents related to the Antifa call, any
     15· · · · · · MS. DEFRANCO:· In person in Colorado.             15· ·discussion of the identities of those individuals, any
     16· · · · Q· · What are we have to, 58?· I'll hand you what's   16· ·attempts to identify them, or any communications with
     17· ·been marked as Exhibit 58.· This was an e-mail that was    17· ·any of these alleged individuals.
     18· ·disclosed to us by OAN in the first case where it was      18· · · · A· · Number 16, you said?
     19· ·designated as OAN00005.· I'm going to draw your            19· · · · Q· · Number 15.· Have you been able to identify any
     20· ·attention specifically to, well, about the middle of the   20· ·of the other participants on the Antifa call
     21· ·first page there.· Subject, Eric Coomer three to Avon      21· ·conclusively?· Last time we spoke, you hadn't been able
     22· ·Lyons.· That's avon@cutandpen.com and Andrew Lyons,        22· ·to.· Have you been able to do that since then?
     23· ·alyons@transwest.com.· This was an e-mail you sent on      23· · · · A· · Well, I think in my notes, I'm not sure, I had
     24· ·November 8th at 8:23 p.m.· Who is Avon Lyons?              24· ·a few people that I thought that I identified in that --
     25· · · · · · · (EXHIBIT 58 MARKED FOR IDENTIFICATION)          25· ·that call.

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     ·1· · · · A· · This is a mistake.· It was never supposed to     ·1· · · · Q· · Okay.· So have you identified them and have --
     ·2· ·go to them.                                                ·2· · · · A· · I haven't spent any time at all on any of this
     ·3· · · · Q· · Who is Avon Lyons?                               ·3· ·for a while.· It's been a while.
     ·4· · · · A· · It's -- it's Andrew's son.                       ·4· · · · Q· · You haven't spent any time trying to identify
     ·5· · · · Q· · Okay.· Who's Andrew Lyons?                       ·5· ·the other members of the Antifa call?
     ·6· · · · A· · He's a -- he was a client of Pen's.· He was      ·6· · · · A· · No.
     ·7· ·working on two e-mails at the same time, it sounds like.   ·7· · · · Q· · You previously testified there were as many as
     ·8· · · · Q· · So this was sent to Mr. Lyons in error?          ·8· ·19 people on the call.· Do you recall that?
     ·9· · · · A· · Yep, I do believe so.                            ·9· · · · A· · I think that was in the notes, too, right?
     10· · · · Q· · Is Mr. Lyons a member of FEC United?             10· · · · Q· · And any one of those individuals would be able
     11· · · · A· · No.· No.· Just a cattle guy.                     11· ·to corroborate your claims about Dr. Coomer presumably,
     12·                                                             12· ·right?
     13·                                                             13· · · · A· · I'm a little confused about the fact that Joey
     14·                                                             14· ·Camp has a recording of that.
     15·                                                             15· · · · Q· · Oh, I'm confused, as well.· I'm asking you if
     16·                                                             16· ·you have made any effort to identify anyone who could
     17·                                                             17· ·corroborate your story.· It sounds like there's 18
     18·                                                             18· ·potential individuals out there.· Have you done that?
     19·                                                             19· · · · A· · No, I have not.
     20·                                                             20· · · · Q· · So in two years of dealing with this
     21·                                                             21· ·litigation, which you have described as destroying your
     22·                                                             22· ·life and costing you hundreds of thousands of dollars, I
     23·                                                             23· ·believe is representations you've made --
     24·                                                             24· · · · A· · Hundreds of thousands?· Oh.
     25·                                                             25· · · · Q· · Is that correct?· Is that an accurate
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     ·1· ·assessment?                                                ·1· ·previously marked as Exhibit 22.· Do you recognize this
     ·2· · · · A· · No.· How about millions of dollars?              ·2· ·document, Mr. Oltmann?
     ·3· · · · Q· · Okay.· So in two years of litigating costs --    ·3· · · · A· · I do.
     ·4· ·a case, it's cost you millions of dollars by your          ·4· · · · Q· · What are we looking at here?
     ·5· ·representation and gotten 24 other defendants sued, and    ·5· · · · A· · The affidavit from November.
     ·6· ·by your repeated statements today, subjected you and       ·6· · · · Q· · Okay.· And this was the affidavit that you --
     ·7· ·your family to bodily harm.· At no point in that that      ·7· ·that Mr. Corporon helped you to draft?
     ·8· ·time have you ever tried to identify any of the other 18   ·8· · · · A· · Yep.
     ·9· ·people who could corroborate your story?                   ·9· · · · Q· · And I'm going to refer your attention to the
     10· · · · A· · Have you?                                        10· ·bottom of page 1, on top of page 2.· And I'll read this
     11· · · · Q· · Yes.                                             11· ·portion for you.· It says, "Then I honed in among other
     12· · · · A· · And?                                             12· ·conversations key actors in the organization who work
     13· · · · Q· · The call didn't occur, so we don't -- we're      13· ·for local and state news publications.· One person of
     14· ·not able to do that. The only way we can get there is      14· ·interest was Hydee Beedle, identified leader of Our
     15· ·through you, Mr. Oltmann.· The only way anybody in the     15· ·Revolution in El Paso, Southern -- El Paso County,
     16· ·world can get facts about this story is through you, and   16· ·Southern Colorado, an Antifa leader of the same area."
     17· ·it's surprising to me that you haven't made any effort     17· ·What do you mean when you say, "identified leader of Our
     18· ·in two years and all the turmoil that you've described     18· ·Revolution"?
     19· ·to identify a single other individual who could            19· · · · A· · Our -- our revolution is a Antifa group that
     20· ·corroborate that story and if true, presumably, work       20· ·infiltrated the Democrats across the country.· They have
     21· ·to --                                                      21· ·these little groups of Our Revolution.
     22· · · · · · MS. DEFRANCO:· Excuse me.· I know -- I know       22· · · · Q· · Okay.· So I haven't seen anything linking
     23· · · ·it's late, but you're here to ask questions, not       23· ·Ms. Beedle to Our Revolution and --
     24· · · ·make speeches.                                         24· · · · A· · That's a lie.· There's a video, and it's
     25· ·BY MR. KLOEWR:                                             25· ·actually a one of my podcasts.· You have it on there

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     ·1· · · · Q· · Okay, that's fair.· I understood your            ·1· ·because I played the actual video.
     ·2· ·testimony to say you've not made any effort to identify    ·2· · · · Q· · So describe what you mean by that.
     ·3· ·the --                                                     ·3· · · · A· · Dating back to November of 2020.· Excuse me?
     ·4· · · · A· · No, you've spent the last two hours literally    ·4· · · · Q· · What do you mean?· What does the video do to
     ·5· ·just badgering me and pushing conjecture.· That's what     ·5· ·identify Ms. Beedle?
     ·6· ·you've spent the last two hours doing.                     ·6· · · · A· · I'm sorry?
     ·7· · · · Q· · So you haven't been able to identify them,       ·7· · · · Q· · Does Ms. Beedle make an appearance in the
     ·8· ·correct?· Is that a yes?· You haven't identified any       ·8· ·video and say, "Hi, my name is Hydee· · · Beedle, I'm
     ·9· ·other members of the call?                                 ·9· ·the leader of Our Revolution here," or -- or what?· How
     10· · · · A· · I have spent all of my time not doing that.      10· ·does --
     11· ·I've been spending my time on Dominion Voting Systems,     11· · · · A· · No, she was at an Our Revolution deal standing
     12· ·ESMS, Smartmatic, making sure that we have enough          12· ·on the stage.
     13· ·information to get rid of the voting machines and the      13· · · · Q· · Standing on the stage next to Chris Jacks is I
     14· ·mail-in ballots.· That's what I spent my time on.          14· ·believe is how you've described her position previously?
     15· · · · Q· · So that's why you haven't produced any           15· · · · A· · Yep.· Yep.
     16· ·documents, they just don't exist for number 15, just to    16· · · · Q· · I'm going to hand you what we're going to mark
     17· ·confirm, you don't have those documents in your            17· ·as Exhibit 58.
     18· ·possession?                                                18· · · · · · VIDEOGRAPHER:· I thought we a 58.
     19· · · · A· · What -- what documents?                          19· · · · · · MR. KLOEWR:· Did we have 58?· Are we at 59?
     20· · · · Q· · About the other individuals.· You just --        20· · · · · · VIDEOGRAPHER:· Yeah, we do.
     21· ·there's no other documents that we haven't seen?           21· ·BY MR. KLOEWR:
     22· · · · A· · I have produced the documents.                   22· · · · Q· · I apologize.· We'll call that 59.
     23· · · · Q· · All right.· We've only got a little time left.   23· ·Mr. Oltmann, do you see Ms. Beedle in this image?
     24· ·I want to just wrap up a few loose ends in general.· If    24· · · · · · · (EXHIBIT 59 MARKED FOR IDENTIFICATION)
     25· ·you could flip open to Exhibit 22, what's been             25· · · · A· · I do.




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     ·1· · · · Q· · And can you identify Ms. Beedle?                 ·1· ·Revolution?
     ·2· · · · A· · The woman on the right of the, excuse me, the    ·2· · · · A· · I -- I don't recall.
     ·3· ·man on the right of the thing dressed like a woman on      ·3· · · · Q· · All right.· As we scroll down through this
     ·4· ·the --                                                     ·4· ·document, we see the screenshot, we've already discussed
     ·5· · · · Q· · Okay, let me just clarify here.· We need to be   ·5· ·that for a while.· I want to look at sort of the end of
     ·6· ·clear for the record.· So on the one that you've marked,   ·6· ·your declaration here.· The last paragraph before you
     ·7· ·can you please circle the individual that you've           ·7· ·sign there, the paragraph that begins with, "I began to
     ·8· ·identified as Hydee· · · Beedle?· Okay, thank you. And     ·8· ·research the connection to Diane Feinstein," it's on
     ·9· ·did you make that identification yourself or did someone   ·9· ·page 6 of your affidavit, you state, "I used ARIMA
     10· ·else?                                                      10· ·analysis to show me trends on data and probability
     11· · · · A· · I actually talked about this with Hydee· · · -   11· ·models to prove that they were in fact using code and
     12· ·- Hydee Beedle.                                            12· ·technology to ghost votes, switch votes, or even remove
     13· · · · Q· · You did?                                         13· ·probable ballots completely."· What is ARIMA analysis?
     14· · · · · · VIDEOGRAPHER:· Can I get my pen back?             14· · · · A· · It's analysis that's used in financial system
     15· · · · Q· · And Ms. Beedle told you that this individual     15· ·so that -- the problem with this affidavit is that it
     16· ·is her?                                                    16· ·was nearly six pages long and now it's only three or
     17· · · · A· · No, she said that she was a part of -- that      17· ·four because I was told to limit all the information in
     18· ·she's no longer a part of those organization.              18· ·it.· So all the stuff that I just wrote out as far as
     19· · · · Q· · Do you have any other basis for claiming that    19· ·notes and sent over to Randy, he's like, "Just sign it.
     20· ·Ms. Beedle is a member of Our Revolution other than this   20· ·We can amend it later."· So this didn't even have --
     21· ·image?                                                     21· ·this was just me -- there's a much bigger piece to this
     22· · · · A· · How is that even relevant to all this?           22· ·that I sent over to Randy that Randy did not include.
     23· · · · Q· · Well, you provided this.· This is your           23· ·And I was told that, "Hey Joe, don't worry about it.
     24· ·affidavit where you identified Dr. Coomer as being on a    24· ·Just get an affidavit in and we can amend this affidavit
     25· ·call, and you've also identified Ms. Beedle as being a     25· ·later."· And I was like, "Okay."

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     ·1· ·member -- as -- as a specific individual.· And I'm         ·1· · · · Q· · Randy Corporon told you to not worry about the
     ·2· ·trying to determine whether your identifications in this   ·2· ·accuracy of your affidavit, to just get it in?
     ·3· ·case have been accurate. So I'm just wondering if you      ·3· · · · A· · Well, no.· I sent the affidavit over to him,
     ·4· ·have any other information that would suggest that this    ·4· ·and this is a condensed version of that affidavit.· Some
     ·5· ·individual is Hydee· · · Beedle.                           ·5· ·of this stuff had made no difference whatsoever. I
     ·6· · · · A· · Well, I think that in my notes, I -- I had       ·6· ·don't understand why the notes turned into an affidavit.
     ·7· ·done an interview with Beedle.                             ·7· · · · Q· · Well, anyways, back to ARIMA analysis, did you
     ·8· · · · Q· · And you said she denied that she was a member    ·8· ·conducted this analysis yourself?· I see you say, "I
     ·9· ·of Our Revolution in that interview?· Did I hear you       ·9· ·used ARIMA analysis to show me trends." What ARIMA
     10· ·correctly?                                                 10· ·analysis are you referring to?
     11· · · · A· · No, I didn't say that.                           11· · · · A· · So we have a program and some guys that work
     12· · · · Q· · Oh, okay.· Sorry.· Well, what did she say in     12· ·inside of Pen and -- here, I'll pull this up.
     13· ·your interview with her?                                   13· · · · Q· · While you're looking for that, do you still
     14· · · · A· · I said inside of my notes here that I thought    14· ·have access to this analysis you're referring to in this
     15· ·that Hydee Beedle was actually on this call.               15· ·affidavit?
     16· · · · Q· · Okay.· I -- I think I misheard you before        16· · · · A· · Yeah, I don't have access to anything at the
     17· ·then.· Did you say you spoke to this -- to Hydee           17· ·Pen -- Pen level.
     18· ·Beedle about this being here in this picture?              18· · · · Q· · You don't have access to anything at Pen?
     19· · · · A· · When I sat and talked to her about when she      19· · · · A· · The guy -- the guy that worked on this with
     20· ·wanted information related to this, I'm the one that       20· ·me?
     21· ·sent her that video and sent her the information that      21· · · · Q· · Yep.
     22· ·was sent on to me, along with pictures of her sitting      22· · · · A· · Hold on a second.
     23· ·there with communist stuff behind her.                     23· · · · Q· · Yeah, what -- what's his name?
     24· · · · Q· · Okay.· And have you seen any other evidence      24· · · · A· · Hold on.
     25· ·other than this photo that ties Ms. Beedle to Our          25· · · · · · MR. CAIN:· While he's looking, I'm sorry to




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     ·1· · · ·interrupt you, the Court has said we have a hard       ·1· · · · · · MR. KLOEWR:· Okay.· Do we want to take a quick
     ·2· · · ·stop at 5:00 because we have to exit the building.     ·2· · · ·break before we wrap up or?
     ·3· · · · · · MS. DEFRANCO:· So you're going to get cheated     ·3· · · · · · MR. MALONE:· We can.
     ·4· · · ·out of five minutes.· You'll probably look to them     ·4· · · · · · MR. KLOEWR:· Just one minute real quick.· If we
     ·5· · · ·with that.                                             ·5· · · ·got anything else, we'll wrap up.
     ·6· · · · A· · One second.· Pulling the stuff out of the        ·6· · · · · · VIDEOGRAPHER:· Stay recording or cut?· Off
     ·7· ·e-mail I think that -- got all the stuff in it that went   ·7· · · ·record.
     ·8· ·over to Randy.                                             ·8· · · · · · MR. KLOEWR:· Off record.
     ·9· ·BY MR. KLOEWR:                                             ·9· · · · · · VIDEOGRAPHER:· Off the record.· Okay.· Going
     10· · · · Q· · Can you just tell me the name of the person      10· · · ·off the record at
     11· ·who you worked with on this ARIMA analysis?· My            11· ·16:54.
     12· ·understanding of ARIMA is that it's a fairly               12· · · · · · · (OFF THE RECORD)
     13· ·sophisticated application.                                 13· · · · · · VIDEOGRAPHER:· 4:58 p.m. time.
     14· · · · A· · No, not really.                                  14· ·BY MR. KLOEWR:
     15· · · · Q· · Well, are there many people at Pen who know      15· · · · Q· · Okay.· We do have, as we indicated, I'm not
     16· ·how to conduct this sort of analysis?                      16· ·sure if it was on the record or not a moment ago, but
     17· · · · A· · Only a few.· See if I have access to it.         17· ·the Court has given us a hard stop at 5:00 p.m. so we've
     18· · · · · · MS. DEFRANCO:· Joe, what are you trying to        18· ·got to hop off here momentarily.· Just wanted to clear
     19· · · ·find?                                                  19· ·up a few matters or confirm a few matters.·
     20· · · · · · MR. CAIN:· We need to wrap-up Q & A here.         20·
     21· · · · · · MR. KLOEWR:· Yeah, yeah.· Let's --                21·
     22· · · · · · VIDEOGRAPHER:· Who -- who is the person?          22·
     23· · · · · · THE WITNESS:· Andrew Lerner.                      23·
     24· · · · · · MR. KLOEWR:· Andrew Lerner.                       24·
     25· · · · · · VIDEOGRAPHER:· Thank you.                         25·

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     ·1· ·BY MR. KLOEWR:                                             ·1·
     ·2· · · · Q· · And do you still believe that that ARIMA         ·2·
     ·3· ·analysis proves that they were using code to ghost         ·3·
     ·4· ·votes, switch votes, and remove probable ballots           ·4·
     ·5· ·completely?                                                ·5·
     ·6· · · · A· · Sorry, I'm trying to find this e-mail.           ·6·
     ·7· · · · Q· · Well, it's -- my question is just do you stand   ·7·
     ·8· ·by this statement that the ARIMA analysis that you did     ·8·
     ·9· ·with Mr. Lerner showed you that they were able to use      ·9·
     10· ·technology to ghost votes, switch votes, or even remove    10·
     11· ·probable ballots completely?                               11·
     12· · · · A· · I think it showed an anomaly in -- I did have    12· · · · Q· · And we've discussed Mr. Corporon a bit various
     13· ·an e-mail that inside the log that had that information    13· ·times throughout this.· I understand he was your counsel
     14· ·in it.                                                     14· ·at some point of time, including with respect to
     15· · · · Q· · So at this time when you provided this, did      15· ·creating this affidavit, some other things.· Can you
     16· ·you consider yourself an expert in election technology?    16· ·clarify when Mr. Corporon began representing you and
     17· · · · A· · No.                                              17· ·when he stopped?
     18· · · · Q· · Do you consider yourself an expert in election   18· · · · A· · I don't know.
     19· ·technology today?                                          19· · · · Q· · Well, did you -- did you hire him?· Did you
     20· · · · A· · No.· I don't think -- I don't think any of us    20· ·pay him to represent you for a specific purpose?
     21· ·are experts in electronic technology.· I think election    21· · · · A· · You know, when everything happened, it
     22· ·technology is supposed to do one thing and that's count    22· ·happened really fast. When you're in the middle of
     23· ·the vote of the people, but it's not doing it very well.   23· ·something where people are attacking you relentlessly,
     24· ·So all the election experts out there have created a       24· ·everything kind of just --
     25· ·system that creates chaos.                                 25· · · · Q· · Well, this was prior to all that.· We've
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     ·1· ·already established that you were talking to               ·1· ·with video, as well.
     ·2· ·Mr. Corporon on November 6th before any of these claims    ·2· · · · COURT REPORTER:· Okay.· And then Ms. DeFranco?
     ·3· ·occurred.                                                  ·3· · · · MS. DEFRANCO:· He's reading, please.· Reading
     ·4· · · · A· · No, you established that I was talking to him    ·4· ·and signing.
     ·5· ·on November 6th. He said that, right?· I haven't seen      ·5· · · · · (DEPOSITION CONCLUDED AT 5:02 P.M.)
     ·6· ·that.                                                      ·6
     ·7· · · · Q· · Yes, that was what --                            ·7
     ·8· · · · A· · Maybe we did on his radio program.               ·8
     ·9· · · · Q· · He said he got a -- a text message from you at   ·9
     10· ·11:00 p.m. on the sixth describing your claim.             10
     11· · · · A· · Well, so then I would definitely go -- by the    11
     12· ·way, no one was talking about Dominion on November 6th.    12
     13· ·No one.· It wasn't even a thing.                           13
     14· · · · Q· · Which is -- it speaks exactly to my point,       14
     15· ·which is why you -- you were working with Mr. Corporon     15
     16· ·prior to anyone began attacking you as I understand it,    16
     17· ·correct?                                                   17
     18· · · · A· · Yeah.· But the breakdown of -- of how you --     18
     19· ·when you've never been attacked like this, the breakdown   19
     20· ·of just going to fight, fight, fight, fight happens when   20
     21· ·people start attacking your family and start attacking     21
     22· ·you.                                                       22
     23· · · · Q· · So was there --                                  23
     24· · · · · · VIDEOGRAPHER:· For the record I have 5:00.        24
     25· · · ·Sorry.                                                 25

                                                        Page 367                                                        Page 369
     ·1· · · · MR. KLOEWR:· All right.· Well, we'll call in at       ·1· · · · · · · · · ·CERTIFICATE OF REPORTER
     ·2· ·that then.                                                 ·2· · · · · · · · · · · STATE OF COLORADO
     ·3· · · · VIDEOGRAPHER:· Okay.· The time is 5:01 p.m.           ·3
     ·4· ·Let's see, the 17th. Let me --                             ·4· ·I do hereby certify that the witness in the foregoing
     ·5· · · · THE WITNESS:· I have some stuff that I have to        ·5· ·transcript was taken on the date, and at the time and
     ·6· ·provide?                                                   ·6· ·place set out on the Stipulation page hereof by me
     ·7· · · · VIDEOGRAPHER:· Yeah, so doesn't include what we       ·7· ·after first being duly sworn to testify the truth, the
     ·8· ·asked for today.                                           ·8· ·whole truth, and nothing but the truth; and that the
     ·9· · · · MR. MALONE:· For today.                               ·9· ·said matter was recorded digitally by me and then
     10· · · · VIDEOGRAPHER:· For today of 12-16 -- at -- at         10· ·reduced to typewritten form under my direction, and
     11· ·12-16-2022.· This is the conclusion of this                11· ·constitutes a true record of the transcript as taken,
     12· ·particular deposition on this day, case                    12· ·all to the best of my skills and ability. I certify
     13· ·1:22-CV-0129-WJF.                                          13· ·that I am not a relative or employee of either counsel,
     14· · · · COURT REPORTER:· Okay.· And then before I go          14· ·and that I am in no way interested financially,
     15· ·off the record, Mr. Kloewr, how did you want a copy        15· ·directly or indirectly, in this action.
     16· ·of the transcript?                                         16
     17· · · · MR. KLOEWR:· Our usual arrangement if you've          17
     18· ·got that on file. Otherwise, I want it expedited           18
     19· ·e-transcript.                                              19
     20· · · · MR. MALONE:· Yeah.                                    20
     21· · · · MR. KLOEWR:· Yeah.                                    21
     22· · · · COURT REPORTER:· Okay.· And then did you want a       22· ·DARIANA CABRERA ALVAREZ,
     23· ·copy of the video?                                         23· ·COURT REPORTER / NOTARY
     24· · · · MR. KLOEWR:· Yes.                                     24· ·COMMISSION EXPIRES ON: 10/22/2025
     25· · · · MR. MALONE:· We'll take electronic condensed          25· ·SUBMITTED ON:· 12/29/2022
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     ·1· · · · · · · · · · ·Errata Sheet
     ·2· ·NAME OF CASE:· · · ·COOMER, PH.D. vs MICHAEL J. LINDELL, et al
     ·3· ·DATE OF DEPOSITION: 12/16/2022
     ·4· ·NAME OF WITNESS:· · JOSEPH OLTMANN
     ·5· ·Reason Codes:· 1. To clarify the record.
     ·6· · · · · · · · · 2. To conform to the facts.
     ·7· · · · · · · · · 3. To correct transcription errors.
     ·8· ·Page _____ Line ______ Reason ______
     ·9· ·From _______________________ to _______________________
     10· ·Page _____ Line ______ Reason ______
     11· ·From _______________________ to _______________________
     12· ·Page _____ Line ______ Reason ______
     13· ·From _______________________ to _______________________
     14· ·Page _____ Line ______ Reason ______
     15· ·From _______________________ to _______________________
     16· ·Page _____ Line ______ Reason ______
     17· ·From _______________________ to _______________________
     18· ·Page _____ Line ______ Reason ______
     19· ·From _______________________ to _______________________
     20· ·Page _____ Line ______ Reason ______
     21· ·From _______________________ to _______________________
     22· ·Page _____ Line ______ Reason ______
     23· ·From _______________________ to _______________________
     24· · · · · · · · · · · · · · · · ·_________________________
     25· · · · · · · · · · · · · · · · ·JOSEPH OLTMANN

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     ·1· · · · · · · · ·WITNESS CERTIFICATION
     ·2
     ·3· · · · · · ·I hereby certify that I have read the
     ·4· ·foregoing transcript of my deposition testimony,
     ·5· ·and that my answers to the questions propounded,
     ·6· ·with the attached corrections or changes, if
     ·7· ·any, are true and correct.
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     13· ·____________· · · · ·__________________________
     · · ·DATE· · · · · · · · ·JOSEPH OLTMANN
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     20· ·JOB 438887
     21· ·COOMER, PH.D. vs MICHAEL J. LINDELL, et al
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